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                              Exhibit A

Detailed Description of AlixPartners’ Fees and Hours by Matter Category
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/01/2023          AS                        Attend meeting with A. Searles, D. Schwartz, and J. Somerville (partial) (all            0.8
                                              AlixPartners) re: staffing and priorities related to various different workstreams
03/01/2023          AS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: status of         0.2
                                              various workstreams and priority items
03/01/2023          AS                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          AS                        Prepare updates to email tracker based on updated requests and status of various         0.8
                                              workstreams
03/01/2023          AV                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          AV                        Telephone call with A. Vanderkamp, V. Kotharu (both AlixPartners) re: weekly             0.3
                                              workplan tracker update for W/E 03/03
03/01/2023          BFM                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          BAR                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          CAS                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
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John J. Ray III
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c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/01/2023          CC                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          DS                        Attend meeting with A. Searles, D. Schwartz, and J. Somerville (partial) (all            0.8
                                              AlixPartners) re: staffing and priorities related to various different workstreams
03/01/2023          DS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: status of         0.2
                                              various workstreams and priority items
03/01/2023          DS                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          DJW                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          DW                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          DL                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.5
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/01/2023          ET                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          EM                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          GS                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          JCL                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          JLS                       Attend meeting with A. Searles, D. Schwartz, and J. Somerville (partial) (all            0.5
                                              AlixPartners) re: staffing and priorities related to various different workstreams
03/01/2023          JLS                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          JS                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/01/2023          KHW                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
           44986    LMG                       Prepare topics of discussion for in person team meeting occuring during week of          1.2
                                              March 6
03/01/2023          LMG                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          MC                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          MB                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          ME                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          MJ                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/01/2023          SYW                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          SRH                       Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          TY                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          TP                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          VK                        Attend meeting with L. Goldman, J. LaBella, C. Cipione, T. Yamada, B. Mackay,            0.6
                                              B. Robison, M. Cervi, C. Wong, C. Chen, A. Vanderkamp, J. Sutherland, E.
                                              Mostoff, A. Searles, D. Schwartz, J. Somerville, F. Liang (partial), V. Kotharu, T.
                                              Phelan, D. White, S. Hanzi, D. Waterfield, G. Shapiro, M. Evans, M. Jacques, E.
                                              Teifer, D. White and M. Birtwell (all AlixPartners) to discuss progress and
                                              coordinate efforts around entity of interest, political donations, SOFA/SOALs
                                              support, and EY support
03/01/2023          VK                        Telephone call with A. Vanderkamp, V. Kotharu (both AlixPartners) re: weekly             0.3
                                              workplan tracker update for W/E 03/03
03/01/2023          VK                        Update weekly workplan tracker for W/E 3/03                                              0.3
03/02/2023          AS                        Attend meeting with M. Jacques, C. Cipione, D. White, L. Goldman, A. Searles, A.         0.5
                                              Vanderkamp (all AlixPartners) re: agenda for AlixPartners team offsite in DC week
                                              of March 6
03/02/2023          AV                        Attend meeting with M. Jacques, C. Cipione, D. White, L. Goldman, A. Searles, A.         0.5
                                              Vanderkamp (all AlixPartners) re: agenda for AlixPartners team offsite in DC week
                                              of March 6
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Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/02/2023          CAS                       Attend meeting with M. Jacques, C. Cipione, D. White, L. Goldman, A. Searles, A.         0.5
                                              Vanderkamp (all AlixPartners) re: agenda for AlixPartners team offsite in DC week
                                              of March 6
03/02/2023          DJW                       Attend meeting with M. Jacques, C. Cipione, D. White, L. Goldman, A. Searles, A.         0.5
                                              Vanderkamp (all AlixPartners) re: agenda for AlixPartners team offsite in DC week
                                              of March 6
           44987    LMG                       Revise topics of discussion for in person team meeting occuring during week of           0.4
                                              March 6
03/02/2023          LMG                       Attend meeting with M. Jacques, C. Cipione, D. White, L. Goldman, A. Searles, A.         0.5
                                              Vanderkamp (all AlixPartners) re: agenda for AlixPartners team offsite in DC week
                                              of March 6
03/02/2023          MJ                        Attend meeting with M. Jacques, C. Cipione, D. White, L. Goldman, A. Searles, A.         0.5
                                              Vanderkamp (all AlixPartners) re: agenda for AlixPartners team offsite in DC week
                                              of March 6
03/03/2023          AS                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          AS                        Prepare additional updates to email workstream tracker based on investigation            0.6
                                              updates provided
03/03/2023          AS                        Prepare updates to budget to reflect actuals through February and revised forecast       0.6
03/03/2023          AV                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          BFM                       Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          BAR                       Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/03/2023          CAS                       Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          CC                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          DS                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          DJW                       Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          DL                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          DL                        Telephone call with F. Liang, V. Kotharu (all AlixPartners) re: updates to weekly        0.1
                                              workplan tracker for W/E 03/03
03/03/2023          ET                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          EM                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/03/2023          GS                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          JLS                       Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          JS                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          KHW                       Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
          44988     LMG                       Update agenda for in person team meeting occuring during week of March 6                 1.3
03/03/2023          LMG                       Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          MB                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          MJ                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/03/2023          ST                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          SRH                       Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          TY                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          TP                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          VK                        Attend meeting with C. Cipione, B. Mackay, T. Yamada, V. Kotharu, A.                     0.5
                                              Vanderkamp, D. White, E. Mostoff, B. Robison, S. Hanzi, K. Wessel, T. Phelan, L.
                                              Goldman, A. Searles, G. Shapiro, S. Thompson, J. Sutherland, F. Liang, L. Teifer,
                                              J. Somerville, M. Birtwell, D. Schwartz, C. Chen, and M. Jacques (all AlixPartners)
                                              to discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations, SOFA/SOALs, 185mm request, and market makers
03/03/2023          VK                        Telephone call with F. Liang, V. Kotharu (all AlixPartners) re: updates to weekly        0.1
                                              workplan tracker for W/E 03/03
03/04/2023          AS                        Prepare revised email to propose update calls with counsel re: investigations            0.1
03/04/2023          AS                        Review counsel draft of summary of work performed for interim report                     0.2
03/04/2023          BFM                       Update work plan tracker for W/E 3/03                                                    0.2
03/04/2023          KHW                       Update weekly workstream tracker re: recent progress and follow-up actions related       0.9
                                              to financial statement reconstruction
03/04/2023          MB                        Review workplan status to summarize week's efforts on Deltec loan, 185mm                 0.3
                                              transfer from Alameda to FTX and political donations
03/05/2023          LMG                       Updating workflow tracker for W/E 03/03                                                  0.5
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                       HOURS
03/06/2023          AS                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          AS                        Attend meeting with L. Goldman, J. LaBella, A. Searles, D. Schwartz, K. Wessel,          1.1
                                              B. Mackay, M. Birtwell, V. Kotharu (all AlixPartners) re: update to weekly
                                              workplan tracker
03/06/2023          AS                        Prepare updates to email tracker based on updates requests from counsel                  0.6
03/06/2023          AS                        Prepare updates to workstream tracker based on status of latest investigations           0.4
03/06/2023          AS                        Review outline for upcoming CEO Interim Report                                           0.3
03/06/2023          BFM                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          BFM                       Attend meeting with L. Goldman, J. LaBella, A. Searles, D. Schwartz, K. Wessel,          1.1
                                              B. Mackay, M. Birtwell, V. Kotharu (all AlixPartners) re: update to weekly
                                              workplan tracker
03/06/2023          BAR                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          CAS                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          CC                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          DS                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                       HOURS
03/06/2023          DS                        Attend meeting with L. Goldman, J. LaBella, A. Searles, D. Schwartz, K. Wessel,          1.1
                                              B. Mackay, M. Birtwell, V. Kotharu (all AlixPartners) re: update to weekly
                                              workplan tracker
03/06/2023          DL                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          ET                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          EM                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          GS                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          JCL                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          JCL                       Attend meeting with L. Goldman, J. LaBella, A. Searles, D. Schwartz, K. Wessel,          1.1
                                              B. Mackay, M. Birtwell, V. Kotharu (all AlixPartners) re: update to weekly
                                              workplan tracker
03/06/2023          JLS                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                       HOURS
03/06/2023          JS                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          KHW                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          KHW                       Attend meeting with L. Goldman, J. LaBella, A. Searles, D. Schwartz, K. Wessel,          1.1
                                              B. Mackay, M. Birtwell, V. Kotharu (all AlixPartners) re: update to weekly
                                              workplan tracker
03/06/2023          LMG                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          LMG                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          LMG                       Attend meeting with L. Goldman, J. LaBella, A. Searles, D. Schwartz, K. Wessel,          1.1
                                              B. Mackay, M. Birtwell, V. Kotharu (all AlixPartners) re: update to weekly
                                              workplan tracker
03/06/2023          MC                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          MB                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          MB                        Attend meeting with L. Goldman, J. LaBella, A. Searles, D. Schwartz, K. Wessel,          1.1
                                              B. Mackay, M. Birtwell, V. Kotharu (all AlixPartners) re: update to weekly
                                              workplan tracker
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                       HOURS
03/06/2023          ME                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          MJ                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          QB                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          RMF                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          ST                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          SYW                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          SRH                       Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,          0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/06/2023          TY                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,           0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          VK                        Attend meeting with A. Searles, L. Goldman, B. Mackay, V. Kotharu, D. Schwartz,           0.3
                                              K. Wessel, J. Somerville, J. LaBella, R. Fuchs, L. Teifer, M. Birtwell, E. Mostoff,
                                              T. Yamada, C. Cipione, M. Cervi, S. Thompson, B. Robison, O. Braat, F. Liang, G.
                                              Shapiro, S. Hanzi, C. Chen, M. Jacques, J. Sutherland, C. Wong, and M. Evans to
                                              discuss progress and coordinate efforts around Genesis, Grayscale, Political
                                              Donations/founders loans, SOFA/SOALs, and market makers
03/06/2023          VK                        Attend meeting with L. Goldman, J. LaBella, A. Searles, D. Schwartz, K. Wessel,           1.1
                                              B. Mackay, M. Birtwell, V. Kotharu (all AlixPartners) re: update to weekly
                                              workplan tracker
03/07/2023          AS                        Attend meeting with A. Vanderkamp, D. Schwartz and A. Searles re: investigation           1.1
                                              workstream tracker, updates and next steps
03/07/2023          AS                        Prepare internal investigation tracker presentation for upcoming strategy meeting to      1.4
                                              align on priority workstreams
03/07/2023          AV                        Attend meeting with A. Vanderkamp, D. Schwartz and A. Searles re: investigation           1.1
                                              workstream tracker, updates and next steps
03/07/2023          DS                        Attend meeting with A. Vanderkamp, D. Schwartz and A. Searles re: investigation           1.1
                                              workstream tracker, updates and next steps
03/08/2023          AS                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.           0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          AS                        Attend meeting with M. Jacques, A. Vanderkamp, D. Schwartz, A. Searles (all               0.9
                                              AlixPartners) re: investigation workstream updates and priorities
03/08/2023          AS                        Prepare updates to interim report introduction paragraph based on comments                0.3
                                              received
03/08/2023          AV                        Attend meeting with M. Jacques, A. Vanderkamp, D. Schwartz, A. Searles (all               0.9
                                              AlixPartners) re: investigation workstream updates and priorities
03/08/2023          CC                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.           0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                  HOURS
03/08/2023          DS                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          DS                        Attend meeting with M. Jacques, A. Vanderkamp, D. Schwartz, A. Searles (all           0.9
                                              AlixPartners) re: investigation workstream updates and priorities
03/08/2023          DJW                       Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          DW                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          DL                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          ET                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          EM                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          GS                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                  HOURS
03/08/2023          JCL                       Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          JLS                       Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          JS                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          KHW                       Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          MC                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          MB                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          ME                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                  HOURS
03/08/2023          MJ                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          MJ                        Attend meeting with M. Jacques, A. Vanderkamp, D. Schwartz, A. Searles (all           0.9
                                              AlixPartners) re: investigation workstream updates and priorities
03/08/2023          QB                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.4
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          RMF                       Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          ST                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          SYW                       Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          SRH                       Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.5
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          TY                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.       0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/08/2023          TP                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.           0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/08/2023          VK                        Attend meeting with D. Schwartz, V. Kotharu, R. Fuchs, M. Cervi, A. Searles, M.           0.6
                                              Evans, J. LaBella, K. Wessel, M. Birtwell, F. Liang, J. Somerville, D. White, J.
                                              Sutherland, L. Teifer, S. Thompson, D. Waterfield, T. Phelan, G. Shapiro, C.
                                              Wong, T. Yamada, E. Mostoff, C. Chen, M. Jacques (full attendees), O. Braat, and
                                              S. Hanzi (partial attendees) (all AlixPartners) re: progress on Genesis,
                                              Alameda/FTX use of FBO funds, political donations, founders loans, and Salameda
03/09/2023          AS                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          AS                        Prepare updates to investigation tracker based on discussions with counsel                0.4
03/09/2023          AV                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          BAR                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          CAS                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                       HOURS
03/09/2023          CC                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          DS                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          DJW                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.5
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          DL                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          ESK                       Emails to/from K Sundt (AlixPartners) re: grayscale matter                                0.4
03/09/2023          ET                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          EM                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
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John J. Ray III
Chief Executive Officer
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c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                       HOURS
03/09/2023          GS                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          JCL                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          JLS                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          JS                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.5
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          KHW                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          LMG                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                       HOURS
03/09/2023          MC                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          MB                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          ME                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          MJ                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          QB                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          RS                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.5
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
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Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                       HOURS
03/09/2023          RMF                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          ST                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          SYW                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          SRH                       Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          TY                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/09/2023          TP                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                       HOURS
03/09/2023          VK                        Attend meeting with M. Jacques, M. Evans, L. Goldman, J. LaBella, M. Cervi, A.            0.6
                                              Searles, D. Schwartz, A. Vanderkamp, K. Wessel, M. Birtwell, J. Somerville, V.
                                              Kotharu, R. Fuchs, F. Liang, T. Yamada, B. Robison, C. Cipione, S. Hanzi, E.
                                              Mostoff, G. Shapiro, O. Braat, R. Self, C. Chen, L. Teifer, S. Thompson (full
                                              attendees), J. Sutherland, C. Wong, T. Phelan, and D. White (partial attendees) (all
                                              AlixPartners) to discuss progress re: FTX Digital Markets, Genesis, and North
                                              Dimension
03/10/2023          AS                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.              0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          AV                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.              0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          BAR                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.              0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          CAS                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.              0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          CC                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.              0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                    HOURS
03/10/2023          DS                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          DJW                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          DW                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          DL                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          ET                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          EM                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                    HOURS
03/10/2023          GS                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          JCL                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          JLS                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          JS                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          KHW                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          LMG                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
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John J. Ray III
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                    HOURS
03/10/2023          MC                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          MB                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          ME                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          QB                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          RS                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          RMF                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                    HOURS
03/10/2023          ST                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          SYW                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          SRH                       Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          TY                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          TP                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/10/2023          VK                        Attend meeting with C. Cipione, J. LaBella, J. Sutherland, D. Waterfield, L.          0.5
                                              Goldman, V. Kotharu, L. Teifer, S. Hanzi, T. Yamada, B. Robison, R. Fuchs, S.
                                              Thompson, C. Chen, A. Searles, G. Shapiro, R. Self, K. Wessel, J. Somerville, C.
                                              Wong, M. Birtwell, F. Liang, D. White, A. Vanderkamp, M. Cervi, O. Braat, D.
                                              Schwartz, E. Mostoff, T. Phelan, and M. Evans (all AlixPartners) to discuss
                                              progress and coordinate efforts re: Digital Markets, North Dimension, Genesis,
                                              Modulo, and FBO analysis
03/12/2023          AS                        Prepare response to team re: board materials                                          0.1
03/12/2023          AS                        Prepare workstream tracker update to send to S&C                                      0.1
03/12/2023          MC                        Revise workstream tracker for weekly updates                                          0.5
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/13/2023          AS                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,            0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          AS                        Prepare agenda for investigation update call                                             0.2
03/13/2023          AS                        Update email tracker to include updates status of various investigation workstreams      0.5
03/13/2023          AS                        Review updated outline of interim report to include potential areas where                0.5
                                              investigation updates will be needed
03/13/2023          AV                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,            0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          BFM                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,            0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          BAR                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,            0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          CAS                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,            0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
                   Case 22-11068-JTD                   Doc 1397-2             Filed 05/01/23            Page 30 of 330




John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/13/2023          CC                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          DS                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          DJW                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          DW                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          DL                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          EM                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
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John J. Ray III
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125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/13/2023          GS                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          JCL                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          JLS                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          JS                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          KHW                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          LMG                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
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John J. Ray III
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/13/2023          MC                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          MB                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          MJ                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          QB                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          RS                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          RMF                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
                   Case 22-11068-JTD                   Doc 1397-2             Filed 05/01/23            Page 33 of 330




John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/13/2023          ST                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          SYW                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          SRH                       Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          TY                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          TP                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/13/2023          VK                        Meeting with T. Yamada, O. Braat, D. White, B. Mackay, T. Phelan, C. Cipione,           0.4
                                              A. Vanderkamp, K. Wessel, J. Somerville, F. Liang, D. Schwartz, V. Kotharu, B.
                                              Robison, G. Shapiro, S. Hanzi, E. Mostoff, C. Wong, R. Fuchs, M. Cervi, A.
                                              Searles, J. LaBella, S. Thompson, J. Sutherland, L. Goldman, M. Birtwell, R. Self,
                                              D. Waterfield, M. Jacques, and C. Chen (all AlixPartners) to discuss progress and
                                              coordinate efforts re: Digital Markets, board materials, North Dimension, Genesis,
                                              and Deltec loans
03/14/2023          AS                        Prepare updates to tracker based on status of political donations workstream            0.3
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/15/2023          AS                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          AS                        Prepare email to team to coordinate investigation update meeting                         0.1
03/15/2023          AV                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.5
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          BFM                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.5
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          BAR                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          CAS                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          CC                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/15/2023          DS                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          DW                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          DL                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.5
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          GS                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          JCL                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          JCL                       Review updated budget associated with historical financial statements workstream         0.4
03/15/2023          JLS                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/15/2023          KHW                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          LMG                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          MC                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          MB                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          ME                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          MJ                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report
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John J. Ray III
Chief Executive Officer
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c/o Sullivan & Cromwell LLP
125 Broad Street
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/15/2023          QB                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          RS                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          RMF                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          ST                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.5
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          SYW                       Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          TY                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/15/2023          TP                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                  0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/15/2023          VK                        Meeting with C. Wong, T. Yamada, D. Schwartz, A. Searles, M. Birtwell, V.                  0.6
                                              Kotharu, J. LaBella, J. Somerville, C. Chen, B. Robison, C. Cipione, D. Waterfield,
                                              R. Fuchs, F. Liang, M. Cervi, O. Braat, R. Self, K. Wessel, L. Goldman, M. Evans,
                                              T. Phelan, M. Jacques, G. Shapiro (full attendees), A. Vanderkamp, S. Thompson,
                                              and B. Mackay (partial attendees) (all AlixPartners) to discuss progress and
                                              coordinate efforts on FTX DM, board materials, Genesis, and control failures report

03/16/2023          AS                        Prepare updated budget by workstream based on hours billed from prior periods              1.6
03/16/2023          AS                        Update weekly workstream tracker to include latest developments on investigative           0.5
                                              workstreams
03/17/2023          AS                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          AS                        Update email tracker to include updated workstreams and status                             0.6
03/17/2023          AV                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          BFM                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
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Chief Executive Officer
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125 Broad Street
New York, New York 10004
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DATE                PROFESSIONAL                                          DESCRIPTION OF SERVICES                                     HOURS
03/17/2023          BAR                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          CAS                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          CC                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          DS                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          DJW                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          DL                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                          DESCRIPTION OF SERVICES                                     HOURS
03/17/2023          EM                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          GS                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          JCL                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          JCL                       Update workplan and staffing needs for historical financial statement recreation           0.5
03/17/2023          JLS                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          JS                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          KHW                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
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DATE                PROFESSIONAL                                          DESCRIPTION OF SERVICES                                     HOURS
03/17/2023          LMG                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          MC                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.6
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          MB                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          ME                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          RS                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          RMF                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                          DESCRIPTION OF SERVICES                                     HOURS
03/17/2023          ST                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          SYW                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          SRH                       Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          TY                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          TP                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/17/2023          VK                        Attend meeting with J. LaBella, C. Cipione, B. Mackay, D. Schwartz, A.                     0.5
                                              Vanderkamp, T. Yamada, A. Searles, B. Robison, F. Liang, C. Wong, V. Kotharu,
                                              G. Shapiro, K. Wessel, E. Mostoff, S. Hanzi, R. Fuchs, C. Chen, M. Cervi, L.
                                              Goldman, R. Self, J. Somerville, S. Thompson, J. Sutherland, M. Birtwell, D.
                                              White, T. Phelan and M. Evans (all AlixPartners) to discuss progress and coordinate
                                              efforts re: entity of interest, Founders Loans, Caroline/Gary Interviews, and Control
                                              Failures Report
03/19/2023          LMG                       Update workflow tracker for W/E 3/17                                                       0.3
03/19/2023          MC                        Revise workstream tracker for W/E 3/17 for weekly updates                                  0.5
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John J. Ray III
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/20/2023          AS                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          AS                        Prepare agenda for call with counsel re: status of various investigative workstreams      0.7
03/20/2023          AS                        Prepare agenda for investigation update call                                              0.4
03/20/2023          AS                        Prepare updated budget analysis in preparation for board meeting                          0.5
03/20/2023          AV                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          BFM                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          BAR                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          CAS                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          CC                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/20/2023          DS                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          DJW                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          DW                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          DL                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          ET                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          EM                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
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John J. Ray III
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125 Broad Street
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/20/2023          GS                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          JCL                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          JLS                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          JS                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          KHW                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          LMG                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
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Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/20/2023          MC                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          MB                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          ME                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          MJ                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          QB                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          RS                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/20/2023          RMF                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          ST                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          SYW                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          SRH                       Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          TY                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/20/2023          TP                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
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John J. Ray III
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125 Broad Street
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/20/2023          VK                        Attend meeting with C. Cipione, B. Mackay, L. Teifer, C. Wong, K. Wessel, V.              0.5
                                              Kotharu, B. Robison, T. Yamada, O. Braat, D. Schwartz, J. Sutherland, D.
                                              Waterfield, E. Mostoff, S. Thompson, C. Chen, G. Shapiro, J. Somerville, M.
                                              Cervi, M. Birtwell, J. LaBella, L. Goldman, R. Self, M. Evans, A. Searles, F. Liang,
                                              A. Vanderkamp, M. Jacques, T. Phelan, S. Hanzi, D. White, and R. Fuchs (all
                                              AlixPartners) re: entity of interest, acquisition of interest, Crypto Winter &
                                              Alameda, and Charitable Donations
03/21/2023          AS                        Attend meeting with A. Vanderkamp, D. Schwartz and A. Searles (all AlixPartners)          0.5
                                              re: status of various workstreams including financial statement reconstruction,
                                              political donations and founders’ loans
03/21/2023          AS                        Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.              0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          AS                        Prepare agenda and talking points for investigation update call                           0.3
03/21/2023          AS                        Prepare initial budget analysis based on feedback from board meeting                      0.8
03/21/2023          AS                        Prepare narrative for fee examiner re: workstreams and role on the engagement             0.4
03/21/2023          AV                        Attend meeting with A. Vanderkamp, D. Schwartz and A. Searles (all AlixPartners)          0.5
                                              re: status of various workstreams including financial statement reconstruction,
                                              political donations and founders’ loans
03/21/2023          AV                        Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.              0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          BFM                       Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.              0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          DS                        Attend meeting with A. Vanderkamp, D. Schwartz and A. Searles (all AlixPartners)          0.5
                                              re: status of various workstreams including financial statement reconstruction,
                                              political donations and founders’ loans
03/21/2023          DS                        Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.              0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          DS                        Working session with D. Schwartz, and J. LaBella (both AlixPartners) to discuss           0.8
                                              team structure for financial statement reconstruction
03/21/2023          JCL                       Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.              0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          JCL                       Working session with D. Schwartz, and J. LaBella (both AlixPartners) to discuss           0.8
                                              team structure for financial statement reconstruction
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                   HOURS
03/21/2023          JLS                       Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.            0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          JS                        Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.            0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          KHW                       Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.            0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          LMG                       Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.            0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          MC                        Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.            0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          MJ                        Meeting with M. Jacques and D. Schwarz (both AlixPartners) to discuss team              0.3
                                              planning related to financial reconstruction workstream
03/21/2023          SRH                       Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.            0.6
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/21/2023          TP                        Attend meeting with T. Phelan (partial attendee), K. Wessel, D. Schwartz, J.            0.5
                                              Sutherland, J. Somerville, M. Cervi, J. LaBella, L. Goldman, A. Searles, S. Hanzi,
                                              B. Mackay, A. Vanderkamp (all AlixPartners) re: BOD meeting updates, historical
                                              F/S recreation, resourcing for future workstreams
03/22/2023          AS                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.         0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          AS                        Coordinate response to counsel re: request related to Alameda traders                   0.2
03/22/2023          AS                        Prepare correspondence to counsel re: UCC requests                                      0.1
03/22/2023          AS                        Prepare updates to email tracker to reflect updated requests from counsel               0.6
03/22/2023          AS                        Update proposed approach for responding to counsel related re: political donation       1.4
                                              support
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John J. Ray III
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125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                 HOURS
03/22/2023          AV                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          BFM                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          BAR                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          CAS                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          CC                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          DS                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                 HOURS
03/22/2023          DJW                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          DW                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          DL                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          ET                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          EM                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          GS                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
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03/22/2023          JCL                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          JLS                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          JS                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          KHW                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          LIM                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          LIM                       Meeting with L. Morrison with L. Goldman (both AlixPartners) re: onboarding to        0.8
                                              team
03/22/2023          LB                        Build data quality screening scripts for QuickBooks data used in forensic             0.3
                                              investigation workstreams
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                 HOURS
03/22/2023          LMG                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          LMG                       Meeting with L. Morrison with L. Goldman (both AlixPartners) re: onboarding to        0.8
                                              team
03/22/2023          MC                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          MB                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          ME                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          QB                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          RS                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.       0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                   HOURS
03/22/2023          ST                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.         0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          SYW                       Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.         0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          TY                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.         0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          TP                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.         0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/22/2023          VK                        Attend meeting with C. Cipione, M. Cervi, L. Goldman, A. Searles, B. Mackay, J.         0.5
                                              LaBella, D. White, V. Kotharu, E. Mostoff, F. Liang, C. Chen, M. Birtwell, O.
                                              Braat, J. Sutherland, S. Thompson, G. Shapiro, R. Self, M. Evans, L. Teifer, A.
                                              Vanderkamp, B. Robison, D. Waterfield, T. Phelan, D. Schwartz, T. Yamada, J.
                                              Somerville, C. Wong, K. Wessel, L. Morrison (full attendees), and L. Beischer
                                              (partial attendee) (all AlixPartners) re: BOD meeting, Gary Interview, entity of
                                              interest, and Bank Tracker
03/23/2023          AS                        Prepare agenda for internal workstream update call                                      0.2
03/23/2023          AS                        Prepare updated budget analysis based on updates workstreams and resources              1.1
03/23/2023          AS                        Prepare updated budget based on comments received                                       0.4
03/24/2023          AS                        Attend meeting with M. Evans and A. Searles (both AlixPartners) re: preparing           0.3
                                              updates to the budget based on discussions with counsel on timing of workstreams
03/24/2023          AS                        Attend meeting with M. Evans and A. Searles (both AlixPartners) re: updates to the      0.1
                                              budget as requested by A&M
03/24/2023          AS                        Attend meeting with M. Jacques and A. Searles (both AlixPartners) re: budget            0.2
                                              updates and status of investigative workstreams
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/24/2023          AS                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          AS                        Prepare additional updates to budget based on final comments received in order to        0.4
                                              send updated version to A&M
03/24/2023          AS                        Prepare budget updates based on comments received                                        0.8
03/24/2023          AS                        Update email workstream tracker to includes updates based on latest requests from        0.7
                                              counsel
03/24/2023          AS                        Review latest draft of weekly investigation tracker to send to S&C                       0.5
03/24/2023          BFM                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          BAR                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          CAS                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          CC                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/24/2023          DJW                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          DL                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          ET                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          EM                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          GS                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          JCL                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
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John J. Ray III
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/24/2023          JLS                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          JS                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          KHW                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          LIM                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          LB                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          LMG                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/24/2023          MC                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          MC                        Revise workstream tracker for weekly updates                                             0.5
03/24/2023          MB                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          ME                        Attend meeting with M. Evans and A. Searles (both AlixPartners) re: preparing            0.3
                                              updates to the budget based on discussions with counsel on timing of workstreams
03/24/2023          ME                        Attend meeting with M. Evans and A. Searles (both AlixPartners) re: updates to the       0.1
                                              budget as requested by A&M
03/24/2023          ME                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          MJ                        Attend meeting with M. Jacques and A. Searles (both AlixPartners) re: budget             0.2
                                              updates and status of investigative workstreams
03/24/2023          QB                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          RS                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
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125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/24/2023          ST                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          SYW                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          SRH                       Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          TY                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          TP                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/24/2023          VK                        Attend meeting with T. Yamada, C. Cipione, J. Sutherland, L. Goldman, V.                 0.4
                                              Kotharu, K. Wessel, B. Mackay, S. Hanzi, O. Braat, L. Morrison, E. Mostoff, J.
                                              Somerville, C. Wong, B. Robison, G. Shapiro, F. Liang, J. LaBella, S. Thompson,
                                              L. Teifer, A. Searles, M. Cervi, R. Self, D. White, L. Beischer, C. Chen, M. Evans,
                                              T. Phelan, and M. Birtwell (all AlixPartners) to discuss progress and coordinate
                                              effort re: Genesis Block/Bluebird, Alameda/FTX activity deck, and intercompany
                                              transactions
03/25/2023          MC                        Review latest draft of Interim Report on Controls Failures                               0.9
03/26/2023          AS                        Create internal workplan and status update tracker for all special investigation         2.2
                                              workstreams
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Chief Executive Officer
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/27/2023          AS                        Prepare additional updates to internal workplan and status update tracker for all          1.7
                                              special investigation workstreams
03/28/2023          AS                        Attend meeting with M. Evans and A. Searles (both AlixPartners) re: budget                 0.4
                                              updates and status of various investigative workstreams
03/28/2023          AS                        Review email correspondence with counsel re: January fee statement CNO                     0.1
03/28/2023          ME                        Attend meeting with M. Evans and A. Searles (both AlixPartners) re: budget                 0.4
                                              updates and status of various investigative workstreams
03/29/2023          AS                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          AS                        Attend meeting with C. Cipione, T. Phelan and A. Searles (all AlixPartners) re:            0.4
                                              workstream tracker associated with data extraction support of various investigative
                                              workstreams
03/29/2023          AS                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          AS                        Prepare agenda for update call re: various workstreams                                     0.2
03/29/2023          AS                        Prepare follow-up list of open items based on requests from internal meeting               0.2
03/29/2023          AS                        Prepare revised budget analysis to incorporate updated workstreams and timeline re         1.1
                                              financial statement reconstruction
03/29/2023          AS                        Prepare updates to the workplan tracker based on discussions with the data analytics       0.6
                                              team
03/29/2023          AS                        Prepare workstream tracker updates based on additional requests received from              0.4
                                              counsel re: crypto trading
03/29/2023          AC                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          AC                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
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John J. Ray III
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/29/2023          BFM                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          BAR                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          CAS                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          CAS                       Attend meeting with C. Cipione, T. Phelan and A. Searles (all AlixPartners) re:            0.4
                                              workstream tracker associated with data extraction support of various investigative
                                              workstreams
03/29/2023          CAS                       Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          CX                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          CC                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/29/2023          DS                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          DS                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          DJW                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          DJW                       Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          DL                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.3
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          DL                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/29/2023          ET                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          ET                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          EM                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          EM                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          GS                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          GS                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/29/2023          JCL                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          JS                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          KV                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          KHW                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          KHW                       Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          LIM                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
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John J. Ray III
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/29/2023          LB                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          LMG                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          LMG                       Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          LJ                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          MC                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          MC                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
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John J. Ray III
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125 Broad Street
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/29/2023          MB                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          MB                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          ME                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          ME                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          MJ                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          MJ                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/29/2023          QB                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          RS                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          RS                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          SYW                       Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.3
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          SYW                       Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          SK                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
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John J. Ray III
Chief Executive Officer
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/29/2023          TY                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.3
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          TY                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          TP                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          TP                        Attend meeting with C. Cipione, T. Phelan and A. Searles (all AlixPartners) re:            0.4
                                              workstream tracker associated with data extraction support of various investigative
                                              workstreams
03/29/2023          TP                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/29/2023          VK                        Attend meeting with B. Mackay, L. Morrison, B. Robison, L. Beischer, C. Chen, O.           0.5
                                              Braat, K. Vasiliou, V. Kotharu, M. Jacques, M. Evans, C. Cipione, D. White, L.
                                              Goldman, T. Phelan, K. Wessel, D. Schwartz, A. Searles, A. Calhoun, J. LaBella,
                                              G. Shapiro, M. Birtwell, R. Self, L. Teifer, E. Mostoff and M. Cervi (full attendees)
                                              F. Liang, T. Yamada, and C. Wong (partial attendees) (all AlixPartners) re:
                                              Superseding indictment, political donations, founder loans, and Financial Statement
                                              Reconstruction
03/29/2023          VK                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.            0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
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Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/29/2023          YT                        Attend meeting with M. Evans, M. Jacques, A. Searles, J. Sutherland, L. Jia, T.          0.5
                                              Kang, L. Teifer, M. Birtwell, C. Wong, D. White, L. Goldman, T. Phelan, C.
                                              Cipione, D. Schwartz, K. Wessel, M. Cervi, F. Liang, T. Yamada, R. Self, Y. Tong,
                                              C. Xu, V. Kotharu, E. Mostoff, G. Shapiro, and A. Calhoun (all AlixPartners) re:
                                              status update on engagement workstreams (Financial Statement Recon, special
                                              investigations)
03/30/2023          AS                        Prepare updated gantt chart based on upcoming deliverables re: special                   0.4
                                              investigations from counsel
03/31/2023          AS                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          AS                        Attend meeting with L. Goldman and A. Searles (both AlixPartners) re: updates to         0.2
                                              various workstreams and strategy
03/31/2023          AS                        Discussion with A. Searles, D. Schwartz, V. Kotharu (all AlixPartners) re:               0.4
                                              optimization of data access by forensic investigation teams
03/31/2023          AS                        Prepare additional updates to overall workstream tracker based on progress made on       0.7
                                              various workstreams
03/31/2023          AS                        Prepare agenda for workstream update call                                                0.3
03/31/2023          AS                        Prepare budget updated based on prior week actuals and internal discussions re:          0.9
                                              workstream timelines
03/31/2023          AS                        Prepare onboarding packet for new staff to explain current workstreams and priority      0.7
                                              items
03/31/2023          AC                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          BFM                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/31/2023          BAR                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          CAS                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          CX                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.3
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          CC                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          DS                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          DS                        Discussion with A. Searles, D. Schwartz, V. Kotharu (all AlixPartners) re:               0.4
                                              optimization of data access by forensic investigation teams
03/31/2023          DJW                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
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John J. Ray III
Chief Executive Officer
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c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/31/2023          DL                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          ET                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          EM                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          GS                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          JLS                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          JS                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/31/2023          KV                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          KHW                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          LIM                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          LB                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          LMG                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          LMG                       Attend meeting with L. Goldman and A. Searles (both AlixPartners) re: updates to         0.2
                                              various workstreams and strategy
03/31/2023          LJ                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
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John J. Ray III
Chief Executive Officer
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c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/31/2023          MB                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          MJ                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          QB                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, Y. Tong, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L.
                                              Morrison, B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan,
                                              S. Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          RS                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          RS                        Teleconference call with R. Self, V. Kotharu (both AlixPartners) re: review of           0.4
                                              revised structure for data access by forensic investigation teams
03/31/2023          ST                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          SK                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
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John J. Ray III
Chief Executive Officer
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c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/31/2023          SRH                       Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          TP                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          VK                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                    0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          VK                        Discussion with A. Searles, D. Schwartz, V. Kotharu (all AlixPartners) re:               0.4
                                              optimization of data access by forensic investigation teams
03/31/2023          VK                        Teleconference call with R. Self, V. Kotharu (both AlixPartners) re: review of           0.4
                                              revised structure for data access by forensic investigation teams
Total Professional Hours                                                                                                             279.7
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John J. Ray III
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Re:                                   Chapter 11 Process / Case Management
Code:                                 20008100P00001.1.1

PROFESSIONAL                                                                 RATE     HOURS                FEES
Matthew Jacques                                                              $1,280      7.4   $        9,472.00
Charles Cipione                                                              $1,220      7.7            9,394.00
Matthew Evans                                                                $1,220      6.9            8,418.00
David J White                                                                $1,140      6.9            7,866.00
David Waterfield                                                             $1,115      3.7            4,125.50
John C LaBella                                                               $1,115      9.4           10,481.00
Lilly M Goldman                                                              $1,115     14.0           15,610.00
Elizabeth S Kardos                                                            $800       0.4              320.00
Mark Cervi                                                                   $1,020      9.6            9,792.00
Adam Searles                                                                  $950      44.3           42,085.00
Anne Vanderkamp                                                               $950       8.5            8,075.00
Brent Robison                                                                 $950       6.3            5,985.00
Justin Sutherland                                                             $950       6.8            6,460.00
Steven Hanzi                                                                  $950       5.8            5,510.00
Travis Phelan                                                                 $950       8.0            7,600.00
Dana Schwartz                                                                 $880      13.4           11,792.00
Kurt H Wessel                                                                 $880      10.0            8,800.00
Leslie I Morrison                                                             $880       2.6            2,288.00
John L Somerville                                                             $825       7.5            6,187.50
Bennett F Mackay                                                              $805       7.0            5,635.00
Matthew Birtwell                                                              $805       8.8            7,084.00
Takahiro Yamada                                                               $805       6.8            5,474.00
Lewis Beischer                                                                $805       1.6            1,288.00
Chuanqi Chen                                                                  $605       6.9            4,174.50
Di Liang                                                                      $605       7.1            4,295.50
Seen Yung Wong                                                                $605       6.3            3,811.50
Varun Kotharu                                                                 $605      10.0            6,050.00
Elizabeth Teifer                                                              $585       5.9            3,451.50
Katerina Vasiliou                                                             $585       0.9              526.50
Randi Self                                                                    $585       5.7            3,334.50
Rose-Marie Fuchs                                                              $585       4.0            2,340.00
Olivia Braat                                                                  $510       5.1            2,601.00
Linna Jia                                                                     $555       0.9              499.50
Chenxi Xu                                                                     $510       0.8              408.00
Eric Mostoff                                                                  $510       6.8            3,468.00
Griffin Shapiro                                                               $510       7.4            3,774.00
Sean Thompson                                                                 $510       5.7            2,907.00
Shengjia Kang                                                                 $510       0.9              459.00
Yuqing Tong                                                                   $510       0.5              255.00
Allyson Calhoun                                                               $510       1.4              714.00
Total Professional Hours and Fees                                                      279.7   $      242,811.50
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/01/2023          AS                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) and       0.4
                                              P. McGrath (A&M) to discuss Grayscale complaint and workstream status
03/01/2023          AS                        Coordinate call with Quinn re: Grayscale                                                0.2
03/01/2023          AS                        Review email from counsel re: tracing funds right before petition date                  0.2
03/01/2023          AS                        Review requests from UCC re: Modulo                                                     0.3
03/01/2023          CAS                       Attend meeting with T. Shea (EY); and C. Cipione, T. Phelan, and J. Demyanovich         0.4
                                              (all AlixPartners) to discuss data sharing for EY’s tax work
03/01/2023          CAS                       Attend meeting with T. Shea, C. Cavusoglu, and R. Jokkampudi (all EY); and C.           0.5
                                              Cipione, T. Phelan, and J. Demyanovich (all AlixPartners) to discuss data sharing
                                              for EY’s tax work
03/01/2023          DS                        Attend meeting with L. Goldman, J. LaBella, J. Sutherland, S. Schwartz, (all            0.5
                                              AlixPartners), B Wagener, and U. Eze (both S&C) to discuss HFSC request re:
                                              commingling of customer deposits
03/01/2023          DS                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) and       0.4
                                              P. McGrath (A&M) to discuss Grayscale complaint and workstream status
03/01/2023          DS                        Telephone call with D. Schwartz, J. Labella, J. Sutherland (AlixPartners), U. Eze,      0.5
                                              and W. Wagener (both S&C) re: potential HFSC request for documentation
                                              supporting commingling of customer funds
03/01/2023          JCL                       Attend meeting with L. Goldman, J. LaBella, J. Sutherland, S. Schwartz, (all            0.5
                                              AlixPartners), B Wagener, and U. Eze (both S&C) to discuss HFSC request re:
                                              commingling of customer deposits
03/01/2023          JCL                       Telephone call with D. Schwartz, J. Labella, J. Sutherland (AlixPartners), U. Eze,      0.5
                                              and W. Wagener (both S&C) re: potential HFSC request for documentation
                                              supporting commingling of customer funds
03/01/2023          JD                        Attend meeting with T. Shea (EY); and C. Cipione, T. Phelan, and J. Demyanovich         0.4
                                              (all AlixPartners) to discuss data sharing for EY’s tax work
03/01/2023          JD                        Attend meeting with T. Shea, C. Cavusoglu, and R. Jokkampudi (all EY); and C.           0.5
                                              Cipione, T. Phelan, and J. Demyanovich (all AlixPartners) to discuss data sharing
                                              for EY’s tax work
03/01/2023          JS                        Attend meeting with L. Goldman, J. LaBella, J. Sutherland, S. Schwartz, (all            0.5
                                              AlixPartners), B Wagener, and U. Eze (both S&C) to discuss HFSC request re:
                                              commingling of customer deposits
03/01/2023          JS                        Telephone call with D. Schwartz, J. Labella, J. Sutherland (AlixPartners), U. Eze,      0.5
                                              and W. Wagener (both S&C) re: potential HFSC request for documentation
                                              supporting commingling of customer funds
03/01/2023          LMG                       Attend meeting with L. Goldman, J. LaBella, J. Sutherland, S. Schwartz, (all            0.5
                                              AlixPartners), B Wagener, and U. Eze (both S&C) to discuss HFSC request re:
                                              commingling of customer deposits
03/01/2023          MJ                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) and       0.4
                                              P. McGrath (A&M) to discuss Grayscale complaint and workstream status
03/01/2023          TP                        Attend meeting with T. Shea (EY); and C. Cipione, T. Phelan, and J. Demyanovich         0.4
                                              (all AlixPartners) to discuss data sharing for EY’s tax work
03/01/2023          TP                        Attend meeting with T. Shea, C. Cavusoglu, and R. Jokkampudi (all EY); and C.           0.5
                                              Cipione, T. Phelan, and J. Demyanovich (all AlixPartners) to discuss data sharing
                                              for EY’s tax work
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                     HOURS
03/02/2023          AS                        Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners)          0.4
                                              and E. Kapur, P. Collins, M. Wittmann, K. Wolfe and J. Pickhardt (Quinn
                                              Emmanuel) re: status of Grayscale workstream and follow-up questions on the
                                              complaint
03/02/2023          AS                        Attend meeting with L. Ryan, P. McGrath, M. Shanahan (all A&M), L. Goldman,             0.7
                                              A. Searles, A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: entity of
                                              interest workstream
03/02/2023          AS                        Communications with counsel re: setting-up a call to discuss Grayscale                  0.2
03/02/2023          AS                        Prepare proposal to counsel re: upcoming small group investigation discussions          0.3
03/02/2023          AS                        Update proposed draft to UCC re: Modulo                                                 0.5
03/02/2023          AS                        Respond to email from counsel re: political donations                                   0.1
03/02/2023          AS                        Review correspondence with counsel re: entity of interest workstream                    0.1
03/02/2023          AS                        Review request from counsel re: potential interview questions for former employee       0.1
03/02/2023          AS                        Review UCC request re: entity of interest                                               0.1
03/02/2023          AS                        Upload relevant documents for Quinn re: Grayscale                                       0.3
03/02/2023          AV                        Attend meeting with L. Ryan, P. McGrath, M. Shanahan (all A&M), L. Goldman,             0.7
                                              A. Searles, A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: entity of
                                              interest workstream
03/02/2023          BFM                       Attend call with L. Goldman and B. Mackay (both AlixPartners) and A. Holland            0.5
                                              (S&C) re: open tasks for liquidation event
03/02/2023          BFM                       Attend meeting with L. Ryan, P. McGrath, M. Shanahan (all A&M), L. Goldman,             0.7
                                              A. Searles, A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: entity of
                                              interest workstream
03/02/2023          DS                        Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners)          0.4
                                              and E. Kapur, P. Collins, M. Wittmann, K. Wolfe and J. Pickhardt (Quinn
                                              Emmanuel) re: status of Grayscale workstream and follow-up questions on the
                                              complaint
03/02/2023          DS                        Attend meeting with L. Ryan, P. McGrath, M. Shanahan (all A&M), L. Goldman,             0.7
                                              A. Searles, A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: entity of
                                              interest workstream
03/02/2023          DS                        Organize and respond to emails from various parties                                     1.0
03/02/2023          DS                        Compile response related to UCC questions re: Modulo                                    0.8
03/02/2023          LMG                       Attend call with L. Goldman and B. Mackay (both AlixPartners) and A. Holland            0.5
                                              (S&C) re: open tasks for liquidation event
03/02/2023          LMG                       Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners)          0.4
                                              and E. Kapur, P. Collins, M. Wittmann, K. Wolfe and J. Pickhardt (Quinn
                                              Emmanuel) re: status of Grayscale workstream and follow-up questions on the
                                              complaint
03/02/2023          LMG                       Attend meeting with L. Ryan, P. McGrath, M. Shanahan (all A&M), L. Goldman,             0.7
                                              A. Searles, A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: entity of
                                              interest workstream
03/03/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, J.                0.4
                                              Sutherland (all AlixPartners), J. Rosenfeld, and M. Materni (both S&C) re:
                                              discussion of founders' loans and political donations investigations
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Chief Executive Officer
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                       HOURS
03/03/2023          AS                        Attend meeting with M. Birtwell, D. Schwartz, A. Searles (full attendees), B.               0.4
                                              Mackay (partial attendee) (all AlixPartners), E. Downing, M. Materni, and W.
                                              Scheffer (all S&C) re: tracing 185mm from Alameda to FTX on 11/8 and 11/9
03/03/2023          AS                        Prepare emails to counsel to set-up call to further discuss Genesis workstream              0.2
03/03/2023          AS                        Respond to counsel re: Grayscale                                                            0.2
03/03/2023          AS                        Review proposed response to UCC re: Genesis                                                 0.1
03/03/2023          BFM                       Attend meeting with M. Birtwell, D. Schwartz, A. Searles (full attendees), B.               0.3
                                              Mackay (partial attendee) (all AlixPartners), E. Downing, M. Materni, and W.
                                              Scheffer (all S&C) re: tracing 185mm from Alameda to FTX on 11/8 and 11/9
03/03/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, J.                    0.4
                                              Sutherland (all AlixPartners), J. Rosenfeld, and M. Materni (both S&C) re:
                                              discussion of founders' loans and political donations investigations
03/03/2023          DS                        Attend meeting with M. Birtwell, D. Schwartz, A. Searles (full attendees), B.               0.4
                                              Mackay (partial attendee) (all AlixPartners), E. Downing, M. Materni, and W.
                                              Scheffer (all S&C) re: tracing 185mm from Alameda to FTX on 11/8 and 11/9
03/03/2023          DS                        Telephone call with D. Schwartz, V. Kotharu (all AlixPartners) re: review of                0.4
                                              response to UCC re: Modulo investigation
03/03/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, J.                    0.4
                                              Sutherland (all AlixPartners), J. Rosenfeld, and M. Materni (both S&C) re:
                                              discussion of founders' loans and political donations investigations
03/03/2023          JS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, J.                    0.4
                                              Sutherland (all AlixPartners), J. Rosenfeld, and M. Materni (both S&C) re:
                                              discussion of founders' loans and political donations investigations
03/03/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, J.                    0.4
                                              Sutherland (all AlixPartners), J. Rosenfeld, and M. Materni (both S&C) re:
                                              discussion of founders' loans and political donations investigations
03/03/2023          MB                        Attend meeting with M. Birtwell, D. Schwartz, A. Searles (full attendees), B.               0.4
                                              Mackay (partial attendee) (all AlixPartners), E. Downing, M. Materni, and W.
                                              Scheffer (all S&C) re: tracing 185mm from Alameda to FTX on 11/8 and 11/9
03/03/2023          VK                        Telephone call with D. Schwartz, V. Kotharu (all AlixPartners) re: review of                0.4
                                              response to UCC re: Modulo investigation
03/04/2023          AS                        Prepare email to counsel re: interim report write-up                                        0.1
03/05/2023          AS                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, B. Mackay, D.                      1.3
                                              Schwartz and A. Searles (full participants) and L. Goldman (partial participant) (all
                                              AlixPartners) and A. Dietderich and C. Jensen (both S&C) re: reviewing initial
                                              findings re: entity of interest workstream and status of other forensic investigations
03/05/2023          AS                        Prepare email to counsel re: targeted investigation update meetings                         0.1
03/05/2023          AS                        Review email from counsel re: Grayscale                                                     0.1
03/05/2023          AV                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, B. Mackay, D.                      1.3
                                              Schwartz and A. Searles (full participants) and L. Goldman (partial participant) (all
                                              AlixPartners) and A. Dietderich and C. Jensen (both S&C) re: reviewing initial
                                              findings re: entity of interest workstream and status of other forensic investigations
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John J. Ray III
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                       HOURS
03/05/2023          BFM                       Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, B. Mackay, D.                      1.3
                                              Schwartz and A. Searles (full participants) and L. Goldman (partial participant) (all
                                              AlixPartners) and A. Dietderich and C. Jensen (both S&C) re: reviewing initial
                                              findings re: entity of interest workstream and status of other forensic investigations
03/05/2023          DS                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, B. Mackay, D.                      1.3
                                              Schwartz and A. Searles (full participants) and L. Goldman (partial participant) (all
                                              AlixPartners) and A. Dietderich and C. Jensen (both S&C) re: reviewing initial
                                              findings re: entity of interest workstream and status of other forensic investigations
03/05/2023          LMG                       Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, B. Mackay, D.                      1.0
                                              Schwartz and A. Searles (full participants) and L. Goldman (partial participant) (all
                                              AlixPartners) and A. Dietderich and C. Jensen (both S&C) re: reviewing initial
                                              findings re: entity of interest workstream and status of other forensic investigations
03/05/2023          ME                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, B. Mackay, D.                      1.3
                                              Schwartz and A. Searles (full participants) and L. Goldman (partial participant) (all
                                              AlixPartners) and A. Dietderich and C. Jensen (both S&C) re: reviewing initial
                                              findings re: entity of interest workstream and status of other forensic investigations
03/05/2023          MJ                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, B. Mackay, D.                      1.2
                                              Schwartz and A. Searles (full participants) and L. Goldman (partial participant) (all
                                              AlixPartners) and A. Dietderich and C. Jensen (both S&C) re: reviewing initial
                                              findings re: entity of interest workstream and status of other forensic investigations
03/06/2023          AS                        Attend meeting with M. Jacques, J. Labella, D. Schwartz and A. Searles (all                 0.2
                                              AlixPartners), D. O'Hara and C. Dunne (S&C) and R. Gordon, H. Ardizzoni and K.
                                              Ramanathan (A&M) re: preparation of interim update report
03/06/2023          AS                        Coordinate call with counsel re: update call on trading workstreams                         0.1
03/06/2023          AS                        Prepare email to counsel on follow-ups and next steps re: entity of interest                0.2
03/06/2023          AS                        Prepare updates to email to counsel based on comments received re: entity of                0.2
                                              interest
03/06/2023          AS                        Review additional requests from counsel re: SOFA and SOAL's                                 0.2
03/06/2023          AS                        Review email request from A&M re: LedgerX                                                   0.1
03/06/2023          AS                        Review questions and proposed responses to UCC re: Modulo                                   0.4
03/06/2023          BFM                       Attend meeting with M. Evans, L. Goldman, B. Mackay (all AlixPartners); K.                  0.5
                                              McArthur, U. Eze, W. Wagener, J. Rosenfeld, Z. Flegenheimer (all S&C) re: update
                                              on trading workstreams
03/06/2023          DS                        Attend meeting with M. Jacques, J. Labella, D. Schwartz and A. Searles (all                 0.2
                                              AlixPartners), D. O'Hara and C. Dunne (S&C) and R. Gordon, H. Ardizzoni and K.
                                              Ramanathan (A&M) re: preparation of interim update report
03/06/2023          JCL                       Attend meeting with M. Jacques, J. Labella, D. Schwartz and A. Searles (all                 0.2
                                              AlixPartners), D. O'Hara and C. Dunne (S&C) and R. Gordon, H. Ardizzoni and K.
                                              Ramanathan (A&M) re: preparation of interim update report
03/06/2023          LMG                       Attend meeting with M. Evans, L. Goldman, B. Mackay (all AlixPartners); K.                  0.5
                                              McArthur, U. Eze, W. Wagener, J. Rosenfeld, Z. Flegenheimer (all S&C) re: update
                                              on trading workstreams
03/06/2023          LMG                       Reply to Quinn Emanuel question re: Grayscale draft complaint                               0.4
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                     HOURS
03/06/2023          ME                        Attend meeting with M. Evans, L. Goldman, B. Mackay (all AlixPartners); K.              0.5
                                              McArthur, U. Eze, W. Wagener, J. Rosenfeld, Z. Flegenheimer (all S&C) re: update
                                              on trading workstreams
03/06/2023          MJ                        Attend meeting with M. Jacques, J. Labella, D. Schwartz and A. Searles (all             0.2
                                              AlixPartners), D. O'Hara and C. Dunne (S&C) and R. Gordon, H. Ardizzoni and K.
                                              Ramanathan (A&M) re: preparation of interim update report
03/07/2023          AS                        Attend meeting with A. Vanderkamp, B. Mackay and A. Searles (all AlixPartners),         0.4
                                              E. Mosley and K. Ramanathan (A&M) and A. Dietderich (S&C) re: Joint
                                              Provisional Liquidators reservation of rights filed for third party settlement
03/07/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, A.                0.5
                                              Vanderkamp (all AlixPartners), J. Rosenfeld, N. Friedlander, Z. Flegenheimer, W.
                                              Wagener, C. Dunne, and S. Levin (all S&C) re: presenting findings for political
                                              donations investigation
03/07/2023          AS                        Prepare email to counsel re: third party analysis                                       0.1
03/07/2023          AS                        Prepare for upcoming meeting with counsel re: political donations                       0.4
03/07/2023          AS                        Prepare update paragraph describing AlixPartners role for the upcoming CEO              0.2
                                              Internal Report
03/07/2023          AS                        Review findings related to request re: third party                                      0.4
03/07/2023          AS                        Telephone call with J. Croke, B. Glueckstein, K. Mayberry, J. Rosenfeld (all S&C),      0.3
                                              A. Searles, D. Schwartz, V. Kotharu re: response to FTI for Modulo summary
03/07/2023          AS                        Telephone call with V. Kubali, L. Baer (FTI), A. Searles, D. Schwartz, V. Kotharu       0.3
                                              (all AlixPartners) re: Modulo investigation
03/07/2023          AV                        Attend meeting with A. Vanderkamp, B. Mackay and A. Searles (all AlixPartners),         0.4
                                              E. Mosley and K. Ramanathan (A&M) and A. Dietderich (S&C) re: Joint
                                              Provisional Liquidators reservation of rights filed for third party settlement
03/07/2023          AV                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, A.                0.5
                                              Vanderkamp (all AlixPartners), J. Rosenfeld, N. Friedlander, Z. Flegenheimer, W.
                                              Wagener, C. Dunne, and S. Levin (all S&C) re: presenting findings for political
                                              donations investigation
03/07/2023          BFM                       Attend meeting with A. Vanderkamp, B. Mackay and A. Searles (all AlixPartners),         0.4
                                              E. Mosley and K. Ramanathan (A&M) and A. Dietderich (S&C) re: Joint
                                              Provisional Liquidators reservation of rights filed for third party settlement
03/07/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, A.                0.5
                                              Vanderkamp (all AlixPartners), J. Rosenfeld, N. Friedlander, Z. Flegenheimer, W.
                                              Wagener, C. Dunne, and S. Levin (all S&C) re: presenting findings for political
                                              donations investigation
03/07/2023          DS                        Telephone call with J. Croke, B. Glueckstein, K. Mayberry, J. Rosenfeld (all S&C),      0.3
                                              A. Searles, D. Schwartz, V. Kotharu re: response to FTI for Modulo summary
03/07/2023          DS                        Telephone call with V. Kubali, L. Baer (FTI), A. Searles, D. Schwartz, V. Kotharu       0.3
                                              (all AlixPartners) re: Modulo investigation
03/07/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, A.                0.5
                                              Vanderkamp (all AlixPartners), J. Rosenfeld, N. Friedlander, Z. Flegenheimer, W.
                                              Wagener, C. Dunne, and S. Levin (all S&C) re: presenting findings for political
                                              donations investigation
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                     HOURS
03/07/2023          KHW                       Attend meeting with K. Kearney, M. Shanahan (both A&M) re: status of                    0.3
                                              QuickBooks data sourcing for Financial Statement Reconstruction work
03/07/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, A.                0.5
                                              Vanderkamp (all AlixPartners), J. Rosenfeld, N. Friedlander, Z. Flegenheimer, W.
                                              Wagener, C. Dunne, and S. Levin (all S&C) re: presenting findings for political
                                              donations investigation
03/07/2023          VK                        Drafted response to FTI re: Modulo summary                                              0.6
03/07/2023          VK                        Telephone call with J. Croke, B. Glueckstein, K. Mayberry, J. Rosenfeld (all S&C),      0.3
                                              A. Searles, D. Schwartz, V. Kotharu re: response to FTI for Modulo summary
03/07/2023          VK                        Telephone call with V. Kubali, L. Baer (FTI), A. Searles, D. Schwartz, V. Kotharu       0.3
                                              (all AlixPartners) re: Modulo investigation
03/08/2023          AS                        Attend meeting with M. Jacques, J. Labella, A. Vanderkamp, M. Cervi, A. Searles         0.6
                                              and K. Wessel (all AlixPartners) and K. McArthur, Z. Flegenheimer, J. Rosenfeld,
                                              B. Wagener and U. Eze (S&C) re: financial statement reconstruction workstream
                                              and preparing for upcoming board meeting
03/08/2023          AS                        Coordinate call with A&M re: insider payments for SOFAs                                 0.2
03/08/2023          AS                        Prepare draft email to send to A&M re: coordination reconstructing Alameda’s            0.2
                                              relationship with FTX
03/08/2023          AS                        Revised proposed response to UCC re: Modulo                                             0.3
03/08/2023          AS                        Review draft email to counsel re: insider loans                                         0.1
03/08/2023          AS                        Review outline of control failure document as part of the Interim Report                0.6
03/08/2023          AV                        Attend meeting with M. Jacques, J. Labella, A. Vanderkamp, M. Cervi, A. Searles         0.6
                                              and K. Wessel (all AlixPartners) and K. McArthur, Z. Flegenheimer, J. Rosenfeld,
                                              B. Wagener and U. Eze (S&C) re: financial statement reconstruction workstream
                                              and preparing for upcoming board meeting
03/08/2023          JCL                       Attend meeting with M. Jacques, J. Labella, A. Vanderkamp, M. Cervi, A. Searles         0.6
                                              and K. Wessel (all AlixPartners) and K. McArthur, Z. Flegenheimer, J. Rosenfeld,
                                              B. Wagener and U. Eze (S&C) re: financial statement reconstruction workstream
                                              and preparing for upcoming board meeting
03/08/2023          JS                        Attend meeting with J. Croke (S&C), R. Esposito, S. Coverick (A&M), S.                  0.5
                                              Thompson, V. Kotharu, and J. Sutherland (all AlixPartners) to review SOFA /
                                              SOAL preparation
03/08/2023          KHW                       Attend meeting with M. Jacques, J. Labella, A. Vanderkamp, M. Cervi, A. Searles         0.6
                                              and K. Wessel (all AlixPartners) and K. McArthur, Z. Flegenheimer, J. Rosenfeld,
                                              B. Wagener and U. Eze (S&C) re: financial statement reconstruction workstream
                                              and preparing for upcoming board meeting
03/08/2023          MC                        Attend meeting with M. Jacques, J. Labella, A. Vanderkamp, M. Cervi, A. Searles         0.6
                                              and K. Wessel (all AlixPartners) and K. McArthur, Z. Flegenheimer, J. Rosenfeld,
                                              B. Wagener and U. Eze (S&C) re: financial statement reconstruction workstream
                                              and preparing for upcoming board meeting
03/08/2023          MJ                        Attend meeting with M. Jacques, J. Labella, A. Vanderkamp, M. Cervi, A. Searles         0.6
                                              and K. Wessel (all AlixPartners) and K. McArthur, Z. Flegenheimer, J. Rosenfeld,
                                              B. Wagener and U. Eze (S&C) re: financial statement reconstruction workstream
                                              and preparing for upcoming board meeting
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                     HOURS
03/08/2023          ST                        Attend meeting with J. Croke (S&C), R. Esposito, S. Coverick (A&M), S.                  0.5
                                              Thompson, V. Kotharu, and J. Sutherland (all AlixPartners) to review SOFA /
                                              SOAL preparation
03/08/2023          VK                        Attend meeting with J. Croke (S&C), R. Esposito, S. Coverick (A&M), S.                  0.5
                                              Thompson, V. Kotharu, and J. Sutherland (all AlixPartners) to review SOFA /
                                              SOAL preparation
03/09/2023          AS                        Coordinate response to UCC re: Modulo                                                   0.2
03/09/2023          AS                        Discussion with J. Rosenfeld (S&C) re: political donations update                       0.1
03/09/2023          AS                        Prepare email to counsel re: coordinating call to discuss FBO Accounts                  0.1
03/09/2023          AS                        Prepare workplan for the investigation team based on high priority workstreams and      1.1
                                              discussions with counsel
03/09/2023          AS                        Review communications prepared and sent by fee examiner                                 0.2
03/09/2023          AS                        Review email request from counsel re: new workstream focused on Alameda                 0.2
03/09/2023          AS                        Review follow-up email from UCC re: Modulo                                              0.1
03/09/2023          AS                        Review update re: HFSC request on North Dimension                                       0.1
03/09/2023          BFM                       Attend meeting with C. Cipione, S. Hanzi, T. Phelan, and B. Mackay (all                 0.8
                                              AlixPartners), P. Lee, N. Molina, and N. Aragam (FTX), B. Mistler and M. Porto
                                              (EY) to discuss exchange and Alameda data structures and supporting code
03/09/2023          CAS                       Attend meeting with C. Cipione, S. Hanzi, T. Phelan, and B. Mackay (all                 0.8
                                              AlixPartners), P. Lee, N. Molina, and N. Aragam (FTX), B. Mistler and M. Porto
                                              (EY) to discuss exchange and Alameda data structures and supporting code
03/09/2023          JS                        Attend meeting with Jared Rosenfeld (S&C) to discuss work product related to            0.5
                                              North Dimensions banking activity
03/09/2023          MB                        Attend call with J. Rosenfeld (S&C) re: political donations                             0.1
03/09/2023          SRH                       Attend meeting with C. Cipione, S. Hanzi, T. Phelan, and B. Mackay (all                 0.8
                                              AlixPartners), P. Lee, N. Molina, and N. Aragam (FTX), B. Mistler and M. Porto
                                              (EY) to discuss exchange and Alameda data structures and supporting code
03/09/2023          TP                        Attend meeting with C. Cipione, S. Hanzi, T. Phelan, and B. Mackay (all                 0.8
                                              AlixPartners), P. Lee, N. Molina, and N. Aragam (FTX), B. Mistler and M. Porto
                                              (EY) to discuss exchange and Alameda data structures and supporting code
03/10/2023          AS                        Revise proposed UCC responses re: Modulo investigation                                  0.2
03/10/2023          BFM                       Attend call with J. Croke, W. Wagener, A. Holland, J. Rosenfeld (all S&C), J.           0.5
                                              Auerbach, T. MacMillan, A. Stanglin, H. Master (all Nardello), M. Evans, J.
                                              Sutherland, B. Mackay (all AlixPartners) re: liquidation event
03/10/2023          JS                        Attend call with J. Croke, W. Wagener, A. Holland, J. Rosenfeld (all S&C), J.           0.5
                                              Auerbach, T. MacMillan, A. Stanglin, H. Master (all Nardello), M. Evans, J.
                                              Sutherland, B. Mackay (all AlixPartners) re: liquidation event
03/10/2023          JS                        Update workstreams documentation for presentation to counsel                            0.4
03/10/2023          LMG                       Attend meeting with M. Evans and L. Goldman (both AlixPartners) and K.                  0.5
                                              Ramanathan, G. Walia, S. Coverick (all A&M) re: collaborating on Alameda FTX
                                              activity overview deck
03/10/2023          MC                        Assist with drafting of control failures section of Ray report                          0.6
03/10/2023          ME                        Attend call with J. Croke, W. Wagener, A. Holland, J. Rosenfeld (all S&C), J.           0.5
                                              Auerbach, T. MacMillan, A. Stanglin, H. Master (all Nardello), M. Evans, J.
                                              Sutherland, B. Mackay (all AlixPartners) re: liquidation event
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                         HOURS
03/10/2023          ME                        Attend meeting with M. Evans and L. Goldman (both AlixPartners) and K.                       0.5
                                              Ramanathan, G. Walia, S. Coverick (all A&M) re: collaborating on Alameda FTX
                                              activity overview deck
03/12/2023          JCL                       Update draft deck for board meeting re: historical financial statement recreation            1.2
03/13/2023          AS                        Attend meeting with D. Schwartz, J. Sutherland, A. Searles, M. Birtwell, S.                  0.5
                                              Thompson (all AlixPartners) E. Downing, C. Dunne, Z. Flegenheimer, B. Harsch ,
                                              and D. O'Hara (all S&C) to discuss insider actions
03/13/2023          AS                        Attend meeting with J. Labella and A. Searles (both AlixPartners) re: update board           0.3
                                              materials to send to counsel
03/13/2023          AS                        Attend meeting with K. McArthur, B. Wagener, J. Rosenfeld, A. Hollander and U.               0.6
                                              Eze (all S&C), M. Jacques, D. White, J. LaBella, D. Schwartz, L. Goldman, B.
                                              Mackay, A. Vanderkamp and A. Searles (all AlixPartners) to provide an update on
                                              the status of investigation workstreams including Genesis, FTX Digital Markets and
                                              Financial Reconstruction board materials
03/13/2023          AS                        Attend meeting with K. Wessel and A. Searles (both AlixPartners) re: final draft of          0.2
                                              board materials to send to counsel
03/13/2023          AS                        Attend meeting with M. Materni (full attendee), D. O'Hara, J. Rosenfeld, Z.                  0.5
                                              Flegenheimer, (partial attendees) (all S&C), M. Birtwell, D. Schwartz (full
                                              attendees), A. Searles, G. Shapiro (partial attendees) (all AlixPartners) re: political
                                              donations and 46mm USD transfer
03/13/2023          AS                        Prepare agenda for upcoming meeting with counsel re: investigation updates                   0.2
03/13/2023          AV                        Attend meeting with K. McArthur, B. Wagener, J. Rosenfeld, A. Hollander and U.               0.6
                                              Eze (all S&C), M. Jacques, D. White, J. LaBella, D. Schwartz, L. Goldman, B.
                                              Mackay, A. Vanderkamp and A. Searles (all AlixPartners) to provide an update on
                                              the status of investigation workstreams including Genesis, FTX Digital Markets and
                                              Financial Reconstruction board materials
03/13/2023          BFM                       Attend meeting with K. McArthur, B. Wagener, J. Rosenfeld, A. Hollander and U.               0.6
                                              Eze (all S&C), M. Jacques, D. White, J. LaBella, D. Schwartz, L. Goldman, B.
                                              Mackay, A. Vanderkamp and A. Searles (all AlixPartners) to provide an update on
                                              the status of investigation workstreams including Genesis, FTX Digital Markets and
                                              Financial Reconstruction board materials
03/13/2023          DS                        Attend meeting with D. Schwartz, J. Sutherland, A. Searles, M. Birtwell, S.                  0.5
                                              Thompson (all AlixPartners) E. Downing, C. Dunne, Z. Flegenheimer, B. Harsch ,
                                              and D. O'Hara (all S&C) to discuss insider actions
03/13/2023          DS                        Attend meeting with K. McArthur, B. Wagener, J. Rosenfeld, A. Hollander and U.               0.6
                                              Eze (all S&C), M. Jacques, D. White, J. LaBella, D. Schwartz, L. Goldman, B.
                                              Mackay, A. Vanderkamp and A. Searles (all AlixPartners) to provide an update on
                                              the status of investigation workstreams including Genesis, FTX Digital Markets and
                                              Financial Reconstruction board materials
03/13/2023          DS                        Attend meeting with M. Materni (full attendee), D. O'Hara, J. Rosenfeld, Z.                  0.6
                                              Flegenheimer, (partial attendees) (all S&C), M. Birtwell, D. Schwartz (full
                                              attendees), A. Searles, G. Shapiro (partial attendees) (all AlixPartners) re: political
                                              donations and 46mm USD transfer
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
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Re:                 Communication & Meetings with Interested Parties
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                         HOURS
03/13/2023          DJW                       Attend meeting with K. McArthur, B. Wagener, J. Rosenfeld, A. Hollander and U.               0.6
                                              Eze (all S&C), M. Jacques, D. White, J. LaBella, D. Schwartz, L. Goldman, B.
                                              Mackay, A. Vanderkamp and A. Searles (all AlixPartners) to provide an update on
                                              the status of investigation workstreams including Genesis, FTX Digital Markets and
                                              Financial Reconstruction board materials
03/13/2023          GS                        Attend meeting with M. Materni (full attendee), D. O'Hara, J. Rosenfeld, Z.                  0.5
                                              Flegenheimer, (partial attendees) (all S&C), M. Birtwell, D. Schwartz (full
                                              attendees), A. Searles, G. Shapiro (partial attendees) (all AlixPartners) re: political
                                              donations and 46mm USD transfer
03/13/2023          JCL                       Attend meeting with J. Labella and A. Searles (both AlixPartners) re: update board           0.3
                                              materials to send to counsel
03/13/2023          JCL                       Attend meeting with K. McArthur, B. Wagener, J. Rosenfeld, A. Hollander and U.               0.6
                                              Eze (all S&C), M. Jacques, D. White, J. LaBella, D. Schwartz, L. Goldman, B.
                                              Mackay, A. Vanderkamp and A. Searles (all AlixPartners) to provide an update on
                                              the status of investigation workstreams including Genesis, FTX Digital Markets and
                                              Financial Reconstruction board materials
03/13/2023          JCL                       Update draft of board slides re: historical financial statements and phases of work          1.7
                                              represented in slides
03/13/2023          JS                        Attend meeting with D. Schwartz, J. Sutherland, A. Searles, M. Birtwell, S.                  0.5
                                              Thompson (all AlixPartners) E. Downing, C. Dunne, Z. Flegenheimer, B. Harsch ,
                                              and D. O'Hara (all S&C) to discuss insider actions
03/13/2023          KHW                       Attend meeting with K. Wessel and A. Searles (both AlixPartners) re: final draft of          0.2
                                              board materials to send to counsel
03/13/2023          LMG                       Attend meeting with K. McArthur, B. Wagener, J. Rosenfeld, A. Hollander and U.               0.6
                                              Eze (all S&C), M. Jacques, D. White, J. LaBella, D. Schwartz, L. Goldman, B.
                                              Mackay, A. Vanderkamp and A. Searles (all AlixPartners) to provide an update on
                                              the status of investigation workstreams including Genesis, FTX Digital Markets and
                                              Financial Reconstruction board materials
03/13/2023          MC                        Review email re: entity of interest analysis                                                 0.3
03/13/2023          MC                        Review latest draft of board update slides                                                   0.5
03/13/2023          MB                        Attend meeting with M. Materni (full attendee), D. O'Hara, J. Rosenfeld, Z.                  0.6
                                              Flegenheimer, (partial attendees) (all S&C), M. Birtwell, D. Schwartz (full
                                              attendees), A. Searles, G. Shapiro (partial attendees) (all AlixPartners) re: political
                                              donations and 46mm USD transfer
03/13/2023          MB                        Attend meeting with D. Schwartz, J. Sutherland, A. Searles, M. Birtwell, S.                  0.5
                                              Thompson (all AlixPartners) E. Downing, C. Dunne, Z. Flegenheimer, B. Harsch ,
                                              and D. O'Hara (all S&C) to discuss insider actions
03/13/2023          MJ                        Attend meeting with K. McArthur, B. Wagener, J. Rosenfeld, A. Hollander and U.               0.6
                                              Eze (all S&C), M. Jacques, D. White, J. LaBella, D. Schwartz, L. Goldman, B.
                                              Mackay, A. Vanderkamp and A. Searles (all AlixPartners) to provide an update on
                                              the status of investigation workstreams including Genesis, FTX Digital Markets and
                                              Financial Reconstruction board materials
03/13/2023          ST                        Attend meeting with D. Schwartz, J. Sutherland, A. Searles, M. Birtwell, S.                  0.5
                                              Thompson (all AlixPartners) E. Downing, C. Dunne, Z. Flegenheimer, B. Harsch ,
                                              and D. O'Hara (all S&C) to discuss insider actions
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/14/2023          AS                        Attend meeting with A. Dietderich, B. Beller, C. Hodges, MA. Cyr, A. Toobin, S.         0.8
                                              Liu (all S&C), M. Jacques, D. White, L. Goldman, A. Vanderkamp, D. Schwartz,
                                              A. Searles, B. Mackay (all AlixPartners) re: Genesis analysis update
03/14/2023          AV                        Attend meeting with A. Dietderich, B. Beller, C. Hodges, MA. Cyr, A. Toobin, S.         0.8
                                              Liu (all S&C), M. Jacques, D. White, L. Goldman, A. Vanderkamp, D. Schwartz,
                                              A. Searles, B. Mackay (all AlixPartners) re: Genesis analysis update
03/14/2023          BFM                       Attend meeting with A. Dietderich, B. Beller, C. Hodges, MA. Cyr, A. Toobin, S.         0.8
                                              Liu (all S&C), M. Jacques, D. White, L. Goldman, A. Vanderkamp, D. Schwartz,
                                              A. Searles, B. Mackay (all AlixPartners) re: Genesis analysis update
03/14/2023          DS                        Attend meeting with A. Dietderich, B. Beller, C. Hodges, MA. Cyr, A. Toobin, S.         0.8
                                              Liu (all S&C), M. Jacques, D. White, L. Goldman, A. Vanderkamp, D. Schwartz,
                                              A. Searles, B. Mackay (all AlixPartners) re: Genesis analysis update
03/14/2023          DS                        Attend meeting with G. Shapiro, D. Schwartz (full attendees) M. Birtwell (partial       0.5
                                              attendee) (all AlixPartners), J. Rosenfeld, Z. Flegenheimer, W. Wagener, S. Levin,
                                              and S. Wheeler (all S&C) re: presenting findings for political donations
03/14/2023          DJW                       Attend meeting with A. Dietderich, B. Beller, C. Hodges, MA. Cyr, A. Toobin, S.         0.8
                                              Liu (all S&C), M. Jacques, D. White, L. Goldman, A. Vanderkamp, D. Schwartz,
                                              A. Searles, B. Mackay (all AlixPartners) re: Genesis analysis update
03/14/2023          GS                        Attend meeting with G. Shapiro, D. Schwartz (full attendees) M. Birtwell (partial       0.5
                                              attendee) (all AlixPartners), J. Rosenfeld, Z. Flegenheimer, W. Wagener, S. Levin,
                                              and S. Wheeler (all S&C) re: presenting findings for political donations
03/14/2023          JCL                       Research timing benchmarks for restatement periods                                      0.6
03/14/2023          LMG                       Attend meeting with A. Dietderich, B. Beller, C. Hodges, MA. Cyr, A. Toobin, S.         0.8
                                              Liu (all S&C), M. Jacques, D. White, L. Goldman, A. Vanderkamp, D. Schwartz,
                                              A. Searles, B. Mackay (all AlixPartners) re: Genesis analysis update
03/14/2023          MC                        Review latest draft of board update slides                                              0.7
03/14/2023          MB                        Attend meeting with G. Shapiro, D. Schwartz (full attendees) M. Birtwell (partial       0.3
                                              attendee) (all AlixPartners), J. Rosenfeld, Z. Flegenheimer, W. Wagener, S. Levin,
                                              and S. Wheeler (all S&C) re: presenting findings for political donations
03/14/2023          MJ                        Attend meeting with A. Dietderich, B. Beller, C. Hodges, MA. Cyr, A. Toobin, S.         0.8
                                              Liu (all S&C), M. Jacques, D. White, L. Goldman, A. Vanderkamp, D. Schwartz,
                                              A. Searles, B. Mackay (all AlixPartners) re: Genesis analysis update
03/15/2023          AS                        Coordinate meeting with counsel re: entity of interest                                  0.2
03/15/2023          AS                        Respond to counsel re: entity of interest workstream                                    0.2
03/15/2023          AV                        Participate in call with B. Beller (S&C) to discuss entity of interest analysis         0.2
03/15/2023          BFM                       Attend meeting with K. Dusendschon, R. Johnson, L. Konig, P. Kwan, J. Zatz (all         0.9
                                              A&M), C. Cipione, L. Goldman, T. Phelan, S. Hanzi, and B. Mackay (all
                                              AlixPartners) re: Discuss FTX.com and FTX.us exchange databases, codebase, and
                                              Alameda database
03/15/2023          BFM                       Attend meeting with M. Tomaino, C. Dunne, B. Harsch, K. Donnelly, E. Downing,           1.0
                                              W. Scheffer (all S&C), T. Hudson (A&M), B. Mackay, J. Sutherland, and S.
                                              Thompson (all AlixPartners) to discuss funds tracing analysis of an acquisition of
                                              interest
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John J. Ray III
Chief Executive Officer
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Re:                 Communication & Meetings with Interested Parties
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/15/2023          CAS                       Attend meeting with K. Dusendschon, R. Johnson, L. Konig, P. Kwan, J. Zatz (all           0.9
                                              A&M), C. Cipione, L. Goldman, T. Phelan, S. Hanzi, and B. Mackay (all
                                              AlixPartners) re: Discuss FTX.com and FTX.us exchange databases, codebase, and
                                              Alameda database
03/15/2023          JCL                       Revise slides for board presentation                                                      0.8
03/15/2023          JCL                       Research attributes of entities with operations and status of accounting systems for      0.6
                                              inclusion into deck re: board presentation
03/15/2023          JS                        Attend meeting with M. Tomaino, C. Dunne, B. Harsch, K. Donnelly, E. Downing,             1.0
                                              W. Scheffer (all S&C), T. Hudson (A&M), B. Mackay, J. Sutherland, and S.
                                              Thompson (all AlixPartners) to discuss funds tracing analysis of an acquisition of
                                              interest
03/15/2023          LMG                       Attend meeting with K. Dusendschon, R. Johnson, L. Konig, P. Kwan, J. Zatz (all           0.9
                                              A&M), C. Cipione, L. Goldman, T. Phelan, S. Hanzi, and B. Mackay (all
                                              AlixPartners) re: Discuss FTX.com and FTX.us exchange databases, codebase, and
                                              Alameda database
03/15/2023          LMG                       Attend meeting with M. Evans (partial attendee) and L. Goldman (both                      0.6
                                              AlixPartners) and K. Ramanathan and G. Walia (both A&M) re: draft deck on
                                              Alameda activity on FTX exchanges
03/15/2023          LMG                       Prepare follow up materials for A&M after call re: code base                              0.3
03/15/2023          LMG                       Prepare follow-up items for to A&M after call re: draft presentation on Alameda           1.2
                                              activity on FTX exchanges
03/15/2023          MC                        Attend meeting with M. Cervi (partial attendee), V. Kotharu (both AlixPartners) R.        0.6
                                              Esposito, L. Francis (both A&M), J. Croke, A. Kranzley (both S&C), M. Cilia
                                              (RLKS) re: review of SOFA 4 schedule
03/15/2023          ME                        Attend meeting with M. Evans (partial attendee) and L. Goldman (both                      0.5
                                              AlixPartners) and K. Ramanathan and G. Walia (both A&M) re: draft deck on
                                              Alameda activity on FTX exchanges
03/15/2023          ST                        Attend meeting with M. Tomaino, C. Dunne, B. Harsch, K. Donnelly, E. Downing,             1.0
                                              W. Scheffer (all S&C), T. Hudson (A&M), B. Mackay, J. Sutherland, and S.
                                              Thompson (all AlixPartners) to discuss funds tracing analysis of an acquisition of
                                              interest
03/15/2023          SRH                       Attend meeting with K. Dusendschon, R. Johnson, L. Konig, P. Kwan, J. Zatz (all           0.9
                                              A&M), C. Cipione, L. Goldman, T. Phelan, S. Hanzi, and B. Mackay (all
                                              AlixPartners) re: Discuss FTX.com and FTX.us exchange databases, codebase, and
                                              Alameda database
03/15/2023          TP                        Attend meeting with K. Dusendschon, R. Johnson, L. Konig, P. Kwan, J. Zatz (all           0.9
                                              A&M), C. Cipione, L. Goldman, T. Phelan, S. Hanzi, and B. Mackay (all
                                              AlixPartners) re: Discuss FTX.com and FTX.us exchange databases, codebase, and
                                              Alameda database
03/15/2023          VK                        Attend meeting with M. Cervi (partial attendee), V. Kotharu (both AlixPartners) R.        1.0
                                              Esposito, L. Francis (both A&M), J. Croke, A. Kranzley (both S&C), M. Cilia
                                              (RLKS) re: review of SOFA 4 schedule
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03/16/2023          AS                        Attend meeting with M. Jacques, M. Evans, J. Labella and A. Searles (all               0.3
                                              AlixPartners) and K. McArthur, U. Eze, A. Holland and Z. Flegenheimer (all S&C)
                                              re: review of board material related to the financial statement re-construction
                                              workstream
03/16/2023          AS                        Prepare response based on council's email re: interview of former employee             0.1
03/16/2023          AS                        Review email requests from counsel re: acquisition of interest                         0.2
03/16/2023          AV                        Attend meeting with D. O'Hara, U. Eze, B. Harsch, M. Strand, Z. Flegenheimer (all      0.2
                                              S&C), D. White, D. Schwartz, A. Vanderkamp, B. Mackay (all AlixPartners) re:
                                              acquisition of interest
03/16/2023          BFM                       Attend meeting with D. O'Hara, U. Eze, B. Harsch, M. Strand, Z. Flegenheimer (all      0.2
                                              S&C), D. White, D. Schwartz, A. Vanderkamp, B. Mackay (all AlixPartners) re:
                                              acquisition of interest
03/16/2023          BFM                       Attend meeting with G. Walia, L. Konig (both A&M), M. Evans, L. Goldman, B.            0.8
                                              Mackay (all AlixPartners) re: Alameda trading activity on FTX.com exchange
03/16/2023          DS                        Attend meeting with D. O'Hara, U. Eze, B. Harsch, M. Strand, Z. Flegenheimer (all      0.2
                                              S&C), D. White, D. Schwartz, A. Vanderkamp, B. Mackay (all AlixPartners) re:
                                              acquisition of interest
03/16/2023          DS                        Meeting with J. LaBella, K. Wessel, M. Cervi, D. Schwartz (all AlixPartners), R.       0.5
                                              Gordon, K. Kearney, and J. Sequeira (all A&M) re: creation of SOFA and SOLs
                                              and interplay with AlixPartners reconstructed financials
03/16/2023          DJW                       Attend meeting with D. O'Hara, U. Eze, B. Harsch, M. Strand, Z. Flegenheimer (all      0.2
                                              S&C), D. White, D. Schwartz, A. Vanderkamp, B. Mackay (all AlixPartners) re:
                                              acquisition of interest
03/16/2023          JCL                       Attend meeting with M. Jacques, M. Evans, J. Labella and A. Searles (all               0.3
                                              AlixPartners) and K. McArthur, U. Eze, A. Holland and Z. Flegenheimer (all S&C)
                                              re: review of board material related to the financial statement re-construction
                                              workstream
03/16/2023          JCL                       Meeting with J. LaBella, K. Wessel, M. Cervi, D. Schwartz (all AlixPartners), R.       0.5
                                              Gordon, K. Kearney, and J. Sequeira (all A&M) re: creation of SOFA and SOLs
                                              and interplay with AlixPartners reconstructed financials
03/16/2023          JCL                       Revise draft slides and talking points for board deck                                  1.2
03/16/2023          KHW                       Meeting with J. LaBella, K. Wessel, M. Cervi, D. Schwartz (all AlixPartners), R.       0.5
                                              Gordon, K. Kearney, and J. Sequeira (all A&M) re: creation of SOFA and SOLs
                                              and interplay with AlixPartners reconstructed financials
03/16/2023          LMG                       Attend meeting with G. Walia, L. Konig (both A&M), M. Evans, L. Goldman, B.            0.8
                                              Mackay (all AlixPartners) re: Alameda trading activity on FTX.com exchange
03/16/2023          MC                        Meeting with J. LaBella, K. Wessel, M. Cervi, D. Schwartz (all AlixPartners), R.       0.5
                                              Gordon, K. Kearney, and J. Sequeira (all A&M) re: creation of SOFA and SOLs
                                              and interplay with AlixPartners reconstructed financials
03/16/2023          ME                        Attend meeting with G. Walia, L. Konig (both A&M), M. Evans, L. Goldman, B.            0.8
                                              Mackay (all AlixPartners) re: Alameda trading activity on FTX.com exchange
03/16/2023          ME                        Attend meeting with M. Jacques, M. Evans, J. Labella and A. Searles (all               0.3
                                              AlixPartners) and K. McArthur, U. Eze, A. Holland and Z. Flegenheimer (all S&C)
                                              re: review of board material related to the financial statement re-construction
                                              workstream
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                       HOURS
03/16/2023          MJ                        Attend meeting with M. Jacques, M. Evans, J. Labella and A. Searles (all                  0.3
                                              AlixPartners) and K. McArthur, U. Eze, A. Holland and Z. Flegenheimer (all S&C)
                                              re: review of board material related to the financial statement re-construction
                                              workstream
03/17/2023          JCL                       Review support for individual slides in board deck                                        0.9
03/17/2023          JCL                       Revise talking points for individual slides in board deck                                 0.4
03/19/2023          JCL                       Review board slides to develop responses to potential questions from board                1.0
03/19/2023          MJ                        Prepare for FTX Board of Directors meeting                                                1.3
03/20/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, A. Searles (all                 0.4
                                              AlixPartners), D. O'Hara, J. Rosenfeld, J. Croke, C. Dunne, and S. Levin (all S&C)
                                              re: discussion of workplan for charitable contributions investigation
03/20/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.               0.8
                                              Searles, S. Thompson (all AlixPartners), Z. Flegenheimer, E. Downing, D. O'Hara,
                                              C. Dunne, M. Strand, B. Harsch, S. Levin (partial attendee) (all S&C) re: discussion
                                              of founders' loans
03/20/2023          AS                        Coordinate schedule with A&M for a call to discuss Ledger Prime                           0.2
03/20/2023          AS                        Prepare email to A&M re: board materials                                                  0.1
03/20/2023          AS                        Review John Ray First Day Declaration to review bios of board members for                 0.2
                                              upcoming meeting
03/20/2023          AV                        Attend meeting with B. Glueckstein, B. Beller, A. Toobin (all S&C), M. Jacques,           0.6
                                              M. Evans, L. Goldman, A. Vanderkamp, D. Schwartz, R. Self, B. Mackay (all
                                              AlixPartners) re: updates to entity of interest analysis
03/20/2023          BFM                       Attend meeting with B. Glueckstein, B. Beller, A. Toobin (all S&C), M. Jacques,           0.6
                                              M. Evans, L. Goldman, A. Vanderkamp, D. Schwartz, R. Self, B. Mackay (all
                                              AlixPartners) re: updates to entity of interest analysis
03/20/2023          DS                        Attend meeting with B. Glueckstein, B. Beller, A. Toobin (all S&C), M. Jacques,           0.6
                                              M. Evans, L. Goldman, A. Vanderkamp, D. Schwartz, R. Self, B. Mackay (all
                                              AlixPartners) re: updates to entity of interest analysis
03/20/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, A. Searles (all                 0.4
                                              AlixPartners), D. O'Hara, J. Rosenfeld, J. Croke, C. Dunne, and S. Levin (all S&C)
                                              re: discussion of workplan for charitable contributions investigation
03/20/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.               0.8
                                              Searles, S. Thompson (all AlixPartners), Z. Flegenheimer, E. Downing, D. O'Hara,
                                              C. Dunne, M. Strand, B. Harsch, S. Levin (partial attendee) (all S&C) re: discussion
                                              of founders' loans
03/20/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, A. Searles (all                 0.4
                                              AlixPartners), D. O'Hara, J. Rosenfeld, J. Croke, C. Dunne, and S. Levin (all S&C)
                                              re: discussion of workplan for charitable contributions investigation
03/20/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.               0.8
                                              Searles, S. Thompson (all AlixPartners), Z. Flegenheimer, E. Downing, D. O'Hara,
                                              C. Dunne, M. Strand, B. Harsch, S. Levin (partial attendee) (all S&C) re: discussion
                                              of founders' loans
03/20/2023          JCL                       Attend call with L. Goldman and J. LaBella (both AlixPartners), G. Wang (former           2.4
                                              FTX), I. Graff (Fried Frank), N. Friedlander and C. Kerin (both S&C), K.
                                              Ramanathan and G. Walia (both A&M), and Sygnia re: questions for Gary Wang
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/20/2023          JCL                       Attend call with R. Lee (Robert Lee Associates) to discuss accounting processes           0.3
                                              performed by RLA
03/20/2023          JCL                       Working session with J. LaBella, M. Cervi, T. Yamada (all AlixPartners) re: update        0.5
                                              of board slides for legal entity statistics
03/20/2023          JS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.               0.8
                                              Searles, S. Thompson (all AlixPartners), Z. Flegenheimer, E. Downing, D. O'Hara,
                                              C. Dunne, M. Strand, B. Harsch, S. Levin (partial attendee) (all S&C) re: discussion
                                              of founders' loans
03/20/2023          LMG                       Attend call with L. Goldman and J. LaBella (both AlixPartners), G. Wang (former           2.4
                                              FTX), I. Graff (Fried Frank), N. Friedlander and C. Kerin (both S&C), K.
                                              Ramanathan and G. Walia (both A&M), and Sygnia re: questions for Gary Wang
03/20/2023          LMG                       Attend meeting with B. Glueckstein, B. Beller, A. Toobin (all S&C), M. Jacques,           0.6
                                              M. Evans, L. Goldman, A. Vanderkamp, D. Schwartz, R. Self, B. Mackay (all
                                              AlixPartners) re: updates to entity of interest analysis
03/20/2023          LMG                       Finalize notes from call with Gary Wang                                                   0.6
03/20/2023          MC                        Working session with J. LaBella, M. Cervi, T. Yamada (all AlixPartners) re: update        0.5
                                              of board slides for legal entity statistics
03/20/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.               0.8
                                              Searles, S. Thompson (all AlixPartners), Z. Flegenheimer, E. Downing, D. O'Hara,
                                              C. Dunne, M. Strand, B. Harsch, S. Levin (partial attendee) (all S&C) re: discussion
                                              of founders' loans
03/20/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, A. Searles (all                 0.4
                                              AlixPartners), D. O'Hara, J. Rosenfeld, J. Croke, C. Dunne, and S. Levin (all S&C)
                                              re: discussion of workplan for charitable contributions investigation
03/20/2023          MB                        Working session with J. Rosenfeld (S&C) re: walkthrough and edits for table of            0.6
                                              contents provided as part of loan funded political donation support packages
03/20/2023          ME                        Attend meeting with B. Glueckstein, B. Beller, A. Toobin (all S&C), M. Jacques,           0.6
                                              M. Evans, L. Goldman, A. Vanderkamp, D. Schwartz, R. Self, B. Mackay (all
                                              AlixPartners) re: updates to entity of interest analysis
03/20/2023          ME                        Prepare materials for Board Meeting on 3/21                                               0.6
03/20/2023          ME                        Prepare weekly work tracker to send to counsel                                            0.8
03/20/2023          MJ                        Attend meeting with B. Glueckstein, B. Beller, A. Toobin (all S&C), M. Jacques,           0.6
                                              M. Evans, L. Goldman, A. Vanderkamp, D. Schwartz, R. Self, B. Mackay (all
                                              AlixPartners) re: updates to entity of interest analysis
03/20/2023          RS                        Attend meeting with B. Glueckstein, B. Beller, A. Toobin (all S&C), M. Jacques,           0.6
                                              M. Evans, L. Goldman, A. Vanderkamp, D. Schwartz, R. Self, B. Mackay (all
                                              AlixPartners) re: updates to entity of interest analysis
03/20/2023          ST                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.               0.8
                                              Searles, S. Thompson (all AlixPartners), Z. Flegenheimer, E. Downing, D. O'Hara,
                                              C. Dunne, M. Strand, B. Harsch, S. Levin (partial attendee) (all S&C) re: discussion
                                              of founders' loans
03/20/2023          TY                        Working session with J. LaBella, M. Cervi, T. Yamada (all AlixPartners) re: update        0.5
                                              of board slides for legal entity statistics
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125 Broad Street
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Re:                 Communication & Meetings with Interested Parties
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                    HOURS
03/21/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.            0.7
                                              Vanderkamp, A. Searles (all AlixPartners), Z. Flegenheimer, D. O'Hara, J.
                                              Rosenfeld, W. Wagener, and K. McArthur (partial attendee) (all S&C) re: update on
                                              political donations and founder loans workstreams
03/21/2023          AS                        Discussion with T. Hudson (A&M) re: board materials                                    0.1
03/21/2023          AS                        Update responses to counsel re: detailed questions on political donations              0.5
03/21/2023          AV                        Participate in Board of Directors update meeting with M. Evans, M. Jacques, J.         1.0
                                              LaBella, and A. Vanderkamp (all AlixPartners) along with board members and
                                              representatives from Perella Weinberg Partners, A&M, Quinn Emmanuel, and S&C
03/21/2023          AV                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.            0.7
                                              Vanderkamp, A. Searles (all AlixPartners), Z. Flegenheimer, D. O'Hara, J.
                                              Rosenfeld, W. Wagener, and K. McArthur (partial attendee) (all S&C) re: update on
                                              political donations and founder loans workstreams
03/21/2023          BFM                       Attend meeting with J. Croke, A. Holland, J. Rosenfeld (all S&C), M. Evans, L.         0.7
                                              Goldman, B. Mackay (all AlixPartners) re: liquidation event
03/21/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.            0.7
                                              Vanderkamp, A. Searles (all AlixPartners), Z. Flegenheimer, D. O'Hara, J.
                                              Rosenfeld, W. Wagener, and K. McArthur (partial attendee) (all S&C) re: update on
                                              political donations and founder loans workstreams
03/21/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.            0.7
                                              Vanderkamp, A. Searles (all AlixPartners), Z. Flegenheimer, D. O'Hara, J.
                                              Rosenfeld, W. Wagener, and K. McArthur (partial attendee) (all S&C) re: update on
                                              political donations and founder loans workstreams
03/21/2023          JCL                       Participate in Board of Directors update meeting with M. Evans, M. Jacques, J.         1.0
                                              LaBella, and A. Vanderkamp (all AlixPartners) along with board members and
                                              representatives from Perella Weinberg Partners, A&M, Quinn Emmanuel, and S&C
03/21/2023          JS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.            0.7
                                              Vanderkamp, A. Searles (all AlixPartners), Z. Flegenheimer, D. O'Hara, J.
                                              Rosenfeld, W. Wagener, and K. McArthur (partial attendee) (all S&C) re: update on
                                              political donations and founder loans workstreams
03/21/2023          LMG                       Attend meeting with J. Croke, A. Holland, J. Rosenfeld (all S&C), M. Evans, L.         0.7
                                              Goldman, B. Mackay (all AlixPartners) re: liquidation event
03/21/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.            0.7
                                              Vanderkamp, A. Searles (all AlixPartners), Z. Flegenheimer, D. O'Hara, J.
                                              Rosenfeld, W. Wagener, and K. McArthur (partial attendee) (all S&C) re: update on
                                              political donations and founder loans workstreams
03/21/2023          ME                        Participate in Board of Directors update meeting with M. Evans, M. Jacques, J.         1.0
                                              LaBella, and A. Vanderkamp (all AlixPartners) along with board members and
                                              representatives from Perella Weinberg Partners, A&M, Quinn Emmanuel, and S&C
03/21/2023          ME                        Attend meeting with J. Croke, A. Holland, J. Rosenfeld (all S&C), M. Evans, L.         0.7
                                              Goldman, B. Mackay (all AlixPartners) re: liquidation event
03/21/2023          MJ                        Participate in Board of Directors update meeting with M. Evans, M. Jacques, J.         1.0
                                              LaBella, and A. Vanderkamp (all AlixPartners) along with board members and
                                              representatives from Perella Weinberg Partners, A&M, Quinn Emmanuel, and S&C
03/22/2023          AS                        Review proposed response to send to counsel re: Alameda traders                        0.2
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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Re:                 Communication & Meetings with Interested Parties
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                          HOURS
03/22/2023          AV                        Attend meeting with B. Harsch, Z. Flegenheimer, M. Strand, D. O’Hara, and U.                   0.3
                                              Eze (all S&C) and V. Kotharu, B. Mackay, and A. Vanderkamp (all AlixPartners)
                                              re: the flow of funds related to the Genesis Block / Alameda / Bluebird acquisition
03/22/2023          AV                        Attend meeting with M. Brown, Q. Zeng, R. Komendowski, and A. Vanderkamp                       0.4
                                              (all AlixPartners) and B. Beller, S. Liu, and M. Cyr (all S&C) to discuss entity of
                                              interest estate financials
03/22/2023          BFM                       Attend meeting with B. Harsch, Z. Flegenheimer, M. Strand, D. O’Hara, and U.                   0.3
                                              Eze (all S&C) and V. Kotharu, B. Mackay, and A. Vanderkamp (all AlixPartners)
                                              re: the flow of funds related to the Genesis Block / Alameda / Bluebird acquisition
03/22/2023          BFM                       Prepare materials and draft email to Nardello re: acquisition of interest                      1.1
03/22/2023          JCL                       Summarize notes from G. Wang interview for distribution                                        0.3
03/22/2023          KHW                       Prepare information for financial reconstruction workstream planning relevant to               0.4
                                              weekly QuickBooks meeting with A&M
03/22/2023          LMG                       Attend call with G. Walia (A&M) re: liquidation and customer P&L calculations                  0.5
03/22/2023          LMG                       Attend meeting with M. Evans, L. Goldman, S. Hanzi (all AlixPartners) and K.                   0.8
                                              Ramanathan, G. Walia, L. Konig, W. Walker (all A&M) re: analysis of Alameda
                                              activity in FTX.com spot margin borrow/lend market
03/22/2023          MJB                       Attend meeting with M. Brown, Q. Zeng, R. Komendowski, and A. Vanderkamp                       0.4
                                              (all AlixPartners) and B. Beller, S. Liu, and M. Cyr (all S&C) to discuss entity of
                                              interest estate financials
03/22/2023          MB                        Attend meeting with J. Rosenfeld (S&C) re: political donations summary findings                0.2
03/22/2023          ME                        Attend meeting with M. Evans, L. Goldman, S. Hanzi (all AlixPartners) and K.                   0.8
                                              Ramanathan, G. Walia, L. Konig, W. Walker (all A&M) re: analysis of Alameda
                                              activity in FTX.com spot margin borrow/lend market
03/22/2023          QZ                        Attend meeting with M. Brown, Q. Zeng, R. Komendowski, and A. Vanderkamp                       0.4
                                              (all AlixPartners) and B. Beller, S. Liu, and M. Cyr (all S&C) to discuss entity of
                                              interest estate financials
03/22/2023          RHK                       Attend meeting with M. Brown, Q. Zeng, R. Komendowski, and A. Vanderkamp                       0.4
                                              (all AlixPartners) and B. Beller, S. Liu, and M. Cyr (all S&C) to discuss entity of
                                              interest estate financials
03/22/2023          SRH                       Attend meeting with M. Evans, L. Goldman, S. Hanzi (all AlixPartners) and K.                   0.8
                                              Ramanathan, G. Walia, L. Konig, W. Walker (all A&M) re: analysis of Alameda
                                              activity in FTX.com spot margin borrow/lend market
03/22/2023          VK                        Attend meeting with B. Harsch, Z. Flegenheimer, M. Strand, D. O’Hara, and U.                   0.3
                                              Eze (all S&C) and V. Kotharu, B. Mackay, and A. Vanderkamp (all AlixPartners)
                                              re: the flow of funds related to the Genesis Block / Alameda / Bluebird acquisition
03/23/2023          AS                        Attend meeting with B. Glueckstein, B. Beller, U. Eze, MA. Cyr (all S&C), I.                   0.4
                                              Leonaitis, J. de Brignac, M. Diaz, M. Diodato, M. Greenblatt (all FTI), K. Pasquale,
                                              I. Sasson (both Paul Hastings), M. Evans, L. Goldman, A. Vanderkamp, B. Mackay
                                              (full attendees), A. Searles (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/23/2023          AS                        Review correspondence to counsel re: missing bank records                                      0.2
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Chief Executive Officer
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                           HOURS
03/23/2023          AV                        Attend meeting with B. Glueckstein, B. Beller, U. Eze, MA. Cyr (all S&C), I.                   0.9
                                              Leonaitis, J. de Brignac, M. Diaz, M. Diodato, M. Greenblatt (all FTI), K. Pasquale,
                                              I. Sasson (both Paul Hastings), M. Evans, L. Goldman, A. Vanderkamp, B. Mackay
                                              (full attendees), A. Searles (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/23/2023          BFM                       Attend meeting with B. Glueckstein, B. Beller, U. Eze, MA. Cyr (all S&C), I.                   0.9
                                              Leonaitis, J. de Brignac, M. Diaz, M. Diodato, M. Greenblatt (all FTI), K. Pasquale,
                                              I. Sasson (both Paul Hastings), M. Evans, L. Goldman, A. Vanderkamp, B. Mackay
                                              (full attendees), A. Searles (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/23/2023          CAS                       Attend meeting with K. Wessel, D. Schwartz, C. Cipione (all AlixPartners), M.                  0.4
                                              Shanahan, C. Radis (all A&M) re: updates on historical cash database
03/23/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz (partial attendee) (all               0.5
                                              AlixPartners), Z. Flegenheimer, and J. Rosenfeld (both S&C) re: write-up of
                                              findings for political donations funded by loans
03/23/2023          DS                        Attend meeting with K. Wessel, D. Schwartz, C. Cipione (all AlixPartners), M.                  0.4
                                              Shanahan, C. Radis (all A&M) re: updates on historical cash database
03/23/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz (partial attendee) (all               0.6
                                              AlixPartners), Z. Flegenheimer, and J. Rosenfeld (both S&C) re: write-up of
                                              findings for political donations funded by loans
03/23/2023          KHW                       Attend meeting with K. Wessel, D. Schwartz, C. Cipione (all AlixPartners), M.                  0.4
                                              Shanahan, C. Radis (all A&M) re: updates on historical cash database
03/23/2023          KHW                       Analyze bank statement tracker and specific bank account documentation to prepare              0.5
                                              for call with A&M on the historical cash database
03/23/2023          LMG                       Attend meeting with B. Glueckstein, B. Beller, U. Eze, MA. Cyr (all S&C), I.                   0.9
                                              Leonaitis, J. de Brignac, M. Diaz, M. Diodato, M. Greenblatt (all FTI), K. Pasquale,
                                              I. Sasson (both Paul Hastings), M. Evans, L. Goldman, A. Vanderkamp, B. Mackay
                                              (full attendees), A. Searles (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/23/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz (partial attendee) (all               0.6
                                              AlixPartners), Z. Flegenheimer, and J. Rosenfeld (both S&C) re: write-up of
                                              findings for political donations funded by loans
03/23/2023          ME                        Attend meeting with B. Glueckstein, B. Beller, U. Eze, MA. Cyr (all S&C), I.                   0.9
                                              Leonaitis, J. de Brignac, M. Diaz, M. Diodato, M. Greenblatt (all FTI), K. Pasquale,
                                              I. Sasson (both Paul Hastings), M. Evans, L. Goldman, A. Vanderkamp, B. Mackay
                                              (full attendees), A. Searles (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/24/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), A. Searles (partial              0.4
                                              attendee) (all AlixPartners), Z. Flegenheimer, and J. Rosenfeld (partial attendee)
                                              (both S&C) re: production of support packages for loan-funded political donations
03/24/2023          AS                        Prepare email response re: Modulo Settlement                                                   0.1
03/24/2023          AS                        Review proposed update to counsel re: political donation findings from previous                0.7
                                              week
03/24/2023          AS                        Review request from counsel re: SDNY investigation into specific customers                     0.2
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FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                     HOURS
03/24/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), A. Searles (partial       0.7
                                              attendee) (all AlixPartners), Z. Flegenheimer, and J. Rosenfeld (partial attendee)
                                              (both S&C) re: production of support packages for loan-funded political donations
03/24/2023          LMG                       Prep for Genesis call with FTI, S&C, Paul Hastings                                      0.2
03/24/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), A. Searles (partial       0.7
                                              attendee) (all AlixPartners), Z. Flegenheimer, and J. Rosenfeld (partial attendee)
                                              (both S&C) re: production of support packages for loan-funded political donations
03/25/2023          AS                        Prepare table and email to send A&M re: budget update                                   0.2
03/26/2023          JS                        Provide bank statements to counsel as requested by counsel                              1.2
03/27/2023          AS                        Coordinate update for S&C                                                               0.2
03/27/2023          AS                        Update proposed responses to counsel re: political donations                            0.5
03/27/2023          AV                        Attend meeting with M. Diodato, M. Greenblatt, I. Leonaitis, B. Bromberg (all           0.5
                                              FTI), A. Vanderkamp, B. Mackay (both AlixPartners) re: Genesis analysis
03/27/2023          BFM                       Attend meeting with G. Walia, L. Konig (both A&M), L. Goldman, B. Mackay                0.7
                                              (both AlixPartners) re: P&L calculation on .com exchange data
03/27/2023          BFM                       Attend meeting with M. Diodato, M. Greenblatt, I. Leonaitis, B. Bromberg (all           0.5
                                              FTI), A. Vanderkamp, B. Mackay (both AlixPartners) re: Genesis analysis
03/27/2023          JCL                       Update controls failure memo                                                            0.6
03/27/2023          LMG                       Attend meeting with G. Walia, L. Konig (both A&M), L. Goldman, B. Mackay                0.7
                                              (both AlixPartners) re: P&L calculation on .com exchange data
03/28/2023          AS                        Review response from counsel re: political donations support                            0.1
03/28/2023          CAS                       Participate in meeting with C. Chen, D. Schwartz, C. Cipione, J. LaBella, K.            0.9
                                              Wessel (all AlixPartners), R. Gordon, J. Sequeira, M. Shanahan, D. Hailine (all
                                              A&M) re: tracking of proposed new journal entries, coordinating on intercompany
                                              approach, and syncing chart of accounts
03/28/2023          CC                        Participate in meeting with C. Chen, D. Schwartz, C. Cipione, J. LaBella, K.            0.9
                                              Wessel (all AlixPartners), R. Gordon, J. Sequeira, M. Shanahan, D. Hailine (all
                                              A&M) re: tracking of proposed new journal entries, coordinating on intercompany
                                              approach, and syncing chart of accounts
03/28/2023          DS                        Participate in meeting with C. Chen, D. Schwartz, C. Cipione, J. LaBella, K.            0.9
                                              Wessel (all AlixPartners), R. Gordon, J. Sequeira, M. Shanahan, D. Hailine (all
                                              A&M) re: tracking of proposed new journal entries, coordinating on intercompany
                                              approach, and syncing chart of accounts
03/28/2023          JCL                       Participate in meeting with C. Chen, D. Schwartz, C. Cipione, J. LaBella, K.            0.9
                                              Wessel (all AlixPartners), R. Gordon, J. Sequeira, M. Shanahan, D. Hailine (all
                                              A&M) re: tracking of proposed new journal entries, coordinating on intercompany
                                              approach, and syncing chart of accounts
03/28/2023          KHW                       Participate in meeting with C. Chen, D. Schwartz, C. Cipione, J. LaBella, K.            0.9
                                              Wessel (all AlixPartners), R. Gordon, J. Sequeira, M. Shanahan, D. Hailine (all
                                              A&M) re: tracking of proposed new journal entries, coordinating on intercompany
                                              approach, and syncing chart of accounts
03/28/2023          KHW                       Prepare materials for discussion with A&M re: QuickBooks weekly sync                    0.3
03/28/2023          LMG                       Reply to G. Walia (A&M) re P&L calculation methodology                                  0.4
03/28/2023          MB                        Attend meeting with J. Rosenfeld (S&C) re: political donations summary findings         0.2
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                    HOURS
03/29/2023          AS                        Attend meeting with J. Croke (S&C) re: status of various avoidance actions for         0.3
                                              UCC presentation
03/29/2023          AS                        Discussion with H. Trent (A&M) re: avoidance actions for presentation with UCC         0.1
03/29/2023          AS                        Discussion with M. Bennet (S&C) re: investment                                         0.1
03/29/2023          AS                        Review email request from counsel re: security incident                                0.1
03/29/2023          AS                        Review presentation to UCC with a specific focus on the Avoidance Action updates       0.6
03/29/2023          MB                        Attend meeting with J. Rosenfeld (S&C) re: QuickBooks data export related to loan      0.4
                                              funded political donations
03/30/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz (all              0.4
                                              AlixPartners), J. Rosenfeld, and Z. Flegenheimer (both S&C) re: review of S&C
                                              presentation draft on loan-funded political donations
03/30/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz (all              0.4
                                              AlixPartners), J. Rosenfeld, and Z. Flegenheimer (both S&C) re: review of S&C
                                              presentation draft on loan-funded political donations
03/30/2023          DJW                       Draft communication to counsel summarizing findings re: crypto hack losses             0.8
03/30/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz (all              0.4
                                              AlixPartners), J. Rosenfeld, and Z. Flegenheimer (both S&C) re: review of S&C
                                              presentation draft on loan-funded political donations
03/30/2023          GS                        Telephone call with G. Shapiro, M. Birtwell (both AlixPartners), and J. Rosenfeld      0.2
                                              (S&C) re: updating analysis to reflect filings of political donation returns
03/30/2023          MB                        Attend call with J. Rosenfeld (S&C) re: donation populations and credit card tie       0.2
                                              outs
03/30/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz (all              0.4
                                              AlixPartners), J. Rosenfeld, and Z. Flegenheimer (both S&C) re: review of S&C
                                              presentation draft on loan-funded political donations
03/30/2023          MB                        Telephone call with G. Shapiro, M. Birtwell (both AlixPartners), and J. Rosenfeld      0.2
                                              (S&C) re: updating analysis to reflect filings of political donation returns
03/31/2023         AS                         Attend call with E. Taraba (A&M) re: budget updates                                    0.1
Total Professional Hours                                                                                                           171.1
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Code:                                 20008100P00001.1.2

PROFESSIONAL                                                              RATE           HOURS               FEES
Matthew Jacques                                                           $1,280            7.0     $     8,960.00
Charles Cipione                                                           $1,220            3.9           4,758.00
Marc J Brown                                                              $1,220            0.4             488.00
Matthew Evans                                                             $1,220            9.8          11,956.00
David J White                                                             $1,140            2.4           2,736.00
John C LaBella                                                            $1,115           17.9          19,958.50
Lilly M Goldman                                                           $1,115           17.5          19,512.50
Mark Cervi                                                                $1,020            4.3           4,386.00
Adam Searles                                                               $950            27.1          25,745.00
Anne Vanderkamp                                                            $950             9.7           9,215.00
Justin Sutherland                                                          $950             7.5           7,125.00
Steven Hanzi                                                               $950             2.5           2,375.00
Travis Phelan                                                              $950             2.6           2,470.00
Dana Schwartz                                                              $880            16.5          14,520.00
Kurt H Wessel                                                              $880             4.1           3,608.00
Ryan H Komendowski                                                         $880             0.4             352.00
Bennett F Mackay                                                           $805            14.1          11,350.50
Matthew Birtwell                                                           $805             8.2           6,601.00
Takahiro Yamada                                                            $805             0.5             402.50
Joseph Demyanovich                                                         $725             0.9             652.50
Chuanqi Chen                                                               $605             0.9             544.50
Varun Kotharu                                                              $605             3.4           2,057.00
Qiulu Zeng                                                                 $585             0.4             234.00
Randi Self                                                                 $585             0.6             351.00
Griffin Shapiro                                                            $510             5.7           2,907.00
Sean Thompson                                                              $510             2.8           1,428.00
Total Professional Hours and Fees                                                         171.1     $   164,693.00
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                       HOURS
03/01/2023          BFM                       Attend call with C. Cipione, B. Mackay (both AlixPartners) re: data used in                 0.1
                                              potential preference analysis for third party
03/01/2023          BFM                       Attend call with D. White, B. Mackay (both AlixPartners) re: on chain activity re:          0.5
                                              liquidation event
03/01/2023          BFM                       Attend call with D. White, B. Mackay (both AlixPartners) re: transmitting data and          0.2
                                              on chain activity re: liquidation event
03/01/2023          BFM                       Exchange activity potential preference analysis for third party                             0.9
03/01/2023          BFM                       Identify date of withdrawals and deposits for third party in potential preference           0.8
                                              period
03/01/2023          BFM                       Build data quality screening scripts for QuickBooks data used in forensic                   1.1
                                              investigation workstreams
03/01/2023          BFM                       Review loan agreements and invoice summaries for entity of interest lending with            1.0
                                              Alameda
03/01/2023          BFM                       Review on-chain activity re: liquidation event                                              1.5
03/01/2023          BFM                       Telephone call with B. Mackay V. Kotharu (both AlixPartners) re: analysis of                0.5
                                              exchange activity on November 17th, 2022 in response to SDNY query
03/01/2023          BFM                       Telephone call with L. Goldman, B. Mackay V. Kotharu (all AlixPartners) re:                 0.5
                                              analysis of exchange activity on November 17th, 2022 in response to SDNY query
03/01/2023          CAS                       Attend call with C. Cipione, B. Mackay (both AlixPartners) re: data used in                 0.1
                                              potential preference analysis for third party
03/01/2023          CAS                       Review the movement and organization of the .com databases                                  0.4
03/01/2023          CAS                       Review the movement and organization of the Alameda databases                               0.4
03/01/2023          CAS                       Review the movement and organization of the US databases                                    0.3
          44986     CX                        Review use of Alteryx and Excel Data Transformer to extract relevant banking                2.7
                                              information from check data
03/01/2023          DS                        Attend call with D. Schwartz and M. Birtwell (both AlixPartners) re: entity of              0.2
                                              interest trading data queries
03/01/2023          DS                        Review cashflows related to entity of interest inflows/outflows during potential            1.1
                                              preference period
03/01/2023          DJW                       Attend call with D. White, B. Mackay (both AlixPartners) re: on chain activity re:          0.5
                                              liquidation event
03/01/2023          DJW                       Attend call with D. White, B. Mackay (both AlixPartners) re: transmitting data and          0.2
                                              on chain activity re: liquidation event
03/01/2023          ET                        Attend meeting with L. Teifer and E. Mostoff (both AlixPartners) re: update to              0.4
                                              bank account tracker
03/01/2023          ET                        Reconcile list of known bank accounts with available bank statements                        2.8
03/01/2023          EM                        Attend call with E. Mostoff and M. Birtwell (both AlixPartners) re: entity of interest      0.3
                                              trading data queries
03/01/2023          EM                        Attend meeting with L. Teifer and E. Mostoff (both AlixPartners) re: update to              0.4
                                              bank account tracker
03/01/2023          GS                        Attend meeting with G. Shapiro and O. Braat (both AlixPartners) re: tracker update          0.3
                                              for political contributions
03/01/2023          JLS                       Extract related party loan data from consolidated GL dataset using Alteryx.                 0.8
03/01/2023          JLS                       Identify relationships between Debtors and Non-Debtors for related party                    0.3
                                              accounting transactions
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                        HOURS
03/01/2023          JLS                       Prepare analysis of related party transactions between Debtors and Non-Debtors              0.6
03/01/2023          JLS                       Analyze related party transactions between Debtors and Non-Debtors                          0.7
03/01/2023          JLS                       Analyze related party transactions between Debtors and Non-Debtors                          0.9
03/01/2023          LMG                       Attend meeting with L. Goldman and S. Hanzi (both AlixPartners) re: tying bank              0.4
                                              data to exchange data records
03/01/2023          LMG                       Telephone call with L. Goldman, B. Mackay V. Kotharu (all AlixPartners) re:                 0.5
                                              analysis of exchange activity on November 17th, 2022 in response to SDNY query
03/01/2023          MC                        Research into recipient bank account for funds transfer from Alameda to WRSS                0.4
03/01/2023          MB                        Attend call with D. Schwartz and M. Birtwell (both AlixPartners) re: entity of              0.2
                                              interest trading data queries
03/01/2023          MB                        Attend call with E. Mostoff and M. Birtwell (both AlixPartners) re: entity of interest      0.3
                                              trading data queries
03/01/2023          MB                        Attend meeting with M. Birtwell and O. Braat (both AlixPartners) re: tracing                0.3
                                              political donations
03/01/2023          MB                        Prepare general ledger data query for date and amount over 200k USD                         0.3
03/01/2023          MB                        Prepare query on general ledger data for political donations from family members            0.3
03/01/2023          MB                        Review data from political donation date and amount GL query                                1.2
03/01/2023          MB                        Review query results for political donations made from family members                       0.7
03/01/2023          QB                        Attend meeting with G. Shapiro and O. Braat (both AlixPartners) re: tracker update          0.3
                                              for political contributions
03/01/2023          QB                        Attend meeting with M. Birtwell and O. Braat (both AlixPartners) re: tracing                0.3
                                              political donations
03/01/2023          QB                        Analyze bank statements to identify funds for political donations                           3.0
03/01/2023          SK                        Analyze the table structure of consolidated cash database for migration purposes            2.6
03/01/2023          SK                        Analyze the table structure of summary bank statement database for migration                2.2
                                              purposes
03/01/2023          SRH                       Attend meeting with L. Goldman and S. Hanzi (both AlixPartners) re: tying bank              0.4
                                              data to exchange data records
03/01/2023          SRH                       Parse loan term sheets                                                                      1.6
03/01/2023          TP                        Perform data mining tasks on FTI ESI Document scan results to for the purposes of           1.7
                                              enriching the CryptoDB
03/01/2023          VK                        Telephone call with B. Mackay V. Kotharu (both AlixPartners) re: analysis of                0.5
                                              exchange activity on November 17th, 2022 in response to SDNY query
03/01/2023          VK                        Telephone call with L. Goldman, B. Mackay V. Kotharu (all AlixPartners) re:                 0.5
                                              analysis of exchange activity on November 17th, 2022 in response to SDNY query
03/02/2023          AS                        Attend call with D. Schwartz, A. Searles and M. Birtwell (all AlixPartners) re:             0.6
                                              tracing 11/8 transfers from Alameda to FTX
03/02/2023          BFM                       Attend call with B. Mackay and O. Braat (both AlixPartners) re: review potential            0.2
                                              preference window analysis on .com exchange re: third party
03/02/2023          BFM                       Attend meeting with B. Mackay and O. Braat (both AlixPartners) re: tracing                  0.3
                                              political donations
03/02/2023          BFM                       Attend meeting with B. Mackay, M. Birtwell, G. Shapiro, O. Braat (all                       0.7
                                              AlixPartners) re: tracing political donations
03/02/2023          BFM                       Attend meeting with B. Mackay, V. Kotharu and M. Birtwell (all AlixPartners) re:            0.5
                                              Paxos involvement in funding FTX with stablecoin in exchange for fiat
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                        HOURS
03/02/2023          BFM                       Review balances on exchange for recipients of political donation                            0.6
03/02/2023          BFM                       Summarize lending and exchange activity for Genesis and Alameda                             1.1
03/02/2023          BFM                       Update exchange trading potential preference analysis exhibit for third party               1.3
03/02/2023          CAS                       Review logistics of the Azure environment                                                   1.2
03/02/2023          CAS                       Review the movement and organization of the .com databases                                  0.3
03/02/2023          CAS                       Review the movement and organization of the Alameda databases                               0.4
03/02/2023          CAS                       Review the movement and organization of the US databases                                    0.2
          44987     CX                        Analyze code to generate delta report from weekly cash database updates                     1.6
          44987     CX                        Review scripts to streamline parsing of QuickBooks JSON data for migration                  2.7
                                              purposes
          44987     CX                        Analyze script to generate batch IDs for QuickBooks data migration                          1.3
03/02/2023          DS                        Attend call with D. Schwartz, A. Searles and M. Birtwell (all AlixPartners) re:             0.6
                                              tracing 11/8 transfers from Alameda to FTX
03/02/2023          DS                        Attend meeting with D. Schwartz and M. Birtwell (both AlixPartners) re: asset               0.1
                                              tracing for 11/8 Alameda transfers to FTX
03/02/2023          GS                        Attend meeting with B. Mackay, M. Birtwell, G. Shapiro, O. Braat (all                       0.7
                                              AlixPartners) re: tracing political donations
03/02/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of            0.7
                                              general ledger entries to identify political donations
03/02/2023          GS                        Research of bank transaction records to identify accounts sending political                 0.6
03/02/2023          GS                        Review bank transaction data to identify fund transfers related to political donations      2.8
03/02/2023          JCL                       Review analysis of debtor related entities for scheduled filing                             0.4
03/02/2023          JLS                       Prepare related party entity analysis                                                       1.4
03/02/2023          LMG                       Attend meeting with L. Goldman and S. Hanzi (both AlixPartners) re: tying bank              0.4
                                              data to exchange data records
03/02/2023          MC                        Telephone call with M. Cervi, T. Yamada, V. Kotharu (all AlixPartners) re:                  0.2
                                              preparation of related parties schedule for provision to counsel
03/02/2023          MB                        Attend call with D. Schwartz, A. Searles and M. Birtwell (all AlixPartners) re:             0.6
                                              tracing 11/8 transfers from Alameda to FTX
03/02/2023          MB                        Attend meeting with B. Mackay, M. Birtwell, G. Shapiro, O. Braat (all                       0.7
                                              AlixPartners) re: tracing political donations
03/02/2023          MB                        Attend meeting with B. Mackay, V. Kotharu and M. Birtwell (all AlixPartners) re:            0.5
                                              Paxos involvement in funding FTX with stablecoin in exchange for fiat
03/02/2023          MB                        Attend meeting with D. Schwartz and M. Birtwell (both AlixPartners) re: asset               0.1
                                              tracing for 11/8 Alameda transfers to FTX
03/02/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of            0.7
                                              general ledger entries to identify political donations
03/02/2023          MB                        Attend meeting with O. Braat and M. Birtwell (both AlixPartners) re: asset tracing          0.8
                                              for 11/8 Alameda transfers to FTX
03/02/2023          MB                        Attend meeting with V. Kotharu and M. Birtwell (both AlixPartners) re:                      0.5
                                              QuickBooks exchange rates
03/02/2023          MB                        Perform asset tracing in bank statements related to 11/8 Alameda transfers to FTX           2.3
03/02/2023          MB                        Perform asset tracing in bank statements related to 11/8 Alameda transfers to FTX           0.7
03/02/2023          MB                        Prepare and execute query for 501(c)(4) entities against GL database                        0.3
03/02/2023          ME                        Analyze Genesis trading deposits and withdrawals                                            0.8
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                          DESCRIPTION OF SERVICES                                   HOURS
03/02/2023          QB                        Attend call with B. Mackay and O. Braat (both AlixPartners) re: review potential         0.2
                                              preference window analysis on .com exchange re: third party
03/02/2023          QB                        Attend meeting with B. Mackay and O. Braat (both AlixPartners) re: tracing               0.3
                                              political donations
03/02/2023          QB                        Attend meeting with B. Mackay, M. Birtwell, G. Shapiro, O. Braat (all                    0.7
                                              AlixPartners) re: tracing political donations
03/02/2023          QB                        Attend meeting with O. Braat and M. Birtwell (both AlixPartners) re: asset tracing       0.8
                                              for 11/8 Alameda transfers to FTX
03/02/2023          QB                        Review potential preference window analysis on .com exchange re: third party             0.5
03/02/2023          QB                        Trace funds used for political donations in .US exchange data                            0.9
03/02/2023          QB                        Continue to trace funds used for political donations in .US exchange data                1.1
03/02/2023          SK                        Create a process that identifies table structure changes for cash database combined      1.3
                                              table
03/02/2023          SK                        Create a process that identifies table structure changes for summary bank statement      1.1
                                              table
03/02/2023          SK                        Develop a process that generates delta report for the bank statement summary table       2.8
03/02/2023          SK                        Participate in internal meeting with T. Kang and T. Phelan (both AlixPartners) re:       0.8
                                              creating delta report for cash database
03/02/2023          SK                        Update cash schema table contents for the week ended 03/03/2023                          0.4
03/02/2023          SK                        Revise process to migrate updated cash database combined table                           1.8
03/02/2023          SRH                       Attend meeting with L. Goldman and S. Hanzi (both AlixPartners) re: tying bank           0.4
                                              data to exchange data records
03/02/2023          TY                        Telephone call with M. Cervi, T. Yamada, V. Kotharu (all AlixPartners) re:               0.2
                                              preparation of related parties schedule for provision to counsel
03/02/2023          TP                        Participate in internal meeting with T. Kang and T. Phelan (both AlixPartners) re:       0.8
                                              creating delta report for cash database
03/02/2023          VK                        Attend meeting with B. Mackay, V. Kotharu and M. Birtwell (all AlixPartners) re:         0.5
                                              Paxos involvement in funding FTX with stablecoin in exchange for fiat
03/02/2023          VK                        Attend meeting with V. Kotharu and M. Birtwell (both AlixPartners) re:                   0.5
                                              QuickBooks exchange rates
03/02/2023          VK                        Telephone call with M. Cervi, T. Yamada, V. Kotharu (all AlixPartners) re:               0.2
                                              preparation of related parties schedule for provision to counsel
03/03/2023          AS                        Attend meeting with A. Searles and M. Birtwell (both AlixPartners) re: source of         0.4
                                              funding confidence for political donations
03/03/2023          AS                        Attend meeting with M. Birtwell, D. White, B. Mackay, D. Schwartz (partial) and          0.6
                                              A. Searles (all AlixPartners) re: asset tracing via stablecoins
03/03/2023          AS                        Prepare analysis based on review of over 50 political donations                          1.8
03/03/2023          BFM                       Attend meeting with M. Birtwell, D. White, B. Mackay, D. Schwartz (partial) and          0.6
                                              A. Searles (all AlixPartners) re: asset tracing via stablecoins
03/03/2023          BFM                       Review .us exchange activity for transfers and withdrawals re: political donations       1.2
03/03/2023          BFM                       Summarize exchange and lending activity for Genesis analysis                             2.3
03/03/2023          BFM                       Telephone call with B. Mackay V. Kotharu (all AlixPartners) re: preparation of           0.3
                                              related parties list to be provided to counsel
03/03/2023          CAS                       Review logistics of the Azure environment                                                1.4
03/03/2023          CAS                       Review the movement and organization of the .com databases                               0.5
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                          DESCRIPTION OF SERVICES                                      HOURS
03/03/2023          CAS                       Review the movement and organization of the Alameda databases                               0.6
03/03/2023          CAS                       Review the movement and organization of the US databases                                    0.2
03/03/2023          DS                        Attend meeting with M. Birtwell, D. White, B. Mackay, D. Schwartz (partial) and             0.4
                                              A. Searles (all AlixPartners) re: asset tracing via stablecoins
03/03/2023          DJW                       Attend meeting with M. Birtwell, D. White, B. Mackay, D. Schwartz (partial) and             0.6
                                              A. Searles (all AlixPartners) re: asset tracing via stablecoins
03/03/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of            0.3
                                              bank transaction data to trace funding for political donations
03/03/2023          GS                        Attend meeting with M. Birtwell, G. Shapiro, and O. Braat (all AlixPartners) re:            0.9
                                              tracing political donations in the US exchange
03/03/2023          GS                        Review bank statements to identify fund transfers related to political donations            1.6
03/03/2023          GS                        Review journal entries related to political donations to track unique record                1.7
03/03/2023          MB                        Attend meeting with A. Searles and M. Birtwell (both AlixPartners) re: source of            0.4
                                              funding confidence for political donations
03/03/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of            0.3
                                              bank transaction data to trace funding for political donations
03/03/2023          MB                        Attend meeting with M. Birtwell, D. White, B. Mackay, D. Schwartz (partial) and             0.6
                                              A. Searles (all AlixPartners) re: asset tracing via stablecoins
03/03/2023          MB                        Attend meeting with M. Birtwell, G. Shapiro, and O. Braat (all AlixPartners) re:            0.9
                                              tracing political donations in the US exchange
03/03/2023          MB                        Review 501(c)(4) query results                                                              0.3
03/03/2023          ME                        Analyze Genesis forensic materials                                                          0.9
03/03/2023          QB                        Attend meeting with M. Birtwell, G. Shapiro, and O. Braat (all AlixPartners) re:            0.9
                                              tracing political donations in the US exchange
03/03/2023          QB                        Trace funds used for political donations in .US exchange data                               2.5
03/03/2023          SK                        Generate output template for weekly delta report of cash database                           1.3
03/03/2023          SK                        Conduct QC on weekly delta report process                                                   1.4
03/03/2023          SK                        Revise process to migrate updated cash database following QC                                2.9
03/03/2023          SK                        Revise weekly delta report process to account for new table structure                       2.1
03/03/2023          SRH                       Parse loan term sheets                                                                      1.9
03/03/2023          TP                        Perform data analysis within the exchange data to support the CryptoDB                      2.7
                                              construction
03/03/2023          TP                        Perform data mining on publicly available block chain APIs to support the                   2.4
                                              CryptoDB construction
03/03/2023          TP                        Perform data mining tasks on FTI ESI Document scan results to for the purposes of           2.8
                                              enriching the CryptoDB
03/03/2023          VK                        Analyze special investigation summaries to determine list of entities for inclusion in      2.8
                                              SOFA / SOAL list
03/03/2023          VK                        Telephone call with B. Mackay V. Kotharu (all AlixPartners) re: preparation of              0.3
                                              related parties list to be provided to counsel
03/04/2023          MJ                        Forensic analysis of Genesis trading and lending activity                                   1.7
03/05/2023          ME                        Calculation tables and summaries for Genesis meeting                                        1.4
03/06/2023          AS                        Review documentation related to specific loan to insider as part of political               0.2
                                              donations workstream
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/06/2023          BFM                       Attend meeting with M. Evans, L. Goldman, B. Mackay (all AlixPartners) to prep             0.3
                                              for call with S&C re: trading workstreams
03/06/2023          BFM                       Summarize account activity for internal FTX account fiat@ftx.us                            1.8
03/06/2023          CAS                       Review logistics of the Azure environment                                                  0.7
03/06/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and D. Schwartz              0.3
                                              (partial attendee) (all AlixPartners) re: investigation of loans to founders used for
                                              political donations
03/06/2023          DJW                       Research changes on Signet address formats over time for historic balance sheet            1.3
                                              recreation
03/06/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and D. Schwartz              0.5
                                              (partial attendee) (all AlixPartners) re: investigation of loans to founders used for
                                              political donations
03/06/2023          GS                        Review donation records to identify political donations to 501(c)(4) entities              2.8
03/06/2023          GS                        Review donation records to trace funding for political donations                           2.6
03/06/2023          GS                        Analyze GL data for loans to insiders related to political donations                       0.6
03/06/2023          JCL                       Working session with J. LaBella, L. Goldman, Kessel, J. Somerville (all                    0.7
                                              AlixPartners) re: historical movements of digital assets at FTX Trading Ltd
03/06/2023          JLS                       Working session with J. LaBella, L. Goldman, Kessel, J. Somerville (all                    0.7
                                              AlixPartners) re: historical movements of digital assets at FTX Trading Ltd
03/06/2023          KHW                       Working session with J. LaBella, L. Goldman, Kessel, J. Somerville (all                    0.7
                                              AlixPartners) re: historical movements of digital assets at FTX Trading Ltd
03/06/2023          LMG                       Attend meeting with M. Evans, L. Goldman, B. Mackay (all AlixPartners) to prep             0.3
                                              for call with S&C re: trading workstreams
03/06/2023          LMG                       Search for Merit Chain transactions in AWS data                                            0.8
03/06/2023          LMG                       Working session with J. LaBella, L. Goldman, Kessel, J. Somerville (all                    0.7
                                              AlixPartners) re: historical movements of digital assets at FTX Trading Ltd
03/06/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and D. Schwartz              0.5
                                              (partial attendee) (all AlixPartners) re: investigation of loans to founders used for
                                              political donations
03/06/2023          MB                        Review founders' loans related to political donations to identify potential funding        0.7
03/06/2023          MB                        Verify the completeness of the political donations tracker                                 0.8
03/06/2023          ME                        Attend meeting with M. Evans, L. Goldman, B. Mackay (all AlixPartners) to prep             0.3
                                              for call with S&C re: trading workstreams
03/06/2023          QB                        Continue to trace funds used for political donations in .US exchange data                  0.3
03/06/2023          SK                        Revise weekly delta report process to account for new table structure                      2.4
03/07/2023          BFM                       Attend meeting with B. Mackay and M. Birtwell (both AlixPartners) re: review of            1.2
                                              payments made to FTX employee
03/07/2023          BFM                       Review data table listing for prioritization in Azure setup                                0.6
03/07/2023          CX                        Review code for QB data migration tracker indicating whether reports have been             1.3
                                              added or modified
           44992    CX                        Research methods to parse bank statement descriptions for counter party                    2.6
                                              identification purposes
03/07/2023          ET                        Reconcile newly discovered non-debtor bank accounts and statements against                 0.5
                                              tracker list
03/07/2023          ET                        Reconcile newly discovered FTX bank accounts and statements against tracker list           1.1
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                   HOURS
03/07/2023          ET                        Reconcile newly discovered Alameda bank accounts and statements against tracker        2.1
                                              list
03/07/2023          JLS                       Review FTX Digital Markets' intercompany claims                                        0.4
03/07/2023          KHW                       Review findings of special investigation to inform financial statement                 1.0
                                              reconstruction analyses
03/07/2023          LMG                       Working session with S. Hanzi and L. Goldman (both AlixPartners) re: market            0.6
                                              maker OTC trades
03/07/2023          MB                        Attend meeting with B. Mackay and M. Birtwell (both AlixPartners) re: review of        1.2
                                              payments made to FTX employee
03/07/2023          MB                        Review GL data for payments made to FTX employee                                       0.3
03/07/2023          MB                        Review use of founders' bank accounts to confirm query results re: political           0.5
                                              donations
03/07/2023          QB                        Summarize the last date of activity for each user_id for certain frozen accounts       0.9
03/07/2023          SK                        Analyze changes in cash database tables                                                2.2
03/07/2023          SK                        Revise data migration process of cash database to account for new table structure      1.2
03/07/2023          SK                        Revise weekly delta report process to account for new table structure                  0.8
03/07/2023          SRH                       Analyze deposits / withdrawals in Alameda and FTX Exchange databases                   2.2
03/07/2023          SRH                       Working session with S. Hanzi and L. Goldman (both AlixPartners) re: market            0.6
                                              maker OTC trades
03/07/2023          TP                        Mined publicly available block chain data in support of the crypto investigation       2.6
                                              team re: building database for cryptocurrency assets
03/08/2023          BFM                       Review FTX.com exchange data for fiat flows from Alameda to FTX Digital                1.9
                                              Markets
03/08/2023          BFM                       Review FTX.com exchange data re: Bonham Capital and Salameda                           0.6
03/08/2023          BFM                       Summarize fiat flows from Alameda to FTX Digital Markets                               0.8
03/08/2023          BFM                       Working session with B. Mackay, M .Birtwell, V. Kotharu (all AlixPartners) re:         1.7
                                              tracing UST deposits in exchange accounts
03/08/2023          CX                        Employ OCR on check data to extract relevant banking information                       2.1
03/08/2023          CX                        QC on extracted transaction data from QuickBooks                                       1.2
03/08/2023          DS                        Analyze general ledger activity for FDM to identify source of funding                  1.8
03/08/2023          DS                        Perform analysis to identify customer accounts held at FDM                             1.1
03/08/2023          DS                        Perform analysis to identify flow of funds from other debtors to FDM                   0.7
03/08/2023          ET                        Reconcile new bank accounts and statements against tracker list                        0.6
03/08/2023          ET                        Reconcile new bank accounts and statements against tracker list                        1.2
03/08/2023          LMG                       Working session with L. Goldman, S. Hanzi, (full attendees) V. Kotharu (partial        2.4
                                              attendee) re: analysis of AWS exchange data in support of forensic investigation
                                              efforts
03/08/2023          MB                        Working session with B. Mackay, M .Birtwell, V. Kotharu (all AlixPartners) re:         1.7
                                              tracing UST deposits in exchange accounts
03/08/2023          SK                        Generate consolidated file of bank transactions associated with FTX Digital            0.4
                                              Markets
03/08/2023          SK                        Develop process to streamline weekly delta report for bank statement tracker           2.9
03/08/2023          SK                        Revise process to streamline weekly delta report for bank statement tracker            1.6
03/08/2023          SK                        Import bank statement tracker data into SQL database                                   0.4
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03/08/2023          SK                        Participate in internal meeting with T. Phelan and T. Kang and (both AlixPartners)        0.5
                                              re: creating delta report for bank statement tracker
03/08/2023          SK                        Analyze delta report for bank statement tracker for weeks from 01.06.2023 to              2.6
                                              03.03.2023
03/08/2023          SRH                       Working session with L. Goldman, S. Hanzi, (full attendees) V. Kotharu (partial           2.4
                                              attendee) re: analysis of AWS exchange data in support of forensic investigation
                                              efforts
03/08/2023          TP                        Conducted an analysis within the exchange data re: analysis of exchange data in           2.1
                                              support of special investigation workstreams
03/08/2023          TP                        Investigation into the QB data re: tracing of funds flow to FTX Digital Markets           2.3
03/08/2023          TP                        Participate in internal meeting with T. Phelan and T. Kang and (both AlixPartners)        0.5
                                              re: creating delta report for bank statement tracker
03/08/2023          TP                        Perform data mining tasks on FTI ESI Document scan results to for the purposes of         2.1
                                              enriching the CryptoDB
03/08/2023          VK                        Working session with B. Mackay, M .Birtwell, V. Kotharu (all AlixPartners) re:            1.7
                                              tracing UST deposits in exchange accounts
03/08/2023          VK                        Working session with L. Goldman, S. Hanzi, (full attendees) V. Kotharu (partial           1.9
                                              attendee) re: analysis of AWS exchange data in support of forensic investigation
                                              efforts
03/09/2023          AS                        Attend meeting with D. White (partial), J. Labella and A. Searles (all AlixPartners)      0.4
                                              re: crypto tracing workstream and next steps
03/09/2023          AS                        Review flow of funds analysis re: Alameda and FTX Digital Markets                         0.3
03/09/2023          AV                        Working session with S. Hanzi, T. Phelan, D. Schwartz, A. Vanderkamp, E.                  0.4
                                              Mostoff, V. Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital
                                              Markets
03/09/2023          BFM                       Attend working session with L. Goldman, T. Phelan, S. Hanzi, B. Mackay (all               1.1
                                              AlixPartners) re: tracing fiat deposits and withdrawals through, bank records,
                                              exchange database tables, and Alameda database tables
03/09/2023          BFM                       Review exchange activity for internal account fiat@FTX.com                                1.1
03/09/2023          BFM                       Review FTX.com exchange data for crypto flows from Alameda to FTX Digital                 2.1
                                              Markets
03/09/2023          BFM                       Summarize crypto flows from Alameda to FTX Digital Markets on FTX.com                     0.7
03/09/2023          BFM                       Update summary of crypto flows from Alameda to FTX Digital Markets                        0.8
03/09/2023          CAS                       Review logistics of the Azure environment                                                 1.3
03/09/2023          DS                        Analyze flows to/from customer accounts between Alameda and FDM                           2.4
03/09/2023          DS                        Working session with S. Hanzi, T. Phelan, D. Schwartz, A. Vanderkamp, E.                  0.4
                                              Mostoff, V. Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital
                                              Markets
03/09/2023          DJW                       Attend meeting with D. White (partial), J. Labella and A. Searles (all AlixPartners)      0.2
                                              re: crypto tracing workstream and next steps
03/09/2023          EM                        Working session with S. Hanzi, T. Phelan, D. Schwartz, A. Vanderkamp, E.                  0.4
                                              Mostoff, V. Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital
                                              Markets
03/09/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: tracing            0.4
                                              funding of political donations to loans to founders
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/09/2023          GS                        Review general ledger entries for founder loan accounts to tie journal entries to         2.6
                                              political donations
03/09/2023          JCL                       Attend meeting with D. White (partial), J. Labella and A. Searles (all AlixPartners)      0.4
                                              re: crypto tracing workstream and next steps
03/09/2023          LMG                       Attend working session with L. Goldman, T. Phelan, S. Hanzi, B. Mackay (all               1.1
                                              AlixPartners) re: tracing fiat deposits and withdrawals through, bank records,
                                              exchange database tables, and Alameda database tables
03/09/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: tracing            0.4
                                              funding of political donations to loans to founders
03/09/2023          MB                        Perform asset tracing re: political donations funded by loans                             1.9
03/09/2023          MB                        Perform forensic analysis on Deltec loan to determine interest payments                   0.4
03/09/2023          MB                        Review confidence levels associated with political donations tie outs and source of       0.7
                                              funding
03/09/2023          MB                        Review Deltec loan related general ledger and AWS exchange data                           0.7
03/09/2023          ME                        Calculate Alameda hourly borrow/lend activity table summary version                       1.0
03/09/2023          ME                        Extract sample to build-up hourly borrow/lend activity intermediate analysis tables       1.3
03/09/2023          QB                        Trace funds sent to Deltec on .com exchange                                               0.4
03/09/2023          QB                        Trace transfers to Ryan Salame in .com exchange                                           0.6
03/09/2023          SK                        Develop process to obtain all bank statement summary data in singular output file         2.5
                                              for period between 2017 and 2023
03/09/2023          SK                        Conduct QC on output of bank statement summary data for period between 2017               0.9
                                              and 2023
03/09/2023          SK                        Develop a process that compare all accounts in bank statement tracker against             1.4
                                              accounts in cash database combined table
03/09/2023          SK                        Develop a process that compare all accounts in bank statement tracker against             1.7
                                              accounts in bank statement summary table
03/09/2023          SK                        Revise data migration code to streamline cash database import                             1.3
03/09/2023          SRH                       Attend working session with L. Goldman, T. Phelan, S. Hanzi, B. Mackay (all               1.1
                                              AlixPartners) re: tracing fiat deposits and withdrawals through, bank records,
                                              exchange database tables, and Alameda database tables
03/09/2023          SRH                       Working session with S. Hanzi, T. Phelan, D. Schwartz, A. Vanderkamp, E.                  0.4
                                              Mostoff, V. Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital
                                              Markets
03/09/2023          TP                        Attend working session with L. Goldman, T. Phelan, S. Hanzi, B. Mackay (all               1.1
                                              AlixPartners) re: tracing fiat deposits and withdrawals through, bank records,
                                              exchange database tables, and Alameda database tables
03/09/2023          TP                        Working session with S. Hanzi, T. Phelan, D. Schwartz, A. Vanderkamp, E.                  0.4
                                              Mostoff, V. Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital
                                              Markets
03/09/2023          TP                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: analysis of funds           1.3
                                              flow between Debtor entities in Cash DB
03/09/2023          VK                        Analyze FTX.com exchange data to trace funds flow in accounts related to Bonham           1.4
                                              Capital
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/09/2023          VK                        Working session with S. Hanzi, T. Phelan, D. Schwartz, A. Vanderkamp, E.                 0.4
                                              Mostoff, V. Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital
                                              Markets
03/09/2023          VK                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: analysis of funds          1.3
                                              flow between Debtor entities in Cash DB
03/10/2023          AS                        Attend meeting with M. Jacques, D. White, A. Vanderkamp and A. Searles (all              0.4
                                              AlixPartners) re: crypto tracing workstream and next steps
03/10/2023          AS                        Coordinate meeting to discuss crypto tracing workstream                                  0.1
03/10/2023          AS                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, T. Toaso, A.            0.5
                                              Searles, T. Phelan, S. Hanzi, K. Wessel (full attendees) and L. Goldman (partial
                                              attendee) (all AlixPartners) re: analysis of cashflows into and out of FBO accounts
03/10/2023          AS                        Review workstream request re: Crypto Validation against Accounting Records               0.3
03/10/2023          AV                        Attend meeting with M. Jacques, D. White, A. Vanderkamp and A. Searles (all              0.4
                                              AlixPartners) re: crypto tracing workstream and next steps
03/10/2023          AV                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, T. Toaso, A.            0.5
                                              Searles, T. Phelan, S. Hanzi, K. Wessel (full attendees) and L. Goldman (partial
                                              attendee) (all AlixPartners) re: analysis of cashflows into and out of FBO accounts
03/10/2023          AV                        Working session with A. Vanderkamp, D. Schwartz, B. Mackay, V. Kotharu (all              0.3
                                              AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          BFM                       Attend call with M. Birtwell, B. Mackay, S. Hanzi, and D. Schwartz (all                  0.7
                                              AlixPartners) re: profiling fiat@ftx.us exchange account
03/10/2023          BFM                       Attend meeting with B. Mackay and M. Birtwell (both AlixPartners) re: fiat@ftx.us        1.2
                                              profiling
03/10/2023          BFM                       Working session with A. Vanderkamp, D. Schwartz, B. Mackay, V. Kotharu (all              0.3
                                              AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          CAS                       Review logistics of the Azure environment                                                0.4
03/10/2023          DS                        Attend call with M. Birtwell, B. Mackay, S. Hanzi, and D. Schwartz (all                  0.7
                                              AlixPartners) re: profiling fiat@ftx.us exchange account
03/10/2023          DS                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, T. Toaso, A.            0.5
                                              Searles, T. Phelan, S. Hanzi, K. Wessel (full attendees) and L. Goldman (partial
                                              attendee) (all AlixPartners) re: analysis of cashflows into and out of FBO accounts
03/10/2023          DS                        Review amount and timing of cashflows to prepare summary schedule related to             1.2
                                              FDM
03/10/2023          DS                        Working session with A. Vanderkamp, D. Schwartz, B. Mackay, V. Kotharu (all              0.3
                                              AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          DS                        Working session with D. Schwartz, T. Phelan, V. Kotharu (all AlixPartners) re:           0.9
                                              analysis of funds flow to FTX Digital Markets
03/10/2023          DS                        Working session with T. Phelan, D. Schwartz, and E. Mostoff (all AlixPartners) re:       1.1
                                              analysis of cash transfers from Alameda Research and FTX Trading Ltd to FTX
                                              Digital Markets Ltd
03/10/2023          DJW                       Attend meeting with M. Jacques, D. White, A. Vanderkamp and A. Searles (all              0.4
                                              AlixPartners) re: crypto tracing workstream and next steps
03/10/2023          EM                        Working session with T. Phelan and E. Mostoff (both AlixPartners) re: analysis of        1.5
                                              funds flow to FTX Digital Markets
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/10/2023          EM                        Working session with T. Phelan, D. Schwartz, and E. Mostoff (all AlixPartners) re:       1.1
                                              analysis of cash transfers from Alameda Research and FTX Trading Ltd to FTX
                                              Digital Markets Ltd
03/10/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: tracing           0.3
                                              funding for identified donations to 501(c)(4) entities
03/10/2023          KHW                       Participate in internal meeting with D. Schwartz, A. Vanderkamp, T. Toaso, A.            0.5
                                              Searles, T. Phelan, S. Hanzi, K. Wessel (full attendees) and L. Goldman (partial
                                              attendee) (all AlixPartners) re: analysis of cashflows into and out of FBO accounts
03/10/2023          LMG                       Participate in internal meeting with D. Schwartz, A. Vanderkamp, T. Toaso, A.            0.4
                                              Searles, T. Phelan, S. Hanzi, K. Wessel (full attendees) and L. Goldman (partial
                                              attendee) (all AlixPartners) re: analysis of cashflows into and out of FBO accounts
03/10/2023          MB                        Attend call with M. Birtwell, B. Mackay, S. Hanzi, and D. Schwartz (all                  0.7
                                              AlixPartners) re: profiling fiat@ftx.us exchange account
03/10/2023          MB                        Attend meeting with B. Mackay and M. Birtwell (both AlixPartners) re: fiat@ftx.us        1.2
                                              profiling
03/10/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: tracing           0.3
                                              funding for identified donations to 501(c)(4) entities
03/10/2023          MB                        Review asset tracking performed on political donations funded by loans                   1.2
03/10/2023          MJ                        Attend meeting with M. Jacques, D. White, A. Vanderkamp and A. Searles (all              0.4
                                              AlixPartners) re: crypto tracing workstream and next steps
03/10/2023          SK                        Conduct QC on data from bank statement tracker against bank data combined table          2.5

03/10/2023          SK                        Conduct QC on data from bank statement tracker against bank statement summary            2.3
                                              table
03/10/2023          SK                        Develop a weekly delta report for bank statement tracker                                 2.9
03/10/2023          SRH                       Attend call with M. Birtwell, B. Mackay, S. Hanzi, and D. Schwartz (all                  0.7
                                              AlixPartners) re: profiling fiat@ftx.us exchange account
03/10/2023          SRH                       Participate in internal meeting with D. Schwartz, A. Vanderkamp, T. Toaso, A.            0.5
                                              Searles, T. Phelan, S. Hanzi, K. Wessel (full attendees) and L. Goldman (partial
                                              attendee) (all AlixPartners) re: analysis of cashflows into and out of FBO accounts
03/10/2023          TT                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, T. Toaso, A.            0.5
                                              Searles, T. Phelan, S. Hanzi, K. Wessel (full attendees) and L. Goldman (partial
                                              attendee) (all AlixPartners) re: analysis of cashflows into and out of FBO accounts
03/10/2023          TP                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, T. Toaso, A.            0.5
                                              Searles, T. Phelan, S. Hanzi, K. Wessel (full attendees) and L. Goldman (partial
                                              attendee) (all AlixPartners) re: analysis of cashflows into and out of FBO accounts
03/10/2023          TP                        Working session with D. Schwartz, T. Phelan, V. Kotharu (all AlixPartners) re:           0.9
                                              analysis of funds flow to FTX Digital Markets
03/10/2023          TP                        Working session with T. Phelan and E. Mostoff (both AlixPartners) re: analysis of        1.5
                                              funds flow to FTX Digital Markets
03/10/2023          TP                        Working session with T. Phelan, D. Schwartz, and E. Mostoff (all AlixPartners) re:       1.1
                                              analysis of cash transfers from Alameda Research and FTX Trading Ltd to FTX
                                              Digital Markets Ltd
03/10/2023          VK                        Working session with A. Vanderkamp, D. Schwartz, B. Mackay, V. Kotharu (all              0.3
                                              AlixPartners) re: analysis of funds flow to FTX Digital Markets
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/10/2023          VK                        Working session with D. Schwartz, T. Phelan, V. Kotharu (all AlixPartners) re:           0.9
                                              analysis of funds flow to FTX Digital Markets
03/11/2023          MB                        Review workplan status to summarize week's efforts on Deltec loan, FTX employee          0.5
                                              payments and political donations
03/11/2023          MJ                        Review cash flow activity for FTX Digital Markets from inception to petition date        1.2
03/12/2023          MJ                        Forensic review of cash flows to and from FTX Digital Markets                            0.8
03/13/2023          AS                        Attend meeting with M. Jacques, A. Searles, C. Cipione, D. White, T. Phelan, and         0.4
                                              A. Vanderkamp (all AlixPartners) re: Crypto database next steps
03/13/2023          AV                        Attend meeting with M. Jacques, A. Searles, C. Cipione, D. White, T. Phelan, and         0.4
                                              A. Vanderkamp (all AlixPartners) re: Crypto database next steps
03/13/2023          AV                        Meeting with D. Schwartz, A. Vanderkamp, S. Hanzi (full attendees) M. Jacques            0.6
                                              and L. Goldman (partial attendees) (all AlixPartners) re: update on FDM
                                              workstream and call with counsel
03/13/2023          BFM                       Attend call with B. Mackay, V. Kotharu (both AlixPartners) re: liquidation event         0.3
                                              analysis
03/13/2023          BFM                       Attend meeting with D. Schwartz, B. Mackay (partial attendees), and M. Birtwell          0.5
                                              (full attendee) (all AlixPartners) re: tracing of USDT related to Deltec loan and
                                              political contributions update
03/13/2023          BFM                       Create graphics of flow of crypto on chain after withdrawals re: liquidation event       0.9
03/13/2023          BFM                       Review flow of crypto on chain after withdrawals re: liquidation event                   1.7
03/13/2023          BAR                       Research and review bank translations for various accounts related to entity of          1.9
                                              interest investigation
03/13/2023          CAS                       Attend meeting with M. Jacques, A. Searles, C. Cipione, D. White, T. Phelan, and         0.4
                                              A. Vanderkamp (all AlixPartners) re: Crypto database next steps
03/13/2023          CAS                       Review logistics of the Azure environment                                                0.8
          44998     CX                        Research python coding methods to extract information relevant to the balance sheet      2.9
                                              reconstruction from QuickBooks
          44998     CX                        Research python code to generate transaction reports from QuickBooks data                2.3
03/13/2023          DS                        Attend meeting with D. Schwartz, B. Mackay (partial attendees), and M. Birtwell          0.6
                                              (full attendee) (all AlixPartners) re: tracing of USDT related to Deltec loan and
                                              political contributions update
03/13/2023          DS                        Working session with M. Jacques and D. Schwartz (both AlixPartners) to analyze           0.3
                                              flows from FDM to FTX Trading Ltd
03/13/2023          DJW                       Attend meeting with D. Waterfield and D. White (both AlixPartners) re: crypto            0.6
                                              address database build-out planning
03/13/2023          DJW                       Attend meeting with M. Jacques, A. Searles, C. Cipione, D. White, T. Phelan, and         0.4
                                              A. Vanderkamp (all AlixPartners) re: Crypto database next steps
03/13/2023          DW                        Attend meeting with D. Waterfield and D. White (both AlixPartners) re: crypto            0.6
                                              address database build-out planning
03/13/2023          ET                        Reconcile newly discovered bank statements with known statements                         3.0
03/13/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of         0.2
                                              general ledger entries for charitable donations
03/13/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: general           0.7
                                              ledger queries for political donations to 501(c)(4) entities
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                         HOURS
03/13/2023          GS                        Attend meeting with G. Shapiro, S. Thompson, and M. Birtwell (all AlixPartners)              0.3
                                              re: coordination of founders' loans and political donations funds tracing analyses
03/13/2023          GS                        Review general ledger entries for 501(c)(4) recipients to tie journal entries to             1.6
                                              political donations
03/13/2023          GS                        Review general ledger entries for donation accounts to tie journal entries to political      1.0
                                              donations
03/13/2023          GS                        Review general ledger entries for founder bank accounts to tie journal entries to            0.4
                                              political donations
03/13/2023          GS                        Update political donation tracker with identified donations to 501(c)(4) entities            2.2
03/13/2023          MB                        Attend meeting with D. Schwartz, B. Mackay (partial attendees), and M. Birtwell              0.7
                                              (full attendee) (all AlixPartners) re: tracing of USDT related to Deltec loan and
                                              political contributions update
03/13/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of             0.2
                                              general ledger entries for charitable donations
03/13/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: general               0.7
                                              ledger queries for political donations to 501(c)(4) entities
03/13/2023          MB                        Attend meeting with G. Shapiro, S. Thompson, and M. Birtwell (all AlixPartners)              0.3
                                              re: coordination of founders' loans and political donations funds tracing analyses
03/13/2023          MB                        Attend meeting with M. Birtwell and O. Braat (both AlixPartners) re: AWS query               0.4
                                              request for flagged transfer on FTX US exchange
03/13/2023          MB                        Review 185mm Alameda transfer in November 2022 to confirm expenses@ftx.us                    0.5
                                              involvement
03/13/2023          MB                        Review digital assets funding of 50mm USDT related to Deltec loan                            0.7
03/13/2023          MB                        Review summary of findings re: 185mm Alameda transfer in November 2022                       1.1
03/13/2023          MB                        Review summary of findings re: Deltec loan compared to A&M findings                          0.9
03/13/2023          MJ                        Attend meeting with M. Jacques, A. Searles, C. Cipione, D. White, T. Phelan, and             0.4
                                              A. Vanderkamp (all AlixPartners) re: Crypto database next steps
03/13/2023          MJ                        Working session with M. Jacques and D. Schwartz (both AlixPartners) to analyze               0.3
                                              flows from FDM to FTX Trading Ltd
03/13/2023          QB                        Attend meeting with M. Birtwell and O. Braat (both AlixPartners) re: AWS query               0.4
                                              request for flagged transfer on FTX US exchange
03/13/2023          ST                        Attend meeting with G. Shapiro, S. Thompson, and M. Birtwell (all AlixPartners)              0.3
                                              re: coordination of founders' loans and political donations funds tracing analyses
03/13/2023          SK                        Attend meeting with T. Phelan and T. Kang (both AlixPartners) re: bank statement             1.1
                                              tracker delta report
03/13/2023          SK                        Update cash schema table contents for the week ended 03/10/2023                              2.1
03/13/2023          SRH                       Analyze cash databases to understand potential gaps / issues                                 2.6
03/13/2023          SRH                       Analyze deposits / withdrawals in Alameda and FTX Exchange databases                         2.2
03/13/2023          TP                        Attend meeting with M. Jacques, A. Searles, C. Cipione, D. White, T. Phelan, and             0.4
                                              A. Vanderkamp (all AlixPartners) re: Crypto database next steps
03/13/2023          TP                        Attend meeting with T. Phelan and T. Kang (both AlixPartners) re: bank statement             1.1
                                              tracker delta report
03/13/2023          VK                        Analyze .COM exchange data related to liquidation events                                     1.7
03/13/2023          VK                        Attend call with B. Mackay, V. Kotharu (both AlixPartners) re: liquidation event             0.3
                                              analysis
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/14/2023          AW                        Internal meeting with C. Cipione, T. Phelan, S. Hanzi, D. Waterfield, A. Walker, L.       0.5
                                              Jia, D. White (all AlixPartners) re: presentation of work to date and plan for
                                              ownership and next steps around the crypto database build-out
03/14/2023          BFM                       Summarize withdrawals from FTX.com exchange by coin and destination wallet re:            1.4
                                              liquidation event
03/14/2023          BFM                       Working session with B. Mackay, V. Kotharu (both AlixPartners) re: liquidation            0.7
                                              event analysis on .COM exchange
03/14/2023          CAS                       Attend call with C. Cipione, T. Phelan and M. Birtwell (all AlixPartners) re: master      0.2
                                              summary database and exchange data queries using databricks
03/14/2023          CAS                       Internal meeting with C. Cipione, T. Phelan, S. Hanzi, D. Waterfield, A. Walker, L.       0.5
                                              Jia, D. White (all AlixPartners) re: presentation of work to date and plan for
                                              ownership and next steps around the crypto database build-out
03/14/2023          CAS                       Receipt of Sygnia sanitized code base and loading into the environment                    1.1
03/14/2023          CAS                       Review logistics of the Azure environment                                                 0.3
          44999     CX                        Perform quality control check on pdf parsing script to improve bank statement data        1.9
                                              scraping
03/14/2023          DS                        Meeting with D. Schwartz, A. Vanderkamp, S. Hanzi (full attendees) M. Jacques             0.6
                                              and L. Goldman (partial attendees) (all AlixPartners) re: update on FDM
                                              workstream and call with counsel
03/14/2023          DS                        Perform analysis related to customer flows in FDM bank accounts                           2.8
03/14/2023          DJW                       Internal meeting with C. Cipione, T. Phelan, S. Hanzi, D. Waterfield, A. Walker, L.       0.5
                                              Jia, D. White (all AlixPartners) re: presentation of work to date and plan for
                                              ownership and next steps around the crypto database build-out
03/14/2023          DW                        Internal meeting with C. Cipione, T. Phelan, S. Hanzi, D. Waterfield, A. Walker, L.       0.5
                                              Jia, D. White (all AlixPartners) re: presentation of work to date and plan for
                                              ownership and next steps around the crypto database build-out
03/14/2023          ET                        Reconcile newly discovered non-debtor bank accounts and statements against                2.9
                                              tracker list
03/14/2023          ET                        Reconcile newly discovered FTX bank accounts and statements against tracker list          2.1
03/14/2023          ET                        Reconcile newly discovered Alameda bank accounts and statements against tracker           1.7
                                              list
03/14/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: source of          0.3
                                              confidence for political donations identified from S&C provided documents of
                                              interest
03/14/2023          LMG                       Meeting with D. Schwartz, A. Vanderkamp, S. Hanzi (full attendees) M. Jacques             0.5
                                              and L. Goldman (partial attendees) (all AlixPartners) re: update on FDM
                                              workstream and call with counsel
03/14/2023          LJ                        Internal meeting with C. Cipione, T. Phelan, S. Hanzi, D. Waterfield, A. Walker, L.       0.5
                                              Jia, D. White (all AlixPartners) re: presentation of work to date and plan for
                                              ownership and next steps around the crypto database build-out
03/14/2023          LJ                        Participate in internal meeting with J. Linna and T. Kang (both AlixPartners) re:         2.8
                                              investigating alternative wallet address decoder library on databricks
03/14/2023          LJ                        Participate in internal meeting with T. Phelan, J. Linna and T. Kang (all                 0.5
                                              AlixPartners) re: research on finding an alternative wallet address decoder library
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                       HOURS
03/14/2023          MB                        Attend call with C. Cipione, T. Phelan and M. Birtwell (all AlixPartners) re: master        0.2
                                              summary database and exchange data queries using databricks
03/14/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: source of            0.3
                                              confidence for political donations identified from S&C provided documents of
                                              interest
03/14/2023          MJ                        Meeting with D. Schwartz, A. Vanderkamp, S. Hanzi (full attendees) M. Jacques               0.6
                                              and L. Goldman (partial attendees) (all AlixPartners) re: update on FDM
                                              workstream and call with counsel
03/14/2023          MJ                        Forensic review of unstructured data related to collateral return related to entity of      2.1
                                              interest loan to FTX
03/14/2023          QB                        Analyze .US exchange data to identify funds for political donations                         0.6
03/14/2023          SK                        Analyze potential data collection issue identified in cash database import                  2.6
03/14/2023          SK                        Create weekly delta report for cash schema table contents for the week ended                2.3
                                              03/14/2023
03/14/2023          SK                        Participate in internal meeting with J. Linna and T. Kang (both AlixPartners) re:           2.8
                                              investigating alternative wallet address decoder library on databricks
03/14/2023          SK                        Participate in internal meeting with T. Phelan, J. Linna and T. Kang (all                   0.5
                                              AlixPartners) re: research on finding an alternative wallet address decoder library
03/14/2023          SRH                       Internal meeting with C. Cipione, T. Phelan, S. Hanzi, D. Waterfield, A. Walker, L.         0.5
                                              Jia, D. White (all AlixPartners) re: presentation of work to date and plan for
                                              ownership and next steps around the crypto database build-out
03/14/2023          SRH                       Meeting with D. Schwartz, A. Vanderkamp, S. Hanzi (full attendees) M. Jacques               0.6
                                              and L. Goldman (partial attendees) (all AlixPartners) re: update on FDM
                                              workstream and call with counsel
03/14/2023          TP                        Attend call with C. Cipione, T. Phelan and M. Birtwell (all AlixPartners) re: master        0.2
                                              summary database and exchange data queries using databricks
03/14/2023          TP                        Internal meeting with C. Cipione, T. Phelan, S. Hanzi, D. Waterfield, A. Walker, L.         0.5
                                              Jia, D. White (all AlixPartners) re: presentation of work to date and plan for
                                              ownership and next steps around the crypto database build-out
03/14/2023          TP                        Participate in internal meeting with T. Phelan, J. Linna and T. Kang (all                   0.5
                                              AlixPartners) re: research on finding an alternative wallet address decoder library
03/14/2023          TP                        Review the initial Javascript Bitcoin Cash process used to evaluate the results to for      1.7
                                              the purposes of enriching the CryptoDB
03/14/2023          TP                        Review the initial Javascript Bitcoin process used to evaluate the results to for the       1.1
                                              purposes of enriching the CryptoDB
03/14/2023          TP                        Review the initial Javascript EthereumAccount identification process used to                1.2
                                              evaluate the results to for the purposes of enriching the CryptoDB
03/14/2023          TP                        Review the initial Javascript IBAN Account identification process used to evaluate          2.1
                                              the results to for the purposes of enriching the CryptoDB
03/14/2023          TP                        Working session with T. Phelan, V. Kotharu (both AlixPartners) re: liquidation              0.7
                                              event analysis on .COM exchange
03/14/2023          VK                        Analyze .COM exchange data for historical liquidation events                                2.8
03/14/2023          VK                        Continue analysis of .COM exchange data for historical liquidation events                   1.9
03/14/2023          VK                        Working session with B. Mackay, V. Kotharu (both AlixPartners) re: liquidation              0.7
                                              event analysis on .COM exchange
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                     HOURS
03/14/2023          VK                        Working session with T. Phelan, V. Kotharu (both AlixPartners) re: liquidation            0.7
                                              event analysis on .COM exchange
03/15/2023          AS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: next steps         0.5
                                              in political donations, charitable contributions and FTX Digital Markets
                                              workstreams
03/15/2023          AS                        Attend meeting with G. Shapiro, D. Schwartz, A. Searles, and M. Birtwell (all             0.4
                                              AlixPartners) re: review of confidence levels for political donations funds tracing
03/15/2023          AS                        Review unstructured data to obtain documents related to the charitable contributions      0.8
                                              investigation
03/15/2023          AV                        Meeting with D. Schwartz, C. Cipione, B. Robison, A. Vanderkamp, Y. Tong, R.              1.0
                                              Self, O. Braat and C. Xu (all AlixPartners) re: master summary design and potential
                                              steps to build the central platform for data collection
03/15/2023          AV                        Review mater summary templates                                                            1.4
03/15/2023          BFM                       Attend meeting with M. Birtwell, D. Schwartz, and B. Mackay (all AlixPartners) re:        0.2
                                              profiling fiat@ftx.us
03/15/2023          BFM                       Review FTX.com exchange fills for instances of Alameda providing backstop                 1.7
                                              liquidity
03/15/2023          BFM                       Update summary of crypto flows on-chain after withdrawals from FTX.com                    1.6
                                              exchange re: liquidation event
03/15/2023          BFM                       Working session with B. Mackay, V. Kotharu (AlixPartners) re: liquidation event           0.3
                                              analysis on .COM exchange
03/15/2023          BFM                       Working session with L. Goldman and B. Mackay (both AlixPartners) to review               0.4
                                              exchange data workstreams
03/15/2023          BAR                       Meeting with D. Schwartz, C. Cipione, B. Robison, A. Vanderkamp, Y. Tong, R.              1.0
                                              Self, O. Braat and C. Xu (all AlixPartners) re: master summary design and potential
                                              steps to build the central platform for data collection
03/15/2023          BAR                       Analyze existing investigative summaries to design central platform for data              1.8
                                              collection
03/15/2023          CAS                       Design the master summary system                                                          0.4
03/15/2023          CAS                       Initial cataloging of the exchange code base                                              1.3
03/15/2023          CAS                       Meeting with D. Schwartz, C. Cipione, B. Robison, A. Vanderkamp, Y. Tong, R.              1.0
                                              Self, O. Braat and C. Xu (all AlixPartners) re: master summary design and potential
                                              steps to build the central platform for data collection
03/15/2023          CAS                       Review logistics of the Azure environment                                                 0.6
03/15/2023          CX                        Meeting with D. Schwartz, C. Cipione, B. Robison, A. Vanderkamp, Y. Tong, R.              1.0
                                              Self, O. Braat and C. Xu (all AlixPartners) re: master summary design and potential
                                              steps to build the central platform for data collection
03/15/2023          CX                        Identify platforms to build user interface for master summary database                    2.3
03/15/2023          DS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: next steps         0.5
                                              in political donations, charitable contributions and FTX Digital Markets
                                              workstreams
03/15/2023          DS                        Attend meeting with G. Shapiro, D. Schwartz, A. Searles, and M. Birtwell (all             0.4
                                              AlixPartners) re: review of confidence levels for political donations funds tracing
03/15/2023          DS                        Attend meeting with M. Birtwell, D. Schwartz, and B. Mackay (all AlixPartners) re:        0.2
                                              profiling fiat@ftx.us
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                     HOURS
03/15/2023          DS                        Meeting with D. Schwartz, C. Cipione, B. Robison, A. Vanderkamp, Y. Tong, R.              1.0
                                              Self, O. Braat and C. Xu (all AlixPartners) re: master summary design and potential
                                              steps to build the central platform for data collection
03/15/2023          DS                        Prepare diagram to show flow of funds to and from FDM including the intersection          1.3
                                              with customer accounts
03/15/2023          DW                        Initial review of the structure and contents of the exchange data contained in            1.9
                                              DataBricks
03/15/2023          DW                        Continue initial review of the structure and contents of the exchange data contained      1.7
                                              in DataBricks
03/15/2023          GS                        Attend call with G. Shapiro and M. Birtwell (both AlixPartners) re: confirming GL         0.1
                                              activity specific to political donation support packages
03/15/2023          GS                        Attend meeting with G. Shapiro, D. Schwartz, A. Searles, and M. Birtwell (all             0.4
                                              AlixPartners) re: review of confidence levels for political donations funds tracing
03/15/2023          GS                        Update summary with GL data pertaining to the LedgerX investigation                       2.1
03/15/2023          LMG                       Plan initial overview stats for Alameda borrowing/lending activity on FTX.com             0.7
03/15/2023          LMG                       Prepare draft overview of Alameda borrow/lend stats on .com exchange                      1.3
03/15/2023          LMG                       Working session with L. Goldman and B. Mackay (both AlixPartners) to review               0.4
                                              exchange data workstreams
03/15/2023          LMG                       Working session with M. Evans, L. Goldman, S. Hanzi (all AlixPartners) re:                0.4
                                              Alameda activity in FTX spot borrow/lend market
03/15/2023          MB                        Attend call with G. Shapiro and M. Birtwell (both AlixPartners) re: confirming GL         0.1
                                              activity specific to political donation support packages
03/15/2023          MB                        Attend meeting with G. Shapiro, D. Schwartz, A. Searles, and M. Birtwell (all             0.4
                                              AlixPartners) re: review of confidence levels for political donations funds tracing
03/15/2023          MB                        Attend meeting with M. Birtwell and S. Thompson (both AlixPartners) re: tie out           0.2
                                              founders' loans and political donations
03/15/2023          MB                        Attend meeting with M. Birtwell, D. Schwartz, and B. Mackay (all AlixPartners) re:        0.2
                                              profiling fiat@ftx.us
03/15/2023          MB                        Continue reviewing support packages re: loan funded political donations                   2.2
03/15/2023          MB                        Prepare schedule on founders' loans and their identified purpose per forensic             0.7
                                              analysis
03/15/2023          MB                        Review fiat@ftx.us exchange account to provide profile per S&C request                    0.3
03/15/2023          MB                        Review support packages re: loan funded political donations                               2.9
03/15/2023          ME                        Create metrics for monthly exposures in Alameda borrowing/lending books                   1.4
03/15/2023          ME                        Working session with M. Evans, L. Goldman, S. Hanzi (all AlixPartners) re:                0.4
                                              Alameda activity in FTX spot borrow/lend market
03/15/2023          QB                        Meeting with D. Schwartz, C. Cipione, B. Robison, A. Vanderkamp, Y. Tong, R.              1.0
                                              Self, O. Braat and C. Xu (all AlixPartners) re: master summary design and potential
                                              steps to build the central platform for data collection
03/15/2023          RS                        Meeting with D. Schwartz, C. Cipione, B. Robison, A. Vanderkamp, Y. Tong, R.              1.0
                                              Self, O. Braat and C. Xu (all AlixPartners) re: master summary design and potential
                                              steps to build the central platform for data collection
03/15/2023          ST                        Analyze journal entries pertaining to the founders' loans receivable GL accounts re:      2.2
                                              founders' loans summary schedule
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/15/2023          ST                        Attend meeting with M. Birtwell and S. Thompson (both AlixPartners) re: tie out          0.2
                                              founders' loans and political donations
03/15/2023          SK                        Create a report for bank accounts in the Bank Statement Summary table that have          1.1
                                              inconsistent monthly balance
03/15/2023          SK                        Create process to streamline delta analysis of weekly bank statement tracker             2.4
                                              provided by A&M
03/15/2023          SK                        Update Statement Summary Tracker file to minimize variances due to naming                1.6
03/15/2023          SRH                       Working session with M. Evans, L. Goldman, S. Hanzi (all AlixPartners) re:               0.4
                                              Alameda activity in FTX spot borrow/lend market
03/15/2023          TP                        Perform data mining tasks on FTI ESI Document scan results to for the purposes of        2.4
                                              enriching the CryptoDB
03/15/2023          TP                        Process updates as a results of the QC of wallet address confirmation process used       1.9
                                              to validate the address values being loaded into the CryptoDB
03/15/2023          TP                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: liquidation event          2.7
                                              analysis on .COM exchange
03/15/2023          VK                        Analyze .COM exchange data for historical liquidation events                             2.4
03/15/2023          VK                        Continue analysis of .COM exchange data for historical liquidation events                1.3
03/15/2023          VK                        Working session with B. Mackay, V. Kotharu (AlixPartners) re: liquidation event          0.3
                                              analysis on .COM exchange
03/15/2023          VK                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: liquidation event          2.7
                                              analysis on .COM exchange
03/15/2023          YT                        Meeting with D. Schwartz, C. Cipione, B. Robison, A. Vanderkamp, Y. Tong, R.             1.0
                                              Self, O. Braat and C. Xu (all AlixPartners) re: master summary design and potential
                                              steps to build the central platform for data collection
03/16/2023          AV                        Participate in call with D. Schwartz and A. Vanderkamp (both AlixPartners) to            0.5
                                              discuss master summary template
03/16/2023          BFM                       Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,          0.3
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
03/16/2023          BFM                       Create unified database of daily prices for tickers re: potential preference and         1.1
                                              exchange analyses
03/16/2023          BFM                       Working session with B. Mackay, V. Kotharu (AlixPartners) re: liquidation event          0.8
                                              analysis on .COM exchange
03/16/2023          BAR                       Meeting with B. Robison, Y. Tong, and C. Xu (all AlixPartners) Re: walk through          0.5
                                              master summary design concepts and functions
03/16/2023          BAR                       Research current list of investigative summaries for inclusion in master summary         1.4
                                              database
03/16/2023          BAR                       Review bank statement information and structure to be used in master summary             2.1
                                              database
03/16/2023          CAS                       Design the Master Chronology system                                                      0.8
03/16/2023          CAS                       Initial review of selected sets of the exchange code base                                2.2
03/16/2023          CAS                       Review logistics of the Azure environment                                                0.3
03/16/2023          CAS                       Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,          0.5
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                          HOURS
03/16/2023          CX                        Meeting with B. Robison, Y. Tong, and C. Xu (all AlixPartners) Re: walk through                0.5
                                              master summary design concepts and functions
03/16/2023          DS                        Participate in call with D. Schwartz and A. Vanderkamp (both AlixPartners) to                  0.5
                                              discuss master summary template
03/16/2023          DW                        Review data within the exchange databases to understand the structure and function             1.3
                                              of these
03/16/2023          DW                        Working session with T. Phelan, D. Waterfield, S. Hanzi (all AlixPartners) re:                 1.6
                                              Alameda and FTX databases core tables and data flows
03/16/2023          EM                        Map entity/bank account data between A&M bank tracker, AP bank tracker, and                    2.7
                                              A&M entity database
03/16/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of               0.7
                                              journal entries related to specific investment
03/16/2023          GS                        Review general ledger entries for family aliases to tie journal entries to political           0.6
                                              donations
03/16/2023          GS                        Review general ledger entries for identified 501(c)(4) entities to tie journal entries to      1.6
                                              political donations
03/16/2023          GS                        Review general ledger entries for insider aliases to tie journal entries to political          1.3
                                              donations
03/16/2023          GS                        Update summary with GL data pertaining to the LedgerX investigation                            0.4
03/16/2023          GS                        Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,                0.5
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
03/16/2023          KHW                       Attend meeting with K. Wessel and M. Birtwell (both AlixPartners) re: A&M cash                 0.5
                                              database functionality and completeness
03/16/2023          LMG                       Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,                0.5
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
03/16/2023          MB                        Attend meeting with K. Wessel and M. Birtwell (both AlixPartners) re: A&M cash                 0.5
                                              database functionality and completeness
03/16/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of               0.7
                                              journal entries related to specific investment
03/16/2023          MB                        Execute queries on general ledger and on A&M cash database re: specific bank                   0.9
                                              account
03/16/2023          MB                        Perform cash tracing using A&M cash database                                                   0.2
03/16/2023          MB                        Prepare general ledger queries and transaction data for political donations support            1.6
                                              packages
03/16/2023          MB                        Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,                0.5
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
03/16/2023          ME                        Follow-up analysis discussion with Gaurav Walia (A&M)                                          0.5
03/16/2023          ME                        Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,                0.5
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
03/16/2023          ST                        Analyze founders' loans receivable GL accounts pertaining to corporate acquisitions            1.4
03/16/2023          ST                        Analyze founders' loans receivable GL accounts pertaining to political donations               2.0
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/16/2023          ST                        Continue analysis of founders' loans receivable GL accounts pertaining to corporate        1.5
                                              acquisitions
03/16/2023          SK                        Update account numbers in the Statement Summary Tracker file to be consistent              2.7
                                              with account numbers in the Bank Data Combined Table
03/16/2023          SK                        Update the process that generates weekly delta report for bank statement tracker           2.8
03/16/2023          SRH                       Analyze deposits / withdrawals in Alameda and FTX Exchange databases                       2.6
03/16/2023          SRH                       Investigate ERD preservation options for the PostgreSQL database                           1.9
03/16/2023          SRH                       Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,            0.5
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
03/16/2023          SRH                       Working session with T. Phelan, D. Waterfield, S. Hanzi (all AlixPartners) re:             1.6
                                              Alameda and FTX databases core tables and data flows
03/16/2023          TP                        Setup Alameda Production 7 database within the AP Azure environment                        0.9
03/16/2023          TP                        Setup Alameda Trading database within the AP Azure environment                             0.6
03/16/2023          TP                        Setup FTX.com Exchange database within the AP Azure environment                            2.7
03/16/2023          TP                        Setup FTX.us Exchange database within the AP Azure environment                             1.0
03/16/2023          TP                        Working session with T. Phelan, D. Waterfield, S. Hanzi (all AlixPartners) re:             1.6
                                              Alameda and FTX databases core tables and data flows
03/16/2023          TP                        Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,            0.5
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
03/16/2023          TP                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: liquidation event            1.1
                                              analysis on .COM exchange
03/16/2023          VK                        Analyze historical communication artifacts in ESI database to assist with analysis of      1.8
                                              on-exchange liquidation events
03/16/2023          VK                        Continue analysis of .COM exchange data for historical liquidation events                  1.4
03/16/2023          VK                        Revise analysis of .COM exchange data for historical liquidation events                    2.9
03/16/2023          VK                        Working session with B. Mackay, V. Kotharu (AlixPartners) re: liquidation event            0.8
                                              analysis on .COM exchange
03/16/2023          VK                        Working session with T. Phelan, C. Cipione, V. Kotharu, G. Shapiro, L. Goldman,            0.5
                                              M. Evans, M. Birtwell, S. Hanzi (full attendees), and B. Mackay (partial attendee)
                                              (all AlixPartners) to discuss access and analysis of exchange data
03/16/2023          VK                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: liquidation event            1.1
                                              analysis on .COM exchange
03/16/2023          YT                        Develop queries to identify political donations source of funding in the QuickBooks        1.1
                                              general ledger data
03/16/2023          YT                        Meeting with B. Robison, Y. Tong, and C. Xu (all AlixPartners) Re: walk through            0.5
                                              master summary design concepts and functions
           45001    YT                        Conduct research on deployment of Power Apps in creation of master summary                 1.2
                                              database
03/17/2023          BFM                       Working session with B. Mackay, V. Kotharu (AlixPartners) re: liquidation event            0.1
                                              analysis on .COM exchange
03/17/2023          CAS                       Design the Master Chronology system                                                        1.3
03/17/2023          CAS                       Initial review of selected sets of the .com exchange code base                             2.2
03/17/2023          CAS                       Continue initial review of selected sets of the .com exchange code base                    1.1
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/17/2023          CAS                       Review logistics of the Azure environment                                                0.2
          45002     CX                        Review available options for creation of template for user interface of master           1.5
                                              summary database
03/17/2023          DS                        Attend meeting with K. Wessel and D. Schwartz (both AlixPartners) to discuss             0.4
                                              process and tracking of newly identified bank statements and accounts
03/17/2023          DS                        Meeting with D. Schwartz and M. Birtwell (both AlixPartners) re: executing queries       0.4
                                              using Alteryx on A&M Cash Database specific to specific bank account between
                                              March and November 2022
03/17/2023          DS                        Perform analysis of cash flows to and from FBO accounts                                  1.1
03/17/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of         0.3
                                              journal entries related to specific investment
03/17/2023          GS                        Review confidence levels for political donations funds tracing                           0.7
03/17/2023          KHW                       Attend meeting with K. Wessel and D. Schwartz (both AlixPartners) to discuss             0.4
                                              process and tracking of newly identified bank statements and accounts
03/17/2023          LMG                       Review Alameda borrowing and lending on FTX.com preliminary statistics                   0.8
03/17/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of         0.3
                                              journal entries related to specific investment
03/17/2023          MB                        Execute query in GL and on AM Cash DB re: potential avoidance action                     0.5
03/17/2023          MB                        Meeting with D. Schwartz and M. Birtwell (both AlixPartners) re: executing queries       0.4
                                              using Alteryx on A&M Cash Database specific to specific bank account between
                                              March and November 2022
03/17/2023          ST                        Continue analysis of founders' loans receivable GL accounts pertaining to corporate      1.9
                                              acquisitions
03/17/2023          ST                        Prepare summary with GL data from the founders' loans receivable accounts                2.7
                                              including the purpose of the transactions
03/17/2023          SK                        Participate in internal meeting with T. Kang and T. Phelan (Both AlixPartners) re:       0.5
                                              updates on the process to generate weekly delta report for statement summary
                                              tracker file
03/17/2023          SK                        Update the delta report template to reflect revised data structure                       0.8
03/17/2023          TP                        Participate in internal meeting with T. Kang and T. Phelan (Both AlixPartners) re:       0.5
                                              updates on the process to generate weekly delta report for statement summary
                                              tracker file
03/17/2023          TP                        Deploy Alameda Trading database within the AP Azure environment                          0.8
03/17/2023          TP                        Deploy FTX.com Exchange database within the AP Azure environment                         0.7
03/17/2023          TP                        Deploy FTX's Order Exchange database within the AP Azure environment                     1.7
03/17/2023          VK                        Analyze .COM exchange data for historical liquidation events of futures positions        2.8
03/17/2023          VK                        Revise analysis of .COM exchange data for historical liquidation events                  2.4
03/17/2023          VK                        Working session with B. Mackay, V. Kotharu (AlixPartners) re: liquidation event          0.1
                                              analysis on .COM exchange
           45002    YT                        Investigate use of Azure resources to create user interface for master summary           2.3
                                              database
03/19/2023          DS                        Analyze transactions in specific bank accounts to understand fund flows                  2.3
03/19/2023          ET                        Reconcile newly discovered bank statements with known statements                         0.9
03/20/2023          AV                        Attend meeting with D. Schwartz, A. Vanderkamp, O. Braat (full attendees) R. Self        0.6
                                              (partial attendee) (all AlixPartners) re: creating master summary
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                     HOURS
03/20/2023          BFM                       Working session with M. Evans, L. Goldman, B. Mackay (all AlixPartners) re:               0.5
                                              historical Alameda loan activity
03/20/2023          BAR                       Analyze data fields for use in creating master summary data for use in                    2.3
03/20/2023          CAS                       Design the Master Chron system                                                            1.2
03/20/2023          CAS                       Preliminary methodology construction for the exchange source code review                  2.1
03/20/2023          CX                        Working session with C. Xu, Y. Tong (Both AlixPartners) re: creation of user              0.5
                                              interface for migrated exchange database in Azure
03/20/2023          DS                        Attend meeting with D. Schwartz, A. Vanderkamp, O. Braat (full attendees) R. Self         0.6
                                              (partial attendee) (all AlixPartners) re: creating master summary
03/20/2023          DS                        Prepare flow charts associated with cash movements to/ from FDM                           1.2
03/20/2023          DS                        Review analysis re: political contributions workstream                                    1.1
03/20/2023          DS                        Working session with D. Schwartz and M. Birtwell (both AlixPartners) to reconcile         0.2
                                              differences in founders' loans and political donations work products
03/20/2023          DS                        Working session with E. Mostoff and D. Schwartz (both AlixPartners) re: review of         0.2
                                              updated journal entry database
03/20/2023          DS                        Working session with E. Mostoff and D. Schwartz re: functionality of updated              0.4
                                              journal entry and cash databases
03/20/2023          ET                        Reconcile newly discovered Alameda Silo bank accounts with known accounts                 2.3
03/20/2023          EM                        Research G/L data re: loan investigation                                                  0.9
03/20/2023          EM                        Working session with E. Mostoff and D. Schwartz (both AlixPartners) re: review of         0.2
                                              updated journal entry database
03/20/2023          EM                        Working session with E. Mostoff and D. Schwartz re: functionality of updated              0.4
                                              journal entry and cash databases
03/20/2023          GS                        Review general ledger entries for date and amount matches to identify political           2.3
                                              donations
03/20/2023          KHW                       Develop flow of funds visualization related to FTX Digital Markets showing cash           2.3
                                              movement between relevant entities
03/20/2023          KHW                       Review Debtor's documents for internal tracking of third party loans outstanding for      0.3
                                              historical periods
03/20/2023          LMG                       Review FTX.com spot margin borrow/lend market data                                        0.4
03/20/2023          LMG                       Working session with M. Evans, L. Goldman, B. Mackay (all AlixPartners) re:               0.5
                                              historical Alameda loan activity
03/20/2023          LJ                        Attend meeting with C. Cipione, T. Phelan, S. Hanzi, D. Waterfield, A. Walker, T.         0.5
                                              Kang, L. Jia, D. White (all AlixPartners) re: weekly updates call on the crypto
                                              database build-out
03/20/2023          LJ                        Attend meeting with T. Phelan, S. Hanzi, L. Jia, T. Kang (all AlixPartners) re:           0.5
                                              reviewing verification / validation methods of crypto wallet address
03/20/2023          MB                        Execute query in general ledger data based on date and amount for DoI identified          1.4
                                              political donations
03/20/2023          MB                        Perform queries in A&M Cash Database to identify outgoing payments to founders            0.4
03/20/2023          MB                        Working session with D. Schwartz and M. Birtwell (both AlixPartners) to reconcile         0.2
                                              differences in founders' loans and political donations work products
03/20/2023          ME                        Working session with M. Evans, L. Goldman, B. Mackay (all AlixPartners) re:               0.5
                                              historical Alameda loan activity
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/20/2023          QB                        Attend meeting with D. Schwartz, A. Vanderkamp, O. Braat (full attendees) R. Self        0.6
                                              (partial attendee) (all AlixPartners) re: creating master summary
03/20/2023          RS                        Attend meeting with D. Schwartz, A. Vanderkamp, O. Braat (full attendees) R. Self        0.5
                                              (partial attendee) (all AlixPartners) re: creating master summary
03/20/2023          SK                        Attend meeting with T. Phelan, S. Hanzi, L. Jia, T. Kang (all AlixPartners) re:          0.5
                                              reviewing verification / validation methods of crypto wallet address
03/20/2023          SK                        Create weekly delta report for cash schema table contents for the week ended             1.4
                                              03/17/2023
03/20/2023          SK                        Create weekly delta report for the statement summary tracker file for the week           2.1
                                              ended 03/17/2023
03/20/2023          SK                        Analyze Moreno wallet address validation method to aid in on-chain tracing               2.3
03/20/2023          SK                        Analyze Solana wallet address validation method to aid in on-chain tracing analysis      2.9
03/20/2023          SK                        Update cash schema table contents for the week ended 03/17/2023                          0.4
03/20/2023          SRH                       Analyze borrow / lending cycles re : Alameda's activity on FTX exchange                  2.3
03/20/2023          SRH                       Attend meeting with T. Phelan, S. Hanzi, L. Jia, T. Kang (all AlixPartners) re:          0.5
                                              reviewing verification / validation methods of crypto wallet address
03/20/2023          SRH                       Further analyzing borrow / lending cycles re : Alameda's activity on FTX exchange        1.7
03/20/2023          TP                        Attend meeting with T. Phelan, S. Hanzi, L. Jia, T. Kang (all AlixPartners) re:          0.5
                                              reviewing verification / validation methods of crypto wallet address
03/20/2023          TP                        Perform data mining and research tasks on publicly available block chain APIs to         2.8
                                              support the CryptoDB construction
03/20/2023          TP                        Perform data mining and research tasks within the exchange data to support the           2.4
                                              CryptoDB construction
03/20/2023          TP                        Perform data mining tasks on FTI ESI Document scan results to for the purposes of        2.6
                                              enriching the CryptoDB
03/20/2023          VK                        Analyze account records in .COM and .US exchange data to identify accounts of            1.3
                                              interest held by insiders
03/20/2023          YT                        Working session with C. Xu, Y. Tong (Both AlixPartners) re: creation of user             0.5
                                              interface for migrated exchange database in Azure
03/21/2023          BFM                       Attend meeting with M. Evans, L. Goldman, B. Mackay, V Kotharu (all                      0.6
                                              AlixPartners) re: review of liquidation event analysis
03/21/2023          BFM                       Attend working session with M. Evans, L. Goldman, B. Mackay (all AlixPartners)           0.4
                                              to prepare for call with S&C re: liquidation event
03/21/2023          BFM                       Trace flows of USDC after withdrawal from .com exchange re: liquidation event            1.4
03/21/2023          BFM                       Trace flows of WBTC after withdrawal from .com exchange re: liquidation event            0.4
03/21/2023          BAR                       Analyze descriptions in bank statement data and QuickBooks data to identify ways         2.1
                                              of linking data for use in investigations
03/21/2023          BAR                       Meeting with C. Cipione, B. Robison, Y. Tong, and C. Xu (all AlixPartners) Re:           0.5
                                              Functions of master summaries and actions needed to extract data from ESI
03/21/2023          BAR                       Analyze ESI database meta data for use in the development of master summary data         1.6
03/21/2023          BAR                       Review preliminary fields and structure for development of master summary data           0.9
03/21/2023          CAS                       Design the Master Chron system                                                           1.4
03/21/2023          CAS                       Meeting with C. Cipione, B. Robison, Y. Tong, and C. Xu (all AlixPartners) Re:           0.5
                                              Functions of master summaries and actions needed to extract data from ESI
03/21/2023          CAS                       Preliminary methodology construction for the exchange source code review                 0.9
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03/21/2023          CAS                       Review logistics of the Azure environment                                                 2.2
03/21/2023          CAS                       Working session with T. Phelan, C. Cipione, M. Birtwell, and S. Hanzi (all                0.3
                                              AlixPartners) re: QuickBooks source table
03/21/2023          CX                        Meeting with C. Cipione, B. Robison, Y. Tong, and C. Xu (all AlixPartners) Re:            0.5
                                              Functions of master summaries and actions needed to extract data from ESI
03/21/2023          CX                        Build user interface for the master summary database                                      2.1
03/21/2023          DJW                       Attend meeting with L. Beischer and D. White (AlixPartners) re: token trading             0.7
                                              account rebuild
03/21/2023          DW                        Review the content and structure of the exchange databases                                1.1
03/21/2023          ET                        Reconcile newly discovered FTX Silo bank accounts with known accounts                     2.3
03/21/2023          ET                        Reconcile newly discovered Nondebtor bank accounts with list of known accounts            0.9
03/21/2023          ET                        Reconcile newly discovered West Realm Shires Silo bank statements with list of            1.8
                                              known statements
03/21/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: tracing of         1.0
                                              funds for political donations recorded as loans
03/21/2023          GS                        Review general ledger entries for loan accounts to identify political donations           0.7
03/21/2023          LB                        Attend meeting with L. Beischer and D. White (AlixPartners) re: token trading             0.7
                                              account rebuild
03/21/2023          LMG                       Attend meeting with M. Evans, L. Goldman, B. Mackay, V Kotharu (all                       0.6
                                              AlixPartners) re: review of liquidation event analysis
03/21/2023          LMG                       Attend working session with M. Evans, L. Goldman, B. Mackay (all AlixPartners)            0.4
                                              to prepare for call with S&C re: liquidation event
03/21/2023          LMG                       Review Alameda FTX.com borrow/lend initial statistics                                     1.3
03/21/2023          LMG                       Working session with L. Goldman and S. Hanzi (both AlixPartners) re: access to            0.2
                                              exchange data in AlixPartners environment
03/21/2023          LMG                       Working session with L. Goldman and S. Hanzi (both AlixPartners) re: Alameda              0.5
                                              borrowing/lending activity on .com exchange
03/21/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: tracing of         1.0
                                              funds for political donations recorded as loans
03/21/2023          MB                        Review QuickBooks source table information to understand how to use unique                0.3
                                              identifiers for referencing key journal entries as it relates to political donations
03/21/2023          MB                        Working session with T. Phelan, C. Cipione, M. Birtwell, and S. Hanzi (all                0.3
                                              AlixPartners) re: QuickBooks source table
03/21/2023          ME                        Attend meeting with M. Evans, L. Goldman, B. Mackay, V Kotharu (all                       0.6
                                              AlixPartners) re: review of liquidation event analysis
03/21/2023          ME                        Attend working session with M. Evans, L. Goldman, B. Mackay (all AlixPartners)            0.4
                                              to prepare for call with S&C re: liquidation event
03/21/2023          MJ                        Review political donations forensic analysis materials summarizing the findings to        0.4
                                              date
03/21/2023          QB                        Develop template for master summaries pertaining to trading analytics                     0.5
03/21/2023          RS                        Prepare summary of entity of interest investigation                                       1.9
03/21/2023          SK                        Develop script to validate Solana wallet addresses                                        2.8
03/21/2023          SK                        Participate in internal meeting with T. Phelan and T. Kang (both AlixPartners) re:        0.7
                                              review validation method for specific wallet address
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/21/2023          SRH                       Generate ERD preservation files for the FTX exchanges re : FTX exchange                    2.1
                                              migration
03/21/2023          SRH                       Migrate historical financial pricing data into Databricks re: Alameda's activity on        2.6
                                              FTX exchange
03/21/2023          SRH                       Produce analysis results of borrow / lending cycles re: Alameda's activity on FTX          2.2
                                              exchange
03/21/2023          SRH                       Working session with L. Goldman and S. Hanzi (both AlixPartners) re: access to             0.2
                                              exchange data in AlixPartners environment
03/21/2023          SRH                       Working session with L. Goldman and S. Hanzi (both AlixPartners) re: Alameda               0.5
                                              borrowing/lending activity on .com exchange
03/21/2023          SRH                       Working session with T. Phelan, C. Cipione, M. Birtwell, and S. Hanzi (all                 0.3
                                              AlixPartners) re: QuickBooks source table
03/21/2023          TP                        Development of wallet address confirmation process to validate the address values          2.7
                                              being loaded into the CryptoDB
03/21/2023          TP                        Internal meeting with T. Phelan, V. Asher (both AlixPartners) re: digital asset            1.1
                                              tracing workplan and extracting wallets from ESI scraped data and other exchange
                                              databases
03/21/2023          TP                        Participate in internal meeting with T. Phelan and T. Kang (both AlixPartners) re:         0.7
                                              review validation method for specific wallet address
03/21/2023          TP                        Perform data mining and research tasks on publicly available block chain APIs to           1.5
                                              support the CryptoDB construction
03/21/2023          TP                        Perform data mining tasks on FTI ESI Document scan results to for the purposes of          1.5
                                              enriching the CryptoDB
03/21/2023          TP                        Working session with T. Phelan, C. Cipione, M. Birtwell, and S. Hanzi (all                 0.3
                                              AlixPartners) re: QuickBooks source table
03/21/2023          VA                        Conduct validation checks on the parsed metadata obtained from the files shared by         1.6
                                              A&M for crypto wallet addresses
03/21/2023          VA                        Internal meeting with T. Phelan, V. Asher (both AlixPartners) re: digital asset            1.1
                                              tracing workplan and extracting wallets from ESI scraped data and other exchange
                                              databases
03/21/2023          VA                        Parse out the metadata shared by A&M along with the parquet files containing               2.8
                                              crypto wallet addresses
03/21/2023          VA                        Analyze the metadata shared by A&M along with the parquet files for wallet                 0.3
                                              addresses
03/21/2023          VK                        Analyze .COM exchange data for BLP related liquidation events                              1.4
03/21/2023          VK                        Attend meeting with M. Evans, L. Goldman, B. Mackay, V Kotharu (all                        0.6
                                              AlixPartners) re: review of liquidation event analysis
03/21/2023          YT                        Meeting with C. Cipione, B. Robison, Y. Tong, and C. Xu (all AlixPartners) Re:             0.5
                                              Functions of master summaries and actions needed to extract data from ESI
03/22/2023          AS                        Attend meeting with B. Mackay and A. Searles (both AlixPartners) to discuss the            0.2
                                              status of the exchange data workstreams
03/22/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), D. Schwartz, and A.          0.2
                                              Searles (partial attendees) (all AlixPartners) to discuss funds tracing for political
                                              donations funded by loans
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/22/2023          AV                        Attend call with A. Vanderkamp, V. Kotharu, and R. Self (all AlixPartners) re:             0.4
                                              summary of entity of interest investigation
03/22/2023          AV                        Working session with A. Vanderkamp and R. Self (both AlixPartners) re: prepare             0.5
                                              summary of entity of interest investigation
03/22/2023          BFM                       Attend meeting with B. Mackay and A. Searles (both AlixPartners) to discuss the            0.2
                                              status of the exchange data workstreams
03/22/2023          BFM                       Review manual BLP liquidations by Alameda on .com exchange                                 1.9
03/22/2023          BFM                       Summarize manual BLP liquidations by coin and date                                         1.0
03/22/2023          BAR                       Attend meeting with B. Robison, Y. Tong, and C. Xu (all AlixPartners) re: FTI and          0.2
                                              AlixPartners ESI data extraction to support master summary design
03/22/2023          BAR                       Meeting with B. Robison (partial attendee), C. Cipione, S. Hanzi, D. Schwartz, Y.          0.7
                                              Tong, and C. Xu (all AlixPartners) re: master summary design logic and work plan
03/22/2023          BAR                       Review information and data structure in cash and journal entries database for use         1.2
                                              in master summary database
03/22/2023          CAS                       Design the Master Chron system                                                             1.7
03/22/2023          CAS                       Meeting with B. Robison (partial attendee), C. Cipione, S. Hanzi, D. Schwartz, Y.          0.8
                                              Tong, and C. Xu (all AlixPartners) re: master summary design logic and work plan
03/22/2023          CAS                       Preliminary methodology construction for the exchange source code review                   0.8
03/22/2023          CX                        Attend meeting with B. Robison, Y. Tong, and C. Xu (all AlixPartners) re: FTI and          0.2
                                              AlixPartners ESI data extraction to support master summary design
03/22/2023          CX                        Meeting with B. Robison (partial attendee), C. Cipione, S. Hanzi, D. Schwartz, Y.          0.8
                                              Tong, and C. Xu (all AlixPartners) re: master summary design logic and work plan
03/22/2023          CX                        Build user interface for the master summary database                                       2.3
03/22/2023          CC                        Attend meeting with M. Cervi, K. Wessel, M. Birtwell, E. Mostoff, C. Chen and L.           0.7
                                              Teifer (all AlixPartners) re: Reconciliation of bank accounts/statements to support
                                              investigation efforts
03/22/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), D. Schwartz, and A.          0.6
                                              Searles (partial attendees) (all AlixPartners) to discuss funds tracing for political
                                              donations funded by loans
03/22/2023          DS                        Meeting with B. Robison (partial attendee), C. Cipione, S. Hanzi, D. Schwartz, Y.          0.8
                                              Tong, and C. Xu (all AlixPartners) re: master summary design logic and work plan
03/22/2023          DW                        Start creating documentation for the exchange databases describing its structure and       0.6
                                              contents
03/22/2023          ET                        Attend meeting with M. Cervi, K. Wessel, M. Birtwell, E. Mostoff, C. Chen and L.           0.7
                                              Teifer (all AlixPartners) re: Reconciliation of bank accounts/statements to support
                                              investigation efforts
03/22/2023          EM                        Attend meeting with M. Cervi, K. Wessel, M. Birtwell, E. Mostoff, C. Chen and L.           0.7
                                              Teifer (all AlixPartners) re: Reconciliation of bank accounts/statements to support
                                              investigation efforts
03/22/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), D. Schwartz, and A.          0.7
                                              Searles (partial attendees) (all AlixPartners) to discuss funds tracing for political
                                              donations funded by loans
03/22/2023          KHW                       Attend meeting with M. Cervi, K. Wessel, M. Birtwell, E. Mostoff, C. Chen and L.           0.7
                                              Teifer (all AlixPartners) re: Reconciliation of bank accounts/statements to support
                                              investigation efforts
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/22/2023          LMG                       Prep examples for discussion of calculating daily P&L for .com exchange accounts           0.6
03/22/2023          LMG                       Review Alameda FTX.com borrow/lend initial statistics                                      0.4
03/22/2023          LJ                        Produce summary of the Binance data                                                        1.2
03/22/2023          LJ                        Review Binance data inventory                                                              2.5
03/22/2023          MC                        Attend meeting with M. Cervi, K. Wessel, M. Birtwell, E. Mostoff, C. Chen and L.           0.7
                                              Teifer (all AlixPartners) re: Reconciliation of bank accounts/statements to support
                                              investigation efforts
03/22/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), D. Schwartz, and A.          0.7
                                              Searles (partial attendees) (all AlixPartners) to discuss funds tracing for political
                                              donations funded by loans
03/22/2023          MB                        Attend meeting with M. Cervi, K. Wessel, M. Birtwell, E. Mostoff, C. Chen and L.           0.7
                                              Teifer (all AlixPartners) re: Reconciliation of bank accounts/statements to support
                                              investigation efforts
03/22/2023          ME                        Examine borrow & lend tables for P&L creation to reconcile total amounts                   1.1
03/22/2023          ME                        Analyze daily P&L calculations for .com exchange accounts                                  2.0
03/22/2023          RS                        Attend call with A. Vanderkamp, V. Kotharu, and R. Self (all AlixPartners) re:             0.4
                                              summary of entity of interest investigation
03/22/2023          RS                        Prepare summary of entity of interest investigation                                        0.6
03/22/2023          RS                        Working session with A. Vanderkamp and R. Self (both AlixPartners) re: prepare             0.5
                                              summary of entity of interest investigation
03/22/2023          SK                        Develop script to decode specific wallet addresses                                         0.6
03/22/2023          SK                        Develop script to determine if wallet address is on cryptography curve                     1.1
03/22/2023          SRH                       Analyze borrow / lending cycles re : Alameda's activity on FTX exchange                    2.9
03/22/2023          SRH                       Meeting with B. Robison (partial attendee), C. Cipione, S. Hanzi, D. Schwartz, Y.          0.8
                                              Tong, and C. Xu (all AlixPartners) re: master summary design logic and work plan
03/22/2023          SRH                       Update the logic of the borrow / lending cycle analysis                                    2.1
03/22/2023          TP                        Meeting with B. Robison (partial attendee), C. Cipione, S. Hanzi, D. Schwartz, Y.          0.8
                                              Tong, and C. Xu (all AlixPartners) re: master summary design logic and work plan
03/22/2023          TP                        Perform data analysis within the exchange data to support the CryptoDB                     2.4
                                              construction
03/22/2023          TP                        Perform data mining on publicly available block chain APIs to support the                  2.7
                                              CryptoDB construction
03/22/2023          TP                        Perform data mining tasks on FTI ESI Document scan results to for the purposes of          2.3
                                              enriching the CryptoDB
03/22/2023          VK                        Attend call with A. Vanderkamp, V. Kotharu, and R. Self (all AlixPartners) re:             0.4
                                              summary of entity of interest investigation
03/22/2023          YT                        Attend meeting with B. Robison, Y. Tong, and C. Xu (all AlixPartners) re: FTI and          0.2
                                              AlixPartners ESI data extraction to support master summary design
03/22/2023          YT                        Meeting with B. Robison (partial attendee), C. Cipione, S. Hanzi, D. Schwartz, Y.          0.8
                                              Tong, and C. Xu (all AlixPartners) re: master summary design logic and work plan
          45007     YT                        Assess viability of use of Access database for creation of master summary database         1.5
03/23/2023          AS                        Review documents and tie-out political donations by insiders                               1.4
03/23/2023          AV                        Analyze entity of interest loan balances in the summer of 2022                             1.3
03/23/2023          AV                        Attend work session with L. Goldman and A. Vanderkamp (both AlixPartners) to               0.5
                                              develop workplan for analysis of entity of interest loan repayments
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/23/2023          AV                        Working session with A. Vanderkamp and R. Self (both AlixPartners) re:                  0.4
                                              preparation of summary of entity of interest loan repayments in the summer of 2022
03/23/2023          BFM                       Conduct unstructured data search on liquidations in Nov 2021                            1.6
03/23/2023          BFM                       Summarize trading activity on .com exchange for an account involved in acquisition      0.9
                                              of interest re: FTX Europe
03/23/2023          BFM                       Review .com exchange activity for Genesis to track flows of collateral on and off       1.4
                                              exchange re: Genesis analysis
03/23/2023          BFM                       Summarize manual BLP liquidations by account                                            1.3
03/23/2023          BFM                       Working session with L. Goldman and B. Mackay (both AlixPartners) re:                   0.3
                                              identifying BLP liquidation events in .com exchange data
03/23/2023          BFM                       Working session with L. Goldman, B. Mackay re: calculating daily P&L for .com           0.9
                                              exchange accounts
03/23/2023          BAR                       Bank transaction data parsing for identifying reference information for lining of       2.8
                                              transactions for investigations
03/23/2023          BAR                       Analyze GL data to identify reference information for use in identifying and            2.3
                                              matching bank transactions for investigations
03/23/2023          CAS                       Preliminary methodology construction for the exchange source code review                1.3
03/23/2023          CAS                       Review logistics of the Azure environment                                               1.7
03/23/2023          CX                        Attend meeting with T. Phelan, S. Hanzi, Y. Tong, and C. Xu (all AlixPartners) re:      2.0
                                              master summary design and function walk through
03/23/2023          CX                        Revise master summary database to incorporate external artifacts as support             1.8
                                              information
03/23/2023          CX                        Implement code for the master summary design with example spreadsheet                   1.6
03/23/2023          EM                        Working session with K. Wessel, E. Mostoff (both AlixPartners), and J. Lee              0.6
                                              (A&M) re: tracking of bank accounts/bank statements to support investigative
                                              efforts, and discrepancies with ending balances in Signet bank accounts
03/23/2023          EM                        Working session with S. Hanzi and E. Mostoff (both AlixPartners) re: analysis of        0.3
                                              North Dimension bank accounts using cash database
03/23/2023          KHW                       Working session with K. Wessel, E. Mostoff (both AlixPartners), and J. Lee              0.6
                                              (A&M) re: tracking of bank accounts/bank statements to support investigative
                                              efforts, and discrepancies with ending balances in Signet bank accounts
03/23/2023          LB                        Attend meeting with L. Beischer and T. Phelan (both AlixPartners) re:                   1.3
                                              Alameda/FTX blockchain activity and intercompany transactions records
03/23/2023          LMG                       Attend work session with L. Goldman and A. Vanderkamp (both AlixPartners) to            0.5
                                              develop workplan for analysis of entity of interest loan repayments
03/23/2023          LMG                       Prep examples for discussion of calculating daily P&L for .com exchange accounts        0.6
03/23/2023          LMG                       Working session with L. Goldman and B. Mackay (both AlixPartners) re:                   0.3
                                              identifying BLP liquidation events in .com exchange data
03/23/2023          LMG                       Working session with L. Goldman and S. Hanzi re: Alameda borrowing/lending              0.5
                                              activity on .com exchange
03/23/2023          LMG                       Working session with L. Goldman, B. Mackay re: calculating daily P&L for .com           0.9
                                              exchange accounts
03/23/2023          QB                        Update summary with financial transactions to reconstruct financial information         1.7
                                              related to Korean Friend investigation
03/23/2023          RS                        Prepare summary of entity of interest investigation                                     0.8
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/23/2023          RS                        Prepare summary of entity of interest loan repayments                                     1.7
03/23/2023          RS                        Working session with A. Vanderkamp and R. Self (both AlixPartners) re:                    0.4
                                              preparation of summary of entity of interest loan repayments in the summer of 2022
03/23/2023          SK                        Participate in internal meeting with T. Phelan and T. Kang (both AlixPartners) re:        0.5
                                              discuss methodology for querying accounts in exchange tables
03/23/2023          SK                        Participate in internal meeting with T. Phelan and T. Kang (both AlixPartners) re:        0.7
                                              review validation method for specific wallet address
03/23/2023          SRH                       Identify missing historical pricing data then compile the missing data Re: Alameda's      2.5
                                              activity on FTX exchange
03/23/2023          SRH                       Integrate the additional historical pricing data into cycle analysis re : Alameda's       2.8
                                              activity on FTX exchange
03/23/2023          SRH                       Attend meeting with T. Phelan, S. Hanzi, Y. Tong, and C. Xu (all AlixPartners) re:        2.0
                                              master summary design and function walk through
03/23/2023          SRH                       Working session with L. Goldman and S. Hanzi re: Alameda borrowing/lending                0.5
                                              activity on .com exchange
03/23/2023          SRH                       Working session with S. Hanzi and E. Mostoff (both AlixPartners) re: analysis of          0.3
                                              North Dimension bank accounts using cash database
03/23/2023          TP                        Attend meeting with L. Beischer and T. Phelan (both AlixPartners) re:                     1.3
                                              Alameda/FTX blockchain activity and intercompany transactions records
03/23/2023          TP                        Development of wallet address confirmation process to validate the address values         1.7
                                              being loaded into the CryptoDB
03/23/2023          TP                        Participate in internal meeting with T. Phelan and T. Kang (both AlixPartners) re:        0.5
                                              discuss methodology for querying accounts in exchange tables
03/23/2023          TP                        Participate in internal meeting with T. Phelan and T. Kang (both AlixPartners) re:        0.7
                                              review validation method for specific wallet address
03/23/2023          TP                        Perform data mining and research tasks on publicly available block chain APIs to          2.1
                                              support the CryptoDB construction
03/23/2023          TP                        Perform data mining and research tasks within the exchange data to support the            2.8
                                              CryptoDB construction
03/23/2023          TP                        Attend meeting with T. Phelan, S. Hanzi, Y. Tong, and C. Xu (all AlixPartners) re:        2.0
                                              master summary design and function walk through
03/23/2023          VA                        Analyze QuickBooks for attachments present in data                                        1.4
03/23/2023          VA                        Develop methodology to obtain all attachments present in QuickBooks data                  1.3
03/23/2023          YT                        Attend meeting with T. Phelan, S. Hanzi, Y. Tong, and C. Xu (all AlixPartners) re:        2.0
                                              master summary design and function walk through
03/23/2023          YT                        Prepare for meeting re: master summary database creation                                  0.6
03/24/2023          BFM                       Review exchange activity for Cottonwood and the flow of FTT on exchange                   1.2
03/24/2023          BFM                       Review exchange data table availability for specific Cottonwood exchange account          0.3
03/24/2023          BFM                       Review received Binance data for Alameda                                                  0.8
03/24/2023          BFM                       Review summary of subsequent transfers after transaction of interest re: acquisition      0.6
                                              of interest
03/24/2023          BFM                       Telephone call with M. Evans, L. Goldman, S. Hanzi, B. Mackay, V. Kotharu (all            0.9
                                              AlixPartners) re: review of progress of on-exchange liquidation events
03/24/2023          BFM                       Update summaries of manual BLP liquidation transfers by Alameda                           1.2
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/24/2023          BAR                       Bank transaction data parsing for identifying reference information for lining of        2.8
                                              transactions for investigations
03/24/2023          BAR                       Review preliminary list of investigative summaries for standardizing select data         1.1
                                              fields for master database
03/24/2023          CAS                       Attend meeting with T. Phelan, C. Cipione and L. Jia (all AlixPartners) re:              0.5
                                              discussion around performance optimization and next steps for source code files
                                              cataloging
03/24/2023          CAS                       Attend meeting with T. Phelan, C. Cipione and L. Jia (all AlixPartners) re:              0.8
                                              discussion around Binance data inventory and source code files cataloging
03/24/2023          CAS                       Preliminary methodology construction for the exchange source code review                 0.4
03/24/2023          CAS                       Review possible service additions to the Azure environment                               1.4
03/24/2023          CX                        Migrate latest instance of QuickBooks data to assist InterCo loans analysis              2.1
03/24/2023          DS                        Working session with D. Schwartz and M. Birtwell (both AlixPartners) to reconcile        0.2
                                              QuickBooks general ledger balances to transactions related to loan receivable
                                              accounts funding political donations
03/24/2023          GS                        Attend meeting with G. Shapiro and O. Braat (both AlixPartners) re: review of            0.1
                                              general ledger to identify political donation funding
03/24/2023          GS                        Review general ledger for political donations recipients identified in disbursement      1.2
                                              emails
03/24/2023          LMG                       Review Alameda June 2022 loans outstanding spreadsheet                                   0.8
03/24/2023          LMG                       Review updated Alameda FTX.com borrow/lend statistics                                    0.6
03/24/2023          LMG                       Telephone call with M. Evans, L. Goldman, S. Hanzi, B. Mackay, V. Kotharu (all           0.9
                                              AlixPartners) re: review of progress of on-exchange liquidation events
03/24/2023          LMG                       Working session with L. Goldman and S. Hanzi (both AlixPartners) to review               0.7
                                              Alameda FTX.com borrow lend summary statistics
03/24/2023          LJ                        Attend meeting with T. Phelan, C. Cipione and L. Jia (all AlixPartners) re:              0.5
                                              discussion around performance optimization and next steps for source code files
                                              cataloging
03/24/2023          LJ                        Attend meeting with T. Phelan, C. Cipione and L. Jia (all AlixPartners) re:              0.8
                                              discussion around Binance data inventory and source code files cataloging
03/24/2023          LJ                        Research file hashing to process exchange source code files                              0.7
03/24/2023          LJ                        Implement file hashing on exchange source code files                                     1.9
03/24/2023          MC                        Compose email re: signature bank account data                                            0.3
03/24/2023          MC                        Extract journal entries from QuickBooks related to loan funded political donations       0.5
03/24/2023          MC                        Working session with M. Cervi and M. Birtwell (both AlixPartners) to extract             0.6
                                              journal entries from QuickBooks related to loan funded political donations
03/24/2023          MB                        Perform analysis on QuickBooks GL data to profile use of North Dimension Inc's           0.6
                                              use of particular bank account
03/24/2023          MB                        Working session with D. Schwartz and M. Birtwell (both AlixPartners) to reconcile        0.2
                                              QuickBooks general ledger balances to transactions related to loan receivable
                                              accounts funding political donations
03/24/2023          MB                        Working session with M. Cervi and M. Birtwell (both AlixPartners) to extract             0.6
                                              journal entries from QuickBooks related to loan funded political donations
03/24/2023          ME                        Telephone call with M. Evans, L. Goldman, S. Hanzi, B. Mackay, V. Kotharu (all           0.9
                                              AlixPartners) re: review of progress of on-exchange liquidation events
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                   HOURS
03/24/2023          QB                        Attend meeting with G. Shapiro and O. Braat (both AlixPartners) re: review of           0.1
                                              general ledger to identify political donation funding
03/24/2023          RS                        Revise summary of entity of interest loan repayments                                    2.7
03/24/2023          RS                        Prepare summary of entity of interest loan repayments and term sheets                   0.9
03/24/2023          RS                        Summarize entity of interest loan repayments and term sheets                            2.4
03/24/2023          SRH                       Analyze borrow / lending cycles re : Alameda's activity on FTX exchange                 2.6
03/24/2023          SRH                       Telephone call with M. Evans, L. Goldman, S. Hanzi, B. Mackay, V. Kotharu (all          0.9
                                              AlixPartners) re: review of progress of on-exchange liquidation events
03/24/2023          SRH                       Update the logic / statistics of the borrow / lending cycle analysis                    2.7
03/24/2023          SRH                       Working session with L. Goldman and S. Hanzi (both AlixPartners) to review              0.7
                                              Alameda FTX.com borrow lend summary statistics
03/24/2023          TP                        Attend meeting with T. Phelan, C. Cipione and L. Jia (all AlixPartners) re:             0.5
                                              discussion around performance optimization and next steps for source code files
                                              cataloging
03/24/2023          TP                        Attend meeting with T. Phelan, C. Cipione and L. Jia (all AlixPartners) re:             0.8
                                              discussion around Binance data inventory and source code files cataloging
03/24/2023          TP                        Perform data mining and research tasks on publicly available block chain APIs to        2.7
                                              support the CryptoDB construction
03/24/2023          TP                        Perform data mining and research tasks within the exchange data to support the          1.6
                                              CryptoDB construction
03/24/2023          VA                        Transfer the data for FTX_Digital_Markets_Ltd, West Realm Shires Inc and West           2.1
                                              Realm Shires Services, Inc instances from QuickBooks Online to SQL Server
03/24/2023          VA                        Transfer the data for Hawaii Digital Assets and Innovatia Ltd instances from            1.9
                                              QuickBooks Online to SQL Server
03/24/2023          VA                        Transfer the data for Island Bay Ventures Inc and West Realm Shires Financial           1.8
                                              Services Inc instances from QuickBooks Online to SQL Server
03/24/2023          VA                        Transfer the data for Paper Bird Inc and specific entity instances from QuickBooks      1.8
                                              Online to SQL Server
03/24/2023          VK                        Analyze .COM exchange data for downstream fund transfers in acquisition of              1.7
                                              interest
03/24/2023          VK                        Telephone call with M. Evans, L. Goldman, S. Hanzi, B. Mackay, V. Kotharu (all          0.9
                                              AlixPartners) re: review of progress of on-exchange liquidation events
03/25/2023          QB                        Update summary with exchange data related to specific customer investigation            1.8
03/27/2023          AC                        Review Superseding Indictment of Samuel Bankman-Fried filed on February 23,             0.9
                                              2023 to determine potential areas of investigation for political contributions
03/27/2023          BFM                       Attend meeting with L. Morrison, B. Mackay (both AlixPartners) re: summarization        0.8
                                              of Alameda activity on Binance
03/27/2023          BFM                       Identify addresses and coins for tracing after withdrawals re: liquidation event        1.3
03/27/2023          BAR                       Cash database review of information in bank statements for extracting and use in        2.4
                                              investigations work
03/27/2023          CAS                       Design the Master Chron system                                                          2.8
03/27/2023          CAS                       Design workplans for the upcoming anticipated workstreams related to the                2.1
                                              exchange analyses
03/27/2023          CAS                       Preliminary methodology construction for the exchange source code review                1.6
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Re:                 Forensic Analysis
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/27/2023          CX                        Compare previous Access process to identify areas of optimization re: master             2.6
                                              summaries
03/27/2023          ET                        Reconcile newly discovered Alameda Silo bank accounts and statements with                2.7
                                              known accounts
03/27/2023          ET                        Reconcile newly discovered FTX Silo bank accounts and statements with known              2.4
                                              accounts
03/27/2023          ET                        Reconcile newly discovered Nondebtor bank accounts and statements with known             2.3
                                              accounts
03/27/2023          ET                        Reconcile newly discovered West Realm Shires Silo bank accounts and statements           1.4
                                              with known accounts
03/27/2023          GS                        Review general ledger credit card accounts to identify political donations               0.8
03/27/2023          GS                        Review general ledger to identify funding for political donations identified in          0.4
                                              disbursement verification emails
03/27/2023          LIM                       Attend meeting with L. Morrison, B. Mackay (both AlixPartners) re: summarization         0.8
                                              of Alameda activity on Binance
03/27/2023          LMG                       Review FTX.com account balance snapshot sample file from A&M                             0.7
03/27/2023          LMG                       Review master summary overview                                                           0.9
03/27/2023          MB                        Continue reviewing QuickBooks data to identify transaction that support the loan         2.1
                                              funded political donations for response to SDNY
03/27/2023          MB                        Review disbursement verification email identified political donations for inclusion      1.3
                                              in confirmed political donation
03/27/2023          MB                        Review QuickBooks data to identify transaction that support the loan funded              1.6
                                              political donations for response to SDNY
03/27/2023          QB                        Update master summary with exchange data related to Genesis Block Bluebird               0.8
                                              investigation
03/27/2023          QB                        Create master summary for Seral Polimer Trading Analytics workstream                     0.4
03/27/2023          QB                        Create master summary for withdrawals trading analytics workstream                       0.5
03/27/2023          RS                        Prepare summary of entity of interest loan repayments and term sheets in the             1.7
                                              summer of 2022
03/27/2023          SK                        Update cash schema table contents for the week ended 03/24/2023                          2.3
03/27/2023          TP                        Perform data mining and research tasks on publicly available block chain APIs to         2.3
                                              support the CryptoDB construction
03/27/2023          TP                        Perform data mining and research tasks within the exchange data to support the           2.8
                                              CryptoDB construction
03/27/2023          VK                        Analyze .US exchange data surrounding liquidation event(s) analysis                      2.2
03/27/2023          VK                        Continue analysis of .US exchange data surrounding liquidation event(s) analysis         1.4
03/28/2023          AC                        Working session with G. Shapiro and A. Calhoun (both AlixPartners) re: review of         0.2
                                              general ledger to identify funding for political donations
03/28/2023          BFM                       Attend working session with M. Evans (partial), L. Goldman, B. Mackay (all               0.9
                                              AlixPartners) re: P&L calculation, Alameda borrowing and lending on .com
                                              exchange, and liquidation events
03/28/2023          BFM                       Conduct stablecoin tracing after withdrawals re: liquidation event                       1.7
03/28/2023          BFM                       Create clean list of alameda exchange accounts and flag by entity                        1.5
03/28/2023          BFM                       Review manual liquidations conducted by Alameda on .com exchange                         2.2
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Re:                 Forensic Analysis
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/28/2023          BAR                       Investigate data to be used in development of master summary database for                2.1
                                              investigations
03/28/2023          CAS                       Design the Master Chron system                                                           2.1
03/28/2023          CAS                       Design workplans for the upcoming anticipated workstreams related to the crypt           1.9
                                              asset analyses
03/28/2023          CAS                       Design workplans for the upcoming anticipated workstreams related to the                 2.6
                                              exchange analyses
03/28/2023          CAS                       Review logistics of the Azure environment                                                0.7
03/28/2023          CX                        Revise user interface for the master summary database                                    2.7
03/28/2023          CX                        Revise back end data structures for the master summary database                          2.3
03/28/2023          CX                        Test user interface for the master summary database                                      1.6
03/28/2023          CX                        Working session with T. Phelan, Y. Tong, and C. Xu (all AlixPartners) to re-define       1.1
                                              Access workflow and functions
03/28/2023          DJW                       Analyze exchange data records to identify public crypto currency addresses used by       2.3
                                              each of the various debtor entities to develop plans for extraction by data team
03/28/2023          ET                        Working session with K. Wessel, L. Teifer, and E. Mostoff (all AlixPartners) re:         0.6
                                              open items around bank account/bank statement tracker
03/28/2023          EM                        Working session with K. Wessel, L. Teifer, and E. Mostoff (all AlixPartners) re:         0.6
                                              open items around bank account/bank statement tracker
03/28/2023          GS                        Review general ledger credit card accounts to identify political donations               1.2
03/28/2023          GS                        Working session with G. Shapiro and A. Calhoun (both AlixPartners) re: review of         0.2
                                              general ledger to identify funding for political donations
03/28/2023          KHW                       Conduct searches in ESI re: major third party lender statements for validation of        2.2
                                              Alameda's historical third party loan payable balances
03/28/2023          KHW                       Working session with K. Wessel, L. Teifer, and E. Mostoff (all AlixPartners) re:         0.6
                                              open items around bank account/bank statement tracker
03/28/2023          LMG                       Attend working session with M. Evans (partial), L. Goldman, B. Mackay (all               0.9
                                              AlixPartners) re: P&L calculation, Alameda borrowing and lending on .com
                                              exchange, and liquidation events
03/28/2023          LMG                       Review Alameda loans outstanding files for 2021                                          0.8
03/28/2023          LMG                       Analyze Alameda NAV calculation files                                                    2.3
03/28/2023          LMG                       Review Caroline docs re Alameda trading strategies                                       0.9
03/28/2023          LJ                        Create master tables for the exchange codebase files                                     1.0
03/28/2023          LJ                        Develop process to catalogue file paths related to exchange codebase scripts             2.5
03/28/2023          LJ                        Update code that processes exchange codebase scripts to include additional file          2.3
                                              types
03/28/2023          LJ                        Implement new hashing function to catalogue the exchange data codebase                   2.8
03/28/2023          MC                        Working session with M. Cervi and M. Birtwell (both AlixPartners) re: pulling front      0.9
                                              end QuickBooks data for loan funded political donations to be responsive to SDNY
                                              request
03/28/2023          MB                        Execute query in QuickBooks general ledger data for low dollar donation recipients       0.8
03/28/2023          MB                        Working session with M. Cervi and M. Birtwell (both AlixPartners) re: pulling front      0.9
                                              end QuickBooks data for loan funded political donations to be responsive to SDNY
                                              request
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                     HOURS
03/28/2023          ME                        Attend working session with M. Evans (partial), L. Goldman, B. Mackay (all                0.7
                                              AlixPartners) re: P&L calculation, Alameda borrowing and lending on .com
                                              exchange, and liquidation events
03/28/2023          QB                        Create master summary for public research related to trading analytics workstreams        0.5
03/28/2023          RS                        Prepare summary of entity of interest loan repayments and term sheets in the              0.5
                                              summer of 2022
03/28/2023          SK                        Create weekly delta report for cash schema table contents for the week ended              2.2
                                              03/24/2023
03/28/2023          SK                        Update the delta report template to reflect revised data structure                        2.9
03/28/2023          SRH                       Investigate borrow / lend data on FTX exchange re : Alameda's activity on FTX             2.1
                                              exchange
03/28/2023          TP                        Perform data mining and research tasks within the exchange data to support the            0.8
                                              CryptoDB construction
03/28/2023          TP                        Develop master summary database system for the purposes of centralizing the               2.4
                                              investigation team's work product
03/28/2023          TP                        Working session with T. Phelan, Y. Tong, and C. Xu (all AlixPartners) to re-define        1.1
                                              Access workflow and functions
03/28/2023          TP                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: analysis of .COM            2.4
                                              exchange for liquidation event(s)
03/28/2023          TP                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: analysis of historical      0.6
                                              coin balances for Alameda
03/28/2023          VK                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: analysis of .COM            2.4
                                              exchange for liquidation event(s)
03/28/2023          VK                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: analysis of historical      0.6
                                              coin balances for Alameda
03/28/2023          YT                        Update master summary database template                                                   0.8
03/28/2023          YT                        Working session with T. Phelan, Y. Tong, and C. Xu (all AlixPartners) to re-define        1.1
                                              Access workflow and functions
03/29/2023          BFM                       Review account balance components and ending account balances from A&M                    0.7
03/29/2023          BFM                       Teleconference call with B. Mackay, V. Kotharu (AlixPartners) re: update of               0.3
                                              analysis of historical liquidation event(s) on .COM
03/29/2023          BAR                       Identification of key fields in cash database, QuickBooks data, and unstructured          1.9
                                              data to be used in master summary development
03/29/2023          CAS                       Design the Master Chron system                                                            1.4
03/29/2023          CAS                       Design workplans for the upcoming anticipated workstreams related to the crypt            2.3
                                              asset analyses
03/29/2023          CAS                       Design workplans for the upcoming anticipated workstreams related to the                  1.7
                                              exchange analyses
03/29/2023          CAS                       Review logistics of the Azure environment                                                 0.6
03/29/2023          CX                        Revise user interface for the master summary database                                     2.1
03/29/2023          CX                        Revise back end data structures for the master summary database                           1.3
03/29/2023          DJW                       Coordinate crypto asset balance recreation workstream                                     2.9
03/29/2023          ET                        Investigate counterparty wallets, re yield farming                                        1.8
03/29/2023          ET                        Investigate Etherscan data for specific wallet re: yield farming                          2.8
03/29/2023          ET                        Investigate Etherscan data for specific wallet re: yield farming                          2.9
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Re:                 Forensic Analysis
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/29/2023          KHW                       Analyze Alameda third party loan data re: recording of FTT as collateral for crypto        0.4
                                              loans outstanding
03/29/2023          KHW                       Analyze documents re: use of BlockFi loan invoices for validation of historical third      0.4
                                              party loan payable balances
03/29/2023          KHW                       Analyze documents re: use of Celsius loan invoices for validation of historical third      0.3
                                              party loan payable balances
03/29/2023          LMG                       Develop account level rollup analysis for .com exchange accounts                           1.7
03/29/2023          LMG                       Review Alameda NAV calculation files                                                       1.2
03/29/2023          LMG                       Review Alameda yield farming research                                                      0.8
03/29/2023          LMG                       Review FTX.com deposit and withdraw wallet address records                                 0.4
03/29/2023          LJ                        Continue to update code that processes exchange codebase scripts to include                2.3
                                              additional file types
03/29/2023          LJ                        Develop process to read in exchange data codebase files content                            2.5
03/29/2023          MB                        Review loan receivable accounts for founders for any repayments                            0.8
03/29/2023          QB                        Update master summary for public research related to trading analytics workstreams         0.4
03/29/2023          RS                        Update summary of entity of interest loan repayments and term sheets in the                0.7
                                              summer of 2022
03/29/2023          RS                        Working session with V. Kotharu and R. Self re: revisions to entity of interest            0.5
                                              summary
03/29/2023          SK                        Analyze withdrawals and kyc tables to identify a potential fraudulent terra user           1.9
03/29/2023          SK                        Create weekly delta report for the statement summary tracker file for the week             2.5
                                              ended 03/24/2023
03/29/2023          SK                        Update the delta report template to reflect revised data structure                         2.7
03/29/2023          SRH                       Review borrow / lend data on FTX exchange re : Alameda's activity on FTX                   2.7
                                              exchange
03/29/2023          TP                        Revise development of master summary database system for the purposes of                   2.0
                                              centralizing the investigation team's work product
03/29/2023          TP                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: analysis of historical       1.5
                                              coin balances for Alameda
03/29/2023          VK                        Analyze .US exchange data surrounding liquidation event(s) analysis                        2.4
03/29/2023          VK                        Continue analysis of .US exchange data surrounding liquidation event(s) analysis           0.7
03/29/2023          VK                        Working session with T. Phelan, V. Kotharu (AlixPartners) re: analysis of historical       1.5
                                              coin balances for Alameda
03/29/2023          VK                        Teleconference call with B. Mackay, V. Kotharu (AlixPartners) re: update of                0.3
                                              analysis of historical liquidation event(s) on .COM
03/29/2023          VK                        Working session with V. Kotharu and R. Self re: revisions to entity of interest            0.5
                                              summary
03/29/2023          YT                        Develop investigation page master summary database template                                2.3
03/29/2023          YT                        Revise master summary database template                                                    1.2
03/30/2023          AC                        Update charitable contributions workpaper re: gifts and charitable contributions           0.8
                                              made by Nishad Singh
03/30/2023          BFM                       Attend working session with M. Evans, L. Goldman, B. Mackay (full attendees) S.            1.0
                                              Hanzi (partial attendee) (all AlixPartners) re: Alameda borrowing and lending on
                                              .com exchange and liquidation event crypto tracing
03/30/2023          BFM                       Conduct tracing analysis of withdrawn BTC re: liquidation event                            1.4
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/30/2023          BFM                       Review Alameda's on-chain activity re: liquidation event                                  1.4
03/30/2023          BFM                       Review exchange data and on-chain data to trace USDC re: liquidation event                2.1
03/30/2023          BAR                       Database form design for development of master summary for investigations                 2.3
03/30/2023          CAS                       Prepare orientation materials for the consulting resources assigned to the newly          1.1
                                              developed workstreams
03/30/2023          CAS                       Review logistics of the Azure environment                                                 1.0
03/30/2023          CAS                       Review progress on the exchange codebase materials                                        2.8
03/30/2023          CX                        Test user interface for the master summary database                                       2.3
03/30/2023          ET                        Investigate counterparty wallets, re yield farming                                        2.9
03/30/2023          GS                        Review general ledger credit card accounts for political donations                        1.3
03/30/2023          LIM                       Research historic Trabucco Twitter thread posts in support of forensic investigation      0.6
                                              of Alameda strategy
03/30/2023          LB                        Revise coin address validation script                                                     1.2
03/30/2023          LMG                       Attend working session with M. Evans, L. Goldman, B. Mackay (full attendees) S.           1.0
                                              Hanzi (partial attendee) (all AlixPartners) re: Alameda borrowing and lending on
                                              .com exchange and liquidation event crypto tracing
03/30/2023          LMG                       Working session with L. Goldman, V. Kotharu (AlixPartners) re: analysis of                0.6
                                              historical liquidation event(s) on .COM exchange
03/30/2023          LJ                        Extract transactional content from exchange data codebase                                 1.5
03/30/2023          LJ                        Extract comment line associated with transactions in exchange data codebase               1.3
03/30/2023          MC                        Extract Amex transaction details from QuickBooks to support political donations           0.4
                                              workstream
03/30/2023          MB                        Perform forensic analysis on quick books data specific to credit card transactions        0.9
                                              funding political donations
03/30/2023          ME                        Attend working session with M. Evans, L. Goldman, B. Mackay (full attendees) S.           1.0
                                              Hanzi (partial attendee) (all AlixPartners) re: Alameda borrowing and lending on
                                              .com exchange and liquidation event crypto tracing
03/30/2023          QB                        Update master summary for public research related to trading analytics workstreams        1.1
03/30/2023          QB                        Update master summary for Seral Polimer Trading Analytics workstream                      0.6
03/30/2023          QB                        Update master summary for VIP and potential preference Withdrawals Trading                0.3
                                              Analytics workstream
03/30/2023          SK                        Participate in internal meeting with T. Kang and S. Hanzi (both AlixPartners) re:         0.7
                                              script development to determine exchange user balance
03/30/2023          SK                        Analyze exchange source code to establish process for daily user account balances         1.6
03/30/2023          SRH                       Analyze borrow / lending cycles re : Alameda's activity on FTX exchange                   2.7
03/30/2023          SRH                       Revise analysis of borrow / lending cycles re : Alameda's activity on FTX exchange        1.1
03/30/2023          SRH                       Attend working session with M. Evans, L. Goldman, B. Mackay (full attendees) S.           0.4
                                              Hanzi (partial attendee) (all AlixPartners) re: Alameda borrowing and lending on
                                              .com exchange and liquidation event crypto tracing
03/30/2023          SRH                       Create PowerPoint deck of findings re : Alameda's activity on FTX exchange                2.4
03/30/2023          SRH                       Revise presentation re : Alameda's activity on FTX exchange                               1.5
03/30/2023          SRH                       Participate in internal meeting with T. Kang and S. Hanzi (both AlixPartners) re:         0.7
                                              script development to determine exchange user balance
03/30/2023          TP                        Perform data mining and research tasks within the exchange data to support the            2.3
                                              CryptoDB construction
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Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                        HOURS
03/30/2023          TP                        Continue development of master summary database system for the purposes of                  2.8
                                              centralizing the investigation team's work product
03/30/2023          VK                        Analyze .US exchange data re: political contributions investigation                         0.9
03/30/2023          VK                        Working session with L. Goldman, V. Kotharu (AlixPartners) re: analysis of                  0.6
                                              historical liquidation event(s) on .COM exchange
03/31/2023          BFM                       Attend working session with D. White, B. Mackay (both AlixPartners) re:                     0.7
                                              liquidation event crypto tracing
03/31/2023          BFM                       Review Alameda/FTX related party account IDs to create comprehensive list of                0.8
                                              accounts on .com and .us exchange
03/31/2023          BFM                       Update tracing analysis of withdrawn BTC re: liquidation event                              1.6
03/31/2023          BAR                       Comparison of QuickBooks data extracts and cash data to identify possible links for         1.8
                                              use in master summary
03/31/2023          BAR                       QuickBooks data extract review to identify fields and primary keys for master               2.1
                                              summary design
03/31/2023          CAS                       Prepare orientation materials for the consulting resources assigned to the newly            2.9
                                              developed workstreams
03/31/2023          CAS                       Review progress on the exchange codebase materials                                          1.3
03/31/2023          DJW                       Attend working session with D. White, B. Mackay (both AlixPartners) re:                     0.7
                                              liquidation event crypto tracing
03/31/2023          GS                        Analyze general ledger credit card accounts to identify funding for political               1.2
                                              donations made by credit card
03/31/2023          GS                        Analyze general ledger for transfers to founders' bank accounts related to political        0.3
                                              donations
03/31/2023          GS                        Update political donation tracker to reflect funding for donations made by credit           0.8
                                              card
03/31/2023          GS                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re: source of           0.2
                                              funding for newly identified political donations
03/31/2023          LIM                       Research in historic Twitter posts re: Alameda approach re: trends in BTC prices in         1.6
                                              support of forensic investigation of Alameda strategy
03/31/2023          LIM                       Research in historic Twitter posts re: Alameda approach yield farming in support of         1.4
                                              forensic investigation of Alameda strategy
03/31/2023          LIM                       Research in historic Twitter posts re: election trading in support of forensic              0.4
                                              investigation of Alameda strategy
03/31/2023          LIM                       Research in historic Twitter posts re: highlighted Alameda 'trading wins' in support        0.9
                                              of forensic investigation of Alameda strategy
03/31/2023          LIM                       Working session with L. Morrison and L. Goldman (both AlixPartners) re: forensic            0.7
                                              investigation into Alameda trading strategy
03/31/2023          LB                        Attend meeting with L. Beischer and T. Phelan (AlixPartners) re: FTX and                    1.5
                                              Alameda account ledger reconstruction
03/31/2023          LMG                       Working session with L. Morrison and L. Goldman (both AlixPartners) re: forensic            0.7
                                              investigation into Alameda trading strategy
03/31/2023          LJ                        Produce exchange data codebase summary table with extracted comments                        2.3
03/31/2023          MB                        Continue reviewing political gifts to politically exposed persons related to effective      0.8
                                              altruism
03/31/2023          MB                        Review political gifts to politically exposed persons related to effective altruism         1.5
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/31/2023          MB                        Update the donations workpaper to reflect additional tie outs from credit card data      0.4
                                              and funds transfer requests
03/31/2023          MB                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re: source of         0.2
                                              funding for newly identified political donations
03/31/2023          QB                        Attend meeting with V. Kotharu and O. Braat (both AlixPartners) re: creating              0.5
                                              master summaries for trading analytics workstreams
03/31/2023          QB                        Update master summary with exchange data related to Genesis Block Bluebird                0.1
                                              investigation
03/31/2023          RS                        Update summary of entity of interest loan repayments and term sheets in the               0.7
                                              summer of 2022
03/31/2023          SK                        Analyze exchange source code to establish process for daily user account balances         2.9
03/31/2023          SRH                       Working session with S. Hanzi, V. Kotharu (both AlixPartners) re: analysis of .US         0.9
                                              exchange for political contributions investigation
03/31/2023          TP                        Attend meeting with L. Beischer and T. Phelan (AlixPartners) re: FTX and                  1.5
                                              Alameda account ledger reconstruction
03/31/2023          VK                        Analyze .US exchange re: political contributions investigation                            2.7
03/31/2023          VK                        Attend meeting with V. Kotharu and O. Braat (both AlixPartners) re: creating              0.5
                                              master summaries for trading analytics workstreams
03/31/2023          VK                        Working session with S. Hanzi, V. Kotharu (both AlixPartners) re: analysis of .US         0.9
                                              exchange for political contributions investigation
Total Professional Hours                                                                                                            1,072.0
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Re:                                    Forensic Analysis
Code:                                  20008100P00001.1.5

PROFESSIONAL                                                         RATE     HOURS               FEES
Matthew Jacques                                                      $1,280        7.9    $    10,112.00
Charles Cipione                                                      $1,220       70.5         86,010.00
Matthew Evans                                                        $1,220       15.7         19,154.00
David J White                                                        $1,140       11.3         12,882.00
David Waterfield                                                     $1,115        9.3         10,369.50
John C LaBella                                                       $1,115        1.5          1,672.50
Lilly M Goldman                                                      $1,115       35.8         39,917.00
Mark Cervi                                                           $1,020        4.0          4,080.00
Adam Searles                                                          $950         9.5          9,025.00
Anne Vanderkamp                                                       $950         9.2          8,740.00
Brent Robison                                                         $950        39.8         37,810.00
Steven Hanzi                                                          $950        72.8         69,160.00
Todd Toaso                                                            $950         0.5            475.00
Travis Phelan                                                         $950       118.9        112,955.00
Dana Schwartz                                                         $880        31.5         27,720.00
Kurt H Wessel                                                         $880        10.9          9,592.00
Leslie I Morrison                                                     $880         6.4          5,632.00
John L Somerville                                                     $825         5.8          4,785.00
Bennett F Mackay                                                      $805        81.3         65,446.50
Matthew Birtwell                                                      $805        63.0         50,715.00
Takahiro Yamada                                                       $805         0.2            161.00
Vaibhav Asher                                                         $805        16.1         12,960.50
Lewis Beischer                                                        $805         4.7          3,783.50
Chuanqi Chen                                                          $605         0.7            423.50
Varun Kotharu                                                         $605        65.7         39,748.50
Aidan Walker                                                          $585         0.5            292.50
Elizabeth Teifer                                                      $585        47.1         27,553.50
Randi Self                                                            $585        17.9         10,471.50
Olivia Braat                                                          $510        25.6         13,056.00
Linna Jia                                                             $555        30.9         17,149.50
Chenxi Xu                                                             $510        57.8         29,478.00
Eric Mostoff                                                          $510        10.1          5,151.00
Griffin Shapiro                                                       $510        47.2         24,072.00
Sean Thompson                                                         $510        12.2          6,222.00
Shengjia Kang                                                         $510       110.2         56,202.00
Yuqing Tong                                                           $510        17.6          8,976.00
Allyson Calhoun                                                       $510         1.9            969.00
Total Professional Hours and Fees                                              1,072.0    $   842,922.50
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New York, New York 10004
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Re:                 Document Review
Code:               20008100P00001.1.6

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/01/2023          AS                        Review documents associated with entity of interest                                        0.2
03/01/2023          AS                        Review documents related to Grayscale special investigation                                0.6
03/01/2023          BFM                       Identify documents in ESI database re: FTX/Alameda activity on 11/17/2021                  1.4
03/01/2023          BFM                       Review unstructured data for KYC documents or information re: liquidation event            1.2
03/01/2023          DS                        Review documents provided by A&M related to Grayscale complaint                            0.8
03/01/2023          ET                        Attend meeting with G. Shapiro, M. Birtwell, and L. Teifer (all AlixPartners) re:          0.2
                                              review of communication artifacts related to political donations
03/01/2023          ET                        Review documents to determine if they are related to political donations                   0.8
03/01/2023          ET                        Investigate documents related to political donations and extract relevant information      1.1
03/01/2023          ET                        Review documents to determine if they are related to political donations                   2.1
03/01/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and L. Teifer (all AlixPartners) re:          0.2
                                              review of communication artifacts related to political donations
03/01/2023          GS                        Review communications related to political donations to identify donation fund             1.4
                                              transfers
03/01/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and L. Teifer (all AlixPartners) re:          0.2
                                              review of communication artifacts related to political donations
03/01/2023          MB                        Review documents of interest as provided by S&C re: political donations                    1.0
03/01/2023          MJ                        Review materials related loan tracing activity for entity of interest                      1.2
03/01/2023          VK                        Continue to research ESI for Alameda PnL data to address SDNY request                      1.1
03/01/2023          VK                        Research ESI database for communication data relating to Alameda PnL to address            1.2
                                              SDNY request
03/01/2023          VK                        Research ESI for Alameda PnL data to address SDNY request                                  2.3
03/02/2023          BFM                       Review loan documents re: Genesis and Alameda crypto loans                                 0.8
03/02/2023          ET                        Gather bank statements related to political donation activity                              2.8
03/02/2023          ET                        Summarize relevant bank statements related to political donation activity                  0.4
03/02/2023          ET                        Review documents to determine relevance to political donations investigation               3.1
03/02/2023          GS                        Identify donation funds transfers through the review of communication artifacts            2.8
03/02/2023          JCL                       Conduct unstructured searches in ESI re: digital asset holdings and intercompany           1.3
                                              transactions
03/02/2023          LMG                       Search ESI database for documents related to entity of interest loans in 2022              0.9
03/02/2023          MB                        Review documents of interest as provided by S&C re: political donations                    1.8
03/02/2023          VK                        Research ESI for Alameda related communication data to address SDNY request                0.8
03/03/2023          GS                        Review communications related to political donations to identify donation fund             0.6
                                              transfers
03/03/2023          MB                        Review S&C provided 2022 loan documentation to compare against political                   0.7
                                              donations
03/03/2023          MB                        Review S&C provided 2022 loan documentation to compare against political                   0.6
                                              donations
03/05/2023          LMG                       Review documents re: entity of interest loans in Aug 2022                                  0.3
03/06/2023          AS                        Review slack communications from counsel re: special investigation                         0.2
03/06/2023          BFM                       Review workplan summary for Genesis analysis                                               0.8
03/06/2023          DS                        Attend meeting with D. Schwartz, R. Self, V. Kotharu (all AlixPartners) re: review         0.5
                                              of Modulo investigation summary
03/06/2023          ET                        Review documents to determine if they are related to political donations                   2.2
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Re:                 Document Review
Code:               20008100P00001.1.6

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/06/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of         0.3
                                              documents related to political donations
03/06/2023          LMG                       Research Cottonwood FTT holdings                                                         0.8
03/06/2023          LMG                       Review exchange shortfall presentation materials                                         1.3
03/06/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of         0.3
                                              documents related to political donations
03/06/2023          MB                        Prepare workpaper for documents of interest, as provided by S&C re: political            1.5
                                              donations
03/06/2023          MB                        Review documents re: political donations                                                 0.3
03/06/2023          RS                        Attend meeting with D. Schwartz, R. Self, V. Kotharu (all AlixPartners) re: review       0.5
                                              of Modulo investigation summary
03/06/2023          RS                        Review FTX declaration of chapter 11 petitions and first day pleadings                   0.6
03/06/2023          RS                        Review SEC complaint against Bankman-Fried                                               0.5
03/06/2023          RMF                       Conduct unstructured data searches in ESI database re: discussions about loans in        1.5
                                              relation to entity of interest
03/06/2023          VK                        Attend meeting with D. Schwartz, R. Self, V. Kotharu (all AlixPartners) re: review       0.5
                                              of Modulo investigation summary
03/07/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, and L. Teifer (all             0.6
                                              AlixPartners) re: incorporation of findings from documents related to political
                                              donations
03/07/2023          DS                        Perform unstructured data searches related to entity of interest                         0.4
03/07/2023          ET                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, and L. Teifer (all             0.6
                                              AlixPartners) re: incorporation of findings from documents related to political
                                              donations
03/07/2023          ET                        Review documents to determine if they are related to political donations                 1.3
03/07/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, and L. Teifer (all             0.6
                                              AlixPartners) re: incorporation of findings from documents related to political
                                              donations
03/07/2023          JS                        Attend meeting with J. Sutherland and S. Thompson(both AlixPartners) to review           0.8
                                              journal entries, promissory notes, and other documentation related to insider loans
                                              re: SOFA / SOALs
03/07/2023          LMG                       Review JPL filing in third party case                                                    0.3
03/07/2023          LMG                       Conduct unstructured data searches re: Bonham Capital / Salameda                         0.9
03/07/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, and L. Teifer (all             0.6
                                              AlixPartners) re: incorporation of findings from documents related to political
                                              donations
03/07/2023          MB                        Review documents of interest as received by S&C re: political donations                  2.1
03/07/2023          RS                        Review SEC and CFTC complaints against FTX                                               1.2
03/07/2023          ST                        Attend meeting with J. Sutherland and S. Thompson(both AlixPartners) to review           0.8
                                              journal entries, promissory notes, and other documentation related to insider loans
                                              re: SOFA / SOALs
03/07/2023          ST                        Review promissory notes and SAFE notes related to insider loans re: SOFA /               1.4
                                              SOALs
03/08/2023          AS                        Review DARE Act diligence produced from document searches re: FTX Digital                0.4
                                              Markets
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Re:                 Document Review
Code:               20008100P00001.1.6

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/08/2023          AS                        Review PwC initial report re: FTX Digital Markets                                         0.8
03/08/2023          AS                        Review unstructured data re: relationship between exchange and FTX Digital                0.3
                                              Markets
03/08/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re:                    0.9
                                              consolidating 501(c)(4) recipients of political donations to query general ledger
03/08/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of          0.3
                                              documents related to political donations to 501(c)(4) entities
03/08/2023          GS                        Attend meeting with G. Shapiro and S. Thompson (both AlixPartners) re: review of          0.1
                                              documents related to Emergent Fidelity
03/08/2023          GS                        Develop compiled list of 501(c)(4) recipients of political donations                      1.6
03/08/2023          GS                        Resolve data inconsistencies between sources for political donations                      0.7
03/08/2023          GS                        Review donation trackers to identify duplicative political donations                      0.9
03/08/2023          LMG                       Research Cottonwood Grove FTT activity                                                    0.8
03/08/2023          LMG                       Review PWC report for JPL                                                                 1.3
03/08/2023          LMG                       Conduct unstructured data searches re: Bonham Capital / Salameda                          0.3
03/08/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of          0.3
                                              documents related to political donations to 501(c)(4) entities
03/08/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re:                    0.9
                                              consolidating 501(c)(4) recipients of political donations to query general ledger
03/08/2023          MB                        Review documents of interest, as provided by S&C re: political donations                  2.3
03/08/2023          RMF                       Review communication records regarding relation between Alameda and third party           0.4
03/08/2023          RMF                       Conduct unstructured data searches in ESI database re: internal loan uses for             0.6
                                              political donations
03/08/2023          ST                        Attend meeting with G. Shapiro and S. Thompson (both AlixPartners) re: review of          0.1
                                              documents related to Emergent Fidelity
03/09/2023          AS                        Review unstructured data related to FTX Digital Markets workstream                        0.6
03/09/2023          BFM                       Review control failures document                                                          0.4
03/09/2023          BFM                       Review unstructured data re: FTX Digital Markets                                          1.0
03/09/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: cross-             0.4
                                              checking of political donations identified in multiple sources
03/09/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: verification       0.1
                                              of political donations identified in reviewed documents
03/09/2023          GS                        Prepare consolidated political donations tracker based on newly identified donations      0.7
                                              from reviewed documents
03/09/2023          GS                        Review donation trackers to identify duplicative political donations                      0.8
03/09/2023          LMG                       Review PWC report for JPL                                                                 1.2
03/09/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: cross-             0.4
                                              checking of political donations identified in multiple sources
03/09/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: verification       0.1
                                              of political donations identified in reviewed documents
03/09/2023          MB                        Review documents of interest provided by counsel re: political donations                  3.1
03/10/2023          AS                        Review email response and unstructured data identified as part of Bonham Capital          0.5
                                              and Salameda analysis
03/10/2023          DS                        Review PwC JPL report                                                                     0.8
03/10/2023          GS                        Review documents for preparation of support packages for political donations              1.4
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Re:                 Document Review
Code:               20008100P00001.1.6

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                         HOURS
03/10/2023          LMG                       Conduct unstructured data searches re: an individual and liquidations                         0.6
03/12/2023          ET                        Updating AM Bank Statement Tracker to aid in financial statement reconstruction               0.1
                                              efforts
03/13/2023          GS                        Attend meeting with G. Shapiro and S. Thompson (both AlixPartners) re: review of              0.1
                                              documents relating to FTX insiders' purchase of WRS Class A shares from Binance
03/13/2023          GS                        Review merger documents for LedgerX investigation request                                     0.4
03/13/2023          LMG                       Analyze communications re: Alameda loans from entity of interest                              0.3
03/13/2023          ST                        Attend meeting with G. Shapiro and S. Thompson (both AlixPartners) re: review of              0.1
                                              documents relating to FTX insiders' purchase of WRS Class A shares from Binance
03/13/2023          VK                        Review proposed John Ray testimony to provide feedback re: areas of input to                  0.3
                                              support testimony
03/14/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and O. Braat (partial           0.5
                                              attendee) (all AlixPartners) re: creating support packages for political donations
03/14/2023          GS                        Review documents of interest to tie out political donations                                   2.6
03/14/2023          GS                        Update political donation tracker with documents related to political donations               1.2
03/14/2023          JCL                       Review documents associated with inter-company cash sharing agreements between                0.9
                                              FTX and Alameda
03/14/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and O. Braat (partial           0.5
                                              attendee) (all AlixPartners) re: creating support packages for political donations
03/14/2023          QB                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and O. Braat (partial           0.4
                                              attendee) (all AlixPartners) re: creating support packages for political donations
03/14/2023          QZ                        Analyze loan agreements pertaining to entity of interest                                      2.2
03/14/2023          QZ                        Analyze invoice summaries pertaining to entity of interest                                    1.6
03/14/2023          QZ                        Prepare summary excel file detailing loan agreements and invoices related to entity           2.6
                                              of interest
03/14/2023          RMF                       Analyze records re: customer migration efforts relating to Digital Markets                    1.5
03/15/2023          DS                        Perform unstructured data searches related to political contributions                         1.2
03/15/2023          LMG                       Review Gary /Caroline interview questions                                                     0.2
03/15/2023          MJ                        Review internal control failure summary memorandum                                            0.6
03/15/2023          QZ                        Review docket filings relating to entity of interest bankruptcy to establish impact on        2.0
                                              Debtor liabilities / claims
03/15/2023          RMF                       Analyze records re: customer migration efforts relating to Digital Markets                    0.7
03/16/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:            0.4
                                              review of disbursement verification emails related to political donations
03/16/2023          BFM                       Review equity product offerings and split adjustment procedure on FTX.com                     0.4
                                              exchange
03/16/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:            0.4
                                              review of disbursement verification emails related to political donations
03/16/2023          GS                        Review disbursement verification emails related to political donations                        1.8
03/16/2023          JCL                       Review pointer data files supporting crypto holdings                                          0.7
03/16/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:            0.4
                                              review of disbursement verification emails related to political donations
03/16/2023          MB                        Review documents to confirm political donations are funded by political loans                 1.1
03/16/2023          QZ                        Summarize relevant details from docket filings of entity of interest relating to list of      0.6
                                              creditors
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Re:                 Document Review
Code:               20008100P00001.1.6

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/17/2023          GS                        Review disbursement verification emails related to political donations                     1.2
03/17/2023          LMG                       Review control failures draft section on exchange settings                                 0.7
03/17/2023          QZ                        Summarize relevant details from docket filings of entity of interest relating to pre-      0.7
                                              petition payments and bank accounts
03/19/2023          MJ                        Review Alameda exchange privileged summary and supporting materials                        0.6
03/20/2023          GS                        Review disbursement verification emails to identify emails related to political            2.4
                                              donations
03/20/2023          GS                        Review disbursement verification emails to identify funding of political donations         2.6
03/20/2023          GS                        Review promissory notes related to LedgerX acquisition                                     0.1
03/20/2023          JCL                       Review newly filed schedules and statement of financial affairs                            0.8
03/20/2023          LB                        Telephone call with L. Beischer, V. Kotharu (both AlixPartners) re: review of FTX's        0.4
                                              public court filings
03/20/2023          QZ                        Analyze complied set of monthly market reports re: entity of interest                      0.8
03/20/2023          RMF                       Review records in ESI database re: personnel changes at Alameda in 2022                    1.0
03/20/2023          VK                        Telephone call with L. Beischer, V. Kotharu (both AlixPartners) re: review of FTX's        0.4
                                              public court filings
03/21/2023          AS                        Review documents provided by counsel re: political donations                               0.3
03/21/2023          GS                        Review communications related to papered loans to founders                                 0.4
03/21/2023          GS                        Review communications related to political donations                                       1.3
03/21/2023          GS                        Review disbursement verification emails to identify funding of political donations         2.3
03/21/2023          LMG                       Unstructured data searches re: Alameda yield farming in 2022                               1.7
03/21/2023          MB                        Review document of interest provided by S&C 3/21/23 related to political donations         0.2
                                              funded by a promissory note
03/21/2023          QZ                        Review SOFA and SOAL's relating to entity of interest                                      2.5
03/21/2023          QZ                        Summarize takeaways from review SOFA and SOAL's relating to entity of interest             1.8
03/22/2023          ET                        Attend meeting with L. Morrison and L. Teifer (both AlixPartners) re: unstructured         0.3
                                              searches in ESI database for bank statement information
03/22/2023          ET                        Investigate Alameda Research yield farming practices                                       2.7
03/22/2023          ET                        Investigate potential digital asset liquidity pool used for yield farming                  0.7
03/22/2023          GS                        Review disbursement verification emails to identify funding of political donations         2.3
03/22/2023          GS                        Update political donation disbursement verification email tracker                          1.3
03/22/2023          GS                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re:                    0.3
                                              disbursement verification emails related to political donations
03/22/2023          JCL                       Review documents within AFRM population to identify relevant support for digital           0.6
                                              asset balance sheet accounts
03/22/2023          LIM                       Attend meeting with L. Morrison and L. Teifer (both AlixPartners) re: unstructured         0.3
                                              searches in ESI database for bank statement information
03/22/2023          LMG                       Research entity of interest and FTX stock trading platform                                 0.3
03/22/2023          MB                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re:                    0.3
                                              disbursement verification emails related to political donations
03/22/2023          ST                        Review agreements pertaining to acquisition of interest                                    0.8
03/23/2023          ET                        Investigate FTX yield farming practices                                                    0.5
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                 0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                 0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                 0.4
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Document Review
Code:               20008100P00001.1.6

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.2
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.4
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.2
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.6
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.4
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                1.1
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.2
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.2
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.4
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.4
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.4
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.4
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.1
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.6
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          ET                        Summarize bank transaction dates from statements for specific bank account                0.3
03/23/2023          GS                        Review disbursement verification emails related to political donations                    1.6
03/23/2023          KHW                       Review Debtor documents to identify third party loan detail for historical financial      0.5
                                              statement reconstruction
03/23/2023          LIM                       Review Declaration & First Day Pleadings document in support of determining key           1.1
                                              areas of forensic investigation needs
03/23/2023          MB                        Review disbursement verification emails for potential political donations                 0.4
03/24/2023          BFM                       Review legal filing for counsel                                                           0.8
03/24/2023          ET                        Investigate particular bank accounts                                                      2.2
03/24/2023          GS                        Review wire confirmation documents related to political donations                         0.5
03/24/2023          GS                        Update political donation disbursement verification email tracker                         1.8
03/24/2023          JS                        Locate missing Silvergate account statements pertaining to the acquisition of             0.6
03/24/2023          LIM                       Analyze court filings re: SEC v Bankman-Fried in support of forensic investigation        0.7
                                              efforts
03/24/2023          LIM                       Analyze court filings re: SEC v Ellison and Wang in support of forensic                   0.6
                                              investigation efforts
03/24/2023          LMG                       Research Donnelly / Polaris transactions                                                  0.6
03/24/2023          LMG                       Unstructured data review around 5/19/21 liquidation events on FTX.com                     0.8
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/26/2023          JCL                       Review filed statements of assets and liabilities for FTX and Alameda entities          0.8
03/27/2023          AS                        Review documents of interest provided by counsel re: political donations                0.8
03/27/2023          GS                        Review communications related to political donations identified in disbursement         1.8
                                              verification emails
03/27/2023          GS                        Update political donation tracker with donations identified in disbursement             1.8
                                              verification emails
03/28/2023          AS                        Review court filing related to new SBF’s charges alleging bribe to a Chinese            0.7
                                              government official
03/28/2023          ET                        Conduct unstructured searches related to yield farming                                  1.3
03/28/2023          ET                        Conduct unstructured searches related to yield farming                                  1.4
03/28/2023          ET                        Conduct unstructured searches related to yield farming                                  0.7
03/28/2023          ET                        Conduct unstructured searches related to yield farming                                  0.9
03/28/2023          ET                        Conduct unstructured searches related to yield farming                                  1.1
03/28/2023          ET                        Conduct unstructured searches related to yield farming                                  0.7
03/28/2023          ET                        Conduct unstructured searches related to yield farming                                  1.2
03/28/2023          ET                        Conduct unstructured searches related to yield farming                                  0.8
03/28/2023          ET                        Conduct unstructured searches related to 'Yield Farming'                                1.1
03/28/2023          GS                        Create tracker for charitable contributions population                                  1.8
03/28/2023          GS                        Review documents of interest for charitable contributions                               2.7
03/28/2023          GS                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re: review of       0.5
                                              disbursement verification emails related to political donations
03/28/2023          KHW                       Conduct searches in ESI re: BitGo loan invoices for validation of historical third      0.4
                                              party loan payable balances
03/28/2023          LIM                       Review CFTC complaint document in support of determining key areas of forensic          0.6
                                              investigation needs
03/28/2023          LMG                       Review SBF superseding indictment                                                       0.8
03/28/2023          MB                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re: review of       0.5
                                              disbursement verification emails related to political donations
03/28/2023          ME                        Review changes in 5th SBF superseding indictment for team summary                       1.9
03/29/2023          ET                        Conduct unstructured searches on wallet addresses from 'Alameda Scraped Farming         1.0
                                              Accounts' list
03/29/2023          GS                        Review documents of interest for charitable contributions                               0.3
03/29/2023          GS                        Review documents related to political donations identified on disbursement              1.8
                                              verification emails
03/29/2023          LIM                       Analyze Ellison to-do logs for references to Alameda strategy                           1.8
03/29/2023          LIM                       Review CFTC complaint document in support of determining key areas of forensic          0.2
                                              investigation needs
03/29/2023          LIM                       Working session with R. Fuchs, L. Morrison (both AlixPartners) re: unstructured         0.3
                                              searches in ESI database relating to Alameda slack channels
03/29/2023          MJ                        Review media reports related to new token issuances by FTX and access by Genesis        0.4
                                              executives
03/29/2023          RS                        Review Sam Bankman-Fried's fifth superseding indictment                                 0.4
03/29/2023          RMF                       Working session with R. Fuchs, L. Morrison (both AlixPartners) re: unstructured         0.3
                                              searches in ESI database relating to Alameda slack channels
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Code:               20008100P00001.1.6

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                          HOURS
03/30/2023          LIM                       Analyze balance sheet macro code to support forensic investigation of Alameda                0.6
                                              strategy
03/30/2023          LIM                       Analyzed relativity outputs for flagged slack channels to support forensic                   0.9
                                              investigation of Alameda strategy
03/30/2023          LIM                       Analyzed slack communications re: Alameda trading and investment strategy                    1.8
03/31/2023          ET                        Investigate formation of Digital Custody Inc re: historical cash reconstruction              0.9
03/31/2023          ET                        Investigate formation of FTX Digital Assets LLC re: historical cash reconstruction           0.9
03/31/2023          ET                        Investigate formation of FTX Exchange FZE re: historical cash reconstruction                 0.6
03/31/2023          ET                        Investigate formation of FTX Japan Services KK re: historical cash reconstruction            0.8
03/31/2023          ET                        Investigate formation of FTX US Trading Inc re: historical cash reconstruction               0.7
03/31/2023          ET                        Investigate formation of Hive Empire Trading Pty Ltd re: historical cash                     1.1
                                              reconstruction
03/31/2023         ET                         Investigate formation of Liquid Financial USA Inc re: historical cash reconstruction         0.7
03/31/2023         ET                         Investigate formation of specific entity re: historical cash reconstruction                  0.8
03/31/2023         ET                         Investigate formation/purchase of entity of interest re: historical cash reconstruction      0.5
03/31/2023         ET                         Investigate formation/purchase of entity of interest re: historical cash reconstruction      0.5
03/31/2023         GS                         Review disbursement verification emails to identify political donations                      0.7
Total Professional Hours                                                                                                                 206.1
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Re:                                   Document Review
Code:                                 20008100P00001.1.6

PROFESSIONAL                                                        RATE      HOURS                FEES
Matthew Jacques                                                     $1,280       2.8     $      3,584.00
Matthew Evans                                                       $1,220       1.9            2,318.00
John C LaBella                                                      $1,115       5.1            5,686.50
Lilly M Goldman                                                     $1,115      14.1           15,721.50
Adam Searles                                                         $950        5.8            5,510.00
Justin Sutherland                                                    $950        1.4            1,330.00
Dana Schwartz                                                        $880        4.3            3,784.00
Kurt H Wessel                                                        $880        0.9              792.00
Leslie I Morrison                                                    $880        8.9            7,832.00
Bennett F Mackay                                                     $805        6.8            5,474.00
Matthew Birtwell                                                     $805       19.6           15,778.00
Lewis Beischer                                                       $805        0.4              322.00
Varun Kotharu                                                        $605        6.6            3,993.00
Elizabeth Teifer                                                     $585       49.6           29,016.00
Qiulu Zeng                                                           $585       14.8            8,658.00
Randi Self                                                           $585        3.2            1,872.00
Rose-Marie Fuchs                                                     $585        6.0            3,510.00
Olivia Braat                                                         $510        0.4              204.00
Griffin Shapiro                                                      $510       50.3           25,653.00
Sean Thompson                                                        $510        3.2            1,632.00
Total Professional Hours and Fees                                              206.1     $    142,670.00
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Re:                 Interviews
Code:               20008100P00001.1.7

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                   HOURS
03/16/2023          KHW                       Prepare for interview with C. Ellison by compiling reference documents to support      1.8
                                              questions related to financial statement reconstruction
Total Professional Hours                                                                                                             1.8
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Re:                                   Interviews
Code:                                 20008100P00001.1.7

PROFESSIONAL                                                        RATE      HOURS               FEES
Kurt H Wessel                                                        $880        1.8     $     1,584.00
Total Professional Hours and Fees                                                1.8     $     1,584.00
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Re:                 Public Data & Research
Code:               20008100P00001.1.8

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/01/2023          AS                        Prepare research terms for new investigation associated with Grayscale                   0.4
03/01/2023          SS                        Review draft slides to counsel re: proposed next steps for exchange related              0.5
                                              investigations
03/02/2023          MB                        Prepare consolidated listing of 501(c)(4) entities, as provided by the IRS, to           0.4
                                              facilitate political donations workstream
03/02/2023          ME                        Genesis financial analysis                                                               0.5
03/02/2023          ME                        Review public financials of Genesis                                                      0.8
03/03/2023          SYW                       Research best practices on crypto asset accounting consideration for inclusion in        1.0
                                              financial statement reconstruction
03/06/2023          GS                        Analyze public tax filings to identify 501(c)(4) recipients of political donations       0.9
03/06/2023          LMG                       Research FTT minting process                                                             0.8
03/07/2023          GS                        Review election finance filings to identify political donations                          2.7
03/07/2023          GS                        Review public tax filings to identify 501(c)(4) recipients of political donations        2.8
03/07/2023          SYW                       Research FTT token valuation for consideration in financial statement                    1.2
                                              reconstruction efforts
03/08/2023          GS                        Analyze election finance filings to identify political donations                         2.3
03/09/2023          GS                        Review election finance filings to identify political donations                          1.4
03/13/2023          AS                        Coordinate discussion re: FTX Digital Markets                                            0.1
03/13/2023          QZ                        Review corporate documents related to entity of interest                                 0.4
03/14/2023          LMG                       Research FTT minting in Sep 2022                                                         0.3
03/16/2023          BFM                       Categorize coin and equity tickers in FTX.com and FTX.us exchange data for               0.6
                                              market data download
03/16/2023          BFM                       Create data scraping script for extracting all coin and equity tickers from Yahoo        0.4
                                              Finance
03/20/2023          KHW                       Review Debtor's statement and schedules for information related to loans payable         0.8
                                              and receivable
03/20/2023          QZ                        Perform research in public domain re: entity of interest bankruptcy filing               1.7
03/20/2023          QZ                        Compile monthly market reports re: entity of interest                                    0.7
03/22/2023          GS                        Research FEC filings to identify political donation recipients                           2.2
03/22/2023          QZ                        Analyze USD & Digital Currency Loan Receivables amounts and associated                   0.5
                                              financial status of loan counterparties
03/23/2023          QZ                        Review new docket filings relating to entity of interest for potential inclusion in      0.2
                                              existing analysis
03/24/2023          LMG                       Review yield farming research                                                            0.4
03/24/2023          QZ                        Review new docket filings relating to entity of interest for potential inclusion in      0.1
                                              existing analysis
03/27/2023          LMG                       Analyze FTT balance research                                                             1.3
03/27/2023          QZ                        Review new docket filings relating to entity of interest for potential inclusion in      0.1
                                              existing analysis
03/29/2023          GS                        Review FEC filings for political donations made through conduit entities                 0.4
03/29/2023          GS                        Update political donation tracker with information from FEC filings                      0.3
03/31/2023          GS                        Research campaign finance regulations to understand political donation population        3.0
03/31/2023          GS                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) to review            0.9
                                              campaign finance regulations
03/31/2023          LMG                       Review Alameda loan-chatter slack discussions in Summer 2022                             0.3
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Re:                 Public Data & Research
Code:               20008100P00001.1.8

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                  HOURS
03/31/2023          LMG                       Review tweets from S. Trabucco re: Alameda trading activity                        0.7
03/31/2023          MB                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) to review      0.9
                                              campaign finance regulations
Total Professional Hours                                                                                                        32.0
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Re:                                   Public Data & Research
Code:                                 20008100P00001.1.8

PROFESSIONAL                                                        RATE      HOURS                FEES
Matthew Evans                                                       $1,220       1.3     $      1,586.00
Lilly M Goldman                                                     $1,115       3.8            4,237.00
Adam Searles                                                         $950        0.5              475.00
Shuchi Satwah                                                        $950        0.5              475.00
Kurt H Wessel                                                        $880        0.8              704.00
Bennett F Mackay                                                     $805        1.0              805.00
Matthew Birtwell                                                     $805        1.3            1,046.50
Seen Yung Wong                                                       $605        2.2            1,331.00
Qiulu Zeng                                                           $585        3.7            2,164.50
Griffin Shapiro                                                      $510       16.9            8,619.00
Total Professional Hours and Fees                                               32.0     $     21,443.00
                  Case 22-11068-JTD                   Doc 1397-2             Filed 05/01/23              Page 149 of 330




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Re:                 eDiscovery
Code:               20008100P00001.1.10

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/01/2023          AL                        Migrate external material into ESI database for use of team in forensic investigative      1.6
                                              efforts
03/01/2023          ER                        Migrate new document provided by other professionals to ESI database                       1.4
03/01/2023          JD                        Review data integrity between USE2 and JPE to ensure transfer of exchange data             1.0
03/03/2023          ER                        Coordinate access of newly added files within ESI database to AlixPartners' team           0.4
                                              members
03/06/2023          ER                        Migrate new document provided by other professionals to ESI database                       0.7
03/06/2023          RMF                       Coordinate with FTI team to add metadata to Relativity records                             0.7
03/07/2023          AL                        Migrate external material into ESI database for use of team in forensic investigative      1.6
                                              efforts
03/07/2023          ER                        Release newly added documents to AlixPartners' investigation teams in ESI                  0.6
                                              database
03/07/2023          JD                        Migrating all data sets to JPE per Travis Phelan                                           2.0
03/10/2023          ER                        Coordinate access to ESI database for newly added AlixPartners' team members               0.1
03/13/2023          ER                        Migrate new document provided by other professionals to ESI database                       1.2
03/13/2023          JD                        Telephone call with EY team re: data transfer of exchange data                             0.5
03/14/2023          AL                        Migrate external material into ESI database for use of team in forensic investigative      1.6
                                              efforts
03/14/2023          ER                        Migrate new document provided by other professionals to ESI database                       0.4
03/14/2023          KG                        Prepare data for dissemination to team to utilize in forensic investigation efforts        0.3
03/15/2023          AL                        Migrate external material into ESI database for use of team in forensic investigative      1.6
                                              efforts
03/15/2023          ER                        Migrate new document provided by other professionals to ESI database                       0.7
03/15/2023          KG                        Prepare data for dissemination to team to utilize in forensic investigation efforts        0.3
03/16/2023          ER                        Release newly added documents to AlixPartners' investigation teams in ESI                  1.2
                                              database
03/20/2023          ER                        Migrate new document provided by other professionals to ESI database                       0.8
03/20/2023          ER                        Coordinate access to ESI database for newly added AlixPartners' team members               0.2
03/21/2023          AL                        Migrate external material into ESI database for use of team in forensic investigative      1.6
                                              efforts
03/21/2023          ER                        Migrate new document provided by other professionals to ESI database                       0.9
03/21/2023          KG                        Prepare data for dissemination to team to utilize in forensic investigation efforts        0.6
03/22/2023          ER                        Release newly added documents to AlixPartners' investigation teams in ESI                  0.8
                                              database
03/23/2023          ER                        Coordinate access to ESI database for newly added AlixPartners' team members               0.1
03/24/2023          JD                        Deploy Speech to Text Services in Azure                                                    0.5
03/27/2023          AL                        Migrate external material into ESI database for use of team in forensic investigative      1.6
                                              efforts
03/27/2023          ER                        Migrate new document provided by other professionals to ESI database                       0.8
03/27/2023          ER                        Coordinate access to ESI database for newly added AlixPartners' team members               0.2
03/28/2023          ER                        Coordinate access of newly added files within ESI database to AlixPartners' team           0.8
                                              members
03/28/2023          ER                        Release newly added documents to AlixPartners' investigation teams in ESI                  0.9
                                              database
03/30/2023          JD                        Gathering container data for EY to provide requirements for SAS deployment                 0.5
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Re:                 eDiscovery
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DATE               PROFESSIONAL                               DESCRIPTION OF SERVICES                 HOURS
Total Professional Hours                                                                                28.2
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Re:                                   eDiscovery
Code:                                 20008100P00001.1.10

PROFESSIONAL                                                        RATE      HOURS                FEES
Anhtuan Le                                                           $805        9.6     $      7,728.00
Ezra Roth                                                            $735       12.2            8,967.00
Kristina Galbraith                                                   $735        1.2              882.00
Joseph Demyanovich                                                   $725        4.5            3,262.50
Rose-Marie Fuchs                                                     $585        0.7              409.50
Total Professional Hours and Fees                                               28.2     $     21,249.00
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Re:                 Reporting & Presentation of Findings
Code:               20008100P00001.1.11

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                     HOURS
03/01/2023          AS                        Review findings related to specific accounts on the exchange                              0.2
03/01/2023          AS                        Review preliminary funding analysis re: Political Donations                               0.6
03/01/2023          AS                        Review updated findings related to political donations workstream                         0.8
03/02/2023          AS                        Attend meeting with A. Searles, D. Schwartz, and E. Mostoff (all AlixPartners) re:        0.5
                                              UCC request for information related to Modulo investigation
03/02/2023          AS                        Review findings associated with significant transfer right before petition date           0.5
03/02/2023          AS                        Review findings to send to counsel re: Grayscale shares at petition date                  0.2
03/02/2023          DS                        Attend meeting with A. Searles, D. Schwartz, and E. Mostoff (all AlixPartners) re:        0.5
                                              UCC request for information related to Modulo investigation
03/02/2023          DS                        Working session with V. Kotharu, E. Mostoff (full attendees), and D. Schwartz             0.7
                                              (partial attendee) (all AlixPartners) re: update to summary for Modulo investigation
03/02/2023          EM                        Assemble documents related to Modulo investigation for UCC request                        1.4
03/02/2023          EM                        Attend meeting with A. Searles, D. Schwartz, and E. Mostoff (all AlixPartners) re:        0.5
                                              UCC request for information related to Modulo investigation
03/02/2023          EM                        Draft summary email for UCC document request related to Modulo investigation              0.9
03/02/2023          EM                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: UCC                0.5
                                              request for information related to Modulo investigation
03/02/2023          EM                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: UCC                0.3
                                              request for information related to Modulo investigation (cont.)
03/02/2023          EM                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: update to          0.3
                                              summary for Modulo investigation
03/02/2023          EM                        Working session with V. Kotharu, E. Mostoff (full attendees), and D. Schwartz             2.2
                                              (partial attendee) (all AlixPartners) re: update to summary for Modulo investigation
03/02/2023          VK                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: UCC                0.5
                                              request for information related to Modulo investigation
03/02/2023          VK                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: UCC                0.3
                                              request for information related to Modulo investigation (cont.)
03/02/2023          VK                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: update to          0.3
                                              summary for Modulo investigation
03/02/2023          VK                        Working session with V. Kotharu, E. Mostoff (full attendees), and D. Schwartz             2.2
                                              (partial attendee) (all AlixPartners) re: update to summary for Modulo investigation
03/03/2023          AS                        Attend meeting with G. Shapiro, D. Schwartz, A. Searles, and M. Birtwell (all             0.5
                                              AlixPartners) to discuss findings for political donations investigation
03/03/2023          AS                        Update proposed presentation to counsel re: special investigations                        0.2
03/03/2023          AV                        Attend meeting with A. Vanderkamp, B. Mackay (both AlixPartners) re: Genesis              0.6
                                              tear sheet data tables
03/03/2023          AV                        Attend meeting with L. Goldman, A. Vanderkamp, D. Schwartz, B. Robison, B.                0.4
                                              Mackay (all AlixPartners) re: Genesis tear sheet production
03/03/2023          BFM                       Attend meeting with A. Vanderkamp, B. Mackay (both AlixPartners) re: Genesis              0.6
                                              tear sheet data tables
03/03/2023          BFM                       Attend meeting with L. Goldman, A. Vanderkamp, D. Schwartz, B. Robison, B.                0.4
                                              Mackay (all AlixPartners) re: Genesis tear sheet production
03/03/2023          BFM                       Prepare summary of findings for Genesis analysis                                          0.9
03/03/2023          BAR                       Attend meeting with L. Goldman, A. Vanderkamp, D. Schwartz, B. Robison, B.                0.4
                                              Mackay (all AlixPartners) re: Genesis tear sheet production
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Reporting & Presentation of Findings
Code:               20008100P00001.1.11

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                  HOURS
03/03/2023          DS                        Attend meeting with G. Shapiro, D. Schwartz, A. Searles, and M. Birtwell (all          0.5
                                              AlixPartners) to discuss findings for political donations investigation
03/03/2023          DS                        Attend meeting with L. Goldman, A. Vanderkamp, D. Schwartz, B. Robison, B.             0.4
                                              Mackay (all AlixPartners) re: Genesis tear sheet production
03/03/2023          ET                        Gather relevant documents re: Deltec loan investigation                                2.2
03/03/2023          ET                        Draft summary re: Deltec loan investigation                                            1.9
03/03/2023          ET                        Analyze bank transactions re: Deltec loan investigation                                1.7
03/03/2023          ET                        Revise summary re: Deltec loan investigation                                           0.9
03/03/2023          ET                        Working session with L. Teifer and E. Mostoff (both AlixPartners) re: Deltec loan      0.7
                                              summary
03/03/2023          EM                        Attend meeting with V. Kotharu and E. Mostoff (both AlixPartners) re: update to        0.4
                                              summary for Modulo investigation
03/03/2023          EM                        Update Modulo summary                                                                  2.0
03/03/2023          EM                        Working session with L. Teifer and E. Mostoff (both AlixPartners) re: Deltec loan      0.7
                                              summary
03/03/2023          EM                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: update to       2.3
                                              Modulo summary
03/03/2023          GS                        Attend meeting with G. Shapiro, D. Schwartz, A. Searles, and M. Birtwell (all          0.5
                                              AlixPartners) to discuss findings for political donations investigation
03/03/2023          GS                        Summarize insights from political donations investigation                              0.4
03/03/2023          LMG                       Attend meeting with L. Goldman, A. Vanderkamp, D. Schwartz, B. Robison, B.             0.4
                                              Mackay (all AlixPartners) re: Genesis tear sheet production
03/03/2023          MB                        Attend meeting with G. Shapiro, D. Schwartz, A. Searles, and M. Birtwell (all          0.5
                                              AlixPartners) to discuss findings for political donations investigation
03/03/2023          MB                        Prepare for presentation of findings re: Alameda transfers to FTX on 11/8              0.5
03/03/2023          MB                        Prepare presentation on summary of findings re: political donations                    1.8
03/03/2023          VK                        Attend meeting with V. Kotharu and E. Mostoff (both AlixPartners) re: update to        0.4
                                              summary for Modulo investigation
03/03/2023          VK                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: update to       2.3
                                              Modulo summary
03/04/2023          BFM                       Update summary for Genesis analysis                                                    1.0
03/04/2023          DS                        Revise entity of interest tearsheet for provision to counsel                           1.1
03/04/2023          LMG                       Review entity of interest tearsheet                                                    1.1
03/05/2023          AS                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, L. Goldman, D.                0.5
                                              Schwartz, B. Mackay and A. Searles (all AlixPartners) re: reviewing entity of
                                              interest presentation of findings and preparing for call with counsel
03/05/2023          AV                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, L. Goldman, D.                0.5
                                              Schwartz, B. Mackay and A. Searles (all AlixPartners) re: reviewing entity of
                                              interest presentation of findings and preparing for call with counsel
03/05/2023          BFM                       Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, L. Goldman, D.                0.5
                                              Schwartz, B. Mackay and A. Searles (all AlixPartners) re: reviewing entity of
                                              interest presentation of findings and preparing for call with counsel
03/05/2023          BFM                       Update summary of findings exhibits for Genesis analysis                               1.1
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                   HOURS
03/05/2023          DS                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, L. Goldman, D.                 0.5
                                              Schwartz, B. Mackay and A. Searles (all AlixPartners) re: reviewing entity of
                                              interest presentation of findings and preparing for call with counsel
03/05/2023          EM                        Update Modulo summary                                                                   1.7
03/05/2023          LMG                       Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, L. Goldman, D.                 0.5
                                              Schwartz, B. Mackay and A. Searles (all AlixPartners) re: reviewing entity of
                                              interest presentation of findings and preparing for call with counsel
03/05/2023          ME                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, L. Goldman, D.                 0.5
                                              Schwartz, B. Mackay and A. Searles (all AlixPartners) re: reviewing entity of
                                              interest presentation of findings and preparing for call with counsel
03/05/2023          MJ                        Attend meeting with M. Jacques, M. Evans, A. Vanderkamp, L. Goldman, D.                 0.5
                                              Schwartz, B. Mackay and A. Searles (all AlixPartners) re: reviewing entity of
                                              interest presentation of findings and preparing for call with counsel
03/06/2023          AS                        Address updated comments to presentation re: political donations                        0.4
03/06/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, and D. Schwartz (all           1.0
                                              AlixPartners) to discuss findings for political donations investigation
03/06/2023          AS                        Prepare write-up of investigation workstreams for CEO Interim Report                    0.3
03/06/2023          AS                        Review analysis developed to analyze loans to founders tied to political donations      0.3
03/06/2023          AS                        Update presentation re: Political Donations workstream                                  0.7
03/06/2023          DS                        Analyze and document identified potential related parties for SOFA/SOLs based on        1.2
                                              special investigations
03/06/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, and D. Schwartz (all           1.0
                                              AlixPartners) to discuss findings for political donations investigation
03/06/2023          DS                        Working session with M. Cervi, D. Schwartz, V. Kotharu (all AlixPartners) re: list      0.5
                                              of entities with non-arm's length business dealings with Debtors
03/06/2023          EM                        Assemble documents for UCC request re: Modulo settlement                                0.3
03/06/2023          EM                        Update Modulo summary                                                                   1.4
03/06/2023          EM                        Continue revision of Modulo summary                                                     1.5
03/06/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, and D. Schwartz (all           1.0
                                              AlixPartners) to discuss findings for political donations investigation
03/06/2023          MC                        Working session with M. Cervi, D. Schwartz, V. Kotharu (all AlixPartners) re: list      0.5
                                              of entities with non-arm's length business dealings with Debtors
03/06/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, and D. Schwartz (all           1.0
                                              AlixPartners) to discuss findings for political donations investigation
03/06/2023          MB                        Prepare summary of findings re: political donations                                     1.6
03/06/2023          MB                        Prepare summary of findings re: political donations                                     2.6
03/06/2023          VK                        Analyzing summaries to capture list of entities with non-arm's business dealings        2.6
                                              with Debtors
03/06/2023          VK                        Continue analysis of summaries to capture list of entities with non-arm's business      1.6
                                              dealings with Debtors
03/06/2023          VK                        Working session with M. Cervi, D. Schwartz, V. Kotharu (all AlixPartners) re: list      0.5
                                              of entities with non-arm's length business dealings with Debtors
03/07/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), A. Searles, and D.        0.9
                                              Schwartz (partial attendees) (all AlixPartners) to discuss findings for political
                                              donations investigation
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03/07/2023          AS                        Review final draft of presentation re: status update to counsel on political donations      0.4
                                              workstream
03/07/2023          AS                        Review presentation of findings re: counsel request to trace payments to former             0.4
                                              employee in Hong Kong
03/07/2023          AS                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,               0.8
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          AV                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,               0.8
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          BFM                       Review summary of AlixPartners' workstreams for John Ray's draft interim report             0.7
03/07/2023          BFM                       Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,               1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          CAS                       Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,               1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          CC                        Attend meeting with C. Chen, L. Teifer, E. Mostoff (full attendees), and K. Wessel          1.1
                                              (partial attendee) (all AlixPartners) re: alignment of bank account tracking and
                                              historical reconstruction workstreams
03/07/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), A. Searles, and D.            0.5
                                              Schwartz (partial attendees) (all AlixPartners) to discuss findings for political
                                              donations investigation
03/07/2023          DS                        Working session with D. Schwartz, V. Kotharu (all AlixPartners) re: compilation of          0.3
                                              list of entities with non-arm's length business dealings with Debtors
03/07/2023          DS                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,               1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          DJW                       Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,               1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
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Re:                 Reporting & Presentation of Findings
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/07/2023          DL                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          ET                        Attend meeting with C. Chen, L. Teifer, E. Mostoff (full attendees), and K. Wessel         1.1
                                              (partial attendee) (all AlixPartners) re: alignment of bank account tracking and
                                              historical reconstruction workstreams
03/07/2023          EM                        Attend meeting with C. Chen, L. Teifer, E. Mostoff (full attendees), and K. Wessel         1.1
                                              (partial attendee) (all AlixPartners) re: alignment of bank account tracking and
                                              historical reconstruction workstreams
03/07/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), A. Searles, and D.           1.1
                                              Schwartz (partial attendees) (all AlixPartners) to discuss findings for political
                                              donations investigation
03/07/2023          JLS                       Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          JS                        Attend meeting with J. Sutherland, S. Thompson (both AlixPartners), C. Arnett,             0.5
                                              and T. Hudson (both A&M) to review findings related to acquisition of entities of
                                              interest
03/07/2023          JS                        Working session with M. Cervi, J. Sutherland, S. Thompson, V. Kotharu (all                 0.5
                                              AlixPartners) re: list of entities with non-arm's length business dealings with
03/07/2023          KHW                       Attend meeting with C. Chen, L. Teifer, E. Mostoff (full attendees), and K. Wessel         0.8
                                              (partial attendee) (all AlixPartners) re: alignment of bank account tracking and
                                              historical reconstruction workstreams
03/07/2023          KHW                       Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          LMG                       Review summary of AlixPartners workstreams for John Ray's draft interim report             0.7
03/07/2023          LMG                       Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          MC                        Working session with M. Cervi, J. Sutherland, S. Thompson, V. Kotharu (all                 0.5
                                              AlixPartners) re: list of entities with non-arm's length business dealings with
03/07/2023          MC                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
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Chief Executive Officer
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Re:                 Reporting & Presentation of Findings
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/07/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), A. Searles, and D.           1.1
                                              Schwartz (partial attendees) (all AlixPartners) to discuss findings for political
                                              donations investigation
03/07/2023          MB                        Prepare summary of findings re: political donations                                        0.2
03/07/2023          MB                        Prepare summary of findings re: political donations funded by founders' loans              0.2
03/07/2023          MB                        Prepare summary of findings re: FTX employee                                               2.1
03/07/2023          MB                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          MJ                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          RMF                       Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          ST                        Attend meeting with J. Sutherland, S. Thompson (both AlixPartners), C. Arnett,             0.5
                                              and T. Hudson (both A&M) to review findings related to acquisition of entities of
                                              interest
03/07/2023          ST                        Working session with M. Cervi, J. Sutherland, S. Thompson, V. Kotharu (all                 0.5
                                              AlixPartners) re: list of entities with non-arm's length business dealings with
03/07/2023          SRH                       Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          TP                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              1.1
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/07/2023          VK                        Analyze summaries to capture list of entities with non-arm's business dealings with        2.3
                                              Debtors
03/07/2023          VK                        Working session with D. Schwartz, V. Kotharu (all AlixPartners) re: compilation of         0.3
                                              list of entities with non-arm's length business dealings with Debtors
03/07/2023          VK                        Working session with M. Cervi, J. Sutherland, S. Thompson, V. Kotharu (all                 0.5
                                              AlixPartners) re: list of entities with non-arm's length business dealings with
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/07/2023          VK                        Working session with M. Jacques, L. Goldman, M. Birtwell, RM Fuchs, S. Hanzi,              0.8
                                              J. Somerville, K. Wessel, M. Cervi, C. Cipione, D. White, T. Phelan, F. Liang, B.
                                              Mackay, D. Schwartz (full attendees), A. Searles, A. Vanderkamp, V. Kotharu
                                              (partial attendees) re: analysis of exchange data in support of special investigation
                                              workstreams
03/08/2023          AS                        Review additional findings re: tracing of funds between Alameda and FTX Digital            0.6
                                              Markets
03/08/2023          AS                        Review initial findings re: payments made to 501c4 organizations as part of the            0.5
                                              political donations workstream
03/08/2023          CC                        Review FTX Digital Markets' presentation material                                          1.5
03/08/2023          CC                        Attend meeting with C. Chen, L. Teifer, E. Mostoff (full attendees), and K. Wessel         1.1
                                              (partial attendee) (all AlixPartners) re: alignment of bank account tracking and
                                              historical reconstruction workstreams
03/08/2023          GS                        Prepare support document packages for funding of political donations                       1.1
03/08/2023          KHW                       Develop draft presentation to Board of Directors re: update on financial                   1.0
                                              reconstruction workstream
03/08/2023          KHW                       Provide input to control failures outline for reporting to John Ray                        0.4
03/08/2023          MB                        Prepare summary re: Bonham Capital                                                         2.3
03/08/2023          MB                        Revise summary re: Bonham Capital                                                          1.6
03/08/2023          VK                        Revise analysis of summaries to capture list of entities with non-arm's business           0.3
                                              dealings with Debtors
03/09/2023          AS                        Review updated presentation of findings re: political donations                            0.6
03/09/2023          AS                        Review presentation of findings sent to counsel re: Deltec                                 0.2
03/09/2023          DS                        Update support packages for political donations support                                    0.9
03/09/2023          GS                        Prepare support document packages for funding of political donations                       1.0
03/09/2023          JCL                       Telephone call with Working session with D. O’Hara, S. Wheeler, C. Dunne (all              0.5
                                              S&C) R. Gordon, H. Ardizzoni, K. Ramanathan (all A&M), M. Cervi, and J.
                                              LaBella (both AlixPartners) re: discussion of accounting and finance control failures
03/09/2023          KHW                       Develop draft presentation to Board of Directors re: historical financial statement        0.7
                                              recreation focused on cash analysis deep dive
03/09/2023          KHW                       Develop draft presentation to Board of Directors re: updates to incorporate                2.6
                                              additional slides detailing deep dives on cash balance adjustments
03/09/2023          KHW                       Develop draft presentation to the Board of Directors re: AlixPartners financial            1.4
                                              statement reconstruction workstream
03/09/2023          KHW                       Develop draft presentation to the Board of Directors re: AlixPartners financial            1.3
                                              statement reconstruction workstream focused on cash analysis
03/09/2023          MC                        Telephone call with Working session with D. O’Hara, S. Wheeler, C. Dunne (all              0.5
                                              S&C) R. Gordon, H. Ardizzoni, K. Ramanathan (all A&M), M. Cervi, and J.
                                              LaBella (both AlixPartners) re: discussion of accounting and finance control failures
03/09/2023          MB                        Prepare summary of findings re: Bonham Capital                                             2.8
03/09/2023          MB                        Prepare summary of findings re: Bonham Capital                                             0.6
03/09/2023          MB                        Prepare summary of findings re: Deltec loan                                                0.3
03/09/2023          MB                        Prepare summary of findings re: political donations                                        0.4
03/09/2023          RMF                       Conduct unstructured data searches in ESI database for communication artifacts re:         1.8
                                              Digital Markets transition
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Reporting & Presentation of Findings
Code:               20008100P00001.1.11

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/10/2023          AS                        Attend meeting with A. Searles and M. Birtwell (both AlixPartners) re: summary of         0.1
                                              findings of political donations workstream
03/10/2023          AS                        Prepare comment to the political donations presentation to be sent to counsel             0.4
03/10/2023          AS                        Review responses to counsel re: control failures as part of interim report                0.6
03/10/2023          AS                        Review revises tearsheet re: entity of interest to send to counsel                        0.2
03/10/2023          BFM                       Update Genesis analysis tear sheet                                                        0.6
03/10/2023          BFM                       Working session with D. Schwartz, A. Mackay, V. Kotharu (all AlixPartners) re:            0.4
                                              presentation of funds flow analysis to FTX Digital Markets
03/10/2023          CC                        Working session with K. Wessel and C. Chen (both AlixPartners) re: historical cash        0.5
                                              balance reconstruction presentation
03/10/2023          DS                        Working session with D. Schwartz, A. Mackay, V. Kotharu (all AlixPartners) re:            0.4
                                              presentation of funds flow analysis to FTX Digital Markets
03/10/2023          DS                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) re: presentation         1.2
                                              of funds flow to FTX Digital Markets
03/10/2023          DS                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) re: update to            0.6
                                              analysis of Modulo summary to satisfy FTI's request for additional details
03/10/2023          ET                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and L. Teifer (partial      0.2
                                              attendee) (all AlixPartners) re: preparation of support document packages for
                                              political donations
03/10/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and L. Teifer (partial      1.2
                                              attendee) (all AlixPartners) re: preparation of support document packages for
                                              political donations
03/10/2023          GS                        Prepare support document packages for funding of political donations                      2.7
03/10/2023          GS                        Prepare summary related to political donations made to 501(c)(4) entities                 1.5
03/10/2023          KHW                       Update draft slides to the Board of Directors re: incorporation of an overall cash        1.7
                                              reconciliation summary across entities and accounts
03/10/2023          KHW                       Working session with K. Wessel and C. Chen (both AlixPartners) re: historical cash        0.5
                                              balance reconstruction presentation
03/10/2023          MB                        Attend meeting with A. Searles and M. Birtwell (both AlixPartners) re: summary of         0.1
                                              findings of political donations workstream
03/10/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), and L. Teifer (partial      1.2
                                              attendee) (all AlixPartners) re: preparation of support document packages for
                                              political donations
03/10/2023          MB                        Prepare summary of findings re: political donations workstream                            1.8
03/10/2023          MB                        Review political donation support packages                                                1.1
03/10/2023          VK                        Updating analysis of Modulo summary to satisfy FTI's request for additional details       1.4
03/10/2023          VK                        Working session with D. Schwartz, A. Mackay, V. Kotharu (all AlixPartners) re:            0.4
                                              presentation of funds flow analysis to FTX Digital Markets
03/10/2023          VK                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) re: presentation         1.2
                                              of funds flow to FTX Digital Markets
03/10/2023          VK                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) re: update to            0.6
                                              analysis of Modulo summary to satisfy FTI's request for additional details
03/12/2023          AV                        Revise draft board presentation                                                           0.4
03/13/2023          AS                        Attend meeting with J. Sutherland, A. Searles, M. Birtwell, S. Thompson (all              0.5
                                              AlixPartners) to prepare for call with S&C regarding founders' loans
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/13/2023          AS                        Review final draft of board materials for update re: financial statement re-               0.5
                                              construction
03/13/2023          DS                        Identify examples from special investigations to support S&C report                        0.6
03/13/2023          EM                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: update to           0.8
                                              summary for Modulo investigation
03/13/2023          JS                        Attend meeting with J. Sutherland, A. Searles, M. Birtwell, S. Thompson (all               0.5
                                              AlixPartners) to prepare for call with S&C regarding founders' loans
03/13/2023          MB                        Attend meeting with J. Sutherland, A. Searles, M. Birtwell, S. Thompson (all               0.5
                                              AlixPartners) to prepare for call with S&C regarding founders' loans
03/13/2023          MB                        Continue preparing summary political donations workstream for status update                0.7
03/13/2023          MB                        Prepare summary for political donations workstream for status update                       2.8
03/13/2023          ST                        Attend meeting with J. Sutherland, A. Searles, M. Birtwell, S. Thompson (all               0.5
                                              AlixPartners) to prepare for call with S&C regarding founders' loans
03/13/2023          VK                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re: update to           0.8
                                              summary for Modulo investigation
03/14/2023          AS                        Attend meeting with M. Jacques, D. White, A. Searles, L. Goldman, A.                       0.5
                                              Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: Genesis analysis tear
                                              sheet update
03/14/2023          AS                        Review political donations presentation update to present to counsel on upcoming           0.8
                                              weekly call
03/14/2023          AV                        Attend meeting with M. Jacques, D. White, A. Searles, L. Goldman, A.                       0.5
                                              Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: Genesis analysis tear
                                              sheet update
03/14/2023          BFM                       Attend meeting with M. Jacques, D. White, A. Searles, L. Goldman, A.                       0.5
                                              Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: Genesis analysis tear
                                              sheet update
03/14/2023          DS                        Attend meeting with D. Schwartz and M. Birtwell (both AlixPartners) re:                    1.0
                                              presentation of findings for political donations and charitable contributions
03/14/2023          DS                        Attend meeting with M. Jacques, D. White, A. Searles, L. Goldman, A.                       0.5
                                              Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: Genesis analysis tear
                                              sheet update
03/14/2023          DJW                       Attend meeting with M. Jacques, D. White, A. Searles, L. Goldman, A.                       0.5
                                              Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: Genesis analysis tear
                                              sheet update
03/14/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: political           0.6
                                              donations summary of findings
03/14/2023          GS                        Prepare support document packages for funding of political donations                       2.6
03/14/2023          KHW                       Analyze historical legal entity financial information to assess data coverage for          1.4
                                              update into draft report to the Board of Directors re: financial statement recreation
03/14/2023          KHW                       Update draft report to the Board of Directors re: financial statement reconstruction       1.2
                                              to include recreation approach for non-QuickBooks legal entities
03/14/2023          KHW                       Working session with K. Wessel, M. Cervi (both AlixPartners) re: legal entity              0.5
                                              matrix discussion and creation of summary for board update slides
03/14/2023          KHW                       Working session with K. Wessel, M. Cervi (both AlixPartners) re: non QuickBooks            0.6
                                              entity board update slide revisions
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/14/2023          LMG                       Attend meeting with M. Jacques, D. White, A. Searles, L. Goldman, A.                     0.5
                                              Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: Genesis analysis tear
                                              sheet update
03/14/2023          MC                        Review draft control failures report                                                     0.6
03/14/2023          MC                        Working session with K. Wessel, M. Cervi (both AlixPartners) re: legal entity            0.5
                                              matrix discussion and creation of summary for board update slides
03/14/2023          MC                        Working session with K. Wessel, M. Cervi (both AlixPartners) re: non QuickBooks          0.6
                                              entity board update slide revisions
03/14/2023          MB                        Attend meeting with D. Schwartz and M. Birtwell (both AlixPartners) re:                  1.0
                                              presentation of findings for political donations and charitable contributions
03/14/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: political         0.6
                                              donations summary of findings
03/14/2023          MB                        Continue preparing summary of political donations workstream for status update           2.5
03/14/2023          MB                        Continue preparing summary of political donations workstream for status update           0.9
03/14/2023          MB                        Prepare summary of findings re: uses of founders loans for political donations and       0.6
                                              other purposes
03/14/2023          MB                        Prepare summary of political donations workstream for status update                      2.8
03/14/2023          MJ                        Attend meeting with M. Jacques, D. White, A. Searles, L. Goldman, A.                     0.5
                                              Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners) re: Genesis analysis tear
                                              sheet update
03/15/2023          AS                        Attend meeting with G. Shapiro, D. Schwartz, M. Birtwell (full attendees), A.            0.4
                                              Searles, and O. Braat (partial attendees) (all AlixPartners) re: review of support
                                              packages for political donations
03/15/2023          AS                        Review email summarizing findings re: entity of interest                                 0.2
03/15/2023          AS                        Review final draft of support packages to send to counsel re: political donations        0.6
03/15/2023          AS                        Review updated draft of board materials based on comments from counsel                   0.4
03/15/2023          BFM                       Attend meeting with B. Mackay, J. Sutherland, S. Thompson (full attendees), and          0.5
                                              L. Goldman (partial attendee) (all AlixPartners) re: prepare for a call with S&C
                                              relating to the funds tracing analysis of an acquisition of interest
03/15/2023          DS                        Attend call with G. Shapiro, M. Birtwell and D. Schwartz (all AlixPartners) re:          0.4
                                              finalizing political donation support packages
03/15/2023          DS                        Attend meeting with G. Shapiro, D. Schwartz, M. Birtwell (full attendees), A.            0.6
                                              Searles, and O. Braat (partial attendees) (all AlixPartners) re: review of support
                                              packages for political donations
03/15/2023          DS                        Review political contributions support packages                                          0.4
03/15/2023          GS                        Attend call with G. Shapiro and M. Birtwell (both AlixPartners) to review political      1.0
                                              donations support packages for consistency
03/15/2023          GS                        Attend call with G. Shapiro, M. Birtwell and D. Schwartz (all AlixPartners) re:          0.4
                                              finalizing political donation support packages
03/15/2023          GS                        Attend meeting with G. Shapiro, D. Schwartz, M. Birtwell (full attendees), A.            0.6
                                              Searles, and O. Braat (partial attendees) (all AlixPartners) re: review of support
                                              packages for political donations
03/15/2023          GS                        Prepare support document packages for funding of political donations                     2.3
03/15/2023          GS                        Update support document packages for funding of political donations                      1.3
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/15/2023          JS                        Attend meeting with B. Mackay, J. Sutherland, S. Thompson (full attendees), and          0.5
                                              L. Goldman (partial attendee) (all AlixPartners) re: prepare for a call with S&C
                                              relating to the funds tracing analysis of an acquisition of interest
03/15/2023          KHW                       Update draft report to the Board of Directors re: revise financial statement             0.7
                                              reconstruction work plan approach for non-QuickBooks legal entities delineating
                                              Debtor and non-Debtor entities
03/15/2023          LMG                       Attend meeting with B. Mackay, J. Sutherland, S. Thompson (full attendees), and          0.4
                                              L. Goldman (partial attendee) (all AlixPartners) re: prepare for a call with S&C
                                              relating to the funds tracing analysis of an acquisition of interest
03/15/2023          LMG                       Research stats re: exchanges with comparable size to FTX.com for Ray draft report        0.7
03/15/2023          MC                        Comment on draft control failures report                                                 0.9
03/15/2023          MB                        Attend call with G. Shapiro and M. Birtwell (both AlixPartners) to review political      1.0
                                              donations support packages for consistency
03/15/2023          MB                        Attend call with G. Shapiro, M. Birtwell and D. Schwartz (all AlixPartners) re:          0.4
                                              finalizing political donation support packages
03/15/2023          MB                        Attend meeting with G. Shapiro, D. Schwartz, M. Birtwell (full attendees), A.            0.6
                                              Searles, and O. Braat (partial attendees) (all AlixPartners) re: review of support
                                              packages for political donations
03/15/2023          MB                        Prepare summary of founders loans' and related purposes                                  0.6
03/15/2023          MB                        Prepare summary political donations support packages created                             0.9
03/15/2023          QB                        Attend meeting with G. Shapiro, D. Schwartz, M. Birtwell (full attendees), A.            0.4
                                              Searles, and O. Braat (partial attendees) (all AlixPartners) re: review of support
                                              packages for political donations
03/15/2023          ST                        Attend meeting with B. Mackay, J. Sutherland, S. Thompson (full attendees), and          0.5
                                              L. Goldman (partial attendee) (all AlixPartners) re: prepare for a call with S&C
                                              relating to the funds tracing analysis of an acquisition of interest
03/16/2023          AS                        Review initial set of support packages provided to counsel re: political donations       0.8
03/16/2023          DS                        Attend meeting with M. Birtwell and D. Schwartz (both AlixPartners) re:                  0.1
                                              presentation of findings on loan funded political donations
03/16/2023          DS                        Update master summary template for inclusion in database                                 0.8
03/16/2023          EM                        Update summary re: historical financial statement recreation, cash workstream            0.8
03/16/2023          MB                        Attend meeting with M. Birtwell and D. Schwartz (both AlixPartners) re:                  0.1
                                              presentation of findings on loan funded political donations
03/16/2023          MB                        Attend meeting with S. Thompson and M. Birtwell (both AlixPartners) re:                  0.1
                                              presentation of findings on founders' loans and their associated purposes
03/16/2023          MB                        Prepare summary of findings re: founders' loans and associated purposes                  0.6
03/16/2023          MB                        Prepare summary of findings re: political donations for update email                     0.4
03/16/2023          MB                        Review presentation findings re: founders' loans                                         0.3
03/16/2023          ME                        Revise control failures draft                                                            0.7
03/16/2023          ME                        Check Alameda special privileges and Borrow/Lend settings for Controls draft             1.2
                                              section
03/16/2023          ME                        Prepare Board presentation materials                                                     1.2
03/16/2023          ME                        Review control failures research for edits to working draft                              1.8
03/16/2023          ST                        Attend meeting with S. Thompson and M. Birtwell (both AlixPartners) re:                  0.1
                                              presentation of findings on founders' loans and their associated purposes
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Re:                 Reporting & Presentation of Findings
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                   HOURS
03/17/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) to       0.3
                                              discuss findings for specific investment
03/17/2023          AS                        Review final draft of political donations update presentation to send to counsel        0.5
03/17/2023          AV                        Revise draft board presentation martials                                                1.3
03/17/2023          DS                        Working session with D. Schwartz, E. Mostoff, V. Kotharu (all AlixPartners) re:         0.7
                                              revision to summary of Modulo investigation
03/17/2023          EM                        Working session with D. Schwartz, E. Mostoff, V. Kotharu (all AlixPartners) re:         0.7
                                              revision to summary of Modulo investigation
03/17/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of        0.5
                                              findings for political donations made by debtor entities
03/17/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) to       0.3
                                              discuss findings for specific investment
03/17/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and R. Self (all AlixPartners) re:         0.3
                                              preparation of political donation support packages
03/17/2023          GS                        Prepare summary on political donations made by debtor entities                          0.7
03/17/2023          JS                        Attend follow-up meeting with S. Thompson and J. Sutherland (both AlixPartners)         0.3
                                              to discuss founders’ loan summary schedule and funds tracing analysis involving
                                              entity of interest re: founders’ loans special investigation request
03/17/2023          LMG                       Draft comments on draft control failures draft section on exchange settings             1.2
03/17/2023          LMG                       Working session with M. Evans, L. Goldman (both AlixPartners) re: control failures      0.5
                                              draft section on exchange settings
03/17/2023          MB                        Attend follow-up meeting with S. Thompson and M. Birtwell (both AlixPartners)           0.1
                                              re: presentation of summary relating to founders' loans summary schedule
03/17/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: review of        0.5
                                              findings for political donations made by debtor entities
03/17/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) to       0.3
                                              discuss findings for specific investment
03/17/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and R. Self (all AlixPartners) re:         0.3
                                              preparation of political donation support packages
03/17/2023          MB                        Attend meeting with S. Thompson and M. Birtwell (both AlixPartners) re:                 0.2
                                              presentation of findings relating to founders' loans summary schedule
03/17/2023          MB                        Prepare summary of political donations workstream for update meeting                    2.2
03/17/2023          MB                        Review weekly workplan status tracker to provide updates on work performed on           0.4
                                              political donations, charitable contributions, transfer from Alameda, Deltec loan,
                                              and specific investment
03/17/2023          ME                        Draft an independent control functions summary                                          1.3
03/17/2023          ME                        Draft spot Margin Borrow edits                                                          1.0
03/17/2023          ME                        Working session with M. Evans, L. Goldman (both AlixPartners) re: control failures      0.5
                                              draft section on exchange settings
03/17/2023          RS                        Attend meeting with G. Shapiro, M. Birtwell, and R. Self (all AlixPartners) re:         0.3
                                              preparation of political donation support packages
03/17/2023          ST                        Attend follow-up meeting with S. Thompson and J. Sutherland (both AlixPartners)         0.3
                                              to discuss founders’ loan summary schedule and funds tracing analysis involving
                                              entity of interest re: founders’ loans special investigation request
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03/17/2023          ST                        Attend follow-up meeting with S. Thompson and M. Birtwell (both AlixPartners)           0.1
                                              re: presentation of summary relating to founders' loans summary schedule
03/17/2023          ST                        Attend meeting with S. Thompson and M. Birtwell (both AlixPartners) re:                 0.2
                                              presentation of findings relating to founders' loans summary schedule
03/17/2023          VK                        Working session with D. Schwartz, E. Mostoff, V. Kotharu (all AlixPartners) re:         0.7
                                              revision to summary of Modulo investigation
03/18/2023          RS                        Finalize presentation of Genesis analysis charts and tables                             1.0
03/19/2023          AS                        Attend meeting with A. Searles, LaBella and V. Kotharu (all AlixPartners) re:           0.2
                                              supplemental information for upcoming board presentation
03/19/2023          AS                        Attend meeting with A. Searles, LaBella and V. Kotharu (all AlixPartners) re:           0.6
                                              supplemental information for upcoming board presentation
03/19/2023          AS                        Prepare supplemental information to the board materials re: financial statement         0.3
                                              reconstruction budget
03/19/2023          DS                        Create flow chart showing flows from various bank accounts to/from FDM                  1.3
03/19/2023          EM                        Update to summary re: loan from Alameda Research Ltd to West Realm Shires               1.6
                                              Services Inc
03/19/2023          JCL                       Attend meeting with M. Jacques and J. LaBella (both AlixPartners) to discuss board      1.3
                                              presentation and financial statement reconstruction
03/19/2023          JCL                       Attend meeting with A. Searles, LaBella and V. Kotharu (all AlixPartners) re:           0.2
                                              supplemental information for upcoming board presentation
03/19/2023          JCL                       Attend meeting with A. Searles, LaBella and V. Kotharu (all AlixPartners) re:           0.6
                                              supplemental information for upcoming board presentation
03/19/2023          MJ                        Attend meeting with M. Jacques and J. LaBella (both AlixPartners) to discuss board      1.3
                                              presentation and financial statement reconstruction
03/19/2023          VK                        Attend meeting with A. Searles, LaBella and V. Kotharu (all AlixPartners) re:           0.2
                                              supplemental information for upcoming board presentation
03/19/2023          VK                        Attend meeting with A. Searles, LaBella and V. Kotharu (all AlixPartners) re:           0.6
                                              supplemental information for upcoming board presentation
03/19/2023          VK                        Prepare board presentation supplemental information re: financial statement             0.4
                                              reconstruction
03/20/2023          AS                        Attend call with M. Jacques, A. Searles, and A. Vanderkamp (all AlixPartners) to        0.3
                                              discuss edits to Board presentation materials
03/20/2023          AS                        Attend call with M. Jacques, A. Searles, and A. Vanderkamp (all AlixPartners) to        0.1
                                              discuss edits to Board presentation materials
03/20/2023          AS                        Attend meeting with A. Vanderkamp and A. Searles (both AlixPartners) re: updates        0.3
                                              to the board materials regarding financial statement reconstruction
03/20/2023          AS                        Prepare updated slide to the board materials based on comments received from            1.4
                                              counsel
03/20/2023          AS                        Revise talking points for the board meeting presentation                                0.6
03/20/2023          AS                        Review distribution materials to send to counsel re: specific entity of interest        0.5
03/20/2023          AS                        Review final draft of board materials for meeting tomorrow                              1.1
03/20/2023          AS                        Review updated findings re: political donations to send to counsel                      0.6
03/20/2023          AV                        Attend call with M. Jacques, A. Searles, and A. Vanderkamp (all AlixPartners) to        0.3
                                              discuss edits to Board presentation materials
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03/20/2023          AV                        Attend call with M. Jacques, A. Searles, and A. Vanderkamp (all AlixPartners) to          0.1
                                              discuss edits to Board presentation materials
03/20/2023          AV                        Attend meeting with A. Vanderkamp and A. Searles (both AlixPartners) re: updates          0.3
                                              to the board materials regarding financial statement reconstruction
03/20/2023          AV                        Revise draft board presentation martials                                                  1.2
03/20/2023          BFM                       Working session with B. Mackay, V. Kotharu (AlixPartners) re: preparation of              1.4
                                              summary of funds flow related to Genesis/Bluebird investigation
03/20/2023          CC                        Working session with E. Mostoff and C. Chen (both AlixPartners) re: update to             0.3
                                              summary of loan investigation
03/20/2023          DS                        Prepare master chronology template for purposes of database tool                          0.8
03/20/2023          EM                        Update summary for loan investigation                                                     1.8
03/20/2023          EM                        Continue to update summary for loan investigation                                         1.6
03/20/2023          EM                        Working session with E. Mostoff and C. Chen (both AlixPartners) re: update to             0.3
                                              summary of loan investigation
03/20/2023          MB                        Prepare summary of political donations work performed for update call with S&C            2.6
                                              3/21/23
03/20/2023          MB                        Prepare table of contents that contains relevant material for loan funded political       1.6
                                              donations as requested by S&C
03/20/2023          MB                        Prepare write up describing the loan funded political donation process                    1.6
03/20/2023          MJ                        Attend call with M. Jacques, A. Searles, and A. Vanderkamp (all AlixPartners) to          0.3
                                              discuss edits to Board presentation materials
03/20/2023          MJ                        Attend call with M. Jacques, A. Searles, and A. Vanderkamp (all AlixPartners) to          0.1
                                              discuss edits to Board presentation materials
03/20/2023          MJ                        Prepare talking points for Board of Directors presentation by AlixPartners on the         2.1
                                              topic of historical financial statement reconstruction
03/20/2023          VK                        Draft presentation re: flow of funds in Genesis/Bluebird Capital transaction              2.7
03/20/2023          VK                        Working session with B. Mackay, V. Kotharu (AlixPartners) re: preparation of              1.4
                                              summary of funds flow related to Genesis/Bluebird investigation
03/21/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:        0.5
                                              update on political donations investigation
03/21/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, and A. Searles (all             0.5
                                              AlixPartners) re: preparation of political donations schedules and presentation
03/21/2023          AS                        Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.                0.5
                                              Searles (all AlixPartners) re: preparing for board presentation related to financial
                                              statement reconstruction
03/21/2023          AS                        Prepare final board slides to send to A&M to distribute materials                         0.2
03/21/2023          AS                        Update political donation presentation for updating counsel                               0.9
03/21/2023          AS                        Review initial findings re: promissory note to insider                                    0.2
03/21/2023          AS                        Working session with A. Searles and M. Birtwell (both AlixPartners) discussing            0.1
                                              political donation related deliverables due to S&C
03/21/2023          AV                        Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.                0.5
                                              Searles (all AlixPartners) re: preparing for board presentation related to financial
                                              statement reconstruction
03/21/2023          BFM                       Working session with B. Mackay, V. Kotharu (AlixPartners) re: preparation of              1.9
                                              summary of funds flow related to Genesis/Bluebird investigation
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Reporting & Presentation of Findings
Code:               20008100P00001.1.11

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/21/2023          BAR                       Attend call with B. Robinson and RM Fuchs (both AlixPartners) to discuss master            0.3
                                              chronology database status
03/21/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, and A. Searles (all              0.5
                                              AlixPartners) re: preparation of political donations schedules and presentation
03/21/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:         0.5
                                              update on political donations investigation
03/21/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, and A. Searles (all              0.5
                                              AlixPartners) re: preparation of political donations schedules and presentation
03/21/2023          GS                        Review analysis on political donations funded by loans                                     0.4
03/21/2023          JCL                       Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.                 0.5
                                              Searles (all AlixPartners) re: preparing for board presentation related to financial
                                              statement reconstruction
03/21/2023          LMG                       Create Alameda charts of Alameda borrow/lend activity on FTX.com spot margin               2.3
                                              market for A&M discussion
03/21/2023          LMG                       Draft bullet points on Alameda borrow/lend activity for discussion with A&M                0.6
03/21/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:         0.5
                                              update on political donations investigation
03/21/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, and A. Searles (all              0.5
                                              AlixPartners) re: preparation of political donations schedules and presentation
03/21/2023          MB                        Continue preparing summary of political donations work performed for update call           1.9
                                              with S&C 3/21/23
03/21/2023          MB                        Prepare a listing of loans that fund additionally tied out political donations             1.1
03/21/2023          MB                        Prepare an updated table of contents related to the 28 provided loan funded political      1.2
                                              donations
03/21/2023          MB                        Prepare write up describing the loan funded political donation process                     0.4
03/21/2023          MB                        Working session with A. Searles and M. Birtwell (both AlixPartners) discussing             0.1
                                              political donation related deliverables due to S&C
03/21/2023          ME                        Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.                 0.5
                                              Searles (all AlixPartners) re: preparing for board presentation related to financial
                                              statement reconstruction
03/21/2023          ME                        Prepare for board meeting presentation                                                     0.3
03/21/2023          ME                        Prepare special investigations update for Board Meeting                                    1.1
03/21/2023          MJ                        Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.                 0.5
                                              Searles (all AlixPartners) re: preparing for board presentation related to financial
                                              statement reconstruction
03/21/2023          MJ                        Prepare for presentation to the Board of Directors on historical financial statement       1.3
                                              recreation process
03/21/2023          QZ                        Draft presentation re: entity of interest financials                                       2.6
03/21/2023          QZ                        Revise presentation re: entity of interest financials                                      1.6
03/21/2023          RMF                       Attend call with B. Robinson and RM Fuchs (both AlixPartners) to discuss master            0.3
                                              chronology database status
03/21/2023          VK                        Revise presentation re: flow of funds in Genesis/Bluebird Capital transaction              2.6
03/21/2023          VK                        Working session with B. Mackay, V. Kotharu (AlixPartners) re: preparation of               1.9
                                              summary of funds flow related to Genesis/Bluebird investigation
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03/22/2023          AS                        Review entity of interest flow of funds presentation to share with other Debtor           0.4
                                              advisors
03/22/2023          AS                        Review presentation of findings for counsel re: Insider payment from FTX Digital          0.3
                                              Markets
03/22/2023          AS                        Review proposed response to counsel re: follow-up questions on political donations        1.1
                                              workstream
03/22/2023          AS                        Review updated entity of interest Tear Sheet to send to counsel                           0.3
03/22/2023          AS                        Working session with A. Searles and M. Birtwell (both AlixPartners) re: preparation       0.2
                                              of political donation presentation talking points for S&C
03/22/2023          AV                        Prepare entity of interest materials for FTI                                              1.4
03/22/2023          BFM                       Working session with B. Mackay, V. Kotharu (AlixPartners) re: finalization of             1.6
                                              summary of funds flow related to Genesis/Bluebird investigation
03/22/2023          GS                        Working session with G. Shapiro, R. Self and M. Birtwell (all AlixPartners) re: loan      0.1
                                              funded political donations support packages
03/22/2023          GS                        Working session with M. Birtwell, G. Shapiro (all AlixPartners) to review findings        1.7
                                              for political donations funded by loans
03/22/2023          MJB                       Attend meeting with M. Brown, Q. Zeng and R. Komendowski (all AlixPartners) to            0.5
                                              discuss entity of interest estate financials
03/22/2023          MB                        Continue preparing summary of knowledge gaps for S&C related to political                 2.4
                                              donations
03/22/2023          MB                        Prepare summary of knowledge gaps for S&C related to political donations                  2.8
03/22/2023          MB                        Working session with A. Searles and M. Birtwell (both AlixPartners) re: preparation       0.2
                                              of political donation presentation talking points for S&C
03/22/2023          MB                        Working session with G. Shapiro, R. Self and M. Birtwell (all AlixPartners) re: loan      0.1
                                              funded political donations support packages
03/22/2023          MB                        Working session with M. Birtwell, G. Shapiro (all AlixPartners) to review findings        1.7
                                              for political donations funded by loans
03/22/2023          QZ                        Attend meeting with M. Brown, Q. Zeng and R. Komendowski (all AlixPartners) to            0.5
                                              discuss entity of interest estate financials
03/22/2023          RS                        Working session with G. Shapiro, R. Self and M. Birtwell (all AlixPartners) re: loan      0.1
                                              funded political donations support packages
03/22/2023          RHK                       Attend meeting with M. Brown, Q. Zeng and R. Komendowski (all AlixPartners) to            0.5
                                              discuss entity of interest estate financials
03/22/2023          RHK                       Revise Genesis' findings summary                                                          1.4
03/22/2023          RHK                       Prepare summary of findings relating to Genesis                                           1.6
03/22/2023          VK                        Revise presentation re: flow of funds in Genesis/Bluebird Capital transaction             1.6
03/22/2023          VK                        Working session with B. Mackay, V. Kotharu (AlixPartners) re: finalization of             1.6
                                              summary of funds flow related to Genesis/Bluebird investigation
03/23/2023          AS                        Working session with G. Shapiro and A. Searles (both AlixPartners) re: review of          0.2
                                              political donations support packages
03/23/2023          DS                        Prepare template for population of master summaries used to support financial             0.7
                                              construction related to special investigations
03/23/2023          DS                        Telephone call with D. Schwartz, V. Kotharu (AlixPartners) re: finalization of            0.6
                                              investigation summaries to aid in financial statement reconstruction efforts
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/23/2023          DS                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) to revise               0.7
                                              summary re: venture capital investment investigation
03/23/2023          GS                        Create support packages for political donations funded by founder loans                  1.8
03/23/2023          GS                        Review support packages for political donations funded by founder loans                  2.7
03/23/2023          GS                        Working session with G. Shapiro and A. Searles (both AlixPartners) re: review of         0.2
                                              political donations support packages
03/23/2023          GS                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re: political        1.3
                                              donation support packages and disbursement verification emails
03/23/2023          MB                        Attend meeting with M. Birtwell and O. Braat (both AlixPartners) re: creating            0.4
                                              support packages for political donations
03/23/2023          MB                        Prepare loan funded political donations general ledger support for S&C's production      1.3
                                              to SDNY
03/23/2023          MB                        Prepare updated table of contents document for the 40 political donation support         1.1
                                              packages
03/23/2023          MB                        Review political donation support packages for consistency and quality                   2.9
03/23/2023          MB                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re: political        1.3
                                              donation support packages and disbursement verification emails
03/23/2023          QB                        Attend meeting with M. Birtwell and O. Braat (both AlixPartners) re: creating            0.4
                                              support packages for political donations
03/23/2023          RS                        Prepare deliverables for entity of interest loan balances                                0.5
03/23/2023          VK                        Finalize summary re: venture capital investment investigation for provision to           0.3
03/23/2023          VK                        Telephone call with D. Schwartz, V. Kotharu (AlixPartners) re: finalization of           0.6
                                              investigation summaries to aid in financial statement reconstruction efforts
03/23/2023          VK                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) to revise               0.7
                                              summary re: venture capital investment investigation
03/24/2023          AS                        Working session with A. Searles and M. Birtwell (both AlixPartners) to review            0.2
                                              summary of findings re: loan funded political donations support packages
03/24/2023          AS                        Working session with D. Schwartz, A. Searles, J. LaBella, M. Jacques (all                0.5
                                              AlixPartners) re: discussion of workstreams and resources for financial statement
                                              construction
03/24/2023          DS                        Working session with D. Schwartz, A. Searles, J. LaBella, M. Jacques (all                0.5
                                              AlixPartners) re: discussion of workstreams and resources for financial statement
                                              construction
03/24/2023          ET                        Working session with L. Teifer and E. Mostoff (both AlixPartners) re: summary of         0.1
                                              bank statement availability for Alameda/FTX Signature Bank accounts
03/24/2023          EM                        Prepare summary of bank statement availability for Alameda/FTX Signature Bank            2.4
                                              accounts
03/24/2023          EM                        Working session with L. Teifer and E. Mostoff (both AlixPartners) re: summary of         0.1
                                              bank statement availability for Alameda/FTX Signature Bank accounts
03/24/2023          GS                        Create support packages for political donations funded by loans for production           0.7
03/24/2023          GS                        Review support packages for political donations funded by loans                          1.2
03/24/2023          JCL                       Working session with D. Schwartz, A. Searles, J. LaBella, M. Jacques (all                0.5
                                              AlixPartners) re: discussion of workstreams and resources for financial statement
                                              construction
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03/24/2023          MB                        Prepare summary of work performed week of 3/20/23 on donations for S&C update              0.3

03/24/2023          MB                        Prepare updated loan funded support package for S&C's review for SDNY                      0.3
                                              production
03/24/2023          MB                        Review political donation support packages for consistency and quality                     2.4
03/24/2023          MB                        Working session with A. Searles and M. Birtwell (both AlixPartners) to review              0.2
                                              summary of findings re: loan funded political donations support packages
03/24/2023          MJ                        Working session with D. Schwartz, A. Searles, J. LaBella, M. Jacques (all                  0.5
                                              AlixPartners) re: discussion of workstreams and resources for financial statement
                                              construction
03/24/2023          VK                        Finalize summaries re: Modulo, venture capital investment, entity of interest              1.6
                                              investigations for collated chron
03/24/2023          VK                        Revise presentation re: downstream flow of funds in acquisition of interest                1.1
03/24/2023          VK                        Revise presentation re: downstream flow of funds in acquisition of interest                1.1
03/27/2023          AS                        Review the latest draft of the master chron status tracker for special investigations      0.3
                                              directed by counsel
03/27/2023          AC                        Incorporate QuickBooks data extracts into political donation support packages              0.4
03/27/2023          AC                        Working session with A. Calhoun and M. Birtwell re: incorporating QuickBooks               0.4
                                              data extracts into political donation support packages
03/27/2023          GS                        Create support packages for production for loan-funded political donations                 0.8
03/27/2023          GS                        Update support packages for production for loan-funded political donations                 0.8
03/27/2023          KV                        Telephone call with K. Vasiliou, V. Kotharu (AlixPartners) re: review of FTX's             0.4
                                              public court filings
03/27/2023          LMG                       Review control failures draft                                                              0.9
03/27/2023          MB                        Review updated loan funded support packages per S&C request for SDNY                       2.1
                                              production
03/27/2023          MB                        Working session with A. Calhoun and M. Birtwell re: incorporating QuickBooks               0.4
                                              data extracts into political donation support packages
03/27/2023          VK                        Telephone call with K. Vasiliou, V. Kotharu (AlixPartners) re: review of FTX's             0.4
                                              public court filings
03/28/2023          AS                        Review political donation deliverables to be sent to counsel                               1.1
03/28/2023          CAS                       Working session with C. Cipione, L. Goldman, D. Schwartz, T. Phelan, V. Kotharu,           1.4
                                              C. Xu, Y. Tong (AlixPartners) re: revision to master summary investigation
                                              database
03/28/2023          CX                        Working session with C. Cipione, L. Goldman, D. Schwartz, T. Phelan, V. Kotharu,           1.4
                                              C. Xu, Y. Tong (AlixPartners) re: revision to master summary investigation
                                              database
03/28/2023          DS                        Working session with C. Cipione, L. Goldman, D. Schwartz, T. Phelan, V. Kotharu,           1.4
                                              C. Xu, Y. Tong (AlixPartners) re: revision to master summary investigation
                                              database
03/28/2023          DS                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) re: master                0.6
                                              summary investigation database
03/28/2023          GS                        Draft summary on tax-exempt status of recipients of political donations                    1.1
03/28/2023          GS                        Review support packages for production for loan-funded political donations                 1.7
03/28/2023          GS                        Update support packages for loan-funded political donations                                1.3
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03/28/2023          GS                        Update support packages for political donations not funded by loans                          1.8
03/28/2023          LMG                       Working session with C. Cipione, L. Goldman, D. Schwartz, T. Phelan, V. Kotharu,             1.4
                                              C. Xu, Y. Tong (AlixPartners) re: revision to master summary investigation
                                              database
03/28/2023          MC                        Working session with M. Cervi and M. Birtwell (both AlixPartners) re: relevant               0.2
                                              disclaimers for production of QuickBooks data for loan funded political donations
03/28/2023          MB                        Prepare QuickBooks data extracts related to loan funded political donations for              1.5
                                              production to SDNY
03/28/2023          MB                        Prepare QuickBooks general ledger data related to non loan funded political                  0.3
                                              donations for SDNY production
03/28/2023          MB                        Prepare summary of findings for S&C political donations update 3/28/23                       0.4
03/28/2023          MB                        Prepare summary of political donations work performed for update call with S&C               2.5
                                              3/28/23
03/28/2023          MB                        Review 40 loan funded political donation support packages for consistency and                2.9
                                              quality
03/28/2023          MB                        Revise 40 loan funded political donation support packages for consistency and                2.2
                                              quality
03/28/2023          MB                        Working session with M. Cervi and M. Birtwell (both AlixPartners) re: relevant               0.2
                                              disclaimers for production of QuickBooks data for loan funded political donations
03/28/2023          TP                        Working session with C. Cipione, L. Goldman, D. Schwartz, T. Phelan, V. Kotharu,             1.4
                                              C. Xu, Y. Tong (AlixPartners) re: revision to master summary investigation
                                              database
03/28/2023          VK                        Working session with C. Cipione, L. Goldman, D. Schwartz, T. Phelan, V. Kotharu,             1.4
                                              C. Xu, Y. Tong (AlixPartners) re: revision to master summary investigation
                                              database
03/28/2023          VK                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) re: master                  0.6
                                              summary investigation database
03/28/2023          YT                        Working session with C. Cipione, L. Goldman, D. Schwartz, T. Phelan, V. Kotharu,             1.4
                                              C. Xu, Y. Tong (AlixPartners) re: revision to master summary investigation
                                              database
03/29/2023          AS                        Review initial draft of the political donations presentation for SDNY                        0.3
03/29/2023          AS                        Review updated responses to send to A&M re: avoidance actions                                0.3
03/29/2023          DS                        Working session with V. Kotharu, S. Thompson, D. Schwartz, R. Self, L. Teifer,               0.7
                                              and E. Mostoff (all AlixPartners) re: revisions to Modulo, venture capital
                                              investment, and North Dimension summaries
03/29/2023          ET                        Working session with V. Kotharu, S. Thompson, D. Schwartz, R. Self, L. Teifer,               0.7
                                              and E. Mostoff (all AlixPartners) re: revisions to Modulo, venture capital
                                              investment, and North Dimension summaries
03/29/2023          EM                        Working session with V. Kotharu, S. Thompson, D. Schwartz, R. Self, L. Teifer,               0.7
                                              and E. Mostoff (all AlixPartners) re: revisions to Modulo, venture capital
                                              investment, and North Dimension summaries
03/29/2023          GS                        Draft summary on political gifts made to candidate                                           2.3
03/29/2023          GS                        Update summary on political gifts made to candidate                                          1.2
03/29/2023          MB                        Prepare summary re: political gifts to politically exposed persons related to effective      2.2
                                              altruism
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03/29/2023          MB                        Prepare summary re: all identified political donations for provision counsel               2.4
03/29/2023          RS                        Working session with V. Kotharu, S. Thompson, D. Schwartz, R. Self, L. Teifer,             0.7
                                              and E. Mostoff (all AlixPartners) re: revisions to Modulo, venture capital
                                              investment, and North Dimension summaries
03/29/2023          ST                        Working session with V. Kotharu, S. Thompson, D. Schwartz, R. Self, L. Teifer,             0.7
                                              and E. Mostoff (all AlixPartners) re: revisions to Modulo, venture capital
                                              investment, and North Dimension summaries
03/29/2023          VK                        Working session with V. Kotharu, S. Thompson, D. Schwartz, R. Self, L. Teifer,             0.7
                                              and E. Mostoff (all AlixPartners) re: revisions to Modulo, venture capital
                                              investment, and North Dimension summaries
03/29/2023          YT                        Create data architecture for creation of master summary database                           2.8
03/30/2023          AS                        Review Political Donation presentation talking points for SDNY meeting and                 0.7
                                              provide comments to counsel
03/30/2023          AS                        Review Political Donation presentation to SDNY and provide comments to counsel             0.8
03/30/2023          AS                        Working session with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, and M.              0.7
                                              Jacques (all AlixPartners) re: review of S&C presentation draft on loan-funded
                                              political donations
03/30/2023          AS                        Working session with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:        0.4
                                              review of S&C presentation draft on loan-funded political donations
03/30/2023          BFM                       Create presentation demonstrating crypto flows off exchange re: liquidation event          1.9
03/30/2023          DS                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) re: required              0.9
                                              updates to master summary investigation database
03/30/2023          DS                        Working session with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, and M.              0.7
                                              Jacques (all AlixPartners) re: review of S&C presentation draft on loan-funded
                                              political donations
03/30/2023          GS                        Develop description of analysis for inclusion in S&C presentation to SDNY for loan-        0.7
                                              funded political donations
03/30/2023          GS                        Review S&C presentation draft for SDNY meeting on political donations funded by            1.9
                                              loans
03/30/2023          GS                        Working session with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, and M.              0.7
                                              Jacques (all AlixPartners) re: review of S&C presentation draft on loan-funded
                                              political donations
03/30/2023          GS                        Working session with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:        0.4
                                              review of S&C presentation draft on loan-funded political donations
03/30/2023          LMG                       Review Alameda borrow/lend draft slides for A&M Alameda deck                               0.8
03/30/2023          LMG                       Review Alameda spot margin borrow/lend results                                             1.2
03/30/2023          MB                        Continue reviewing SDNY April 4th talking points and presentation as provided by           2.6
                                              S&C
03/30/2023          MB                        Prepare listing of all political donations for S&C in response to SDNY request             1.3
03/30/2023          MB                        Review political donations talking points and presentation for April 4th presentation      1.8
                                              to SDNY by S&C
03/30/2023          MB                        Review SDNY April 4th talking points and presentation as provided by S&C                   2.2
03/30/2023          MB                        Working session with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, and M.              0.7
                                              Jacques (all AlixPartners) re: review of S&C presentation draft on loan-funded
                                              political donations
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03/30/2023          MB                        Working session with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:      0.4
                                              review of S&C presentation draft on loan-funded political donations
03/30/2023          MJ                        Working session with G. Shapiro, M. Birtwell, A. Searles, D. Schwartz, and M.            0.7
                                              Jacques (all AlixPartners) re: review of S&C presentation draft on loan-funded
                                              political donations
03/30/2023          VK                        Working session with D. Schwartz, V. Kotharu (both AlixPartners) re: required            0.9
                                              updates to master summary investigation database
03/31/2023          AS                        Review proposed update to counsel re: political donations                                0.3
03/31/2023          BFM                       Prepare materials and draft email to Counsel re: liquidation event crypto tracing        1.2
03/31/2023          BFM                       Update presentation for Counsel re: liquidation event crypto tracing                     2.1
03/31/2023          MB                        Prepare summary of findings for week of 3/27/23 re: political donations for status       0.8
                                              update to S&C
Total Professional Hours                                                                                                             417.8
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room

Re:                                   Reporting & Presentation of Findings
Code:                                 20008100P00001.1.11

PROFESSIONAL                                                                 RATE     HOURS              FEES
Matthew Jacques                                                              $1,280      8.9    $    11,392.00
Charles Cipione                                                              $1,220      2.5          3,050.00
Marc J Brown                                                                 $1,220      0.5            610.00
Matthew Evans                                                                $1,220     10.1         12,322.00
David J White                                                                $1,140      1.6          1,824.00
John C LaBella                                                               $1,115      3.6          4,014.00
Lilly M Goldman                                                              $1,115     14.3         15,944.50
Mark Cervi                                                                   $1,020      5.4          5,508.00
Adam Searles                                                                  $950      34.9         33,155.00
Anne Vanderkamp                                                               $950       8.3          7,885.00
Brent Robison                                                                 $950       0.7            665.00
Justin Sutherland                                                             $950       2.3          2,185.00
Steven Hanzi                                                                  $950       1.1          1,045.00
Travis Phelan                                                                 $950       2.5          2,375.00
Dana Schwartz                                                                 $880      25.9         22,792.00
Kurt H Wessel                                                                 $880      15.9         13,992.00
Ryan H Komendowski                                                            $880       3.5          3,080.00
John L Somerville                                                             $825       1.1            907.50
Bennett F Mackay                                                              $805      18.4         14,812.00
Matthew Birtwell                                                              $805     102.1         82,190.50
Chuanqi Chen                                                                  $605       4.5          2,722.50
Di Liang                                                                      $605       1.1            665.50
Varun Kotharu                                                                 $605      42.4         25,652.00
Elizabeth Teifer                                                              $585       9.5          5,557.50
Katerina Vasiliou                                                             $585       0.4            234.00
Qiulu Zeng                                                                    $585       4.7          2,749.50
Randi Self                                                                    $585       2.6          1,521.00
Rose-Marie Fuchs                                                              $585       3.2          1,872.00
Olivia Braat                                                                  $510       0.8            408.00
Chenxi Xu                                                                     $510       1.4            714.00
Eric Mostoff                                                                  $510      28.3         14,433.00
Griffin Shapiro                                                               $510      46.9         23,919.00
Sean Thompson                                                                 $510       3.4          1,734.00
Yuqing Tong                                                                   $510       4.2          2,142.00
Allyson Calhoun                                                               $510       0.8            408.00
Total Professional Hours and Fees                                                      417.8    $   324,480.50
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John J. Ray III
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125 Broad Street
New York, New York 10004
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Re:                 Retention Applications & Relationship Disclosures
Code:               20008100P00001.1.13

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/01/2023          KAS                       Email from E. Kardos (AlixPartners) re: services to be provided                            0.2
03/07/2023          ESK                       Email to/from K. Sundt and A. Searles (both AlixPartners) re: disclosure matters           0.3
03/07/2023          ESK                       Email with S&C re: disclosure matter                                                       0.2
03/09/2023          KAS                       Email E. Kardos (AlixPartners) re: relationship disclosure matter                          0.3
03/13/2023          KAS                       Respond to B. Filler (AlixPartners) re: FTI disclosure                                     0.1
03/13/2023          KAS                       Internal email to E. Kardos (AlixPartners) re: potential relationship disclosure           0.3
03/14/2023          ESK                       Telephone call with E. Kardos and K. Sundt (both AlixPartners) re: potential               0.5
                                              relationship disclosure
03/14/2023          KAS                       Telephone call with E. Kardos and K. Sundt (both AlixPartners) re: potential               0.5
                                              relationship disclosure
03/14/2023         KAS                        Email A. Kranzley (S&C) re: updated parties in interest list                               0.2
03/17/2023         ESK                        Email with K. Sundt (AlixPartners) re: parties-in-interest list additions                  0.2
03/20/2023         KAS                        Respond to E. Kardos (AlixPartners) re: potential updates to parties in interest list      0.3
03/23/2023         ESK                        Review emails from S&C re: disclosure issues                                               0.3
03/29/2023         KAS                        Correspondence with A. Kranzley (S&C) re: updated parties in interest                      0.2
Total Professional Hours                                                                                                                 3.6
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Re:                                   Retention Applications & Relationship Disclosures
Code:                                 20008100P00001.1.13

PROFESSIONAL                                                               RATE           HOURS               FEES
Elizabeth S Kardos                                                          $800             1.5     $     1,200.00
Kaitlyn A Sundt                                                             $585             2.1           1,228.50
Total Professional Hours and Fees                                                            3.6     $     2,428.50
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Re:                 Fee Statements & Fee Applications
Code:               20008100P00001.1.14

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                    HOURS
03/01/2023          AS                        Review revised January fee application                                                 0.4
03/01/2023          JAB                       Prepare professional fees for January 2023 fee statement                               0.8
03/01/2023          JS                        Telephone call with J. Sutherland, V. Kotharu (AlixPartners) re: professional fee      0.2
                                              app for January 2023
03/01/2023          KAS                       Correspondence with A. Kranzley (S&C) and L. Bonito (AlixPartners) re: draft fee       0.2
                                              application
03/01/2023          MC                        Revise draft January fee statement                                                     0.3
03/01/2023          VK                        Continue to review January fee app for privilege and confidentiality                   1.2
03/01/2023          VK                        Review January professional fees for privilege and confidentiality                     0.6
03/01/2023          VK                        Telephone call with J. Sutherland, V. Kotharu (AlixPartners) re: professional fee      0.2
                                              app for January 2023
03/02/2023          AS                        Review proposed edits re: January Fee Statement                                        0.3
03/02/2023          JAB                       Prepare professional fees for January 2023 fee statement                               0.6
03/02/2023          VK                        Review January Fee app for privilege and confidentiality                               2.1
03/03/2023          ESK                       Review draft form fee application and procedures                                       0.4
03/03/2023          JAB                       Prepare professional fees for January 2023                                             0.6
03/03/2023          JAB                       Update fee statement summary chart                                                     0.2
03/03/2023          KAS                       Review form interim fee application from A. Kranzley (S&C)                             0.2
03/06/2023          JAB                       Prepare schedule/exhibit workbook for January 2023 monthly fee statement               1.4
03/06/2023          KAS                       Respond to A. Kranzley (S&C) email re: fee application                                 0.2
03/06/2023          KAS                       Respond to J. Petiford (S&C) email re: January fee statement                           0.1
03/06/2023          KAS                       Review draft second monthly fee statement                                              0.4
03/06/2023          LMB                       Continue preparing Second Monthly Fee Statement (January 2023) supporting              1.2
                                              schedules an exhibits
03/06/2023          LMB                       Email to A. Kranzley, Alexa J. (S&C) attaching the Second Monthly Fee Statement        0.2
                                              (January 2023) for filing on the Court docket
03/06/2023          LMB                       Finalize Second Monthly Fee Statement (January 2023) supporting schedules an           0.4
                                              exhibits
03/06/2023          ME                        Provide comments to January 2023 monthly fee statement                                 1.3
03/06/2023          ME                        Review additional changes to the monthly fee statement                                 0.5
03/06/2023          VK                        Revise presentation re: summary for Modulo investigation                               1.2
03/07/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                      1.8
03/09/2023          JAB                       Prepare professional fees for February 2023 monthly fee statement                      0.4
03/09/2023          KAS                       Email with E. Kardos, A. Searles, V. Kotharu and L. Bonito (all AlixPartners) re:      0.5
                                              fee examiner
03/09/2023          LMB                       Prepare schedule workbook for First Interim Fee Application                            1.6
03/09/2023          ME                        Review Fee Examiner documents to compare items and billing practices to structure      0.8
03/10/2023          AS                        Attend call with M. Evans (partial attendee), A. Searles, L. Bonito, K. Sundt, D.      0.4
                                              Praga and V. Kotharu (all AlixPartners) re: fee examiner memo
03/10/2023          ESK                       Review email from A. Kranzley (S&C) re: interim fee application form and Fee           0.4
                                              Examiner Memorandum
03/10/2023          KAS                       Attend call with M. Evans (partial attendee), A. Searles, L. Bonito, K. Sundt, D.      0.4
                                              Praga and V. Kotharu (all AlixPartners) re: fee examiner memo
03/10/2023          LMB                       Attend call with M. Evans (partial attendee), A. Searles, L. Bonito, K. Sundt, D.      0.4
                                              Praga and V. Kotharu (all AlixPartners) re: fee examiner memo
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John J. Ray III
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Re:                 Fee Statements & Fee Applications
Code:               20008100P00001.1.14

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/10/2023          LMB                       Review procedures memorandum on interim fee application from the Fee Examiner             0.4
03/10/2023          LMB                       Telephone call with L. Bonito and V. Kotharu (both AlixPartners) re: interim fee          0.3
                                              application and February 2023 monthly fee statement process
03/10/2023          ME                        Attend call with M. Evans (partial attendee), A. Searles, L. Bonito, K. Sundt, D.         0.3
                                              Praga and V. Kotharu (all AlixPartners) re: fee examiner memo
03/10/2023          VK                        Attend call with M. Evans (partial attendee), A. Searles, L. Bonito, K. Sundt, D.         0.4
                                              Praga and V. Kotharu (all AlixPartners) re: fee examiner memo
03/10/2023          VK                        Telephone call with L. Bonito and V. Kotharu (both AlixPartners) re: interim fee          0.3
                                              application and February 2023 monthly fee statement process
03/12/2023          LMB                       Prepare First Interim Fee Application and supporting exhibits                             2.8
03/13/2023          KAS                       Telephone call with K. Sundt and L. Bonito (both AlixPartners) re: first interim fee      0.3
                                              application
03/13/2023          LMB                       Telephone call with K. Sundt and L. Bonito (both AlixPartners) re: first interim fee      0.3
                                              application
03/14/2023          KAS                       Email L. Bonito (AlixPartners) re: fee application                                        0.2
03/14/2023          LMB                       Continue preparation of First Interim Fee Application                                     0.8
03/15/2023          KAS                       Email A. Kranzley and J. Petiford (S&C) re: interim fee application                       0.2
03/15/2023          KAS                       Review draft interim fee application                                                      1.3
03/15/2023          KAS                       Telephone call with K. Sundt, L. Bonito and V. Kotharu (all AlixPartners) re:             0.4
                                              interim fee application and Fee Examiner requirements
03/15/2023          LMB                       Continue preparation of First Interim Fee Application                                     0.5
03/15/2023          LMB                       Continue to prepare professional fees for February 2023 monthly fee statement for         2.2
                                              privilege and sensitive items
03/15/2023          LMB                       Prepare Notice to First Interim Fee Application                                           0.3
03/15/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement for privilege and       3.2
                                              sensitive items
03/15/2023          LMB                       Review Guidelines for Interim Fee Application provided by Fee Examiner                    0.3
03/15/2023          LMB                       Telephone call with K. Sundt, L. Bonito and V. Kotharu (all AlixPartners) re:             0.4
                                              interim fee application and Fee Examiner requirements
03/15/2023          VK                        Telephone call with K. Sundt, L. Bonito and V. Kotharu (all AlixPartners) re:             0.4
                                              interim fee application and Fee Examiner requirements
03/16/2023          AS                        Review updated draft of First Interim Fee Application                                     0.4
03/16/2023          KAS                       Correspondence with M. Evans, V. Kotharu, A. Searles, L. Bonito (all                      0.3
                                              AlixPartners) re: finalizing interim fee application
03/16/2023          KAS                       Email V. Kotharu (AlixPartners) re: details associated with interim fee application       0.2
03/16/2023          KAS                       Review changes to draft fee application from J. Petiford (S&C)                            0.3
03/16/2023          LMB                       Email to A. Kranzley, Alexa J. (S&C) attaching the First Interim Fee Application          0.2
                                              for filing on the Court docket
03/16/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement for privilege and       2.3
                                              sensitive items
03/16/2023          LMB                       Revise First Interim Fee Application, supporting schedules and exhibits                   0.8
03/16/2023          ME                        Review of Fee Application documents for submission                                        0.8
03/17/2023          ESK                       Review email re: fee application                                                          0.2
03/17/2023          ESK                       Review First Interim Fee Application                                                      0.4
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John J. Ray III
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125 Broad Street
New York, New York 10004
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Re:                 Fee Statements & Fee Applications
Code:               20008100P00001.1.14

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/17/2023          KAS                       Telephone call with L. Bonito, K. Sundt (both AlixPartners) re: First Interim Fee       0.2
                                              Application
03/17/2023          LMB                       Continue to prepare professional fees for February 2023 monthly fee statement           1.8
03/17/2023          LMB                       Finalize First Interim Fee Application                                                  0.4
03/17/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                       3.0
03/17/2023          LMB                       Review comments provided by S&C re: First Interim Fee Application                       0.3
03/17/2023          LMB                       Telephone call with L. Bonito, K. Sundt (both AlixPartners) re: First Interim Fee       0.2
                                              Application
03/17/2023          MC                        Revise to draft first quarterly fee application                                         0.2
03/18/2023          LCV                       Prepare professional fees for February 2023 monthly fee application                     2.9
03/18/2023          LCV                       Review professional fees for February 2023 monthly fee application                      1.6
03/19/2023          LMB                       Continue to prepare professional fees for February 2023 monthly fee statement           2.5
03/19/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                       3.0
03/20/2023          LCV                       Prepare professional fees for February 2023 monthly/interim fee application             3.1
03/20/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                       1.4
03/21/2023          KAS                       Respond to M. Evans (AlixPartners) re: fee examiner meeting                             0.1
03/22/2023          LMB                       Email to K. Sadler, Fee Examiner attaching time and expenses for first interim fee      0.2
                                              period
03/22/2023          VK                        Continue to review professional fees for February 2023 (5th to 9th) monthly fee         1.1
                                              statement for privilege and other sensitive items
03/22/2023          VK                        Review professional fees for February 2023 (1st to 4th) monthly fee statement for       2.8
                                              privilege and other sensitive items
03/22/2023          VK                        Review professional fees for February 2023 (5th to 9th) monthly fee statement for       2.4
                                              privilege and other sensitive items
03/23/2023          VK                        Continue review professional fees for February 2023 (15th to 18th) monthly fee          2.6
                                              statement for privilege and other sensitive items
03/23/2023          VK                        Continue review professional fees for February 2023 (19th to 23rd) monthly fee          2.8
                                              statement for privilege and other sensitive items
03/23/2023          VK                        Review professional fees for February 2023 (10th to 14th) monthly fee statement         2.7
                                              for privilege and other sensitive items
03/24/2023          VK                        Continue review professional fees for February 2023 (24th to 26th) monthly fee          1.8
                                              statement for privilege and other sensitive items
03/24/2023          VK                        Draft email to Nardello/S&C re: explanation of funds flows in acquisition of            0.6
03/25/2023          VK                        Review professional fees for February 2023 (27th to 28th) monthly fee statement         1.8
                                              for privilege and other sensitive items
03/27/2023          LMB                       Begin preparation of schedule/exhibit workbook for February 2023 Monthly Fee            1.5
                                              Statement
03/27/2023          LMB                       Meeting with V. Kotharu and L. Bonito (both AlixPartners) re: February 2023             0.5
                                              monthly fee statement and supporting exhibits
03/27/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                       1.5
03/27/2023          VK                        Meeting with V. Kotharu and L. Bonito (both AlixPartners) re: February 2023             0.2
                                              monthly fee statement and supporting exhibits
03/27/2023          VK                        Revise review of professional fees for February 2023 (1st to 10th) monthly fee          2.8
                                              statement for privilege and other sensitive items
03/28/2023          ESK                       Review Certificate of No Objection to the January 2023 Monthly Fee Application          0.2
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Re:                 Fee Statements & Fee Applications
Code:               20008100P00001.1.14

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                    HOURS
03/28/2023          KAS                       Review draft Certificate of No Objection for January 2023 monthly fee application      0.2
03/28/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                      3.2
03/28/2023          ME                        Review docket and search email to confirm no objections received for fee               0.2
                                              applications before deadline
03/28/2023          VK                        Revise review of professional fees for February 2023 (15th to 18th) monthly fee        2.1
                                              statement for privilege and other sensitive items
03/29/2023          JAB                       Analyze out-of-pocket expenses for Third Monthly Fee Statement (February 2023)         0.3
03/29/2023          LMB                       Continue to prepare professional fees for February 2023 monthly fee statement          2.0
03/29/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                      3.0
03/30/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                      2.7
03/31/2023          LMB                       Meeting with V. Kotharu and L. Bonito (both AlixPartners) re: February 2023            0.3
                                              monthly fee statement and supporting exhibits
03/31/2023          LMB                       Prepare draft Fourth Monthly Fee Application                                           1.3
03/31/2023          LMB                       Prepare exhibit workbook for February 2023 Monthly Fee Statement                       2.4
03/31/2023          LMB                       Prepare professional fees for February 2023 monthly fee statement                      1.5
03/31/2023          LMB                       Update fee application summary chart                                                   0.2
03/31/2023          VK                        Meeting with V. Kotharu and L. Bonito (both AlixPartners) re: February 2023            0.3
                                              monthly fee statement and supporting exhibits
Total Professional Hours                                                                                                           109.0
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Re:                                   Fee Statements & Fee Applications
Code:                                 20008100P00001.1.14

PROFESSIONAL                                                              RATE      HOURS                FEES
Matthew Evans                                                             $1,220       3.9     $      4,758.00
Elizabeth S Kardos                                                         $800        1.6            1,280.00
Mark Cervi                                                                $1,020       0.5              510.00
Adam Searles                                                               $950        1.5            1,425.00
Justin Sutherland                                                          $950        0.2              190.00
Kaitlyn A Sundt                                                            $585        5.7            3,334.50
Laurie Capen Verry                                                         $540        7.6            4,104.00
Varun Kotharu                                                              $605       30.4           18,392.00
Lisa Marie Bonito                                                          $500       53.3           26,650.00
Jennifer A Bowes                                                           $485        4.3            2,085.50
Total Professional Hours and Fees                                                    109.0     $     62,729.00
                  Case 22-11068-JTD                   Doc 1397-2              Filed 05/01/23             Page 181 of 330




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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                        HOURS
03/01/2023          AW                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                      1.0
                                              AlixPartners) re: QuickBooks GL data import status
03/01/2023          AW                        Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.              0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          AW                        Data architecture redesign relating the journals reconstruction to facilitate delta          2.1
                                              reporting
03/01/2023          AW                        Analyze division-level differences between backend and frontend .COM balance                 2.3
                                              sheets
03/01/2023          AW                        Analyze division-level differences between backend and frontend .US balance                  1.2
                                              sheets
03/01/2023          AW                        Analyze source of missing division information in the Transfer table and                     1.4
                                              Transaction List report
03/01/2023          CAS                       Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.              0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          CAS                       Design data architecture related to the QB's GL information                                  2.4
03/01/2023          CAS                       Review the implementation of the consolidated financial statement system                     3.2
03/01/2023          CC                        Attend meeting with C. Chen and E. Mostoff (both AlixPartners) re: cash and                  0.6
                                              custodial cash database
03/01/2023          CC                        Attend meeting with C. Chen and E. Mostoff (both AlixPartners) re: custodial cash            0.5
                                              accounts and mapping of contra accounts
03/01/2023          CC                        Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.               0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          CC                        Compile historical balances for custodial cash's contra accounts                             2.1
03/01/2023          CC                        Compile historical cash balance for Blockfolio                                               1.9
03/01/2023          CC                        Compile historical cash balance for FTX Exchange FZE                                         0.6
03/01/2023          CC                        Compile historical cash balance for FTX Express Pty LTD                                      1.5
03/01/2023          DS                        Attend meeting with J. LaBella and D. Schwartz (both AlixPartners) re: updates to            0.4
                                              bank statement/ bank account tracking process
03/01/2023          DS                        Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.              0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          DW                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                      1.0
                                              AlixPartners) re: QuickBooks GL data import status
03/01/2023          DW                        Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.              0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          DW                        Investigate the root cause of the entity level discrepancy in the reconstructed balance      2.6
                                              sheets
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/01/2023          DW                        Review end to end code structure for financial statement reconstruction                  1.5
03/01/2023          DL                        Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.          0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          DL                        Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.           0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          DL                        Prepare listing of related party for debtors                                             2.4
03/01/2023          DL                        Continue to prepare listing of related party for debtors                                 1.2
03/01/2023          DL                        Review and consolidate 11/30 balance sheets shared by A&M                                3.2
03/01/2023          EM                        Attend meeting with C. Chen and E. Mostoff (both AlixPartners) re: cash and              0.6
                                              custodial cash database
03/01/2023          EM                        Attend meeting with C. Chen and E. Mostoff (both AlixPartners) re: custodial cash        0.5
                                              accounts and mapping of contra accounts
03/01/2023          EM                        Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.          0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          EM                        Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.           0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          EM                        Update bank account balance list for Blockfolio                                          0.8
03/01/2023          EM                        Update bank account balance list for FTX Digital Markets                                 0.9
03/01/2023          EM                        Update bank account balance list for Hawaii Digital Assets                               0.9
03/01/2023          EM                        Update bank account balance list for West Realm Shires Inc                               0.9
03/01/2023          EM                        Update cash reconstruction workplan and progress summary                                 0.3
03/01/2023          JCL                       Analysis and comparison of schedules supporting crypto holdings and customer             1.6
                                              balances to balance sheet accounts
03/01/2023          JCL                       Attend meeting with J. LaBella and D. Schwartz (both AlixPartners) re: updates to        0.4
                                              bank statement/ bank account tracking process
03/01/2023          JCL                       Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.          0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          JCL                       Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.           0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          JCL                       Working session with J. LaBella and K Wessel (both AlixPartners) re: primary             0.8
                                              sources of support from QuickBooks for major account balances of legal entities
03/01/2023          JCL                       Review analysis of inter-company journal entry transactions                              0.8
03/01/2023          JCL                       Review updated cash account to bank statement review for QB entities and tracking        0.8
                                              of accounts covered
03/01/2023          JCL                       Review updated historical entity matrix for coverage of non-QB entities                  0.6
03/01/2023          JCL                       Update workplan for inter-company receivable and payable matrix and work steps           0.7
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/01/2023          JCL                       Working session with J. LaBella and J. Somerville (both AlixPartners) re:                0.5
                                              intercompany and cash workstreams
03/01/2023          JLS                       Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.          0.4
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          JLS                       Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.           0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          JLS                       Attend meeting with J. Somerville and C. Wong (both AlixPartners) re:                    0.6
                                              intercompany balance approach
03/01/2023          JLS                       Draft proposed verification process for intercompany balances                            0.4
03/01/2023          JLS                       Prepare criteria to verify intercompany journal entries                                  0.4
03/01/2023          JLS                       Prepare workplan for balance sheet cash account verification workstream                  0.3
03/01/2023          JLS                       Prepare workplan for balance sheet intercompany and related party account                0.7
                                              verification workstream
03/01/2023          JLS                       Update workplan re related party balance verification Added additional steps re          0.7
                                              accounting information quality
03/01/2023          JLS                       Working session with J. LaBella and J. Somerville (both AlixPartners) re:                0.5
                                              intercompany and cash workstreams
03/01/2023          JKL                       Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                  1.0
                                              AlixPartners) re: QuickBooks GL data import status
03/01/2023          JKL                       Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.          0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          JKL                       Attend meeting with J. Liao and V. Asher (both AlixPartners) re: QuickBooks              0.5
                                              master tables update to align with reporting schema
03/01/2023          JKL                       Prepare the update of the live QuickBooks data source used for reconstructing            3.3
                                              balance sheet
03/01/2023          JKL                       Review the SQL script for delta reporting of the 16 key QuickBooks backend tables        2.7

03/01/2023          JKL                       Summarize the version of QuickBooks backend data in the master tables and the            0.8
                                              live tables for each company and dataset to identify potential inconsistencies
03/01/2023          KHW                       Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.           0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          KHW                       Working session with J. LaBella and K Wessel (both AlixPartners) re: primary             0.8
                                              sources of support from QuickBooks for major account balances of legal entities
03/01/2023          KHW                       Review AlixPartners financial statement reconstruction work plan re: approach and        0.7
                                              action items in progress for building historical financial statements
03/01/2023          KHW                       Review AlixPartners financial statement reconstruction work plan to determine next       0.4
                                              steps for analysis of cash balances
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03/01/2023          MC                        Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.          0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          MC                        Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.           0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          MC                        Review entity relationships identified through existing summaries to support SOFA        0.2
                                              13.25
03/01/2023          MC                        Review November 30, 2022 balance sheets                                                  0.7
03/01/2023          MC                        Review updated entity relationships identified through existing Chrons to support        0.4
                                              SOFA 13.25
03/01/2023          SYW                       Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.           0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          SYW                       Attend meeting with J. Somerville and C. Wong (both AlixPartners) re:                    0.6
                                              intercompany balance approach
03/01/2023          SYW                       Analyze intercompany journal entries related to LedgerX                                  1.1
03/01/2023          SYW                       Analyze intercompany journal entries related to Paper Bird                               1.0
03/01/2023          SYW                       Analyze intercompany journal entries related to WRSS                                     1.4
03/01/2023          SYW                       Perform period over period analysis of Q2'22 WRSS intercompany transactions              2.9
03/01/2023          TY                        Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.          0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          TY                        Attend meeting with J. LaBella, F. Liang, M. Cervi, J. Somerville, C. Chen, C.           0.6
                                              Wong, T. Yamada, K. Wessel, and E. Mostoff (all AlixPartners) re: progress on
                                              cash, intercompany transaction, and digital asset balance reconstruction
03/01/2023          TY                        Identify digital asset related accounts in the chart of accounts                         0.9
03/01/2023          TY                        Summarize debtor/non-debtor relationships from review of existing special                0.7
                                              investigation workstreams
03/01/2023          TY                        Identify debtor/non-debtor relationships from existing special investigation             2.7
                                              workstreams
03/01/2023          TY                        Revise account numbers of the chart of accounts to generate uniform financial            2.4
                                              statements across entities
03/01/2023          TP                        Attend meeting with J. LaBella, C. Cipione, D. Schwartz, T. Yamada, J. Liao, E.          0.5
                                              Mostoff, D. Waterfield, A. Walker, M. Cervi, F. Liang, T. Phelan, and J. Somerville
                                              (partial) (all AlixPartners) re: update to balance sheet department mapping

03/01/2023          TP                        Conducted analysis on A&M's cash financial data in support of the investigations         1.8
                                              team re: entity of interest potential preference claim
03/01/2023          TP                        Conducted analysis on QB's financial data in support of the investigations team re:      2.4
                                              entity of interest potential preference claim
03/01/2023          TP                        Conducted QC review on QB processing output re: latest journal entry recreations         0.8
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/01/2023          VA                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                  1.0
                                              AlixPartners) re: QuickBooks GL data import status
03/01/2023          VA                        Attend meeting with J. Liao and V. Asher (both AlixPartners) re: QuickBooks              0.5
                                              master tables update to align with reporting schema
03/01/2023          VA                        Create the SQL scripts to clear the QuickBooks reporting tables and transfer data        2.8
                                              for the latest snapshot from the master set of tables to the reporting tables
03/02/2023          AS                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          AW                        Application of workaround to address missing division information in the .com            2.8
                                              transfer table
03/02/2023          AW                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                  1.0
                                              AlixPartners) re: solution to issues with missing legal entity information in the
                                              QuickBooks backend data
03/02/2023          AW                        Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,         0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          AW                        Investigate division-level differences between backend and frontend balance sheets       2.6
03/02/2023          AW                        Continue investigation of division-level differences between backend and frontend        0.6
                                              balance sheets
03/02/2023          AW                        Re-engineering of balance sheet creation code to handle department-related updates       1.6
03/02/2023          AW                        Re-engineering of journals reconstruction code to handle department-related updates      2.7

03/02/2023          CAS                       Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,         0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          CAS                       Design data architecture related to the QB's GL information                              1.9
03/02/2023          CAS                       Review the implementation of the consolidated financial statement system                 2.3
03/02/2023          CC                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          CC                        Compile historical cash balance for entity of interest                                   2.1
03/02/2023          CC                        Compile historical cash balance for FTX Australia Pty Ltd                                2.1
03/02/2023          CC                        Investigate cash balance variances between general ledger and bank statement for         1.8
                                              FTX Trading
03/02/2023          CC                        Working session with C. Chen, K. Wessel, and E. Mostoff (all AlixPartners) re:           1.0
                                              reconstruction of historical cash balances
03/02/2023          CC                        Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.           0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          DS                        Attend meeting with K. Wessel and D. Schwartz (all AlixPartners) re: financial           0.8
                                              reconstruction workstream including digital asset account, bank account tracking,
                                              process for coordinating with A&M re: cash database
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John J. Ray III
Chief Executive Officer
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Re:                 Financial Statement Reconstruction
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/02/2023          DS                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.          0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          DW                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                 1.0
                                              AlixPartners) re: solution to issues with missing legal entity information in the
                                              QuickBooks backend data
03/02/2023          DW                        Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,        0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          DW                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.          0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          DW                        Compile a list of known limitations and required workarounds of sourcing data           0.6
                                              from QuickBooks using the ODBC connection
03/02/2023          DW                        Write code to perform an audit of all records from source QuickBooks tables into        1.3
                                              the reconstructed journal table
03/02/2023          DL                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.          0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          DL                        Attend working session with K. Wessel, F. Liang (both AlixPartners) re: status          0.5
                                              update and next steps around digital asset balance reconstruction
03/02/2023          DL                        Identify a list of non-debtor entities controlled by debtors                            1.8
03/02/2023          DL                        Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.          0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          EM                        Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,        0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          EM                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.          0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          EM                        Update bank account balance list for Cottonwood Grove                                   0.7
03/02/2023          EM                        Working session with C. Chen, K. Wessel, and E. Mostoff (all AlixPartners) re:          1.0
                                              reconstruction of historical cash balances
03/02/2023          EM                        Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.          0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          GS                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.          0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
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Re:                 Financial Statement Reconstruction
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03/02/2023          JCL                       Review Alameda Balance Sheet data file with crypto holdings and loan liabilities as      2.4
                                              of November 2022 and track to sources for supporting data
03/02/2023          JCL                       Review analysis of intercompany account matrix                                           0.8
03/02/2023          JCL                       Update workplan for cash, digital assets, investments and loans to reflect lack of       1.3
                                              QB data
03/02/2023          JCL                       Review inconsistencies between GL data from QB's and bank records                        1.0
03/02/2023          JCL                       Review updated QB database output                                                        0.6
03/02/2023          JCL                       Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.           0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          JCL                       Analyze solutions for breaking out division accounts in Alameda and WRSS                 0.5
03/02/2023          JLS                       Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,         0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          JLS                       Attend meeting with C. Wong and J. Somerville (both AlixPartners) re:                    0.3
                                              intercompany balance approach for WRSS Q2'22
03/02/2023          JLS                       Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          JLS                       Review WRSS, Q2-22 intercompany journal entries on related accounts                      0.6
03/02/2023          JLS                       Prepare planning materials for 'Related Party' balance sheet account verification        1.3
03/02/2023          JLS                       Prepare summary of WRSS intercompany journal entries                                     1.3
03/02/2023          JLS                       Prepare summary of 'Investment in Subsidiary' transaction data for consolidated          0.8
                                              FTX group
03/02/2023          JLS                       Review narrations to WRSS Q2-22 intercompany journal entries to group similar            1.1
                                              transactions
03/02/2023          JLS                       Update historical financial statement reconstruction workplan                            0.3
03/02/2023          JLS                       Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.           0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          JKL                       Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                  1.0
                                              AlixPartners) re: solution to issues with missing legal entity information in the
                                              QuickBooks backend data
03/02/2023          JKL                       Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,         0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          JKL                       Update the master tables for 144 QuickBooks backend datasets to include additional       2.5
                                              information and align data format with the live data source used for reconstructing
                                              balance sheet
03/02/2023          JKL                       Update the Python script for automated QuickBooks frontend balance sheet                 3.2
                                              extraction to include extraction for profit and loss reports
03/02/2023          KHW                       Attend meeting with K. Wessel and D. Schwartz (all AlixPartners) re: financial           0.8
                                              reconstruction workstream including digital asset account, bank account tracking,
                                              process for coordinating with A&M re: cash database
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03/02/2023          KHW                       Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          KHW                       Attend working session with K. Wessel, F. Liang (both AlixPartners) re: status           0.5
                                              update and next steps around digital asset balance reconstruction
03/02/2023          KHW                       Review internal AlixPartners correspondence re: general ledger data re: insights to      0.2
                                              ongoing cash balance analyses
03/02/2023          KHW                       Working session with C. Chen, K. Wessel, and E. Mostoff (all AlixPartners) re:           1.0
                                              reconstruction of historical cash balances
03/02/2023          KHW                       Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.           0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          MC                        Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,         0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          MC                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          MC                        Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.           0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          MB                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          SYW                       Attend meeting with C. Wong and J. Somerville (both AlixPartners) re:                    0.3
                                              intercompany balance approach for WRSS Q2'22
03/02/2023          SYW                       Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          SYW                       Perform period over period analysis of Q2'22 WRSS intercompany transactions              1.1
03/02/2023          SYW                       Perform period over period analysis of Q2'22 WRSS intercompany transactions              0.8
03/02/2023          SYW                       Perform period over period analysis of Q2'22 WRSS intercompany transactions              0.9
03/02/2023          SYW                       Perform period over period analysis of Q2'22 WRSS intercompany transactions              1.3
03/02/2023          SYW                       Reconcile related party balances per A&M deck to QB data                                 2.2
03/02/2023          SYW                       Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.           0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          SRH                       Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,         0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/02/2023          SRH                       Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          TY                        Add additional debtor/non-debtor relationships from the reviewed acquisition             1.3
                                              agreement
03/02/2023          TY                        Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,         0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          TY                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          TY                        Combine debtor/non-debtor relationship list based on accounting record, special          0.9
                                              investigation work product, and organizational chart
03/02/2023          TY                        Eliminate duplicates from combined debtor/non-debtor relationship list based on          2.8
                                              accounting record, special investigation work product, and organizational chart
03/02/2023          TY                        Identify debtor/non-debtor relationship based on FTX group organizational structure      2.9
03/02/2023          TY                        Working session with J. LaBella, M. Cervi, J. Somerville, C. Chen, C. Wong, T.           0.8
                                              Yamada, K. Wessel, E. Mostoff, and F. Liang (all AlixPartners) re: methodology for
                                              evaluating and reconstructing intercompany transaction balances
03/02/2023          TP                        Attend meeting with C. Cipione, E. Mostoff, T. Yamada, D. Waterfield, A. Walker,         0.3
                                              J. Liao, S. Hanzi, T. Phelan, M. Cervi, and J. Somerville (all AlixPartners) re:
                                              update to divisional/legal entity mapping structure in balance sheet data
03/02/2023          TP                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
03/02/2023          TP                        Conduct analysis on A&M's cash financial data in support of the investigations           1.8
                                              team re: entity of interest potential preference claim
03/02/2023          TP                        Conduct analysis on QB's financial data in support of the investigations team re:        2.3
                                              entity of interest potential preference claim
03/02/2023          TP                        Conduct QC review on QB processing output re: update to balance sheet                    2.0
                                              department mapping
03/02/2023          VA                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                  1.0
                                              AlixPartners) re: solution to issues with missing legal entity information in the
                                              QuickBooks backend data
03/02/2023          VA                        Validate consolidated Batch 1 and Batch 2 QuickBooks data downloaded to date in          2.8
                                              the Master schemas along with meta-data
03/02/2023          VA                        Analyze QuickBooks functionality to determine limitations of data migration              2.9
03/02/2023          VK                        Attend meeting with T. Yamada, K. Wessel, M. Birtwell, A. Searles, C. Wong, V.           0.4
                                              Kotharu, C. Chen, M. Cervi, E. Mostoff, J. Somerville, D. Schwartz, S. Hanzi, G.
                                              Shapiro, F. Liang , T. Phelan, and D. Waterfield (all AlixPartners) re: update to
                                              divisional/legal entity mapping structure within QuickBooks journal entry data
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John J. Ray III
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/03/2023          AW                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                   0.3
                                              AlixPartners) re: validation and reconciliation of reconstructed balance sheets with
                                              legal entity information
03/03/2023          AW                        Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.           0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          AW                        Division-level reconciliation of backend balance sheet to frontend balance sheet for      1.3
                                              Alameda Research LLC
03/03/2023          AW                        Division-level reconciliation of backend balance sheet to frontend balance sheet for      2.1
                                              WRSFS
03/03/2023          AW                        Investigation of differences in the division-level reconciliation of backend balance      3.4
                                              sheet to frontend balance sheet for WRSFS
03/03/2023          AW                        Investigation of differences in the instance-level reconciliation of backend balance      1.8
                                              sheet to frontend balance sheet for multiple instances
03/03/2023          CAS                       Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.           0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          CAS                       Design data architecture related to the QB's GL information                               2.1
03/03/2023          CAS                       Review the implementation of the consolidated financial statement system                  2.6
03/03/2023          CC                        Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.          0.5
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          CC                        Compile a listing of bank statements received since February 28, 2023                     1.7
03/03/2023          CC                        Compile historical cash balance for Alameda Research KK                                   0.8
03/03/2023          CC                        Compile historical cash balance for Clifton Bay Investments LLC                           0.7
03/03/2023          CC                        Compile historical cash balance for FTX Crypto Services LTD                               1.7
03/03/2023          CC                        Compile historical cash balance for FTX EU LTD                                            2.2
03/03/2023          DW                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                   0.3
                                              AlixPartners) re: validation and reconciliation of reconstructed balance sheets with
                                              legal entity information
03/03/2023          DW                        Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.           0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          DW                        Update the list of known limitations and required workarounds of sourcing data            0.2
                                              from QuickBooks using the ODBC connection
03/03/2023          DW                        Write code to perform an audit of all records from source QuickBooks tables into          2.2
                                              the reconstructed journal table
03/03/2023          DW                        Continue to write code to perform an audit of all records from source QuickBooks          1.2
                                              tables into the reconstructed journal table
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                         HOURS
03/03/2023          DL                        Attend meeting with J. Labella, M. Cervi, J. Somerville, F. Liang, C. Wong, K.               0.7
                                              Wessel (all AlixPartners) to discuss approach relating to related party activity, loans
                                              and investments
03/03/2023          DL                        Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.              0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          DL                        Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.             0.5
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          DL                        Review digital assets items on Alameda and prepare matrix                                    2.8
03/03/2023          DL                        Telephone call with F. Liang and T. Yamada (both AlixPartners) to discuss digital            0.2
                                              asset investments
03/03/2023          EM                        Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.              0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          EM                        Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.             0.5
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          EM                        Update bank account balance list for Cottonwood Grove                                        0.8
03/03/2023          JCL                       Attend continuation of meeting J. LaBella, M. Cervi, K. Wessel to coordinate and             0.6
                                              prioritize workstreams associated with accounting for inter-company, related party,
                                              loans, investments and crypto holdings
03/03/2023          JCL                       Attend meeting with J. LaBella, M. Cervi, K. Wessel to coordinate and prioritize             1.9
                                              workstreams associated with accounting for inter-company, related party, loans,
                                              investments and crypto holdings
03/03/2023          JCL                       Attend meeting with J. Labella, M. Cervi, J. Somerville, F. Liang, C. Wong, K.               0.7
                                              Wessel (all AlixPartners) to discuss approach relating to related party activity, loans
                                              and investments
03/03/2023          JCL                       Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.             0.3
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          JCL                       Review work steps for alternative approach to intercompany AP and AR balances to             0.7
                                              address missing transactions
03/03/2023          JLS                       Attend meeting with J. Labella, M. Cervi, J. Somerville, F. Liang, C. Wong, K.               0.7
                                              Wessel (all AlixPartners) to discuss approach relating to related party activity, loans
                                              and investments
03/03/2023          JLS                       Attend meeting with J. Somerville and C. Wong (both AlixPartners) re: related                0.3
                                              party matrix approach
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                         HOURS
03/03/2023          JLS                       Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.              0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          JLS                       Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.             0.5
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          JLS                       Audit data extracted from QuickBooks back-end                                                1.2
03/03/2023          JLS                       Extract related party loan journal entries from consolidated GL dataset                      0.8
03/03/2023          JLS                       Prepare draft of intercompany matrix model                                                   0.7
03/03/2023          JLS                       Prepare template discussion materials for counsel re: progress on historical financial       0.9
                                              statement reconstruction
03/03/2023          JLS                       Review UCC presentation materials for context Reconciled internal analyses against           0.7
                                              same
03/03/2023          JKL                       Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                      0.3
                                              AlixPartners) re: validation and reconciliation of reconstructed balance sheets with
                                              legal entity information
03/03/2023          JKL                       Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.              0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          JKL                       Review the discrepancies in the new version of reconstructed QuickBooks balance              2.1
                                              sheet to pinpoint any issues in data quality or logic by investigating inconsistent
                                              accounts and transactions
03/03/2023          JKL                       Continue review of the discrepancies in the new version of reconstructed                     1.4
                                              QuickBooks balance sheet to pinpoint any issues in data quality or logic by
                                              investigating inconsistent accounts and transactions
03/03/2023          JKL                       Review the new version of reconstructed QuickBooks balance sheet with updated                2.7
                                              legal entity information to ensure the values are consistent with the previous
                                              reconciled version
03/03/2023          JKL                       Summarize the differences between the new version of reconstructed QuickBooks                1.5
                                              balance sheet and the previous reconciled version
03/03/2023          KHW                       Attend continuation of meeting J. LaBella, M. Cervi, K. Wessel to coordinate and             0.6
                                              prioritize workstreams associated with accounting for inter-company, related party,
                                              loans, investments and crypto holdings
03/03/2023          KHW                       Attend meeting with J. LaBella, M. Cervi, K. Wessel (all AlixPartners) to                    1.9
                                              coordinate and prioritize workstreams associated with accounting for inter-
                                              company, related party, loans, investments and crypto holdings
03/03/2023          KHW                       Attend meeting with J. Labella, M. Cervi, J. Somerville, F. Liang, C. Wong, K.               0.7
                                              Wessel (all AlixPartners) to discuss approach relating to related party activity, loans
                                              and investments
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                        HOURS
03/03/2023          KHW                       Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.             0.5
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          KHW                       Review FTX Exchange Liabilities Update to UCC to extract information relevant to             0.5
                                              digital asset balances as part of historical financial statement reconstruction
03/03/2023          KHW                       Review Initial Report on Shortfalls at FTX Exchanges to extract information                  0.3
                                              relevant to historical financial statement reconstruction efforts
03/03/2023          MC                        Attend meeting with J. LaBella, M. Cervi, K. Wessel (all AlixPartners) to                    1.9
                                              coordinate and prioritize workstreams associated with accounting for inter-
                                              company, related party, loans, investments and crypto holdings
03/03/2023          MC                        Attend meeting with J. Labella, M. Cervi, J. Somerville, F. Liang, C. Wong, K.               0.7
                                              Wessel (all AlixPartners) to discuss approach relating to related party activity, loans
                                              and investments
03/03/2023          MC                        Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.             0.4
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          MC                        Attend continuation of meeting J. LaBella, M. Cervi, K. Wessel to coordinate and             0.6
                                              prioritize workstreams associated with accounting for inter-company, related party,
                                              loans, investments and crypto holdings
03/03/2023          MC                        Review revised legal entity balance sheet's produced from back end of QuickBooks             0.5
03/03/2023          SYW                       Attend meeting with J. Labella, M. Cervi, J. Somerville, F. Liang, C. Wong, K.               0.7
                                              Wessel (all AlixPartners) to discuss approach relating to related party activity, loans
                                              and investments
03/03/2023          SYW                       Attend meeting with J. Somerville and C. Wong (both AlixPartners) re: related                0.3
                                              party matrix approach
03/03/2023          SYW                       Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.             0.5
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          SYW                       Perform period over period analysis of intercompany transactions for WRSS                    0.7
03/03/2023          SYW                       Create related party and intercompany receivables and payables matrix for all                3.0
                                              DOTCOM, Alameda, WRS entities
03/03/2023          SRH                       Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.              0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          TY                        Add additional debtor/non-debtor relationships from the reviewed acquisition                 0.3
                                              agreement
03/03/2023          TY                        Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.              0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                     HOURS
03/03/2023          TY                        Attend meeting with T. Yamada, E. Mostoff, K. Wessel, J. Somerville, C. Wong, C.          0.5
                                              Chen, F. Liang (full attendees), M. Cervi, and J. LaBella (partial attendees) re:
                                              status update around intercompany transactions, cash, and digital asset balance
                                              reconstruction
03/03/2023          TY                        Compare back-end QuickBooks balance sheet data to live front-end QuickBooks               1.2
                                              data
03/03/2023          TY                        Format back-end QuickBooks data into uniform balance sheet across QuickBooks              2.0
                                              instances
03/03/2023          TY                        Identify digital asset related accounts in the chart of accounts                          2.4
03/03/2023          TY                        Telephone call with F. Liang and T. Yamada (both AlixPartners) to discuss digital         0.2
                                              asset investments
03/03/2023          TP                        Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.           0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          VA                        Attend meeting with A. Walker, D. Waterfield, V. Asher and J. Liao (all                   0.3
                                              AlixPartners) re: validation and reconciliation of reconstructed balance sheets with
                                              legal entity information
03/03/2023          VA                        Attend meeting with T. Yamada, E. Mostoff, J. Somerville, F. Liang, J. Liao, C.           0.2
                                              Cipione, A. Vaibhav, A. Walker, D. Waterfield, S. Hanzi, and T. Phelan (all
                                              AlixPartners) re: status update around QuickBooks divisional/legal entity mapping
                                              structure
03/03/2023          VA                        Draft code to calculate and compare SHA1 hashes of a QuickBooks data table                2.9
                                              between the Master and reporting schemas
03/03/2023          VA                        Update QuickBooks SHA1 code to add data quality flags and error handling                  2.8
03/04/2023          MC                        Review latest response to draft SOFA 13.25 entity listing                                 0.3
03/04/2023          MC                        Revise weekly workstream tracker                                                          0.4
03/05/2023          EM                        Update bank account balance list for Alameda Research LLC                                 0.7
03/05/2023          EM                        Update bank account balance list for Alameda Research Ltd                                 1.4
03/05/2023          EM                        Update bank account balance list for FTX Trading Ltd                                      0.5
03/05/2023          JCL                       Review tracker prepared for intercompany transaction analysis                             0.8
03/05/2023          JCL                       Update workplan for financial statement reconstruction                                    0.7
03/05/2023          MC                        Analyze revised legal entity balance sheet's produced from back end of QuickBooks         2.3

03/05/2023          MC                        Continue to analyze revised legal entity balance sheet's produced from back end of        1.2
                                              QuickBooks
03/06/2023          AW                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.        0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          AW                        Investigation of reconciliation differences at the division level for Alameda             2.9
                                              Research LLC
03/06/2023          AW                        Implement updates to reconstructed journals code                                          2.4
03/06/2023          AW                        Update journals reconstruction code to source credit card payments from                   0.5
                                              Transaction List report for Alameda Research LLC
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/06/2023          AW                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:                0.4
                                              QuickBooks balance sheet checks
03/06/2023          AW                        Update journals reconstruction code to source transfers from Transaction List report      2.4
                                              for Alameda Research LLC
03/06/2023          CAS                       Review the implementation of the consolidated financial statement system                  1.7
03/06/2023          CC                        Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          CC                        Compile historical cash balance for Alameda Research LLC                                  1.4
03/06/2023          CC                        Prepare USD to AED foreign currency exchange rates for cash balance conversion            0.6
03/06/2023          CC                        Reconcile records on bank statements listing to cash balance database                     1.3
03/06/2023          CC                        Review Alameda Research Ltd.'s brokerage accounts' statements to determine cash           0.6
                                              and other investments' balance
03/06/2023          CC                        Review balance sheet to evaluate historical accounting of investments in securities       0.4
03/06/2023          CC                        Update bank statements tracker to sync with cash balance database                         1.5
03/06/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                       0.4
                                              reconstruction of cash balances
03/06/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                       1.7
                                              reconstruction of cash balances, updates to bank account tracker, and questions for
03/06/2023          DL                        Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          DL                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.        0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          DL                        Attend working session with F. Liang and T. Yamada (both AlixPartners) re: chart          0.3
                                              of accounts and digital assets identification
03/06/2023          DL                        Attend working session with K. Wessel, J. LaBella, F. Liang (all AlixPartners) re:        0.6
                                              current status and next steps of digital asset/cryptocurrency balance reconstruction
03/06/2023          DL                        Document cryptocurrency assets and underlying accounting records on ARL's                 3.0
                                              balance sheet
03/06/2023          DL                        Investigate cryptocurrency assets on Alameda Research entities' balance sheet             1.9
03/06/2023          DL                        Investigate underlying accounting records on Alameda Research entities' balance           1.3
                                              sheet
03/06/2023          EM                        Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          EM                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.        0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          EM                        Reconcile bank account balance listing with AlixPartners bank account tracker             0.6
03/06/2023          EM                        Update bank account balance listing for Alameda Research KK                               0.4
03/06/2023          EM                        Update bank account balance listing for Alameda Research Ltd                              0.4
03/06/2023          EM                        Update bank account balance listing for West Realm Shires Services Inc                    0.3
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/06/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                       0.4
                                              reconstruction of cash balances
03/06/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                       1.7
                                              reconstruction of cash balances, updates to bank account tracker, and questions for
03/06/2023          JCL                       Attend meeting with J. Labella, M. Cervi, J. Somerville, C. Wong, K. Wessel (all          0.5
                                              AlixPartners) to review updated intercompany matrix
03/06/2023          JCL                       Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          JCL                       Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.        0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          JCL                       Attend working session with K. Wessel, J. LaBella, F. Liang (all AlixPartners) re:        0.6
                                              current status and next steps of digital asset/cryptocurrency balance reconstruction
03/06/2023          JCL                       Review analysis for digital assets held by Cottonwood and Alameda and changes in          1.2
                                              balances across quarters
03/06/2023          JCL                       Review analysis prepared for tracking intercompany account transaction activity           1.2
                                              and matrix
03/06/2023          JCL                       Review balance sheet extractions and chart of account updates                             0.5
03/06/2023          JCL                       Review tracker and detailed cash analysis for legal entities and support for              1.3
                                              validating cash balances
03/06/2023          JLS                       Analyze A&M intercompany balance for Alameda Research LLC                                 0.3
03/06/2023          JLS                       Attend meeting with C. Wong and J. Somerville (both AlixPartners) re: related             0.9
                                              party matrix progress
03/06/2023          JLS                       Attend meeting with J. Labella, M. Cervi, J. Somerville, C. Wong, K. Wessel (all          0.5
                                              AlixPartners) to review updated intercompany matrix
03/06/2023          JLS                       Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          JLS                       Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.        0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          JLS                       Provide comments on C. Wong (AlixPartners) related to work product related to             0.9
                                              intercompany matrix
03/06/2023          JLS                       Revise C. Wong (AlixPartners) work product related to intercompany matrix                 1.3
03/06/2023          JLS                       Review source data from A&M Alameda Research LLC balance sheet                            0.6
03/06/2023          JLS                       Review updated back-end extract of QuickBooks accounting data                             0.6
03/06/2023          JLS                       Update internal tracker with intercompany AR/AP account balances for Alameda              0.4
                                              research
03/06/2023          JLS                       Update internal workplan for 'Investments in Subsidiaries' account balances               0.3
03/06/2023          JKL                       Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:                0.4
                                              QuickBooks balance sheet checks
03/06/2023          JKL                       Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.        0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/06/2023          JKL                       Review the updated data sources and SQL code scripts for creating the                     1.7
                                              reconstructed QuickBooks balance sheet with legal entity level information to
                                              reconcile the changes and identify issues in logic for Alameda Research LLC
03/06/2023          JKL                       Review the updated data sources and SQL code scripts for creating the                     2.3
                                              reconstructed QuickBooks balance sheet with legal entity level information to
                                              reconcile the changes and identify issues in logic for West Realm Shires Financial
                                              Services Inc
03/06/2023          JKL                       Review the updated data sources and SQL code scripts for creating the                     2.5
                                              reconstructed QuickBooks balance sheet with legal entity level information to
                                              reconcile the changes and identify issues in logic for West Realm Shires Services
03/06/2023          KHW                       Attend meeting with J. Labella, M. Cervi, J. Somerville, C. Wong, K. Wessel (all          0.5
                                              AlixPartners) to review updated intercompany matrix
03/06/2023          KHW                       Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          KHW                       Attend working session with K. Wessel, J. LaBella, F. Liang (all AlixPartners) re:        0.6
                                              current status and next steps of digital asset/cryptocurrency balance reconstruction
03/06/2023          KHW                       Research Cottonwood Grove digital asset activity for consistency with reported            1.1
                                              balance sheet amounts
03/06/2023          KHW                       Review historical balance sheets for digital asset balances by entity and quarter         1.1
03/06/2023          MC                        Analyze crypto balances held by Cottonwood Grove                                          0.7
03/06/2023          MC                        Analyze latest changes to chart of accounts updates                                       0.7
03/06/2023          MC                        Attend meeting with J. Labella, M. Cervi, J. Somerville, C. Wong, K. Wessel (all          0.5
                                              AlixPartners) to review updated intercompany matrix
03/06/2023          MC                        Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          MC                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.        0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          MC                        Create list of QuickBooks and accounting related questions for RLA                        0.8
03/06/2023          MC                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to discuss chart of        0.6
                                              accounts and balance sheet presentation
03/06/2023          SYW                       Attend meeting with C. Wong and J. Somerville (both AlixPartners) re: related             0.9
                                              party matrix progress
03/06/2023          SYW                       Attend meeting with J. Labella, M. Cervi, J. Somerville, C. Wong, K. Wessel (all          0.5
                                              AlixPartners) to review updated intercompany matrix
03/06/2023          SYW                       Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          SYW                       Compose email detailing updates made to intercompany receivables and payables             0.5
                                              matrix for all DOTCOM, Alameda, WRS, and Ventures entities
03/06/2023          SYW                       Related party matrix updating for new entities                                            2.3
03/06/2023          SYW                       Update related party intercompany receivables and payables matrix for all                 1.7
                                              DOTCOM, Alameda, WRS entities
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03/06/2023          SYW                       Continue revisions on related party and intercompany receivables and payables                3.1
                                              matrix for all DOTCOM, Alameda, WRS entities
03/06/2023          SRH                       Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.           0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          TY                        Attend meeting with T. Yamada, C. Chen, E. Mostoff, F. Liang, M. Cervi, J.                   0.5
                                              Somerville, J. LaBella, K. Wessel, and C. Wong (all AlixPartners) re: progress of
                                              cash balance reconstruction and updated chart of accounts
03/06/2023          TY                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.           0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          TY                        Attend working session with F. Liang and T. Yamada (both AlixPartners) re: chart             0.3
                                              of accounts and digital assets identification
03/06/2023          TY                        Develop historical quarterly balance sheet by entity and silo using the back-end             1.1
                                              QuickBooks data
03/06/2023          TY                        Develop uniform balance sheet presentation to be exported from the back-end                  2.9
                                              QuickBooks data
03/06/2023          TY                        Draft questions re: accounting records for Robert Lee & Associates, LLP                      0.3
03/06/2023          TY                        Identify digital assets in the chart of accounts to use for digital asset investigation      1.8
03/06/2023          TY                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to discuss chart of           0.6
                                              accounts and balance sheet presentation
03/06/2023          TP                        Conducted analysis on the A&M cash database in support of the intercompany                   1.4
                                              FIAT flows to FTX Digital Markets
03/06/2023          VA                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:                   0.4
                                              QuickBooks balance sheet checks
03/06/2023          VA                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, J. Somerville, J. LaBella, A.           0.3
                                              Vaibhav, J. Liao, S. Hanzi, A. Walker, and F. Liang (all AlixPartners) re: status
                                              update of balance sheet data extraction and updated chart of accounts
03/06/2023          VA                        Conduct quality checks on the reconstructed journals                                         2.3
03/06/2023          VA                        Analyze code used to reconstruct the journal entries using the underlying                    1.7
                                              QuickBooks data tables and chart of accounts mapping
03/06/2023          VA                        Revise code used to reconstruct the journal entries using the underlying QuickBooks          1.2
                                              data tables and chart of accounts mapping
03/07/2023          AS                        Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                   1.1
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          AW                        Attend meeting with A. Walker and V. Asher (both AlixPartners) re: actions and               1.5
                                              points of clarification around the journals reconstruction code review
03/07/2023          AW                        Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.               0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
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03/07/2023          AW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                  0.4
                                              AlixPartners) re: code review of the QuickBooks balance sheet and income
                                              statement reconstruction
03/07/2023          AW                        Calculate retained earnings balances at the division level for Alameda Research          2.2
03/07/2023          AW                        Calculate retained earnings balances at the division level for WRSFS Inc                 1.5
03/07/2023          AW                        Correct for wrong name being assigned to a QuickBooks instance in journals code          0.6
03/07/2023          AW                        Update financial statements recreation code to hardcode division name for one            1.9
                                              transaction
03/07/2023          AW                        Remove leading account number from deleted accounts sourced from the                     0.4
                                              Transaction List report to match the Chart of Accounts
03/07/2023          AW                        Update logic for calculating net income closing balance                                  1.9
03/07/2023          AV                        Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.               1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          BFM                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.               1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          CAS                       Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.           0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
03/07/2023          CAS                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.               1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          CAS                       Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.            0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          CC                        Analyze Quoine Pte LTD's deposit balance                                                 1.6
03/07/2023          CC                        Reconcile balances in West Realm Shires Services Inc's Deltec accounts                   1.4
03/07/2023          CC                        Compile bank balance for Alameda Research LLC                                            0.9
03/07/2023          CC                        Prepare historical cash balance for FTX Digital Markets                                  0.7
03/07/2023          CC                        Reconcile balance by entity in the cash table to updated balance sheet                   1.7
03/07/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                      0.7
                                              reconstruction of cash balances and updates to bank account tracker
03/07/2023          DS                        Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.               1.1
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          DJW                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.               1.1
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
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03/07/2023          DJW                       Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.                0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          DW                        Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.               0.4
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
03/07/2023          DW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                      0.4
                                              AlixPartners) re: code review of the QuickBooks balance sheet and income
                                              statement reconstruction
03/07/2023          DL                        Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.               0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
03/07/2023          DL                        Reconcile cryptocurrencies between QuickBooks and Cottonwood balances                        2.2
                                              workbook
03/07/2023          DL                        Reconcile cryptocurrencies between audited financial statement and Cottonwood                1.1
                                              balances workbook
03/07/2023          EM                        Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.               0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
03/07/2023          EM                        Reconcile bank account database with bank accounts identified for historical                 0.9
                                              reconstruction
03/07/2023          EM                        Update bank account balance listing for FTX Japan Holdings KK                                0.5
03/07/2023          EM                        Update bank account balance listing for FTX Japan KK                                         0.8
03/07/2023          EM                        Update bank account balance listing for FTX Trading Ltd                                      1.2
03/07/2023          EM                        Update bank account balance listing for Ledger X LLC                                         0.9
03/07/2023          EM                        Update bank account balance listing for West Realm Shires Services Inc                       1.4
03/07/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                          0.7
                                              reconstruction of cash balances and updates to bank account tracker
03/07/2023          JCL                       Analyze existing chronologies for support of significant Intercompany and                    1.7
                                              Investment balance sheet accounts that included Modulo and acquisitions of entities
                                              of interest
03/07/2023          JCL                       Working session with J. LaBella, K. Wessel, J. Somerville (full) and M. Cervi                0.9
                                              (partial) (all AlixPartners) re: historical financial statement reconstruction workplan
03/07/2023          JCL                       Working session with J. LaBella, K. Wessel, M. Cervi, J. Somerville (all                     0.3
                                              AlixPartners) re: third party verification of intercompany balances
03/07/2023          JCL                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                   1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          JLS                       Attend meeting with C. Wong and J. Somerville (both AlixPartners) re: related                0.4
                                              party matrix updates
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                        HOURS
03/07/2023          JLS                       Prepare summary of key balance sheet accounts and AlixPartners resources                     1.1
                                              allocated against same
03/07/2023          JLS                       Prepare template for tracking intercompany account balances                                  0.8
03/07/2023          JLS                       Update intercompany matrix to include additional segmentation for insider loans              0.4
03/07/2023          JLS                       Working session with J. LaBella, K. Wessel, J. Somerville (full) and M. Cervi                0.9
                                              (partial) (all AlixPartners) re: historical financial statement reconstruction workplan
03/07/2023          JLS                       Working session with J. LaBella, K. Wessel, M. Cervi, J. Somerville (all                     0.3
                                              AlixPartners) re: third party verification of intercompany balances
03/07/2023          JLS                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                   1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          JLS                       Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.                0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          JKL                       Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.               0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
03/07/2023          JKL                       Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                      0.4
                                              AlixPartners) re: code review of the QuickBooks balance sheet and income
                                              statement reconstruction
03/07/2023          JKL                       Review the SQL code for calculating net income for the reconstructed QuickBooks              1.4
                                              balance sheet to resolve data issues
03/07/2023          JKL                       Review the updated data sources and SQL code scripts for creating the                        1.9
                                              reconstructed QuickBooks balance sheet with legal entity level information to
                                              reconcile the changes and identify issues in logic for Alameda Research LLC
03/07/2023          JKL                       Review the updated data sources and SQL code scripts for creating the                        1.8
                                              reconstructed QuickBooks balance sheet with legal entity level information to
                                              reconcile the changes and identify issues in logic for FTX Digital Market Ltd
03/07/2023          JKL                       Update the Python scripts for automatically extracting transaction list reports from         2.2
                                              the QuickBooks frontend system by creating and accessing custom templates
03/07/2023          KHW                       Analyze balance sheets for cash account balances to incorporate into financial               0.8
                                              statement reconstruction effort
03/07/2023          KHW                       Update AlixPartners work plan for financial statement reconstruction effort                  0.2
03/07/2023          KHW                       Working session with J. LaBella, K. Wessel, J. Somerville (full) and M. Cervi                0.9
                                              (partial) (all AlixPartners) re: historical financial statement reconstruction workplan
03/07/2023          KHW                       Working session with J. LaBella, K. Wessel, M. Cervi, J. Somerville (all                     0.3
                                              AlixPartners) re: third party verification of intercompany balances
03/07/2023          KHW                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                   1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
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03/07/2023          KHW                       Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.                0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          LMG                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                   1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          LMG                       Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.                0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          MC                        Analyze status of intercompany account related investigation work                            2.2
03/07/2023          MC                        Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.               0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
03/07/2023          MC                        Review latest financial statement chart of account mapping output                            1.2
03/07/2023          MC                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to discuss the                0.1
                                              chart of accounts update
03/07/2023          MC                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to discuss the                0.1
                                              historical reconstruction matrix update
03/07/2023          MC                        Working session with J. LaBella, K. Wessel, J. Somerville (full) and M. Cervi                0.2
                                              (partial) (all AlixPartners) re: historical financial statement reconstruction workplan
03/07/2023          MC                        Working session with J. LaBella, K. Wessel, M. Cervi, J. Somerville (all                     0.3
                                              AlixPartners) re: third party verification of intercompany balances
03/07/2023          MC                        Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                   1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          MC                        Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.                0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          MJ                        Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                   1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          MJ                        Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.                0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          RMF                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                   1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          SYW                       Attend meeting with C. Wong and J. Somerville (both AlixPartners) re: related                0.5
                                              party matrix updates
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03/07/2023          SYW                       Conduct analysis quality check on related party matrix to ensure correct calculation      2.1
                                              of balance sheet amounts
03/07/2023          SYW                       Update related party intercompany receivables and payables matrix for DOTCOM              2.5
                                              and Alameda entities
03/07/2023          SYW                       Update related party intercompany receivables and payables matrix for WRS and             1.9
                                              Ventures entities
03/07/2023          SRH                       Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.            0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
03/07/2023          SRH                       Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          SRH                       Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.             0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          TY                        Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.            0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
03/07/2023          TY                        Develop the intercompany transaction matrix from the latest QuickBooks data               1.1
03/07/2023          TY                        Develop the model to format balance sheet across the group companies and by               2.7
                                              quarter with QuickBooks data
03/07/2023          TY                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to discuss the             0.1
                                              chart of accounts update
03/07/2023          TY                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to discuss the             0.1
                                              historical reconstruction matrix update
03/07/2023          TY                        Update historical total asset and net asset data for each entity in the historical        2.3
                                              reconstruction matrix
03/07/2023          TY                        Update the chart of accounts remapping certain accounts with new QuickBooks               1.7
                                              data
03/07/2023          TP                        Conduct investigation of the accounting data to support the special investigations        2.6
                                              team re: analysis of funds flow between Debtor entities in Cash DB
03/07/2023          TP                        Conduct investigation of the accounting data to support the special investigations        2.8
                                              team re: entity of interest potential preference claim
03/07/2023          TP                        Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.             0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/07/2023          VA                        Attend meeting with A. Walker and V. Asher (both AlixPartners) re: actions and            1.5
                                              points of clarification around the journals reconstruction code review
03/07/2023          VA                        Attend meeting with A. Walker, M. Cervi, C. Cipione, A. Vaibhav, T. Yamada, J.            0.5
                                              Liao, E. Mostoff, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial
                                              attendee) (all AlixPartners) re: updated chart of accounts, updates to departmental
                                              mapping structure, and front-end journal entry database
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03/07/2023          VA                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                   0.4
                                              AlixPartners) re: code review of the QuickBooks balance sheet and income
                                              statement reconstruction
03/07/2023          VA                        Update code to create delta reports on the core QuickBooks tables                         1.6
03/07/2023          VA                        Data integrity check on updated code to create delta reports on the core QuickBooks       1.3
                                              tables
03/07/2023          VK                        Working session with M. Jacques, L. Goldman, C. Cipione, A. Vanderkamp, J.                1.6
                                              LaBella, S. Hanzi, J. Somerville, K. Wessel, B. Mackay, RM Fuchs, M. Cervi, V.
                                              Kotharu (full attendees), A. Searles, D. Schwartz, D. White (partial attendees) re:
                                              coordination of financial statement reconstruction efforts
03/07/2023          VK                        Working session with M. Jacques, S. Hanzi, M .Cervi, D. White, C. Cipione, T.             0.7
                                              Phelan, L. Goldman, K. Wessel, J. Somerville, V. Kotharu (all AlixPartners) re:
                                              analysis of exchange data in support of financial statement reconstruction
03/08/2023          AW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                   0.5
                                              AlixPartners) re: update on reconstruction of QuickBooks journals
03/08/2023          AW                        Attend meeting with M. Birtwell, S. Hanzi, T. Phelan, A. Walker, D. Waterfield (all       0.5
                                              AlixPartners) re: the journals data that feeds the frontend tools and the plan for
                                              version controlling / governing the process going forward
03/08/2023          AW                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, D. Waterfield, J. Liao, A.           0.2
                                              Walker, T. Phelan, and S. Hanzi (all AlixPartners) re: updated chart of accounts and
                                              QC procedures related to balance sheet output
03/08/2023          AW                        Implement updates to the financial statements recreation code                             1.4
03/08/2023          AW                        Investigate net income differences at the division level for Alameda Research LLC         2.9
03/08/2023          AW                        Continue to investigate net income differences at the division level for Alameda          0.7
                                              Research LLC
03/08/2023          AW                        Repopulate master journals table with a previous batch of data to facilitate delta        1.6
                                              reporting
03/08/2023          AW                        Review the updated balance sheet presentation                                             0.6
03/08/2023          AW                        Working session with A. Walker and T. Yamada (both AlixPartners) re: the chart of         0.2
                                              account update
03/08/2023          AW                        Update balance sheet creation code based on updated balance sheet presentation            0.8
03/08/2023          CAS                       Review the implementation of the consolidated financial statement system                  1.2
03/08/2023          CC                        Attend meeting with C. Chen, K. Wessel, and E. Mostoff (all AlixPartners) re:             0.1
                                              summary of cash balance reconstruction
03/08/2023          CC                        Attend meeting with C. Chen, K. Wessel, T. Yamada, and E. Mostoff (all                    0.4
                                              AlixPartners) re: update to chart of accounts based on FBO classification of newly
                                              identified bank accounts
03/08/2023          CC                        Attend meeting with J. LaBella, C. Chen, T. Yamada, M. Cervi, K. Wessel, and E.           0.4
                                              Mostoff (all AlixPartners) re: alignment of FBO account classification between
                                              chart of accounts and cash reconstruction workstreams
03/08/2023          CC                        Attend meeting with K. Wessel, M. Cervi, C. Chen, E. Mostoff, and J. LaBella (all         0.3
                                              AlixPartners) re: summary of cash balance reconstruction
03/08/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                       0.7
                                              reconstruction of cash balances and updates to bank account tracker
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/08/2023          CC                        Working session with E. Mostoff and C. Chen (both AlixPartners) re: summary of             1.8
                                              reconstructed operational and FBO cash balances of FTX Digital Markets
03/08/2023          CC                        Working session with E. Mostoff and C. Chen (both AlixPartners) re: summary of             1.2
                                              reconstructed operational and FBO cash balances
03/08/2023          CC                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          DS                        Working session with Kessel, and D. Schwartz (all AlixPartners) re: development of         0.5
                                              bank account tracker
03/08/2023          DW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                    0.5
                                              AlixPartners) re: update on reconstruction of QuickBooks journals
03/08/2023          DW                        Attend meeting with M. Birtwell, S. Hanzi, T. Phelan, A. Walker, D. Waterfield (all        0.5
                                              AlixPartners) re: the journals data that feeds the front end tools and the plan for
                                              version controlling / governing the process going forward
03/08/2023          DW                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, D. Waterfield, J. Liao, A.            0.2
                                              Walker, T. Phelan, and S. Hanzi (all AlixPartners) re: updated chart of accounts and
                                              QC procedures related to balance sheet output
03/08/2023          DW                        Write code to audit records from source tables, through intermediary tables into the       2.6
                                              reconstructed journals table
03/08/2023          DL                        Attend meeting with J. LaBella, F. Liang, and K. Wessel (all AlixPartners)                 0.6
                                              discussing the cryptocurrencies assets on Cottonwood Grove’s balance sheet
03/08/2023          DL                        Attend meeting with J. LaBella, M. Cervi (full attendees) K. Wessel, J. Somerville,        0.4
                                              F. Liang (partial attendees) (all AlixPartners) to draft outline for Jon Ray re:
                                              accounting control failures
03/08/2023          DL                        Investigate cryptocurrency assets on Alameda Research entities' balance sheet              1.7
03/08/2023          DL                        Investigate underlying accounting records on Alameda Research entities' balance            1.6
                                              sheet
03/08/2023          DL                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          EM                        Attend meeting with C. Chen, K. Wessel, and E. Mostoff (all AlixPartners) re:              0.1
                                              summary of cash balance reconstruction
03/08/2023          EM                        Attend meeting with C. Chen, K. Wessel, T. Yamada, and E. Mostoff (all                     0.4
                                              AlixPartners) re: update to chart of accounts based on FBO classification of newly
                                              identified bank accounts
03/08/2023          EM                        Attend meeting with J. LaBella, C. Chen, T. Yamada, M. Cervi, K. Wessel, and E.            0.4
                                              Mostoff (all AlixPartners) re: alignment of FBO account classification between
                                              chart of accounts and cash reconstruction workstreams
03/08/2023          EM                        Attend meeting with K. Wessel, M. Cervi, C. Chen, E. Mostoff, and J. LaBella (all          0.3
                                              AlixPartners) re: summary of cash balance reconstruction
03/08/2023          EM                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, D. Waterfield, J. Liao, A.            0.2
                                              Walker, T. Phelan, and S. Hanzi (all AlixPartners) re: updated chart of accounts and
                                              QC procedures related to balance sheet output
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03/08/2023          EM                        Reconcile bank accounts listed in bank statement tracker with bank accounts listed         0.9
                                              in cash reconstruction workpaper
03/08/2023          EM                        Reconcile FBO classifications per chart of accounts with FBO classifications per           0.3
                                              cash reconstruction workstream
03/08/2023          EM                        Update bank account balance listing for Quoine Vietnam Co LTD and Quoine Pte               1.1
                                              Ltd
03/08/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                        0.7
                                              reconstruction of cash balances and updates to bank account tracker
03/08/2023          EM                        Working session with E. Mostoff and C. Chen (both AlixPartners) re: summary of             1.8
                                              reconstructed operational and FBO cash balances of FTX Digital Markets
03/08/2023          EM                        Working session with E. Mostoff and C. Chen (both AlixPartners) re: summary of             1.2
                                              reconstructed operational and FBO cash balances
03/08/2023          EM                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          JCL                       Attend meeting with J. LaBella, C. Chen, T. Yamada, M. Cervi, K. Wessel, and E.            0.4
                                              Mostoff (all AlixPartners) re: alignment of FBO account classification between
                                              chart of accounts and cash reconstruction workstreams
03/08/2023          JCL                       Attend meeting with J. LaBella, F. Liang, and K. Wessel (all AlixPartners)                 0.6
                                              discussing the cryptocurrencies assets on Cottonwood Grove’s balance sheet
03/08/2023          JCL                       Attend meeting with J. LaBella, M. Cervi (full attendees) K. Wessel, J. Somerville,        1.1
                                              F. Liang (partial attendees) (all AlixPartners) to draft outline for Jon Ray re:
                                              accounting control failures
03/08/2023          JCL                       Attend meeting with K. Wessel, M. Cervi, C. Chen, E. Mostoff, and J. LaBella (all          0.3
                                              AlixPartners) re: summary of cash balance reconstruction
03/08/2023          JCL                       Draft outline of control failures at FTX                                                   2.2
03/08/2023          JCL                       Review schedules and supporting detail re: cash account balances and Intercompany          1.7
                                              account balances, including updated matrix of Intercompany balances in preparation
                                              for meeting with counsel
03/08/2023          JCL                       Review updated chart of control failures                                                   0.7
03/08/2023          JCL                       Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          JLS                       Attend meeting with J. Somerville and C. Wong (both AlixPartners) re: related              0.3
                                              party matrix updates
03/08/2023          JLS                       Attend meeting with J. LaBella, M. Cervi (full attendees) K. Wessel, J. Somerville,        0.6
                                              F. Liang (partial attendees) (all AlixPartners) to draft outline for Jon Ray re:
                                              accounting control failures
03/08/2023          JLS                       Audit intercompany matrix model analyzed against source materials                          0.8
03/08/2023          JLS                       Identify intercompany and related party accounts of focus in Q4-21 and Q2-22.              0.6
03/08/2023          JLS                       Identify key balance sheet intercompany and related party accounts for verification        0.6
03/08/2023          JLS                       Prepare discussion materials for counsel re: summary of intercompany and related           0.9
                                              party balances analyzed
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03/08/2023          JLS                       Prepare summary of intercompany balances analyzed                                          1.2
03/08/2023          JLS                       Review intercompany balance workpapers related to BlockFi loan                             0.4
03/08/2023          JLS                       Telephone call with C. Wong and J. Somerville (both AlixPartners) re: key                  0.2
                                              intercompany balance sheet accounts
03/08/2023          JLS                       Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          JKL                       Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                    0.5
                                              AlixPartners) re: update on reconstruction of QuickBooks journals
03/08/2023          JKL                       Attend meeting with T. Yamada, E. Mostoff, M. Cervi, D. Waterfield, J. Liao, A.            0.2
                                              Walker, T. Phelan, and S. Hanzi (all AlixPartners) re: updated chart of accounts and
                                              QC procedures related to balance sheet output
03/08/2023          JKL                       Review the SQL scripts for generating delta reports for the 16 key QuickBooks              1.8
                                              backend tables to ensure the logic and outputs are correct
03/08/2023          JKL                       Update the Python scripts for automatically extracting transaction list reports from       1.5
                                              the QuickBooks frontend system by adding data cleaning and validating processes
03/08/2023          JKL                       Update the Python scripts for automatically extracting transaction list reports from       2.8
                                              the QuickBooks frontend system by implementing workarounds for instances with
                                              transaction lists too large to be exported as Excel
03/08/2023          JKL                       Update the Python scripts for automatically extracting transaction list reports from       2.6
                                              the QuickBooks frontend system by testing the code on instances with <1000
                                              backend transactions and correcting issues encountered
03/08/2023          KHW                       Attend meeting with C. Chen, K. Wessel, and E. Mostoff (all AlixPartners) re:              0.1
                                              summary of cash balance reconstruction
03/08/2023          KHW                       Attend meeting with C. Chen, K. Wessel, T. Yamada, and E. Mostoff (all                     0.4
                                              AlixPartners) re: update to chart of accounts based on FBO classification of newly
                                              identified bank accounts
03/08/2023          KHW                       Attend meeting with J. LaBella, C. Chen, T. Yamada, M. Cervi, K. Wessel, and E.            0.4
                                              Mostoff (all AlixPartners) re: alignment of FBO account classification between
                                              chart of accounts and cash reconstruction workstreams
03/08/2023          KHW                       Attend meeting with J. LaBella, F. Liang, and K. Wessel (all AlixPartners)                 0.6
                                              discussing the cryptocurrencies assets on Cottonwood Grove’s balance sheet
03/08/2023          KHW                       Attend meeting with J. LaBella, M. Cervi (full attendees) K. Wessel, J. Somerville,        0.7
                                              F. Liang (partial attendees) (all AlixPartners) to draft outline for Jon Ray re:
                                              accounting control failures
03/08/2023          KHW                       Attend meeting with K. Wessel, M. Cervi, C. Chen, E. Mostoff, and J. LaBella (all          0.3
                                              AlixPartners) re: summary of cash balance reconstruction
03/08/2023          KHW                       Prepare materials for presentation to S&C re: financial statement reconstruction           0.4
                                              workstream update
03/08/2023          KHW                       Review cash balance reconciliation work product for presentation of financial              0.6
                                              reconstruction workstream status to S&C
03/08/2023          KHW                       Working session with Kessel, and D. Schwartz (all AlixPartners) re: development of         0.5
                                              bank account tracker
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/08/2023          KHW                       Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          MC                        Attend meeting with J. LaBella, M. Cervi (full attendees) K. Wessel, J. Somerville,        1.1
                                              F. Liang (partial attendees) (all AlixPartners) to draft outline for Jon Ray re:
                                              accounting control failures
03/08/2023          MC                        Attend meeting with K. Wessel, M. Cervi, C. Chen, E. Mostoff, and J. LaBella (all          0.3
                                              AlixPartners) re: summary of cash balance reconstruction
03/08/2023          MC                        Attend meeting with J. LaBella, C. Chen, T. Yamada, M. Cervi, K. Wessel, and E.            0.4
                                              Mostoff (all AlixPartners) re: alignment of FBO account classification between
                                              chart of accounts and cash reconstruction workstreams
03/08/2023          MC                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, D. Waterfield, J. Liao, A.            0.2
                                              Walker, T. Phelan, and S. Hanzi (all AlixPartners) re: updated chart of accounts and
                                              QC procedures related to balance sheet output
03/08/2023          MC                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          MB                        Attend meeting with M. Birtwell, S. Hanzi, T. Phelan, A. Walker, D. Waterfield (all        0.5
                                              AlixPartners) re: the journals data that feeds the frontend tools and the plan for
                                              version controlling / governing the process going forward
03/08/2023          SYW                       Attend meeting with J. Somerville and C. Wong (both AlixPartners) re: related              0.3
                                              party matrix updates
03/08/2023          SYW                       Create related party intercompany receivables and payables matrix related to               1.3
                                              BlockFi loans
03/08/2023          SYW                       Create related party intercompany receivables and payables matrix related to               1.5
                                              Modulo investigation
03/08/2023          SYW                       Update related party intercompany receivables and payables matrix for DOTCOM               2.0
                                              and Alameda entities
03/08/2023          SYW                       Conduct quality analysis check on related party matrix to ensure correct calculation       1.0
                                              of balance sheet amounts related to Ventures entities
03/08/2023          SYW                       Update related party intercompany receivables and payables matrix to include new           0.7
                                              entities
03/08/2023          SYW                       Telephone call with C. Wong and J. Somerville (both AlixPartners) re: key                  0.2
                                              intercompany balance sheet accounts
03/08/2023          SYW                       Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          SRH                       Attend meeting with M. Birtwell, S. Hanzi, T. Phelan, A. Walker, D. Waterfield (all        0.5
                                              AlixPartners) re: the journals data that feeds the frontend tools and the plan for
                                              version controlling / governing the process going forward
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03/08/2023          SRH                       Attend meeting with T. Yamada, E. Mostoff, M. Cervi, D. Waterfield, J. Liao, A.            0.2
                                              Walker, T. Phelan, and S. Hanzi (all AlixPartners) re: updated chart of accounts and
                                              QC procedures related to balance sheet output
03/08/2023          TY                        Attend meeting with C. Chen, K. Wessel, T. Yamada, and E. Mostoff (all                     0.4
                                              AlixPartners) re: update to chart of accounts based on FBO classification of newly
                                              identified bank accounts
03/08/2023          TY                        Attend meeting with J. LaBella, C. Chen, T. Yamada, M. Cervi, K. Wessel, and E.            0.4
                                              Mostoff (all AlixPartners) re: alignment of FBO account classification between
                                              chart of accounts and cash reconstruction workstreams
03/08/2023          TY                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, D. Waterfield, J. Liao, A.            0.2
                                              Walker, T. Phelan, and S. Hanzi (all AlixPartners) re: updated chart of accounts and
                                              QC procedures related to balance sheet output
03/08/2023          TY                        Develop the intercompany transaction matrix from the latest QuickBooks data                1.5
03/08/2023          TY                        Identify digital asset related accounts in the updated chart of accounts                   1.1
03/08/2023          TY                        Reconstruct balance sheet with the remapped chart of accounts                              2.6
03/08/2023          TY                        Update historical total asset and net asset data for each entity in the historical         0.7
                                              reconstruction matrix
03/08/2023          TY                        Update the chart of accounts remapping certain accounts with new QuickBooks                1.8
                                              data
03/08/2023          TY                        Working session with A. Walker and T. Yamada (both AlixPartners) re: the chart of          0.2
                                              account update
03/08/2023          TY                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, E. Mostoff, J.                1.5
                                              Somerville, F. Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of
                                              progress report on cash, intercompany transaction, and digital asset reconstruction
                                              workstreams
03/08/2023          TP                        Attend meeting with M. Birtwell, S. Hanzi, T. Phelan, A. Walker, D. Waterfield (all        0.5
                                              AlixPartners) re: the journals data that feeds the frontend tools and the plan for
                                              version controlling / governing the process going forward s
03/08/2023          TP                        Attend meeting with T. Yamada, E. Mostoff, M. Cervi, D. Waterfield, J. Liao, A.            0.2
                                              Walker, T. Phelan, and S. Hanzi (all AlixPartners) re: updated chart of accounts and
                                              QC procedures related to balance sheet output
03/08/2023          VA                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                    0.5
                                              AlixPartners) re: update on reconstruction of QuickBooks journals
03/08/2023          VA                        Analyze code used to reconstruct the journal entries using the underlying                  1.8
                                              QuickBooks balance sheets
03/08/2023          VA                        Revise code used to reconstruct the journal entries using the underlying QuickBooks        1.1
                                              balance sheets
03/08/2023          VA                        Analyze code used to reconstruct the journal entries using the underlying                  1.6
                                              QuickBooks income statements
03/08/2023          VA                        Revise code used to reconstruct the journal entries using the underlying QuickBooks        0.9
                                              income statements
03/09/2023          AW                        Apply legal entity and silo mapping to the reconstructed journals                          1.8
03/09/2023          AW                        Correct for silo-level retained earnings calculation issues                                1.7
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03/09/2023          AW                        Modify presentation of the backend balance sheet with standardized chart of               2.6
                                              accounts down y axis and the company information is along the x axis, split out by
                                              quarter
03/09/2023          AW                        Incorporate new version of the standardized chart of accounts                             1.7
03/09/2023          AW                        Implement division-level retained earnings calculations in the QuickBooks backend         1.3
                                              data
03/09/2023          AW                        Update financial statement recreation to only split QuickBooks instances at the           1.9
                                              division level where divisions represent legal entities
03/09/2023          CAS                       Design data architecture related to the QB's GL information                               1.3
03/09/2023          CC                        Attend meeting with C. Chen and E. Mostoff (both AlixPartners) re: historical cash        0.2
                                              balance reconstruction of West Realm Shires Services Inc
03/09/2023          CC                        Compile bank balance for FTX EU Ltd                                                       1.5
03/09/2023          CC                        Prepare cash reconciliation for West Realm Shires Services Inc                            1.9
03/09/2023          CC                        Prepare USD to CNY and MXN foreign currency exchange rates for cash balance               0.8
                                              conversion
03/09/2023          CC                        Review bank trackers to remove duplicate records related to FTX Japan KK                  1.0
03/09/2023          CC                        Working session with K. Wessel, C. Chen and E. Mostoff (all AlixPartners) re:             0.5
                                              historical cash balance reconstruction of West Realm Shires Services Inc
03/09/2023          DJW                       Investigate FTT asset holding history for Cottonwood Grove for balance sheet              2.1
                                              reconstruction
03/09/2023          DW                        Write code to audit records from source tables, through intermediary tables into the      2.4
                                              reconstructed journals table
03/09/2023          DW                        Continue to write code to audit records from source tables, through intermediary          0.7
                                              tables into the reconstructed journals table
03/09/2023          DL                        Attend meeting with J. LaBella, F. Liang, and K. Wessel (all AlixPartners)                0.3
                                              discussing status and next steps on investigating cryptocurrency assets
03/09/2023          DL                        Investigate cryptocurrency assets and underlying accounting records on ARL's              2.7
                                              balance sheet
03/09/2023          DL                        Conduct unstructured searches in ESI re: valuation of cryptocurrency assets               1.1
03/09/2023          DL                        Analyze corporate documentation artifacts re: valuation of cryptocurrency assets          1.8
03/09/2023          DL                        Prepare questions re crypto wallets in advance of discussion with D. White                1.5
03/09/2023          EM                        Analyze Q2 2022 bank statement data of West Realm Shires Inc for historical cash          1.4
                                              balance reconstruction
03/09/2023          EM                        Attend meeting with C. Chen and E. Mostoff (both AlixPartners) re: historical cash        0.2
                                              balance reconstruction of West Realm Shires Services Inc
03/09/2023          EM                        Attend meeting with K. Wessel and E. Mostoff (both AlixPartners) re: historical           0.7
                                              cash balance reconstruction of West Realm Shires Services Inc
03/09/2023          EM                        Update bank account balance listing for Alameda Research LLC                              0.4
03/09/2023          EM                        Update bank account balance listing for FTX Japan KK                                      1.1
03/09/2023          EM                        Update bank account balance listing for FTX Trading Ltd                                   1.2
03/09/2023          EM                        Update bank account balance listing for West Realm Shires Services Inc                    0.9
03/09/2023          EM                        Working session with K. Wessel, C. Chen and E. Mostoff (all AlixPartners) re:             0.5
                                              historical cash balance reconstruction of West Realm Shires Services Inc
03/09/2023          JCL                       Attend meeting with J. LaBella, F. Liang, and K. Wessel (all AlixPartners)                0.3
                                              discussing status and next steps on investigating cryptocurrency assets
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/09/2023          JCL                       Revise board slides for financial statement reconstruction                                1.0
03/09/2023          JCL                       Review digital asset balances and prepare specific requests to trace crypto balances      0.9
                                              to identified wallets
03/09/2023          JCL                       Review iterations of balance sheets by legal entity from QuickBooks and output            0.8
                                              from AlixPartners consolidated balance sheet summaries
03/09/2023          JCL                       Working session with K. Wessel, M. Cervi, and J. LaBella (all AlixPartners) re:           2.8
                                              drafting of board update slides for financial statement reconstruction workstream
03/09/2023          JLS                       Identify 'Investment in Subsidiary' accounts of focus in Q2-22 and Q4-21 for              1.1
                                              Alameda Research LLC and WRSI
03/09/2023          JLS                       Analyze related party loans recorded by Alameda Research LLC in Q2-22                     1.3
03/09/2023          JLS                       Analyze related party loans recorded by Cottonwood Grove in Q2-22                         0.9
03/09/2023          JLS                       Analyze Cottonwood Grove related party account balance for Q2-22                          0.3
03/09/2023          JLS                       Prepare summary presentation of investigation on six key balances across Alameda          1.3
                                              Research LLC and Cottonwood Grove
03/09/2023          JLS                       Telephone call with C. Wong and J. Somerville (both AlixPartners) re: key                 0.3
                                              intercompany balance sheet accounts
03/09/2023          JLS                       Telephone call with C. Wong, J. Somerville, L. Goldman (all AlixPartners) re:             0.6
                                              impact of special investigation findings on key intercompany balance sheet accounts
03/09/2023          JLS                       Update internal intercompany balance tracker                                              0.4
03/09/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re: nature of          0.3
                                              Alameda Research Ltd related party balance
03/09/2023          JKL                       Analyze the data quality issues found in the delta report for the 16 core tables by       2.6
                                              checking the time zone consistency and comparing records against other data
                                              sources
03/09/2023          JKL                       Review the SQL script for comparing and creating delta report for different versions      2.8
                                              of reconstructed journals to correct issues in the downloaded QuickBooks backend
                                              data
03/09/2023          JKL                       Update the Python scripts for automatically extracting transaction list reports from      1.3
                                              the QuickBooks frontend system by adding data cleaning and validating processes
03/09/2023          KHW                       Attend meeting with J. LaBella, F. Liang, and K. Wessel (all AlixPartners)                0.3
                                              discussing status and next steps on investigating cryptocurrency assets
03/09/2023          KHW                       Attend meeting with K. Wessel and E. Mostoff (both AlixPartners) re: historical           0.7
                                              cash balance reconstruction of West Realm Shires Services Inc
03/09/2023          KHW                       Working session with K. Wessel, C. Chen and E. Mostoff (all AlixPartners) re:             0.5
                                              historical cash balance reconstruction of West Realm Shires Services Inc
03/09/2023          KHW                       Working session with K. Wessel, M. Cervi, and J. LaBella (all AlixPartners) re:           2.8
                                              drafting of board update slides for financial statement reconstruction workstream
03/09/2023          LMG                       Telephone call with C. Wong, J. Somerville, L. Goldman (all AlixPartners) re:             0.6
                                              impact of special investigation findings on key intercompany balance sheet accounts
03/09/2023          MC                        Further review of draft board update slides                                               0.3
03/09/2023          MC                        Review non-QuickBooks compilation of balance sheets                                       0.5
03/09/2023          MC                        Working session with K. Wessel, M. Cervi, and J. LaBella (all AlixPartners) re:           2.8
                                              drafting of board update slides for financial statement reconstruction workstream
03/09/2023          SYW                       Update related party intercompany receivables and payables matrix to include              2.0
                                              Alameda InterCo transactions
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                         HOURS
03/09/2023          SYW                       Create related party intercompany receivables and payables matrix pertaining to              0.5
                                              Korean Friend investigation
03/09/2023          SYW                       Create related party intercompany receivables and payables matrix pertaining to              1.5
                                              LedgerX investigation
03/09/2023          SYW                       Create related party intercompany receivables and payables matrix pertaining to              1.1
                                              Mount Olympus investigation
03/09/2023          SYW                       Create related party intercompany receivables and payables matrix pertaining to              2.3
                                              North Dimension investigation
03/09/2023          SYW                       Telephone call with C. Wong and J. Somerville (both AlixPartners) re: key                    0.3
                                              intercompany balance sheet accounts
03/09/2023          SYW                       Telephone call with C. Wong, J. Somerville, L. Goldman (all AlixPartners) re:                0.6
                                              impact of special investigation findings on key intercompany balance sheet accounts
03/09/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re: nature of             0.3
                                              Alameda Research Ltd related party balance (0.3)
03/09/2023          TY                        Add balance sheet category field in the updated chart of accounts                            3.0
03/09/2023          TY                        Code balance sheet line items of non-QuickBooks balance sheets for the uniform               2.8
                                              balance sheet presentation
03/09/2023          TY                        Develop framework to present uniform balance sheet presentation for entities that            1.2
                                              do not have QuickBooks instance
03/09/2023          TY                        Develop the list of bank accounts from the chart of accounts                                 0.4
03/09/2023          TY                        Download balance sheet data of West Realm Shires from QuickBooks                             0.2
03/09/2023          TP                        Preformed analysis on data obtained from the A&M Cash data in support of the                 1.9
                                              analysis of cash flows into and out of FBO accounts
03/09/2023          TP                        Preformed analysis on data obtained from the QB journal entry data in support of             2.2
                                              the analysis of cash flows into and out of FBO accounts
03/09/2023          VA                        Build error handling in the delta report for QuickBooks reconstructed journals to            1.5
                                              reconcile row-count differences between batches
03/09/2023          VA                        Revise process for migrating relevant data from QuickBooks between batches                   1.2
03/09/2023          VA                        Generate draft delta report for comparing different versions of reconstructed                2.2
                                              journals using the QuickBooks backend data from the first two snapshots
03/09/2023          VA                        Revise draft delta report for comparing different versions of reconstructed journals         0.7
                                              using the QuickBooks backend data from the first two snapshots
03/09/2023          VA                        Investigate the issues with deriving a composite primary key for reconstructed               2.4
                                              journals using the QuickBooks backend data
03/10/2023          AS                        Review board slides re: update on financial statement reconstruction                         0.4
03/10/2023          AW                        Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.3
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
03/10/2023          AW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                      0.6
                                              AlixPartners) re: status update on migration and reconstruction of GL data from
                                              QuickBooks
03/10/2023          AW                        Design macro to automate the population of balance sheet outputs by quarter                  2.5
03/10/2023          AW                        Continue design of macro to automate the population of balance sheet outputs by              0.6
                                              quarter
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03/10/2023          AW                        incorporating version 4 of the standardized chart of accounts and performing checks          1.6
03/10/2023          AW                        Update macro to automate the population of balance sheet outputs by quarter                  1.4
03/10/2023          AW                        Waterfall analysis investigations for reconstructed journals                                 2.9
03/10/2023          CAS                       Design data architecture related to the QB's GL information                                  1.1
03/10/2023          CAS                       Review the implementation of the consolidated financial statement system                     0.8
03/10/2023          CC                        Compile a listing of bank statements received since March 5, 2023                            0.7
03/10/2023          CC                        Compile historical cash balance for FTX Japan Services KK                                    0.4
03/10/2023          CC                        Prepare balance sheet to bank reconciliation for Q2 2022                                     1.3
03/10/2023          CC                        Review bank statements of Alameda Ventures Ltd                                               1.4
03/10/2023          CC                        Review foreign currency conversion for FTX Japan Services KK                                 0.8
03/10/2023          CC                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, J. Somerville, F.               0.8
                                              Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of progress report
                                              on cash, intercompany transaction, and digital asset reconstruction workstreams
03/10/2023          DW                        Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.2
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
03/10/2023          DW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                      0.6
                                              AlixPartners) re: status update on migration and reconstruction of GL data from
                                              QuickBooks
03/10/2023          DW                        Write code to audit records from source tables, through intermediary tables into the         2.1
                                              reconstructed journals table
03/10/2023          DL                        Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.3
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
03/10/2023          DL                        Attend working session with F. Liang and T. Yamada re: chart of accounts and                 0.4
                                              balance sheets
03/10/2023          DL                        Document cryptocurrency assets and underlying accounting records on ARL's                    2.6
                                              balance sheet
03/10/2023          DL                        Investigate cryptocurrency assets and underlying accounting records on ARL's                 2.4
                                              balance sheet
03/10/2023          DL                        Update questions for discussion with RLA re financial statements                             1.2
03/10/2023          DL                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, J. Somerville, F.               0.8
                                              Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of progress report
                                              on cash, intercompany transaction, and digital asset reconstruction workstreams
03/10/2023          JCL                       Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.3
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
03/10/2023          JCL                       Update draft slides for board presentation re: historical financial statement                1.3
                                              recreation, trading and crypto related workstreams
03/10/2023          JCL                       Research examples of inaccurate entries demonstrative of control failures at FTX             1.1
                                              and Alameda
03/10/2023          JCL                       Respond to request from counsel re: examples of control failures at FTX                      0.8
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                         HOURS
03/10/2023          JCL                       Review draft slides for board presentation re: historical financial statement                0.7
                                              recreation, trading and crypto related workstreams
03/10/2023          JCL                       Review data supporting digital asset account balances for Alameda Research                   0.8
03/10/2023          JCL                       Review Intercompany matrix and support provided for existing balances                        1.0
03/10/2023          JCL                       Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, J. Somerville, F.               0.8
                                              Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of progress report
                                              on cash, intercompany transaction, and digital asset reconstruction workstreams
03/10/2023          JLS                       Analyze Alameda Research Ventures GL data for Q2-22                                          0.4
03/10/2023          JLS                       Analyze Q2-22 intercompany balance for Alameda Research LLC.                                 0.9
03/10/2023          JLS                       Update internal intercompany balance tracker                                                 0.3
03/10/2023          JLS                       Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, J. Somerville, F.               0.8
                                              Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of progress report
                                              on cash, intercompany transaction, and digital asset reconstruction workstreams
03/10/2023          JKL                       Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.3
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
03/10/2023          JKL                       Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                      0.6
                                              AlixPartners) re: status update on migration and reconstruction of GL data from
                                              QuickBooks
03/10/2023          JKL                       Review the delta report outputs for different versions of reconstructed journals to          2.7
                                              correct issues in the downloaded QuickBooks backend data
03/10/2023          JKL                       Review the SQL script for comparing and creating delta report for different versions         2.5
                                              of reconstructed journals to correct issues in the downloaded QuickBooks backend
                                              data
03/10/2023          JKL                       Continue Review the SQL script for comparing and creating delta report for                   0.8
                                              different versions of reconstructed journals to correct issues in the downloaded
                                              QuickBooks backend data
03/10/2023          JKL                       Summarize the time zone inconsistency issues of the data extraction widget tool              1.4
                                              built for the QuickBooks backend data
03/10/2023          KHW                       Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, J. Somerville, F.               0.8
                                              Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of progress report
                                              on cash, intercompany transaction, and digital asset reconstruction workstreams
03/10/2023          MC                        Analyze non QuickBooks balance sheet summary                                                 1.2
03/10/2023          MC                        Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.3
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
03/10/2023          MC                        Review updated proposed financial statement chart of account mapping                         0.7
03/10/2023          MC                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to discuss non-               0.3
                                              QuickBooks balance sheets, insider related accounts, digital assets identification,
                                              and QuickBooks balance sheet output reconciliation
03/10/2023          MC                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, J. Somerville, F.               0.8
                                              Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of progress report
                                              on cash, intercompany transaction, and digital asset reconstruction workstreams
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                         HOURS
03/10/2023          SYW                       Create related party intercompany receivables and payables matrix pertaining to              1.6
                                              Bonham and FTX employee investigation
03/10/2023          SYW                       Create related party intercompany receivables and payables matrix related to the             1.5
                                              Deltec Loan investigation
03/10/2023          SYW                       Prepare related party intercompany receivables and payables matrix pertaining to             0.5
                                              Guarding Against Pandemics investigation
03/10/2023          SYW                       Prepare related party intercompany receivables and payables matrix pertaining to             1.8
                                              FTX insiders' purchase of WRS shares
03/10/2023          SYW                       Update related party intercompany receivables and payables matrix to include                 1.7
                                              corporate acquisitions booked as loans receivables due from FTX insiders
03/10/2023          SYW                       Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, J. Somerville, F.               0.8
                                              Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of progress report
                                              on cash, intercompany transaction, and digital asset reconstruction workstreams
03/10/2023          SRH                       Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.3
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
03/10/2023          TY                        Add fields of digital asset categories in the chart of accounts                              1.0
03/10/2023          TY                        Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.3
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
03/10/2023          TY                        Attend working session with F. Liang and T. Yamada re: chart of accounts and                 0.4
                                              balance sheets
03/10/2023          TY                        Confirm entities that have balance sheet with foreign currency presentation in               0.2
                                              QuickBooks
03/10/2023          TY                        Develop the comparative balance sheet for entities that do not have QuickBooks               2.0
                                              records
03/10/2023          TY                        Download balance sheet of Alameda Ventures LTD from QuickBooks                               0.1
03/10/2023          TY                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to discuss non-               0.3
                                              QuickBooks balance sheets, insider related accounts, digital assets identification,
                                              and QuickBooks balance sheet output reconciliation
03/10/2023          TY                        Working session with T. Yamada, K. Wessel, C. Wong, C. Chen, J. Somerville, F.               0.8
                                              Liang, M. Cervi, and J. LaBella (all AlixPartners) re: presentation of progress report
                                              on cash, intercompany transaction, and digital asset reconstruction workstreams
03/10/2023          TP                        Perform data mining and research tasks within the A&M Cash data to support the               2.6
                                              recreation of financial statements
03/10/2023          TP                        Perform data mining and research tasks within the QB data to support the                     0.9
                                              reconstruction of the historical balance sheets
03/10/2023          VA                        Attend meeting with A. Walker, M. Cervi, A. Vaibhav, T. Yamada, J. Liao, J.                  0.3
                                              LaBella, F. Liang, S. Hanzi (full attendees), and D. Waterfield (partial attendee) (all
                                              AlixPartners) re: updated chart of accounts, foreign currency conversion in QB
                                              output
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03/10/2023          VA                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                      0.6
                                              AlixPartners) re: status update on migration and reconstruction of GL data from
                                              QuickBooks
03/10/2023          VA                        Revise QuickBooks data migration process for batch downloads to account for                  2.4
                                              record creation times
03/10/2023          VA                        Modify draft of the delta reports for QuickBooks reconstructed journals to include           1.6
                                              __AC metadata columns
03/10/2023          VA                        Conduct data integrity checks on modified draft report of reconstructed QuickBooks           1.2
                                              journals
03/10/2023          VA                        Validate outputs of the first draft of the delta reports for QuickBooks reconstructed        2.1
                                              journals
03/10/2023          VA                        Conduct QA of the output from the first draft of the delta reports for QuickBooks            0.8
                                              reconstruction journals
03/11/2023          JCL                       Draft slides for board deck related to financial statement reconstruction                    2.0
03/11/2023          JCL                       Respond to questions from counsel re: accounting control failures at FTX                     1.3
03/12/2023          EM                        Revise summary re: historical cash balance reconstruction of Q2 2022                         0.8
03/12/2023          EM                        Update bank account balance listing for FTX Japan KK                                         0.7
03/12/2023          EM                        Update bank account balance listing for Ledger Holdings Inc                                  0.4
03/12/2023          EM                        Update bank account balance listing for LedgerPrime LLC                                      0.6
03/12/2023          EM                        Update bank account balance listing for LedgerX LLC                                          1.2
03/12/2023          TT                        Review flow of funds between FTX Digital Markets and other related entities                  0.6
03/13/2023          CAS                       Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.              0.4
                                              Hanzi, E. Mostoff, and F. Liang (all AlixPartners) re: consolidated balance sheet
                                              formation and timing of new QuickBooks data pull
03/13/2023          CAS                       Design data architecture related to the QB's GL information                                  2.1
03/13/2023          CAS                       Review the implementation of the consolidated financial statement system                     1.3
03/13/2023          CC                        Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.                 0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          CC                        Compile historical cash balance for Cottonwood Grove                                         0.7
03/13/2023          CC                        Compile historical cash balance for FTX Turkey Teknoloji Ve Ticaret Anonim                   1.8

03/13/2023          CC                        Compile historical cash balance for Hive Empire Trading Pty LTD                              0.9
03/13/2023          CC                        Review cash activities related to Alameda Research Ltd.'s brokerage accounts                 1.2
03/13/2023          CC                        Update the listing of bank statements received to identify new statements                    0.4
03/13/2023          CC                        Working session with K. Wessel, C. Chen, E. Mostoff (full attendees), and J.                 1.2
                                              LaBella (partial attendee) (all AlixPartners) re: progress report on financial
                                              statement reconstruction
03/13/2023          DJW                       Attend meeting with J. LaBella, F. Liang, K. Wessel (full attendees) D. White, and           0.8
                                              E. Mostoff (partial attendees) (all AlixPartners) to discuss the validation and tracing
                                              of cryptocurrency assets on balance sheets
03/13/2023          DW                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.              0.4
                                              Hanzi, E. Mostoff, and F. Liang (all AlixPartners) re: consolidated balance sheet
                                              formation and timing of new QuickBooks data pull
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03/13/2023          DW                        Performing checks on a subset of redundant QuickBooks tables that verify that they           2.0
                                              do not contain additional, relevant information
03/13/2023          DW                        Review analysis performed to account for points raised in the audit of records in the        1.7
                                              reconstructed journals table
03/13/2023          DL                        Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.                 0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          DL                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.              0.4
                                              Hanzi, E. Mostoff, and F. Liang (all AlixPartners) re: consolidated balance sheet
                                              formation and timing of new QuickBooks data pull
03/13/2023          DL                        Attend meeting with J. LaBella, F. Liang, K. Wessel (full attendees) D. White, and           1.3
                                              E. Mostoff (partial attendees) (all AlixPartners) to discuss the validation and tracing
                                              of cryptocurrency assets on balance sheets
03/13/2023          DL                        Investigate cryptocurrency assets on Alameda Research Holdings' balance sheet                2.3
03/13/2023          DL                        Continue to investigate cryptocurrency assets on Alameda Research Holdings'                  1.2
                                              balance sheet
03/13/2023          DL                        Perform tie-out of wallet transactions output for Alameda Research Holdings                  2.5
03/13/2023          DL                        Continue tie-out of wallet transactions output for Alameda Research Holdings                 1.6
03/13/2023          DL                        Prepare for call with team to discuss cryptocurrency assets                                  0.6
03/13/2023          EM                        Analyze variance between bank account balances and financial statement balances              1.1
                                              for FTX Digital Markets
03/13/2023          EM                        Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.                 0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          EM                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.              0.4
                                              Hanzi, E. Mostoff, and F. Liang (all AlixPartners) re: consolidated balance sheet
                                              formation and timing of new QuickBooks data pull
03/13/2023          EM                        Attend meeting with J. LaBella, F. Liang, K. Wessel (full attendees) D. White, and           0.4
                                              E. Mostoff (partial attendees) (all AlixPartners) to discuss the validation and tracing
                                              of cryptocurrency assets on balance sheets
03/13/2023          EM                        Revise progress report re: cash balance reconstruction                                       1.2
03/13/2023          EM                        Update bank account balance listing for FTX Japan KK                                         0.9
03/13/2023          EM                        Update bank account balance listing for Goodman Investments Ltd                              0.3
03/13/2023          EM                        Update bank account balance listing for Hive Empire Trading Pty Ltd                          0.2
03/13/2023          EM                        Update bank account balance listing for Ledger Holdings Inc                                  0.2
03/13/2023          EM                        Update bank account balance listing for LedgerPrime Digital Asset Opportunities              0.2
                                              Fund LLC
03/13/2023          EM                        Update bank account balance listing for LedgerPrime Digital Asset Opportunities              0.3
                                              Master Fund LP
03/13/2023          EM                        Update bank account balance listing for LedgerPrime Digital Asset Opportunities              0.2
                                              Offshore Fund
03/13/2023          EM                        Update bank account balance listing for LedgerPrime LLC                                      0.8
03/13/2023          EM                        Update bank account balance listing for Maclaurin Investments Ltd                            0.4
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                        HOURS
03/13/2023          EM                        Working session with K. Wessel, C. Chen, E. Mostoff (full attendees), and J.                 1.2
                                              LaBella (partial attendee) (all AlixPartners) re: progress report on financial
                                              statement reconstruction
03/13/2023          JCL                       Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.                 0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          JCL                       Attend meeting with J. LaBella, F. Liang, K. Wessel (full attendees) D. White, and           1.3
                                              E. Mostoff (partial attendees) (all AlixPartners) to discuss the validation and tracing
                                              of cryptocurrency assets on balance sheets
03/13/2023          JCL                       Review account balances across legal entities with crypto assets and fluctuation of          1.4
                                              account balances across quarters
03/13/2023          JCL                       Review updated draft of control failures memo                                                0.6
03/13/2023          JCL                       Working session with J. LaBella, M. Cervi, K. Wessel and J. Somerville (all                  0.8
                                              AlixPartners) re: update to counsel re cash, digital Assets, and intercompany
                                              account verification
03/13/2023          JCL                       Working session with K. Wessel, C. Chen, E. Mostoff (full attendees), and J.                 0.5
                                              LaBella (partial attendee) (all AlixPartners) re: progress report on financial
                                              statement reconstruction
03/13/2023          JCL                       Working session with K. Wessel, M. Cervi, and J. LaBella (all AlixPartners) re:              1.9
                                              editing draft board update slides to incorporate S&C comments for financial
                                              statement reconstruction workstream
03/13/2023          JLS                       Analyze crypto true-up journal entries on Alameda Research Ltd re: Investment In             0.8
                                              Subsidiary account
03/13/2023          JLS                       Analyze largest intercompany transactions in general ledger for Alameda Research             0.8
                                              Ventures Q2-22 period
03/13/2023          JLS                       Analyze largest intercompany transactions in general ledger for Alameda Research             1.2
                                              Ventures Q4-21 period
03/13/2023          JLS                       Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.                 0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          JLS                       Prepare summary update for counsel re: intercompany workstream progress                      0.3
03/13/2023          JLS                       Review intercompany balance workpapers prepared by C. Wong (AlixPartners)                    0.3
03/13/2023          JLS                       Provide comments on intercompany balance workpapers prepared by C. Wong                      0.5
                                              (AlixPartners)
03/13/2023          JLS                       Update internal intercompany balance tracker re: Alameda Research Ltd                        0.6
03/13/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                       0.3
                                              investigation of Q2'22 intercompany balances
03/13/2023          JLS                       Working session with J. LaBella, M. Cervi, K. Wessel and J. Somerville (all                  0.8
                                              AlixPartners) re: update to counsel re cash, digital Assets, and intercompany
                                              account verification
03/13/2023          JKL                       Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.              0.4
                                              Hanzi, E. Mostoff, and F. Liang (all AlixPartners) re: consolidated balance sheet
                                              formation and timing of new QuickBooks data pull
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                        HOURS
03/13/2023          JKL                       Review the delta report outputs for comparing different versions of reconstructed            1.7
                                              journals to correct issues in the downloaded QuickBooks backend data
03/13/2023          JKL                       Continue Review the SQL script for comparing and creating delta report for                   2.0
                                              different versions of reconstructed journals to correct issues in the downloaded
                                              QuickBooks backend data
03/13/2023          JKL                       Update the Python script for automatically extracting and cleaning the QuickBooks            2.8
                                              frontend transaction lists to overcome exporting limitation for instances with large
                                              numbers of transactions
03/13/2023          JKL                       Update the SQL script for dynamically populating the QuickBooks backend master               1.3
                                              tables to adapt to recent data changes
03/13/2023          KHW                       Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.                 0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          KHW                       Attend meeting with J. LaBella, F. Liang, K. Wessel (full attendees) D. White, and           1.3
                                              E. Mostoff (partial attendees) (all AlixPartners) to discuss the validation and tracing
                                              of cryptocurrency assets on balance sheets
03/13/2023          KHW                       Research debtor entities with non-QuickBooks accounting systems for purposes of              0.2
                                              the financial statement recreation
03/13/2023          KHW                       Update working draft of Draft Report to the Board of Directors re: financial                 0.8
                                              statement recreation incorporating feedback from S&C
03/13/2023          KHW                       Working session with J. LaBella, M. Cervi, K. Wessel and J. Somerville (all                  0.8
                                              AlixPartners) re: update to counsel re cash, digital Assets, and intercompany
                                              account verification
03/13/2023          KHW                       Working session with K. Wessel, C. Chen, E. Mostoff (full attendees), and J.                 1.2
                                              LaBella (partial attendee) (all AlixPartners) re: progress report on financial
                                              statement reconstruction
03/13/2023          KHW                       Working session with K. Wessel, M. Cervi, and J. LaBella (all AlixPartners) re:              1.9
                                              editing draft board update slides to incorporate S&C comments for financial
                                              statement reconstruction workstream
03/13/2023          MC                        Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.                 0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          MC                        Further work to review edits on board update slides                                          0.8
03/13/2023          MC                        Review draft record keeping memorandum re: challenged to investigation from lack             0.3
                                              of documentation
03/13/2023          MC                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.              0.4
                                              Hanzi, E. Mostoff, and F. Liang (all AlixPartners) re: consolidated balance sheet
                                              formation and timing of new QuickBooks data pull
03/13/2023          MC                        Review latest progress on intercompany balance analysis                                      0.4
03/13/2023          MC                        Review sample of cash / gal data inconsistencies to support draft record keeping             0.4
                                              memorandum
03/13/2023          MC                        Review sample of intercompany and related party inconsistencies to support draft             0.4
                                              record keeping memorandum
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03/13/2023          MC                        Review status of non-QuickBooks financial statement compilation                          0.3
03/13/2023          MC                        Review work on latest chart of accounts update                                           0.7
03/13/2023          MC                        Working session with J. LaBella, M. Cervi, K. Wessel and J. Somerville (all              0.8
                                              AlixPartners) re: update to counsel re cash, digital Assets, and intercompany
                                              account verification
03/13/2023          MC                        Working session with K. Wessel, M. Cervi, and J. LaBella (all AlixPartners) re:          1.9
                                              editing draft board update slides to incorporate S&C comments for financial
                                              statement reconstruction workstream
03/13/2023          SYW                       Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.             0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          SYW                       Update the Q2'22 intercompany balances scoping analysis to a new template to             2.8
                                              facilitate analysis of intercompany AR/AP balances
03/13/2023          SYW                       Continue to update the Q2'22 intercompany balances scoping analysis to a new             1.2
                                              template to facilitate analysis of intercompany AR/AP balances
03/13/2023          SYW                       Create Q2'22 intercompany balances scoping analysis to a new template to facilitate      2.0
                                              analysis of intercompany AR/AP balances
03/13/2023          SYW                       Prepare related party intercompany receivables and payables matrix pertaining to         1.5
                                              Alameda Loans to WRSS
03/13/2023          SYW                       Create related party intercompany receivables and payables matrix relating to            0.7
                                              investment
03/13/2023          SYW                       Create related party intercompany receivables and payables matrix relating to real       0.3
                                              asset purchases
03/13/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                   0.3
                                              investigation of Q2'22 intercompany balances
03/13/2023          SRH                       Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.          0.4
                                              Hanzi, E. Mostoff, and F. Liang (all AlixPartners) re: consolidated balance sheet
                                              formation and timing of new QuickBooks data pull
03/13/2023          SRH                       Resolve error in Access Searching database for financial statement reconstruction        1.1
                                              efforts
03/13/2023          TY                        Attend meeting with C. Chen, J. Somerville, T. Yamada, F. Liang, C. Wong, K.             0.5
                                              Wessel, M. Cervi, E. Mostoff, and J. LaBella (all AlixPartners) re: progress on
                                              historical cash, digital asset, and intercompany payable/receivable balance
                                              reconstruction
03/13/2023          TY                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.          0.4
                                              Hanzi, E. Mostoff, and F. Liang (all AlixPartners) re: consolidated balance sheet
                                              formation and timing of new QuickBooks data pull
03/13/2023          TY                        Reconcile the back-end QuickBooks data to the front-end data for Alameda                 2.3
                                              Research Holdings, Alameda Research LLC, and unspecified division
03/13/2023          TY                        Reconcile the back-end QuickBooks data to the front-end data for Alameda                 1.6
                                              Research Ltd, Cottonwood Grove Ltd, Cottonwood Technologies Ltd, Euclid Way
                                              Ltd, Hannam Group Inc, Hive Empire Trading Pty Ltd, North Dimension Inc, North
                                              Wireless Dimension Inc
03/13/2023          TY                        Update balance sheet data in the historical recreation matrix                            1.6
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John J. Ray III
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125 Broad Street
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                          HOURS
03/13/2023          TY                        Update the chart of accounts adding digital asset categories                                  2.3
03/13/2023          TT                        Analyze FTX Digital Markets flow of funds                                                     2.3
03/13/2023          TP                        Perform data analysis on the A&M Cash Database data to support the FTX Digital                2.8
                                              Markets flow of funds investigation
03/13/2023          TP                        Perform data analysis on the exchange data re: building database for cryptocurrency           0.4
                                              assets
03/13/2023          TP                        Perform data analysis on the QB data to support the FTX Digital Markets flow of               1.8
                                              funds investigation
03/14/2023          AW                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.               0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          AW                        Update macro to automate the population of balance sheet outputs by quarter                   2.4
03/14/2023          AW                        Update code to reconstruct journals before releasing for production                           2.4
03/14/2023          AW                        Continue update of code to reconstruct journals before releasing for production               1.1
03/14/2023          BFM                       Working session with B. Mackay, S. Hanzi, J. Somerville (all AlixPartners) re:                0.5
                                              categorization of accounting transactions on Alameda Research Ltd Q2-22.
03/14/2023          CAS                       Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.               0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          CAS                       Design data architecture related to the QB's GL information                                   1.4
03/14/2023          CAS                       Review the implementation of the consolidated financial statement system                      1.6
03/14/2023          CC                        Analyze FTX Research Ltd.'s general ledger records to determine the accounting                2.1
                                              pattern of wires related to its brokerage accounts
03/14/2023          CC                        Attend meeting with C. Chen and E. Mostoff (both AlixPartners) re: reconstruction             0.2
                                              of cash balances
03/14/2023          CC                        Attend meeting with T. Yamada, C. Chen, J. Somerville, C. Wong, K. Wessel, F.                 0.7
                                              Liang, E. Mostoff, and J. LaBella (all AlixPartners) re: reconstruction of digital
                                              asset, cash, and intercompany receivable/payable balances
03/14/2023          CC                        Conduct unstructured searches in ESI database for FBO account listings re:                    1.4
                                              historical balance reconstruction
03/14/2023          CC                        Review bank accounts associated with FTX Express Pty Ltd                                      0.9
03/14/2023          CC                        Review FTX Research Ltd.'s brokerage account statements to identify sources of                1.3
                                              funding
03/14/2023          DJW                       Attend meeting with F. Liang and D. White (both AlixPartners) to discuss tracing              0.3
                                              Solana tokens on blockchain platform
03/14/2023          DW                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.               0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          DW                        Create standard pre-production test scripts for the journals table                            1.3
03/14/2023          DW                        Created template report for mapping source columns used in the reconstructed                  0.5
                                              journals table to check for consistency of mapping
03/14/2023          DW                        Investigated exceptions from the pre-production test scripts for the journals table           2.3
03/14/2023          DW                        Review the draft production email to release the latest version of the journals table         0.3
03/14/2023          DW                        Update the draft production email to release the latest version of the journals table to      0.6
                                              include additional information and instructions
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/14/2023          DL                        Attend meeting with F. Liang and D. White (both AlixPartners) to discuss tracing           0.3
                                              Solana tokens on blockchain platform
03/14/2023          DL                        Attend meeting with T. Phelan and F. Liang (both AlixPartners) to discuss building         0.3
                                              database for cryptocurrency assets
03/14/2023          DL                        Attend meeting with T. Yamada, C. Chen, J. Somerville, C. Wong, K. Wessel, F.              0.7
                                              Liang, E. Mostoff, and J. LaBella (all AlixPartners) re: reconstruction of digital
                                              asset, cash, and intercompany receivable/payable balances
03/14/2023          DL                        Working session with J. LaBella, K. Wessel, F. Liang (full attendees), J. Somerville,      1.6
                                              L. Goldman (partial attendees) (All AlixPartners) re: methodology for investigating
                                              cryptocurrency assets
03/14/2023          DL                        Attend working session with L. Goldman, K. Wessel, F. Liang (full attendees), J.           0.9
                                              LaBella (partial attendee) re: validating cryptocurrency activities in the exchange
03/14/2023          DL                        Document observations re cryptocurrency assets on Alameda Research Holdings                1.8
03/14/2023          DL                        Investigate cryptocurrency assets on Alameda Research Holdings' balance sheet              2.7
03/14/2023          DL                        Continue to investigate cryptocurrency assets on Alameda Research Holdings'                0.4
                                              balance sheet
03/14/2023          DL                        Prepare for call with team to discuss cryptocurrency assets                                0.7
03/14/2023          EM                        Attend meeting with C. Chen and E. Mostoff (both AlixPartners) re: reconstruction          0.2
                                              of cash balances
03/14/2023          EM                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.            0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          EM                        Attend meeting with T. Yamada, C. Chen, J. Somerville, C. Wong, K. Wessel, F.              0.7
                                              Liang, E. Mostoff, and J. LaBella (all AlixPartners) re: reconstruction of digital
                                              asset, cash, and intercompany receivable/payable balances
03/14/2023          EM                        Update bank account balance listing for FTX Australia Pty Ltd                              1.4
03/14/2023          EM                        Update bank account balance listing for FTX Japan KK                                       0.5
03/14/2023          EM                        Update bank account balance listing for FTX Turkey                                         0.4
03/14/2023          EM                        Continue update of bank account balance listing for FTX Turkey                             1.6
03/14/2023          EM                        Update bank account balance listing for Island Bay Ventures Inc                            0.2
03/14/2023          EM                        Update bank account balance listing for Ledger Holdings Inc                                0.3
03/14/2023          EM                        Update bank account balance listing for Ledger Holdings Inc                                0.2
03/14/2023          EM                        Update bank account balance listing for Maclaurin Investments Ltd                          0.2
03/14/2023          EM                        Update bank account balance listing for Quoine Pte Ltd                                     1.9
03/14/2023          EM                        Update bank account balance listing for SNG Investments                                    0.3
03/14/2023          GS                        Attend meeting with G. Shapiro and C. Wong (both AlixPartners) re: review journal          0.1
                                              entries related to LedgerX
03/14/2023          JCL                       Attend meeting with T. Yamada, C. Chen, J. Somerville, C. Wong, K. Wessel, F.              0.7
                                              Liang, E. Mostoff, and J. LaBella (all AlixPartners) re: reconstruction of digital
                                              asset, cash, and intercompany receivable/payable balances
03/14/2023          JCL                       Working session with J. LaBella, K. Wessel, F. Liang (full attendees), J. Somerville,      1.6
                                              L. Goldman (partial attendees) (All AlixPartners) re: methodology for investigating
                                              cryptocurrency assets
03/14/2023          JCL                       Attend working session with L. Goldman, K. Wessel, F. Liang (full attendees), J.           0.3
                                              LaBella (partial attendee) re: validating cryptocurrency activities in the exchange
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03/14/2023          JCL                       Coordination with M. Cilia (RLKS) re: access to RLA and scope of assistance                0.3
                                              needed for historical financial statement work
03/14/2023          JCL                       Edit draft slides for board meeting                                                        0.7
03/14/2023          JCL                       Review progress to date among legal entities and accounts re: board meeting                0.8
03/14/2023          JCL                       Review updated control failures memo                                                       0.2
03/14/2023          JCL                       Edit updated control failures memo                                                         0.2
03/14/2023          JCL                       Review draft and provide additional examples and potential edits for counsel re:           1.6
                                              control failures at FTX
03/14/2023          JCL                       Working session with C. Wong, J. Somerville, M. Cervi, J. Labella, K. Wessel (all          1.0
                                              AlixPartners) re: A&M touch point discussion topics and intercompany balance
                                              approach
03/14/2023          JLS                       Attend meeting with T. Yamada, C. Chen, J. Somerville, C. Wong, K. Wessel, F.              0.7
                                              Liang, E. Mostoff, and J. LaBella (all AlixPartners) re: reconstruction of digital
                                              asset, cash, and intercompany receivable/payable balances
03/14/2023          JLS                       Working session with J. LaBella, K. Wessel, F. Liang (full attendees), J. Somerville,      0.4
                                              L. Goldman (partial attendees) (All AlixPartners) re: methodology for investigating
                                              cryptocurrency assets
03/14/2023          JLS                       Investigate Alameda Research Investments Ltd related party balances re: Modulo             1.1
                                              transaction
03/14/2023          JLS                       Prepare schematic for Cottonwood Grove's pledged digital assets                            0.6
03/14/2023          JLS                       Update internal intercompany balance tracker for Alameda Research Ltd based on             0.4
                                              Modulo summary
03/14/2023          JLS                       Review balance investigation workpapers prepared by C. Wong (AlixPartners)                 0.8
                                              related to insider loans
03/14/2023          JLS                       Review balance investigation workpapers prepared by C. Wong (AlixPartners)                 0.6
                                              related to insiders' purchase of WRS shares
03/14/2023          JLS                       Update internal intercompany balance tracker re: Alameda Research Ltd - Related            0.6
                                              Party A/P
03/14/2023          JLS                       Working session with B. Mackay, S. Hanzi, J. Somerville (all AlixPartners) re:             0.5
                                              categorization of accounting transactions on Alameda Research Ltd Q2-22.
03/14/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                     0.3
                                              investigation of Q2'22 intercompany balances
03/14/2023          JLS                       Working session with C. Wong, J. Somerville, M. Cervi, J. Labella, K. Wessel (all          1.0
                                              AlixPartners) re: A&M touch point discussion topics and intercompany balance
                                              approach
03/14/2023          JLS                       Working session with C. Wong, J. Somerville, M. Cervi, K. Wessel (all                      0.8
                                              AlixPartners) re: intercompany balances approach
03/14/2023          JKL                       Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.            0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          JKL                       Develop a summary spreadsheet for mapping all columns from the QuickBooks                  2.7
                                              backend tables to the reconstructed journals table as part of the quality assurance
                                              measure for the new data production release
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/14/2023          JKL                       Continue to develop a summary spreadsheet for mapping all columns from the                 1.7
                                              QuickBooks backend tables to the reconstructed journals table as part of the quality
                                              assurance measure for the new data production release
03/14/2023          JKL                       Review data for the reconstructed journals as part of the quality assurance measure        2.4
                                              for the new data production release
03/14/2023          JKL                       Update the Python script for automatically extracting and cleaning the QuickBooks          1.0
                                              frontend transaction lists to overcome exporting limitation for instances with large
                                              numbers of transactions
03/14/2023          KHW                       Attend meeting with T. Yamada, C. Chen, J. Somerville, C. Wong, K. Wessel, F.              0.7
                                              Liang, E. Mostoff, and J. LaBella (all AlixPartners) re: reconstruction of digital
                                              asset, cash, and intercompany receivable/payable balances
03/14/2023          KHW                       Working session with J. LaBella, K. Wessel, F. Liang (full attendees), J. Somerville,      1.6
                                              L. Goldman (partial attendees) (All AlixPartners) re: methodology for investigating
                                              cryptocurrency assets
03/14/2023          KHW                       Attend working session with L. Goldman, K. Wessel, F. Liang (full attendees), J.           0.9
                                              LaBella (partial attendee) re: validating cryptocurrency activities in the exchange
03/14/2023          KHW                       Review historical legal entity matrices to assess financial statement data coverage        0.5
                                              for purposes of prioritizing financial statement reconstruction analyses
03/14/2023          KHW                       Working session with C. Wong, J. Somerville, M. Cervi, J. Labella, K. Wessel (all          1.0
                                              AlixPartners) re: A&M touch point discussion topics and intercompany balance
                                              approach
03/14/2023          KHW                       Working session with C. Wong, J. Somerville, M. Cervi, K. Wessel (all                      0.8
                                              AlixPartners) re: intercompany balances approach
03/14/2023          LMG                       Working session with J. LaBella, K. Wessel, F. Liang (full attendees), J. Somerville,      0.3
                                              L. Goldman (partial attendees) (All AlixPartners) re: methodology for investigating
                                              cryptocurrency assets
03/14/2023          LMG                       Attend working session with L. Goldman, K. Wessel, F. Liang (full attendees), J.           0.9
                                              LaBella (partial attendee) re: validating cryptocurrency activities in the exchange
03/14/2023          MC                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.            0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          MC                        Further review of progress on intercompany balance analysis                                0.3
03/14/2023          MC                        Review document related to intercompany agreement documentation as part of                 1.4
                                              FTX.US audit sent by J. Rosenfeld (S&C)
03/14/2023          MC                        Review insider payment master tracker sent by J. Croke (S&C)                               1.2
03/14/2023          MC                        Review latest progress on intercompany balance analysis                                    1.2
03/14/2023          MC                        Review work on latest chart of accounts update                                             1.6
03/14/2023          MC                        Working session with C. Wong, J. Somerville, M. Cervi, J. Labella, K. Wessel (all          1.0
                                              AlixPartners) re: A&M touch point discussion topics and intercompany balance
                                              approach
03/14/2023          MC                        Working session with C. Wong, J. Somerville, M. Cervi, K. Wessel (all                      0.8
                                              AlixPartners) re: intercompany balances approach
03/14/2023          MC                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: historical             0.1
                                              recreation matrix and QuickBooks reconciliation
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DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                        HOURS
03/14/2023          SYW                       Attend meeting with G. Shapiro and C. Wong (both AlixPartners) re: review journal          0.1
                                              entries related to LedgerX
03/14/2023          SYW                       Attend meeting with T. Yamada, C. Chen, J. Somerville, C. Wong, K. Wessel, F.              0.7
                                              Liang, E. Mostoff, and J. LaBella (all AlixPartners) re: reconstruction of digital
                                              asset, cash, and intercompany receivable/payable balances
03/14/2023          SYW                       Conduct quality analysis check on related party matrix to ensure the inclusion of all      2.2
                                              relevant entity accounts
03/14/2023          SYW                       Prepare Q2'22 intercompany balances scoping analysis related to LedgerX                    2.8
03/14/2023          SYW                       Prepare Q2'22 intercompany balances scoping analysis related to BlockFi loan               0.8
03/14/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                     0.3
                                              investigation of Q2'22 intercompany balances
03/14/2023          SYW                       Working session with C. Wong, J. Somerville, M. Cervi, J. Labella, K. Wessel (all          1.0
                                              AlixPartners) re: A&M touch point discussion topics and intercompany balance
                                              approach
03/14/2023          SYW                       Working session with C. Wong, J. Somerville, M. Cervi, K. Wessel (all                      0.8
                                              AlixPartners) re: intercompany balances approach
03/14/2023          SRH                       Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.            0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          SRH                       Working session with B. Mackay, S. Hanzi, J. Somerville (all AlixPartners) re:             0.5
                                              categorization of accounting transactions on Alameda Research Ltd Q2-22.
03/14/2023          TY                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.            0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          TY                        Attend meeting with T. Yamada, C. Chen, J. Somerville, C. Wong, K. Wessel, F.              0.7
                                              Liang, E. Mostoff, and J. LaBella (all AlixPartners) re: reconstruction of digital
                                              asset, cash, and intercompany receivable/payable balances
03/14/2023          TY                        Reconcile the back-end QuickBooks data to the front-end data for Alameda                   1.9
                                              Research Ventures LLC, Blockfolio, Inc, Crypto Bahamas LLC, FTX Digital
                                              Holdings (Singapore) Pte Ltd, FTX Digital Markets Ltd, FTX Foundations Inc,
                                              FTX Japan Services KK, FTX Lend Inc, FTX Property Holdings Ltd
03/14/2023          TY                        Reconcile the back-end QuickBooks data to the front-end data for FTX Trading,              3.0
                                              Ltd, FTX Ventures Ltd, GG Trading Terminal Ltd, Hawaii Digital Assets Inc,
                                              Island Bay Ventures Inc, West Realm Shires Financial Services Inc, FTX Capital
                                              Markets LLC, West Realm Shires Financial Services Inc, , West Realm Shires, Inc,
                                              West Realm Shires Inc, West Realm Shires Services Inc
03/14/2023          TY                        Update the balance sheet data in the historical recreation matrix                          0.2
03/14/2023          TY                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: historical             0.1
                                              recreation matrix and QuickBooks reconciliation
03/14/2023          TP                        Attend meeting with C. Cipione, D. Waterfield, M. Cervi, J. Liao, T. Yamada, S.            0.2
                                              Hanzi, E. Mostoff, A. Walker, and T. Phelan (all AlixPartners) re: updated
                                              reconstruction journals
03/14/2023          TP                        Attend meeting with T. Phelan and F. Liang (both AlixPartners) to discuss building         0.3
                                              database for cryptocurrency assets
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/15/2023          AW                        Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                    0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          AW                        Conduct quality analysis check on QuickBooks migration delta output                        1.5
03/15/2023          AW                        Conduct quality analysis check on QuickBooks migration code                                1.3
03/15/2023          AW                        Release reconstructed journals and recreated balance sheet to production                   2.6
03/15/2023          BFM                       Attend working session with D. White, K. Wessel, F. Liang (full attendees) C.              1.1
                                              Cipione, L. Goldman, J. LaBella, B. Mackay, T. Phelan (partial attendees) re:
                                              validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          CAS                       Attend working session with D. White, K. Wessel, F. Liang (full attendees) C.              0.6
                                              Cipione, L. Goldman, J. LaBella, B. Mackay, T. Phelan (partial attendees) re:
                                              validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          CAS                       Design data architecture related to the QB's GL information                                1.8
03/15/2023          CAS                       Review the implementation of the consolidated financial statement system                   1.4
03/15/2023          CC                        Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                 0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
03/15/2023          CC                        Compile cash balance for North Dimension Inc                                               0.9
03/15/2023          CC                        Prepare foreign currency exchange rates (INT, NOK and NZD) for cash balance                0.8
                                              conversion
03/15/2023          CC                        Review historical cash balance for West Realm Shires Inc                                   1.5
03/15/2023          CC                        Analyze GL data to identify bank accounts shared by multiple entities                      1.1
03/15/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: cash balance           1.2
                                              reconstruction and bank account tracker reconciliation
03/15/2023          CC                        Analyze chart of accounts to identify bank accounts shared by multiple entities            0.8
03/15/2023          CC                        Review bank statements to identify bank accounts shared by multiple entities               0.6
03/15/2023          DJW                       Attend working session with D. White, K. Wessel, F. Liang (full attendees) C.              1.2
                                              Cipione, L. Goldman, J. LaBella, B. Mackay, T. Phelan (partial attendees) re:
                                              validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          DW                        Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                    0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          DW                        Make updates to current pipeline of activities relating to QuickBooks analysis             0.3
03/15/2023          DL                        Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                 0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
03/15/2023          DL                        Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                    0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          DL                        Attend working session with D. White, K. Wessel, F. Liang (full attendees) C.              1.2
                                              Cipione, L. Goldman, J. LaBella, B. Mackay, T. Phelan (partial attendees) re:
                                              validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          DL                        Attend working session with K. Wessel and F. Liang (both AlixPartners) re: next            0.9
                                              steps on validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          DL                        Document observations re cryptocurrency assets on Alameda Research Holdings                1.1
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                       HOURS
03/15/2023          DL                        Investigate Cottonwood Grove's digital assets                                               1.6
03/15/2023          DL                        Research historical pricing and liquidity of relevant cryptocurrency assets/tokens          1.4
                                              held by Alameda Research Holdings
03/15/2023          DL                        Working session with C. Wong, J. Somerville, and F. Liang (all AlixPartners) re:            0.5
                                              investments in cryptocurrency regarding Genesis
03/15/2023          DL                        Working session with L. Goldman, K. Wessel, M. Cervi, F. Liang, J. Somerville (all          0.7
                                              AlixPartners) re: Alvarez and Marsal presentation on Alameda trading deficit
03/15/2023          EM                        Analyze mapping of G/L cash accounts to FTX/Alameda bank accounts                           1.7
03/15/2023          EM                        Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                  0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
03/15/2023          EM                        Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                     0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          EM                        Reconcile bank accounts listed in bank tracker to accounts mapped to QuickBooks             2.1
                                              G/L
03/15/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: cash balance            1.2
                                              reconstruction and bank account tracker reconciliation
03/15/2023          EM                        Working session with E. Mostoff and J. Somerville (both AlixPartners) re: Modulo            0.6
                                              journal entries -Q2 and Q3, 2022
03/15/2023          GS                        Working session with C. Wong and G. Shapiro (both AlixPartners) re: review GL               0.4
                                              data relating to LedgerX
03/15/2023          JCL                       Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                  0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
03/15/2023          JCL                       Attend working session with D. White, K. Wessel, F. Liang (full attendees) C.               0.5
                                              Cipione, L. Goldman, J. LaBella, B. Mackay, T. Phelan (partial attendees) re:
                                              validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          JCL                       Edit updated control failures memo                                                          0.9
03/15/2023          JCL                       Review balance sheets for non-QB entities and coverage of debtor vs non-debtor              1.1
                                              entities
03/15/2023          JCL                       Review documents related to entity of interest transactions and loans as it relates to      0.7
                                              balances carried on balance sheet
03/15/2023          JCL                       Review draft analyses of related party account balances and support for transaction         1.0
                                              detail
03/15/2023          JCL                       Review lead sheet analysis and updated coverage of cash account research for                0.9
                                              financial statement reconstruction
03/15/2023          JCL                       Working session with C. Wong, J. Somerville, J. Labella (full attendees) M. Cervi           0.6
                                              and K. Wessel (partial attendees) (all AlixPartners) re: intercompany balance
                                              approach
03/15/2023          JCL                       Working session with J. LaBella, M. Cervi, K. Wessel, and T. Yamada (all                    0.6
                                              AlixPartners) to discuss failures report review
03/15/2023          JLS                       Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                  0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                        HOURS
03/15/2023          JLS                       Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                      0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          JLS                       Compile schedules and state of financial affairs lodgments to prior analysis re              1.3
                                              :intercompany balances
03/15/2023          JLS                       Investigate digital asset transfers within FTX group re: Cottonwood Grove                    0.4
03/15/2023          JLS                       Investigate journal entry activity in Alameda Research Ltd.'s Investment In                  0.4
                                              Subsidiary account
03/15/2023          JLS                       Prepare summary level schematic related to Modulo transaction                                0.4
03/15/2023          JLS                       Update internal intercompany balance tracker for Alameda Research Ltd based on               0.8
                                              Modulo summary
03/15/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                       0.2
                                              investigation of Q2'22 intercompany balances
03/15/2023          JLS                       Working session with C. Wong, J. Somerville, and F. Liang (all AlixPartners) re:             0.5
                                              investments in cryptocurrency relating to Genesis
03/15/2023          JLS                       Working session with C. Wong, J. Somerville, J. Labella (full attendees) M. Cervi            0.6
                                              and K. Wessel (partial attendees) (all AlixPartners) re: intercompany balance
                                              approach
03/15/2023          JLS                       Working session with E. Mostoff and J. Somerville (both AlixPartners) re: Modulo             0.6
                                              journal entries -Q2 and Q3, 2022
03/15/2023          JLS                       Working session with L. Goldman, K. Wessel, M. Cervi, F. Liang, J. Somerville (all           0.7
                                              AlixPartners) re: Alvarez and Marsal presentation on Alameda trading deficit
03/15/2023          JKL                       Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                      0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          JKL                       Prepare an email summarizing the understanding of how the newly added, deleted,              1.7
                                              and modified records are represented in the QuickBooks backend data
03/15/2023          JKL                       Update the Python script for automatically extracting and cleaning the QuickBooks            2.2
                                              frontend transaction lists to overcome exporting limitation for instances with large
                                              numbers of transactions
03/15/2023          JKL                       Update the SQL scripts for creating and populating the master tables to include both         2.2
                                              batch ID and batch instance GUID
03/15/2023          KHW                       Analyze historical financial statements re: identification of third party loan payables      1.1
                                              and receivables to prioritize balance sheet reconstruction analysis
03/15/2023          KHW                       Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                   0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
03/15/2023          KHW                       Attend working session with D. White, K. Wessel, F. Liang (full attendees) C.                1.2
                                              Cipione, L. Goldman, J. LaBella, B. Mackay, T. Phelan (partial attendees) re:
                                              validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          KHW                       Attend working session with K. Wessel and F. Liang (both AlixPartners) re: next              0.9
                                              steps on validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          KHW                       Review draft FTX report on control failures re: historical financial statement               1.5
                                              reconstruction considerations
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03/15/2023          KHW                       Working session with C. Wong, J. Somerville, J. Labella (full attendees) M. Cervi          0.5
                                              and K. Wessel (partial attendees) (all AlixPartners) re: intercompany balance
                                              approach
03/15/2023          KHW                       Working session with J. LaBella, M. Cervi, K. Wessel, and T. Yamada (all                   0.6
                                              AlixPartners) to discuss failures report review
03/15/2023          KHW                       Working session with L. Goldman, K. Wessel, M. Cervi, F. Liang, J. Somerville (all         0.7
                                              AlixPartners) re: Alvarez and Marsal presentation on Alameda trading deficit
03/15/2023          LMG                       Attend working session with D. White, K. Wessel, F. Liang (full attendees) C.              0.5
                                              Cipione, L. Goldman, J. LaBella, B. Mackay, T. Phelan (partial attendees) re:
                                              validating historical balances of FTT tokens for Cottonwood Grove
03/15/2023          LMG                       Working session with L. Goldman, K. Wessel, M. Cervi, F. Liang, J. Somerville (all         0.7
                                              AlixPartners) re: Alvarez and Marsal presentation on Alameda trading deficit
03/15/2023          MC                        Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                 0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
03/15/2023          MC                        Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                    0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          MC                        Review list of questions prepared for Caroline Ellison interview                           0.6
03/15/2023          MC                        Update historical recreation matrix with supplemental data provided by A&M                 2.8
03/15/2023          MC                        Draft related issues list on analysis of Alameda Research KK back end financial            0.4
                                              statement recreation to front end
03/15/2023          MC                        Draft related issues list on analysis of Alameda Research LTD back end financial           0.8
                                              statement recreation to front end
03/15/2023          MC                        Draft related issues list on analysis of Alameda Resources LLC back end financial          0.7
                                              statement recreation to front end
03/15/2023          MC                        Draft related issues list on analysis of Cottonwood Grove back end financial               0.6
                                              statement recreation to front end
03/15/2023          MC                        Draft related issues list on analysis of WRSS back end financial statement                 1.3
                                              recreation to front end
03/15/2023          MC                        Working session with C. Wong, J. Somerville, J. Labella (full attendees) M. Cervi          0.2
                                              and K. Wessel (partial attendees) (all AlixPartners) re: intercompany balance
                                              approach
03/15/2023          MC                        Working session with J. LaBella, M. Cervi, K. Wessel, and T. Yamada (all                   0.6
                                              AlixPartners) to discuss failures report review
03/15/2023          MC                        Working session with L. Goldman, K. Wessel, M. Cervi, F. Liang, J. Somerville (all         0.7
                                              AlixPartners) re: Alvarez and Marsal presentation on Alameda trading deficit
03/15/2023          MC                        Working session with M. Cervi and T. Yamada (both AlixPartners) to discuss the             0.4
                                              historical recreation matrix and the chart of accounts
03/15/2023          SYW                       Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                 0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
03/15/2023          SYW                       Review Q2'22 intercompany balances scoping analysis to ensure formula                      1.5
                                              consistency
03/15/2023          SYW                       Update Q2'22 intercompany balances scoping analysis related to LedgerX                     2.0
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/15/2023          SYW                       Create Q2'22 intercompany balances scoping analysis pertaining to treasury cash            0.5
                                              management between Alameda entities and FTX trading
03/15/2023          SYW                       Update formulas used in Q2'22 intercompany balances scoping analysis                       1.1
03/15/2023          SYW                       Review FTX insider payments master tracker to inform updates to Q2'22                      0.3
                                              intercompany balances scoping analysis
03/15/2023          SYW                       Working session with C. Wong and G. Shapiro (both AlixPartners) re: GL data                0.4
                                              relating to LedgerX
03/15/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                     0.2
                                              investigation of Q2'22 intercompany balances
03/15/2023          SYW                       Working session with C. Wong, J. Somerville, and F. Liang (all AlixPartners) re:           0.5
                                              investments in cryptocurrency relating to Genesis
03/15/2023          SYW                       Working session with C. Wong, J. Somerville, J. Labella (full attendees) M. Cervi          0.6
                                              and K. Wessel (partial attendees) (all AlixPartners) re: intercompany balance
                                              approach
03/15/2023          TY                        Attend meeting with K. Wessel, T. Yamada, C. Wong, C. Chen, J. LaBella, F.                 0.5
                                              Liang, M. Cervi, J. Somerville, and E. Mostoff (all AlixPartners) re: intercompany
                                              transaction, digital asset, and loan balances
03/15/2023          TY                        Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                    0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          TY                        Analyze variance between the back-end and front-end QuickBooks data                        1.3
03/15/2023          TY                        Review A&M's entity tracker and verify the existence of accounting records                 1.2
03/15/2023          TY                        Update mapping of the chart of accounts based on the new data extract from the             1.8
                                              front-end QuickBooks data
03/15/2023          TY                        Update the chart of accounts adding digital asset categories                               2.1
03/15/2023          TY                        Update the fields of the chart of accounts to categorize the insider-related accounts      1.3
                                              and other accounts
03/15/2023          TY                        Working session with J. LaBella, M. Cervi, K. Wessel, and T. Yamada (all                   0.6
                                              AlixPartners) to discuss failures report review
03/15/2023          TY                        Working session with M. Cervi and T. Yamada (both AlixPartners) to discuss the             0.4
                                              historical recreation matrix and the chart of accounts
03/15/2023          TP                        Attend meeting with T. Yamada, D. Waterfield, E. Mostoff, A. Walker, J.                    0.3
                                              Somerville, F. Liang, T. Phelan, M. Cervi, and J. Liao (all AlixPartners) re: updated
                                              balance sheet output
03/15/2023          TP                        Attend working session with D. White, K. Wessel, F. Liang (full attendees) C.              1.0
                                              Cipione, L. Goldman, J. LaBella, B. Mackay, T. Phelan (partial attendees) re:
                                              validating historical balances of FTT tokens for Cottonwood Grove
03/16/2023          AW                        Attend meeting with D. Waterfield, A. Walker and J. Liao (all AlixPartners) re:            0.8
                                              production release of the balance sheet and underlying core QuickBooks backend
                                              tables, update on the upcoming crypto exchange workstream, and discussion on the
                                              mechanism of crypto exchanges
03/16/2023          AW                        Attend meeting with T. Yamada, M. Cervi, E. Mostoff, D. Waterfield, J. Liao, and           0.2
                                              A. Walker (all AlixPartners) re: Quality check of updated balance sheet output
03/16/2023          AW                        Investigate FTX Trading balance sheet AP issues                                            2.4
03/16/2023          AW                        Investigate FTX Trading balance sheet equity issues                                        1.8
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/16/2023          AW                        Investigate specific entity balance sheet AP issues                                        2.0
03/16/2023          AW                        Release 16 underlying QuickBooks tables for production                                     1.7
03/16/2023          AV                        Working session with C. Wong, J. Somerville, F. Liang, J. Labella, K. Wessel, A.           0.5
                                              Vanderkamp (all AlixPartners) re: entity of interest loans
03/16/2023          CAS                       Design data architecture related to the QB's GL information                                0.2
03/16/2023          CAS                       Review the implementation of the consolidated financial statement system                   1.8
03/16/2023          CC                        Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.          0.7
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          CC                        Attend meeting with K. Wessel, C. Chen and E. Mostoff (all AlixPartners) re:               1.1
                                              progress on cash balance reconstruction, FBO account classifications, and updates
                                              to bank account tracker
03/16/2023          CC                        Input PLN and SEK foreign currency exchange rates for cash balance conversion              0.6
03/16/2023          CC                        Migrate bank statements tracker attributes to an updated version                           1.8
03/16/2023          CC                        Perform a reconciliation of entity names between the master entities listing and cash      1.1
                                              workpaper
03/16/2023          CC                        Reconcile entity names and IDs between the master entities listing and bank                0.7
                                              statements tracker
03/16/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: reconciliation         0.7
                                              of bank account tracker with cash balance reconstruction workpaper
03/16/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: summary of             1.1
                                              cash balance reconstruction
03/16/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: updates to             0.6
                                              historical cash balances using latest QuickBooks output
03/16/2023          CC                        Working session with C. Chen and F. Liang (both AlixPartners) re: location of              0.2
                                              appropriate GL data records to support financial statement reconstruction efforts
03/16/2023          DJW                       Research Cotton Grove FTT historical holdings for balance sheet reconstruction             2.1
03/16/2023          DW                        Attend meeting with D. Waterfield, A. Walker and J. Liao (all AlixPartners) re:            0.8
                                              production release of the balance sheet and underlying core QuickBooks backend
                                              tables, update on the upcoming crypto exchange workstream, and discussion on the
                                              mechanism of crypto exchanges
03/16/2023          DW                        Attend meeting with T. Yamada, M. Cervi, E. Mostoff, D. Waterfield, J. Liao, and           0.2
                                              A. Walker (all AlixPartners) re: QC of updated balance sheet output
03/16/2023          DW                        Review the draft delta analysis code and report                                            1.7
03/16/2023          DW                        Write up comments and observations on the draft delta analysis code and report             0.3
03/16/2023          DL                        Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.          0.7
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          DL                        Analyze historical details of Cottonwood Grove's digital assets                            2.2
03/16/2023          DL                        Revise analysis of details of Cottonwood Grove's digital assets                            1.0
03/16/2023          DL                        Summarize records of cryptocurrency assets held by Alameda Research Holdings               0.8
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03/16/2023          DL                        Analyze records of cryptocurrency assets held by Alameda Research Holdings                  2.7
03/16/2023          DL                        Working session with C. Chen and F. Liang (both AlixPartners) re: location of               0.2
                                              appropriate GL data records to support financial statement reconstruction efforts
03/16/2023          DL                        Working session with C. Wong, J. Somerville, F. Liang, J. Labella, K. Wessel, A.            0.5
                                              Vanderkamp (all AlixPartners) re: entity of interest loans
03/16/2023          EM                        Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.           0.7
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          EM                        Attend meeting with K. Wessel, C. Chen and E. Mostoff (all AlixPartners) re:                1.1
                                              progress on cash balance reconstruction, FBO account classifications, and updates
                                              to bank account tracker
03/16/2023          EM                        Attend meeting with T. Yamada, M. Cervi, E. Mostoff, D. Waterfield, J. Liao, and            0.2
                                              A. Walker (all AlixPartners) re: QC of updated balance sheet output
03/16/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: reconciliation          0.7
                                              of bank account tracker with cash balance reconstruction workpaper
03/16/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: summary of              1.1
                                              cash balance reconstruction
03/16/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: updates to              0.6
                                              historical cash balances using latest QuickBooks output
03/16/2023          EM                        Working session with E. Mostoff and J. Somerville (both AlixPartners) re: flows             0.3
                                              from FTX Trading Ltd to Modulo
03/16/2023          EM                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re:                      0.2
                                              intercompany payable/receivable balances between Alameda Research Ltd to
                                              Alameda Research Investments Ltd
03/16/2023          JCL                       Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.           0.7
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          JCL                       Discussion with M. Cilia re: status of post petition financial reporting and access to      0.3
                                              RLA work papers for historical financial statements
03/16/2023          JCL                       Review topics requiring clarification for meeting with RLA to understand available          1.1
                                              documents supporting historical financial statements
03/16/2023          JCL                       Revise questions requiring clarification in preparation for meeting with RLA to             0.4
                                              understand available documents supporting historical financial statements
03/16/2023          JCL                       Review investment in crypto balances for Alameda accounts and supporting                    0.8
                                              schedules
03/16/2023          JCL                       Review updated analysis of journal entries supporting inter-company and                     1.1
                                              investment balances
03/16/2023          JCL                       Working session with C. Wong, J. Somerville, F. Liang, J. Labella, K. Wessel, A.            0.5
                                              Vanderkamp (all AlixPartners) re: entity of interest loans
03/16/2023          JCL                       Working session with C. Wong, J. Somerville, J. Labella, (all AlixPartners) re:             0.5
                                              InterCo updates for A&M discussion
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03/16/2023          JLS                       Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.          0.7
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          JLS                       Perform unstructured data searches on RLA intercompany workpapers to assist in             0.6
                                              preparation of questions for RLA.
03/16/2023          JLS                       Prepare proposed intercompany accounting questions for C. Ellison                          0.4
03/16/2023          JLS                       Prepare notes on pledged FTT balances based on loan documentation for entity of            0.7
                                              interest Series A share issuance
03/16/2023          JLS                       Review prior AlixPartners work on Modulo transaction and proposed corrective               1.8
                                              accounting entries based on same
03/16/2023          JLS                       Update internal intercompany balance tracker for proposed accounting adjustments           0.8
                                              re: Alameda Research Investments Ltd
03/16/2023          JLS                       Working session with C. Wong, J. Somerville, F. Liang, J. Labella, K. Wessel, A.           0.5
                                              Vanderkamp (all AlixPartners) re: entity of interest loans
03/16/2023          JLS                       Working session with C. Wong, J. Somerville, J. Labella, (all AlixPartners) re:            0.5
                                              InterCo updates for A&M discussion
03/16/2023          JLS                       Working session with E. Mostoff and J. Somerville (both AlixPartners) re: flows            0.3
                                              from FTX Trading Ltd to Modulo
03/16/2023          JKL                       Analyze the false positives cases identified in the delta report of the reconstructed      3.0
                                              journals to understand and resolve the underlying data issues
03/16/2023          JKL                       Attend meeting with D. Waterfield, A. Walker and J. Liao (all AlixPartners) re:            0.8
                                              production release of the balance sheet and underlying core QuickBooks backend
                                              tables, update on the upcoming crypto exchange workstream, and discussion on the
                                              mechanism of crypto exchanges
03/16/2023          JKL                       Attend meeting with T. Yamada, M. Cervi, E. Mostoff, D. Waterfield, J. Liao, and           0.2
                                              A. Walker (all AlixPartners) re: QC of updated balance sheet output
03/16/2023          JKL                       Update the Excel spreadsheet for presenting the delta report of the reconstructed          1.6
                                              journals to improve the format and explanation
03/16/2023          JKL                       Update the SQL script for the delta report of the reconstructed journals to eliminate      2.4
                                              false positives and flag cases with data quality issues
03/16/2023          KHW                       Analyze historical financial statements re: Alameda third party loan balances for          1.2
                                              balance sheet reconstruction
03/16/2023          KHW                       Analyze journal entry detail re: Alameda third party loan balances identified as           1.2
                                              prioritized material balances for reconstruction
03/16/2023          KHW                       Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.          0.7
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          KHW                       Attend meeting with K. Wessel, C. Chen and E. Mostoff (all AlixPartners) re:               1.1
                                              progress on cash balance reconstruction, FBO account classifications, and updates
                                              to bank account tracker
03/16/2023          KHW                       Prepare for meeting with A&M re: QuickBooks coordination                                   0.3
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                      HOURS
03/16/2023          KHW                       Working session with C. Wong, J. Somerville, F. Liang, J. Labella, K. Wessel, A.         0.5
                                              Vanderkamp (all AlixPartners) re: entity of interest loans
03/16/2023          MC                        Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.        0.7
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          MC                        Attend meeting with T. Yamada, M. Cervi, E. Mostoff, D. Waterfield, J. Liao, and         0.2
                                              A. Walker (all AlixPartners) re: QC of updated balance sheet output
03/16/2023          MC                        Examine token schedule related to S&C request for token purchase agreements              0.6
03/16/2023          MC                        Review Alameda Research LLC SOFA/SOALS                                                   0.7
03/16/2023          MC                        Review Alameda Research LTD SOFA/SOALS                                                   0.5
03/16/2023          MC                        Review current status of account remapping                                               1.2
03/16/2023          MC                        Review Global Notes filed with SOFA SOALS                                                0.4
03/16/2023          MC                        Review reconstruct journal update from A. Walker (AlixPartners)                          0.4
03/16/2023          MC                        Review West Realm Shires Services SOFA/SOALS                                             1.1
03/16/2023          SYW                       Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.        0.5
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          SYW                       Update Q2'22 intercompany balances scoping analysis to include transactions              2.8
                                              related to WRS's acquisition of interest
03/16/2023          SYW                       Update Q2'22 intercompany balances scoping analysis related to LedgerX                   2.2
03/16/2023          SYW                       Continue to update Q2'22 intercompany balances scoping analysis related to               0.7
                                              LedgerX
03/16/2023          SYW                       Update the Q2'22 intercompany balances scoping analysis related to the BlockFi           0.8
                                              loan investigation
03/16/2023          SYW                       Working session with C. Wong, J. Somerville, F. Liang, J. Labella, K. Wessel, A.         0.5
                                              Vanderkamp (all AlixPartners) re: entity of interest loans
03/16/2023          SYW                       Working session with C. Wong, J. Somerville, J. Labella, (all AlixPartners) re:          0.5
                                              InterCo updates for A&M discussion
03/16/2023          TY                        Attend meeting with C. Wong (partial attendee), K. Wessel, T. Yamada, C. Chen, J.        0.7
                                              LaBella, F. Liang, M. Cervi, J. Somerville, and E. Mostoff (full attendees) (all
                                              AlixPartners) to discuss integration of updated QuickBooks output into cash
                                              reconstruction workpapers, questions for RLA, questions related to Caroline Ellison
                                              interview, and documents related to digital asset balance validation
03/16/2023          TY                        Attend meeting with T. Yamada, M. Cervi, E. Mostoff, D. Waterfield, J. Liao, and         0.2
                                              A. Walker (all AlixPartners) re: QC of updated balance sheet output
03/16/2023          TY                        Revise mapping of chart of accounts to correct for presentation errors                   1.7
03/16/2023          TY                        Review the draft questions for Caroline Ellison interview                                0.5
03/16/2023          VK                        Working session with V. Kotharu and E. Mostoff (both AlixPartners) re:                   0.2
                                              intercompany payable/receivable balances between Alameda Research Ltd to
                                              Alameda Research Investments Ltd
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                        HOURS
03/17/2023          AW                        Attend meeting with D. Waterfield, A. Walker and J. Liao (all AlixPartners) re:             0.4
                                              process for delta reporting utilizing raw underlying tables
03/17/2023          AW                        Attend meeting with M. Cervi, T. Yamada, A. Walker, J. Liao, E. Mostoff (full               0.9
                                              attendees), and F. Liang (partial attendee) (all AlixPartners) to discuss progress and
                                              open items around validation of updated balance sheet output
03/17/2023          AW                        Further investigation and resolution of the AP issues in the specific entity balance        2.4
                                              sheet
03/17/2023          AW                        Investigate FTX Digital Markets balance sheet equity issues                                 2.1
03/17/2023          AW                        Investigate West Realm Shires Services Inc balance sheet retained earnings and net          1.4
                                              income issues
03/17/2023          CAS                       Design data architecture related to the QB's GL information                                 0.7
03/17/2023          CAS                       Review the implementation of the consolidated financial statement system                    0.9
03/17/2023          CC                        Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.8
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          CC                        Conduct unstructured searches in ESI database for FTX Trading Ltd.'s 2022 bank              0.8
                                              statements
03/17/2023          CC                        Analyze GL data pertaining to Alameda Research Ltd.'s investment in securities              1.9
03/17/2023          CC                        Prepare a mapping of entities and departments between trial balance and cash                1.4
                                              workpaper
03/17/2023          CC                        Deduplicate FTX Japan KK's custodial accounts' statements                                   0.7
03/17/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: integration of          0.7
                                              updated balance sheet output with cash balance reconstruction workpapers, bank
                                              account tracker reconciliation, and FBO bank account analysis
03/17/2023          DW                        Attend meeting with D. Waterfield, A. Walker and J. Liao (all AlixPartners) re:             0.4
                                              process for delta reporting utilizing raw underlying tables
03/17/2023          DL                        Attend meeting with M. Cervi, T. Yamada, A. Walker, J. Liao, E. Mostoff (full               0.5
                                              attendees), and F. Liang (partial attendee) (all AlixPartners) to discuss progress and
                                              open items around validation of updated balance sheet output
03/17/2023          DL                        Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.8
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          DL                        Attend working session with T. Phelan and F. Liang (both AlixPartners) re                   0.5
                                              identifying and pulling trading data off of exchange for Cottonwood Grove
03/17/2023          DL                        Investigate accrued expense on Cottonwood Grove's balance sheet                             0.8
03/17/2023          DL                        Investigate cryptocurrency asset on Alameda Research LTD's balance sheet                    2.1
03/17/2023          DL                        Continue to investigate cryptocurrency asset on Alameda Research LTD's balance              1.2
                                              sheet
03/17/2023          DL                        Perform unstructured data searches on Cottonwood Grove's crypto assets                      1.9
03/17/2023          EM                        Analyze completeness of bank account evaluation in support of adjustment                    0.7
                                              proposals related to historical cash balances
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03/17/2023          EM                        Attend meeting with M. Cervi, T. Yamada, A. Walker, J. Liao, E. Mostoff (full               0.9
                                              attendees), and F. Liang (partial attendee) (all AlixPartners) to discuss progress and
                                              open items around validation of updated balance sheet output
03/17/2023          EM                        Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.5
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          EM                        Reconcile bank account tracker with bank accounts analyzed as part of historical            2.5
                                              financial statement recreation
03/17/2023          EM                        Update bank account balance listing for Blockfolio Inc                                      0.2
03/17/2023          EM                        Update bank account balance listing for FTX Europe AG                                       0.4
03/17/2023          EM                        Update bank account balance listing for FTX Trading Ltd                                     0.2
03/17/2023          EM                        Update bank account balance listing for West Realm Shires Services Inc                      0.2
03/17/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: integration of          0.7
                                              updated balance sheet output with cash balance reconstruction workpapers, bank
                                              account tracker reconciliation, and FBO bank account analysis
03/17/2023          JCL                       Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.5
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          JCL                       Review documents supporting inter-company balances and roll-forward of balances             1.0
                                              across quarters
03/17/2023          JCL                       Review updated QB output of legal entity balance sheets                                     0.7
03/17/2023          JCL                       Working session with M. Cervi (partial attendee) C. Wong, J. Somerville, J. Labella         0.5
                                              (all AlixPartners) re: InterCo updates for A&M discussion relating to entity of
                                              interest and Embed
03/17/2023          JLS                       Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.9
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          JLS                       Audit updated QuickBooks balance sheet extraction against prior extractions to              0.6
                                              ensure balance continuity
03/17/2023          JLS                       Investigate collateral balances related to entity of interest loan to Alameda Research      0.6
                                              LLC involving pledged FTT
03/17/2023          JLS                       Review Cottonwood Grove 2020 audit                                                          0.6
03/17/2023          JLS                       Review documentation pertaining to entity of interest's loan to Alameda Research            0.4
                                              LLC
03/17/2023          JLS                       Prepare schematic detailing loan transfers between entity of interest and Alameda           1.7
                                              Research LLC and Alameda Research Ltd
03/17/2023          JLS                       Prepare summary re: Alameda Research Ltd.'s Investment In Subsidiary account                0.4
03/17/2023          JLS                       Review journal entries related to Alameda Research Ltd refunded capital re:                 0.8
                                              Modulo transaction
03/17/2023          JLS                       Working session with M. Cervi (partial attendee) C. Wong, J. Somerville, J. Labella         0.5
                                              (all AlixPartners) re: InterCo updates for A&M discussion relating to entity of
                                              interest and Embed
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03/17/2023          JKL                       Attend meeting with D. Waterfield, A. Walker and J. Liao (all AlixPartners) re:             0.4
                                              process for delta reporting utilizing raw underlying tables
03/17/2023          JKL                       Attend meeting with M. Cervi, T. Yamada, A. Walker, J. Liao, E. Mostoff (full               0.9
                                              attendees), and F. Liang (partial attendee) (all AlixPartners) to discuss progress and
                                              open items around validation of updated balance sheet output
03/17/2023          JKL                       Summarize the progress of the delta report of the reconstructed journals in an email        0.8
03/17/2023          JKL                       Update the Excel spreadsheet for presenting the delta report of the reconstructed           2.8
                                              journals to improve the format and explanation
03/17/2023          JKL                       Update the SQL script for the delta report of the reconstructed journals to identify        2.8
                                              the difference using the delta report of the 16 underlying QuickBooks source tables
03/17/2023          JKL                       Continue update of the SQL script for the delta report of the reconstructed journals        0.6
                                              to identify the difference using the delta report of the 16 underlying QuickBooks
                                              source tables
03/17/2023          JS                        Working session with C. Wong, S. Thompson, and J. Sutherland (all AlixPartners)             0.3
                                              re: entity of interest and LedgerX
03/17/2023          KHW                       Analyze historical financial detail for Cottonwood Grove re: accrued liability              0.7
                                              booked in Q4 2021 related to employee crypto options grants
03/17/2023          KHW                       Analyze GL data re: Alameda third party crypto loans payable balances prioritized           2.4
                                              for balance sheet reconstruction
03/17/2023          KHW                       Analyze historical financial detail re: Alameda third party loans with entity of            1.3
                                              interest for purposes of historical balance sheet reconstruction
03/17/2023          KHW                       Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.9
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          KHW                       Research Deltec bank statements re: data availability for cash database development         0.2
03/17/2023          MC                        Attend meeting with M. Cervi, T. Yamada, A. Walker, J. Liao, E. Mostoff (full               0.9
                                              attendees), and F. Liang (partial attendee) (all AlixPartners) to discuss progress and
                                              open items around validation of updated balance sheet output
03/17/2023          MC                        Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.9
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          MC                        Further evaluate validity of reconstructed financial statement data                         1.2
03/17/2023          MC                        Review draft Alameda controls interim report section                                        0.2
03/17/2023          MC                        Review remapped FBO contra accounts to liabilities                                          0.3
03/17/2023          MC                        Review supplemental non-QuickBooks accounting data provided by A&M                          1.6
03/17/2023          MC                        Review updated chart of account for new detailed mapping                                    1.2
03/17/2023          MC                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to finalize the              0.3
                                              chart of accounts mapping
03/17/2023          MC                        Working session with M. Cervi (partial attendee) C. Wong, J. Somerville, J. Labella         0.2
                                              (all AlixPartners) re: InterCo updates for A&M discussion relating to entity of
                                              interest and Embed
03/17/2023          ST                        Working session with C. Wong and S. Thompson (both AlixPartners) re: specific               0.2
                                              entity of interest
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03/17/2023          ST                        Working session with C. Wong, S. Thompson, and J. Sutherland (all AlixPartners)             0.3
                                              re: entity of interest and LedgerX
03/17/2023          SYW                       Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.9
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          SYW                       Prepare Q2'22 intercompany balances scoping analysis related to loans made                  1.5
                                              Alameda to WRS
03/17/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with transactions related to            0.8
                                              specific entity of interest
03/17/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with transactions related to            2.0
                                              entity of interest investigation
03/17/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with transactions related to            0.9
                                              the BlockFi loan investigation
03/17/2023          SYW                       Working session with C. Wong and S. Thompson (both AlixPartners) re: specific               0.2
                                              entity of interest
03/17/2023          SYW                       Working session with C. Wong, S. Thompson, and J. Sutherland (all AlixPartners)             0.3
                                              re: entity of interest and LedgerX
03/17/2023          SYW                       Working session with M. Cervi (partial attendee) C. Wong, J. Somerville, J. Labella         0.5
                                              (all AlixPartners) re: InterCo updates for A&M discussion relating to entity of
                                              interest and Embed
03/17/2023          SRH                       Working session with T. Phelan and S. Hanzi (both AlixPartners) re: QuickBooks              2.3
                                              GL data migration into consolidated database
03/17/2023          TY                        Attend meeting with M. Cervi, T. Yamada, A. Walker, J. Liao, E. Mostoff (full               0.9
                                              attendees), and F. Liang (partial attendee) (all AlixPartners) to discuss progress and
                                              open items around validation of updated balance sheet output
03/17/2023          TY                        Attend meeting with T. Yamada, K. Wessel, M. Cervi, J. Somerville, C. Wong (full            0.9
                                              attendees), F. Liang, C. Chen, J. LaBella, and E. Mostoff (partial attendees) (all
                                              AlixPartners) to coordinate efforts around digital asset identification and valuation,
                                              intercompany transaction recreation, and updated balance sheet output
03/17/2023          TY                        Investigate further discrepancy between back-end and front-end QuickBooks data              2.8
                                              arose from account remapping
03/17/2023          TY                        Telephone call with M. Cervi and T. Yamada (both AlixPartners) to finalize the              0.3
                                              chart of accounts mapping
03/17/2023          TY                        Verify the nature of transactions recorded under the unclear account descriptions           0.4
03/17/2023          TP                        Attend working session with T. Phelan and F. Liang (both AlixPartners) re                   0.5
                                              identifying and pulling trading data off of exchange for Cottonwood Grove
03/17/2023          TP                        Working session with T. Phelan and S. Hanzi (both AlixPartners) re: QuickBooks              2.3
                                              GL data migration into consolidated database
03/19/2023          MC                        Respond to question raised about financial statement recreation for solvency                0.2
03/20/2023          AW                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.              0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
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03/20/2023          AW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                  0.8
                                              AlixPartners) re: progress updates on various actions related to the QuickBooks
                                              workstream, and workarounds for issues with deriving a composite primary key for
                                              reconstructed journals and for handling the known limitations with delta reports,
                                              specifically related to modified records
03/20/2023          AW                        Calculate net income and retained earnings for West Realm Shires Services Inc            1.8
03/20/2023          AW                        FX inconsistency analysis and production of output for wider team                        2.6
03/20/2023          AW                        Update to code reconstruct journals to account for differing foreign exchange rates      2.2
03/20/2023          AW                        Continue to code reconstruct journals to account for differing foreign exchange          0.9
03/20/2023          AV                        Working session with C. Wong, F. Liang, B. Mackay, R. Self, A. Vanderkamp, and           0.3
                                              J. Somerville (all AlixPartners) re: investigation of FTT collateral for entity of
                                              interest loan
03/20/2023          BFM                       Review Alameda loan summary spreadsheets re: synthetic equity                            0.6
03/20/2023          BFM                       Review FTT collateral on entity of interest loans and Cottonwood lending                 1.1
03/20/2023          BFM                       Working session with C. Wong, F. Liang, B. Mackay, R. Self, A. Vanderkamp, and           0.3
                                              J. Somerville (all AlixPartners) re: investigation of FTT collateral for entity of
                                              interest loan
03/20/2023          CAS                       Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.           0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
03/20/2023          CAS                       Design data architecture related to the QB's GL information                              2.6
03/20/2023          CAS                       Design the adjustment database mechanisms for the anticipated adjusting JEs              1.9
03/20/2023          CC                        Analyze Alameda Research LLC's cash GL accounts with missing department                  1.4
                                              codes
03/20/2023          CC                        Analyze West Realm Shires Financial Services Inc's cash GL accounts with missing         0.6
                                              department codes
03/20/2023          CC                        Update QuickBooks account balance information (for 32 accounts for 2020-2022)            1.8
                                              in cash workpaper for departments without specified names
03/20/2023          CC                        Update the listing of bank statements received and identify new statements               0.5
03/20/2023          CC                        Working sessions with K. Wessel, T. Yamada, M. Cervi, C. Chen, J. Somerville, E.         1.1
                                              Mostoff, F. Liang, and C. Wong (all AlixPartners) re: accounting questions for
                                              upcoming meeting with RLA
03/20/2023          DW                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.           0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
03/20/2023          DW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                  0.8
                                              AlixPartners) re: progress updates on various actions related to the QuickBooks
                                              workstream, and workarounds for issues with deriving a composite primary key for
                                              reconstructed journals and for handling the known limitations with delta reports,
                                              specifically related to modified records
03/20/2023          DL                        Attend working session with M. Cervi, K. Wessel, F. Liang (all AlixPartners) to          0.9
                                              discuss pointer data and token purchase agreements
03/20/2023          DL                        Conduct unstructured data searches in ESI database re: Cottonwood Grove's crypto         3.2
                                              holdings
03/20/2023          DL                        Investigate crypto token investment by Alameda Research LTD/LLC                          2.4
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                        HOURS
03/20/2023          DL                        Working session with C. Wong and F. Liang (both AlixPartners) re: investments in            0.5
                                              sub cryptocurrencies
03/20/2023          DL                        Working session with C. Wong, F. Liang, B. Mackay, R. Self, A. Vanderkamp, and              0.3
                                              J. Somerville (all AlixPartners) re: investigation of FTT collateral for entity of
                                              interest loan
03/20/2023          DL                        Working sessions with K. Wessel, T. Yamada, M. Cervi, C. Chen, J. Somerville, E.            1.1
                                              Mostoff, F. Liang, and C. Wong (all AlixPartners) re: accounting questions for
                                              upcoming meeting with RLA
03/20/2023          EM                        Analyze bank accounts identified as part of cash balance reconstruction for                 0.8
                                              indicators of potential customer funds
03/20/2023          EM                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.              0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
03/20/2023          EM                        Working session with E. Mostoff and M. Cervi (both AlixPartners) re:                        0.3
                                              reconstructed journal entry database
03/20/2023          EM                        Working sessions with K. Wessel, T. Yamada, M. Cervi, C. Chen, J. Somerville, E.            1.1
                                              Mostoff, F. Liang, and C. Wong (all AlixPartners) re: accounting questions for
                                              upcoming meeting with RLA
03/20/2023          JCL                       Review balance sheet analysis of non-QB entities to identify entities with significant      1.5
                                              asset balances and attributes of those balances
03/20/2023          JCL                       Review slides to develop related questions in preparation for board meeting                 1.0
03/20/2023          JCL                       Review updated cash analysis for WRSS to be incorporated into updated deck for              1.5
                                              the board
03/20/2023          JCL                       Working session with J. LaBella, M. Cervi, T. Yamada (all AlixPartners) re: legal           0.3
                                              entity statistics
03/20/2023          JLS                       Audit updated QuickBooks balance sheet extract from AlixPartners data team for              0.5
                                              changes against prior version
03/20/2023          JLS                       Prepare notes on UCC S&SOFA presentation re intercompany balances Circulated                0.6
                                              to team
03/20/2023          JLS                       Prepare questions for RLA accountants re month end accounting practices                     0.4
03/20/2023          JLS                       Review prior AlixPartners investigation re: intercompany loans at Alameda silo              0.3
03/20/2023          JLS                       Review summary memo re entity of interest provided by counsel as context for                0.4
                                              nature of 'Cottonwood Grove - Investment in Sub' account
03/20/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                      0.3
                                              intercompany workstream updates
03/20/2023          JLS                       Working session with C. Wong, F. Liang, B. Mackay, R. Self, A. Vanderkamp, and              0.3
                                              J. Somerville (all AlixPartners) re: investigation of FTT collateral for entity of
                                              interest loan
03/20/2023          JLS                       Working sessions with K. Wessel, T. Yamada, M. Cervi, C. Chen, J. Somerville, E.            1.1
                                              Mostoff, F. Liang, and C. Wong (all AlixPartners) re: accounting questions for
                                              upcoming meeting with RLA
03/20/2023          JKL                       Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.              0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/20/2023          JKL                       Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                 0.8
                                              AlixPartners) re: progress updates on various actions related to the QuickBooks
                                              workstream, and workarounds for issues with deriving a composite primary key for
                                              reconstructed journals and for handling the known limitations with delta reports,
                                              specifically related to modified records
03/20/2023          JKL                       Update the SQL script for initializing and populating the QuickBooks master tables      2.7
                                              to generating row hashbytes for all records in all tables
03/20/2023          JKL                       Update the SQL script for the delta report of the 16 underlying source table to         2.3
                                              distinguish records that seem unmodified by creating and comparing the row
                                              hashbytes value
03/20/2023          JKL                       Update the SQL script for the delta report of the reconstructed journals to             2.7
                                              distinguish records that seem unmodified by creating and comparing the row
                                              hashbytes value
03/20/2023          KHW                       Attend working session with M. Cervi, K. Wessel, F. Liang (all AlixPartners) to         0.9
                                              discuss pointer data and token purchase agreements
03/20/2023          KHW                       Compile historical loans payable listing utilizing Debtor's internal records for        1.9
                                              Alameda loan and collateral balances
03/20/2023          KHW                       Working sessions with K. Wessel, T. Yamada, M. Cervi, C. Chen, J. Somerville, E.        1.1
                                              Mostoff, F. Liang, and C. Wong (all AlixPartners) re: accounting questions for
                                              upcoming meeting with RLA
03/20/2023          MC                        Analyze Token purchase agreement accounting                                             1.0
03/20/2023          MC                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.          0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
03/20/2023          MC                        Attend working session with M. Cervi, K. Wessel, F. Liang (all AlixPartners) to         0.9
                                              discuss pointer data and token purchase agreements
03/20/2023          MC                        Create financial statement status summary for board update                              1.3
03/20/2023          MC                        Review final Modulo investment settlement                                               0.1
03/20/2023          MC                        Review latest chart of accounts mapping and tagging                                     0.5
03/20/2023          MC                        Review latest historical recreation matrix for updates                                  0.8
03/20/2023          MC                        Working session with E. Mostoff and M. Cervi (both AlixPartners) re:                    0.3
                                              reconstructed journal entry database
03/20/2023          MC                        Working session with J. LaBella, M. Cervi, T. Yamada (all AlixPartners) re: legal       0.3
                                              entity statistics
03/20/2023          MC                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: legal entity        0.8
                                              and accounting record statistics
03/20/2023          MC                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: update of           0.4
                                              the chart of accounts
03/20/2023          MC                        Working sessions with K. Wessel, T. Yamada, M. Cervi, C. Chen, J. Somerville, E.        1.1
                                              Mostoff, F. Liang, and C. Wong (all AlixPartners) re: accounting questions for
                                              upcoming meeting with RLA
03/20/2023          RS                        Working session with C. Wong, F. Liang, B. Mackay, R. Self, A. Vanderkamp, and          0.3
                                              J. Somerville (all AlixPartners) re: investigation of FTT collateral for entity of
                                              interest loan
03/20/2023          SYW                       Analyze intercompany balance scoping process to update with new balances                0.7
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03/20/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with transactions related to        0.7
                                              the real asset purchases investigation
03/20/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with transactions related to        0.7
                                              the FTX Digital Markets investigation
03/20/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with transactions related to        0.7
                                              FTX Trading
03/20/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with transactions related to        1.5
                                              the entity of interest investigation
03/20/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with Alameda InterCo                1.3
                                              transactions
03/20/2023          SYW                       Update Q2'22 intercompany balances scoping analysis with transactions related to        0.5
                                              North Dimension entities
03/20/2023          SYW                       Working session with C. Wong and F. Liang (both AlixPartners) re: investments in        0.5
                                              sub cryptocurrencies
03/20/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                  0.3
                                              intercompany workstream updates
03/20/2023          SYW                       Working session with C. Wong, F. Liang, B. Mackay, R. Self, A. Vanderkamp, and          0.3
                                              J. Somerville (all AlixPartners) re: investigation of FTT collateral for entity of
                                              interest loan
03/20/2023          SYW                       Working sessions with K. Wessel, T. Yamada, M. Cervi, C. Chen, J. Somerville, E.        1.1
                                              Mostoff, F. Liang, and C. Wong (all AlixPartners) re: accounting questions for
                                              upcoming meeting with RLA
03/20/2023          SRH                       Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.          0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
03/20/2023          SRH                       Deploy updated Access search database to financial statement reconstruction team        1.8
03/20/2023          SRH                       Update Access database of consolidated GL data to streamline searches by financial      2.2
                                              statement reconstruction team
03/20/2023          TY                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.          0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
03/20/2023          TY                        Summarize accounting record availability as of September 2022                           1.8
03/20/2023          TY                        Update historical recreation matrix to summarize accounting record availability         3.0
03/20/2023          TY                        Update the chart of accounts to reclassify several accounts upon detail review          1.4
03/20/2023          TY                        Working session with J. LaBella, M. Cervi, T. Yamada (all AlixPartners) re: legal       0.3
                                              entity statistics
03/20/2023          TY                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: legal entity        0.8
                                              and accounting record statistics
03/20/2023          TY                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: update of           0.4
                                              the chart of accounts
03/20/2023          TY                        Working sessions with K. Wessel, T. Yamada, M. Cervi, C. Chen, J. Somerville, E.        1.1
                                              Mostoff, F. Liang, and C. Wong (all AlixPartners) re: accounting questions for
                                              upcoming meeting with RLA
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03/20/2023          TP                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.            0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
03/20/2023          VA                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, T. Yamada, M. Cervi, S.            0.1
                                              Hanzi, J. Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re:
                                              updates to chart of accounts and timeline of refreshed QuickBooks pull
03/20/2023          VA                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                   0.8
                                              AlixPartners) re: progress updates on various actions related to the QuickBooks
                                              workstream, and workarounds for issues with deriving a composite primary key for
                                              reconstructed journals and for handling the known limitations with delta reports,
                                              specifically related to modified records
03/20/2023          VA                        Generate code to compare SHA1 hashes for any two QuickBooks tables in the                 2.0
                                              Master and QB_Active schemas
03/20/2023          VA                        Revise code to compare SHA1 hashes for any two QuickBooks tables in the Master            0.9
                                              and QB_Active schemas
03/20/2023          VA                        Perform QA on code to add Hashbytes to master raw QuickBooks tables calculated            1.6
                                              using all source data
03/20/2023          VA                        Continue QA of the code to add Hashbytes to master raw QuickBooks tables                  0.9
                                              following revisions
03/21/2023          AS                        Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.                0.2
                                              Searles (all AlixPartners) re: recap of board meeting and next steps related to the
                                              financial statement reconstruction workstream
03/21/2023          AW                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.             0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
03/21/2023          AW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                   0.3
                                              AlixPartners) re: progress update on the delta reporting, and the mapping of certain
                                              fields in the reconstruction of the journals
03/21/2023          AW                        Attend meeting with M. Cervi, M. Birtwell, A. Walker, D. Waterfield (all                  0.4
                                              AlixPartners) re: investigations team’s use of the reconstructed journals data and
                                              how to work around the transaction ID data limitations
03/21/2023          AW                        Calculate net income and retained earnings for West Realm Shires Services Inc             1.5
03/21/2023          AW                        Resolve duplication of the net income figure for FTX Digital Markets Ltd                  1.2
03/21/2023          AW                        Resolve reference number mapping issue in reconstructed journal                           1.3
03/21/2023          AW                        Produce master balance sheet with closing balances pivoted for each financial             2.1
                                              quarter
03/21/2023          AW                        Produce samples of the 16 underlying QuickBooks tables                                    0.7
03/21/2023          AW                        Remodel the journals reconstruction to merge fields from the Transfer table and the       1.7
                                              Transaction List report for certain transactions
03/21/2023          AV                        Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.                0.2
                                              Searles (all AlixPartners) re: recap of board meeting and next steps related to the
                                              financial statement reconstruction workstream
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/21/2023          CAS                       Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.             0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
03/21/2023          CAS                       Design data architecture related to the QB's GL information                               1.1
03/21/2023          CAS                       Design the adjustment database mechanisms for the anticipated adjusting JEs               0.7
03/21/2023          CAS                       Review the implementation of the consolidated financial statement system                  2.4
03/21/2023          CC                        Analyze Deltec bank accounts' accounting pattern relating to multiple currencies          0.8
03/21/2023          CC                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.           0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
03/21/2023          CC                        Prepare an updated cash workpaper using the latest QuickBooks trial balance               1.7
03/21/2023          CC                        Research FTX Exchange FZE's fixed deposits                                                0.9
03/21/2023          CC                        Research GG Trading Terminal Ltd.'s banking service agreements and cash                   1.5
                                              transaction processes
03/21/2023          CC                        Review GG Trading Terminal Ltd.'s bank activities reports                                 1.2
03/21/2023          CC                        Review Prime Trust bank accounts' activities reports to determine ending bank             0.9
                                              balance
03/21/2023          CC                        Review QuickBooks to identify the fund flow related to FTX Exchange FZE's                 0.7
                                              prepaid accounts
03/21/2023          DS                        Meeting with M. Jacques and D. Schwarz (both AlixPartners) to discuss team                0.3
                                              planning related to financial reconstruction workstream
03/21/2023          DW                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.             0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
03/21/2023          DW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                   0.3
                                              AlixPartners) re: progress update on the delta reporting, and the mapping of certain
                                              fields in the reconstruction of the journals
03/21/2023          DW                        Attend meeting with M. Cervi, M. Birtwell, A. Walker, D. Waterfield (all                  0.4
                                              AlixPartners) re: investigations team’s use of the reconstructed journals data and
                                              how to work around the transaction ID data limitations
03/21/2023          DL                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.           0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
03/21/2023          DL                        Analyze details of re: Alameda Ventures LTD's cryptocurrency assets                       2.3
03/21/2023          DL                        Document assessment re Alameda Ventures LTD's cryptocurrency assets                       1.2
03/21/2023          DL                        Investigate Alameda Ventures LTD's cryptocurrency assets                                  2.9
03/21/2023          DL                        Working session with C. Wong and F. Liang (both AlixPartners) re: unstructured            0.5
                                              searches in ESI database to obtain financial documents related to intercompany
                                              analysis
03/21/2023          DL                        Continue to investigate Alameda Ventures LTD's cryptocurrency assets                      0.6
03/21/2023          EM                        Analyze bank accounts identified as part of cash balance reconstruction for               3.3
                                              indicators of potential customer funds
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03/21/2023          EM                        Continue to analyze bank accounts identified as part of cash balance reconstruction        2.1
                                              for indicators of potential customer funds
03/21/2023          EM                        Analyze financial account documentation related to accounts held by GG Trading             0.9
                                              Terminal Ltd
03/21/2023          EM                        Analyze Master Services Agreement between specific bank and GG Trading                     0.7
                                              Terminal Ltd as part of cash balance reconstruction
03/21/2023          EM                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.              0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
03/21/2023          EM                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.            0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
03/21/2023          JCL                       Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.            0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
03/21/2023          JCL                       Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.                 0.2
                                              Searles (all AlixPartners) re: recap of board meeting and next steps related to the
                                              financial statement reconstruction workstream
03/21/2023          JCL                       Perform analysis of largest legal entity by asset base and liability base and primary      1.2
                                              accounts comprising those assets and liabilities for purposes of prioritizing
                                              workstreams
03/21/2023          JCL                       Review Debtor's schedules and statement of financial affairs                               1.3
03/21/2023          JCL                       Review primary account balances and support for Investments and Intercompany               1.5
                                              accounts on balance sheets within Alameda and FTX silos
03/21/2023          JLS                       Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.            0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
03/21/2023          JLS                       Audit updated intercompany and related party values from latest balance sheet              1.2
                                              extract against prior versions
03/21/2023          JLS                       Audit updated Investment in Subsidiary and Insider Loans values from latest                1.4
                                              balance sheet extract against prior versions
03/21/2023          JLS                       Investigated historical loan balances to third parties as context for 'Cottonwood          0.3
                                              Grove - Investment in Sub' account
03/21/2023          JLS                       Investigated insider loans balance movements on historical QuickBooks balance              0.3
                                              sheet
03/21/2023          JLS                       Analyze GL data on 'Alameda Research Ltd - Investment in Sub' account to                   0.7
                                              determine nature of quarter-end entries in Q3-22
03/21/2023          JLS                       Investigate GL data on Alameda Research Ltd loan balances to determine nature of           1.2
                                              cryptocurrency loans
03/21/2023          JLS                       Prepare summary of Paper Bird and Euclid balance sheet accounts to assist J.               0.4
                                              LaBella (AlixPartners) in call with counsel
03/21/2023          JLS                       Prepare talking points on Alameda Research Ltd intercompany balances for                   0.4
                                              presentation at internal intercompany balance review
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/21/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                    0.3
                                              intercompany loans within Alameda Silo
03/21/2023          JLS                       Working session with K. Wessel and J. Somerville (both AlixPartners) re: third-           0.6
                                              party loan balances on Alameda Research Ltd
03/21/2023          JKL                       Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.             0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
03/21/2023          JKL                       Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                   0.3
                                              AlixPartners) re: progress update on the delta reporting, and the mapping of certain
                                              fields in the reconstruction of the journals
03/21/2023          JKL                       Create the Excel spreadsheet for presenting the delta report of the 16 underlying         3.2
                                              source tables by extracting and formatting the detailed records
03/21/2023          JKL                       Create the Excel spreadsheet for presenting the delta report of the reconstructed         1.0
                                              journals by extracting and formatting the detailed records
03/21/2023          JKL                       Summarize the relevant columns from the underlying source tables used for the             0.8
                                              reconstructed journals
03/21/2023          JKL                       Update the SQL script for the delta report of the 16 underlying source tables to          2.1
                                              distinguish records that seem unmodified by creating and comparing the row
                                              hashbytes value
03/21/2023          JKL                       Update the SQL script for the delta report of the reconstructed journals to               1.3
                                              distinguish records that seem unmodified by creating and comparing the row
                                              hashbytes value
03/21/2023          KHW                       Analyze journal entries relating to underlying loans payable accounts in                  1.4
                                              QuickBooks by comparing to an internal Alameda file cataloging loan and collateral
03/21/2023          KHW                       Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.           0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
03/21/2023          KHW                       Review entity of interest loans to Alameda to understand third party loan payable         0.5
                                              accounting entries in QuickBooks
03/21/2023          KHW                       Review third party loans receivable journal entries in QuickBooks incorporating           1.9
                                              information from an internal Alameda file cataloging loan and collateral balances
03/21/2023          KHW                       Review weekly bank account tracker provided by A&M to analyze changes in bank             1.6
                                              statement coverage compared to prior the weeks' submission
03/21/2023          KHW                       Working session with K. Wessel and J. Somerville (both AlixPartners) re: third-           0.6
                                              party loan balances on Alameda Research Ltd
03/21/2023          MC                        Analyze Alameda Resources instances in quick books without a specified division           2.5
                                              to identify proper legal entity
03/21/2023          MC                        Continue to analyze Alameda Resources instances in quick books without a                  0.7
                                              specified division to identify proper legal entity
03/21/2023          MC                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.             0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
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John J. Ray III
Chief Executive Officer
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c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/21/2023          MC                        Attend meeting with M. Cervi, M. Birtwell, A. Walker, D. Waterfield (all                 0.4
                                              AlixPartners) re: investigations team’s use of the reconstructed journals data and
                                              how to work around the transaction ID data limitations
03/21/2023          MC                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.          0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
03/21/2023          MC                        Review SOFA/SOALS filed on docket for entities crypto asset detail                       1.9
03/21/2023          MC                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: non-                 0.4
                                              QuickBooks accounting records and balance sheet
03/21/2023          MB                        Attend meeting with M. Cervi, M. Birtwell, A. Walker, D. Waterfield (all                 0.4
                                              AlixPartners) re: investigations team’s use of the reconstructed journals data and
                                              how to work around the transaction ID data limitations
03/21/2023          ME                        Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.               0.2
                                              Searles (all AlixPartners) re: recap of board meeting and next steps related to the
                                              financial statement reconstruction workstream
03/21/2023          MJ                        Attend meeting with M. Jacques, M. Evans, J. Labella, A. Vanderkamp and A.               0.2
                                              Searles (all AlixPartners) re: recap of board meeting and next steps related to the
                                              financial statement reconstruction workstream
03/21/2023          SYW                       Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.          0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
03/21/2023          SYW                       Compose email to J. Somerville re: preparation for InterCo review meeting on 3/22        0.5
03/21/2023          SYW                       Review Q2'22 intercompany balances scoping analysis prior to meeting on the              0.8
                                              analysis on 3/22
03/21/2023          SYW                       Conduct searches in ESI re: Alameda Research ltd. InterCo activity                       0.9
03/21/2023          SYW                       Conduct searches in ESI re: North Dimension InterCo activity                             0.6
03/21/2023          SYW                       Conduct searches in ESI re: loans made by Alameda Research ltd.                          1.1
03/21/2023          SYW                       Conduct searches in ESI re: FTT token valuation for consideration in financial           0.4
                                              statement reconstruction efforts
03/21/2023          SYW                       Update intercompany scoping analysis with latest balance sheet version                   1.0
03/21/2023          SYW                       Working session with C. Wong and F. Liang (both AlixPartners) re: unstructured           0.5
                                              searches in ESI database to obtain financial documents related to intercompany
                                              analysis
03/21/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re:                   0.3
                                              intercompany loans within Alameda Silo
03/21/2023          SK                        Summarize deposits and withdrawals transaction data for all accounts presented in        2.7
                                              Cottonwood Grove statements
03/21/2023          SRH                       Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.            0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
03/21/2023          TY                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.          0.7
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) to coordinate efforts
                                              on workstreams related to cash, digital assets, and intercompany transactions
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/21/2023          TY                        Identify non-QuickBooks entities with significant total assets from the available         0.9
                                              balance sheet data
03/21/2023          TY                        Prepare uniform balance sheets from non-QB accounting records of LedgerPrime              2.7
                                              LLC, LedgerPrime Digital Asset Opportunities Master Fund LP, LedgerPrime
                                              Digital Asset Opportunities Fund, LLC, SNG INVESTMENTS YATIRIM VE
                                              DANISMANLIK ANONIM SIRKETI
03/21/2023          TY                        Review SOFA/SOALs schedules to identify entities that accounting records have             2.7
                                              not been provided to AlixPartners
03/21/2023          TY                        Update accounting record availability and entity statistics in preparation for the        0.6
                                              board meeting
03/21/2023          TY                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: non-                  0.4
                                              QuickBooks accounting records and balance sheet
03/21/2023          TP                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.             0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
03/21/2023          VA                        Attend meeting with C. Cipione, A. Vaibhav, A. Walker, M. Cervi, S. Hanzi, J.             0.3
                                              Liao, T. Phelan, D. Waterfield, and E. Mostoff (all AlixPartners) re: validation of
                                              journal entry database, validation of balance sheet output, and workplan for
                                              integration of proposed accounting adjustments
03/21/2023          VA                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                   0.3
                                              AlixPartners) re: progress update on the delta reporting, and the mapping of certain
                                              fields in the reconstruction of the journals
03/22/2023          AS                        Working session with D. Schwartz and A. Searles (both AlixPartners) re:                   0.3
                                              workstreams and resources for financial statement construction
03/22/2023          AW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                   0.5
                                              AlixPartners) re: work plan for extraction of QuickBooks backend data and update
                                              on the crypto database workstream
03/22/2023          AW                        Investigate the differences in foreign exchange rates between the QuickBooks              1.8
                                              transactional data and the QuickBooks daily foreign rate table
03/22/2023          AW                        Continue to investigate the differences in foreign exchange rates between the             1.3
                                              QuickBooks transactional data and the QuickBooks daily foreign rate table
03/22/2023          AW                        Provide the investigations team with a Top 100 sample from the 15 QuickBooks              2.7
                                              backend tables and highlight the mapping of fields that feed into the reconstructed
                                              journals table
03/22/2023          AW                        Quantify the differences in FX rates between the QuickBooks transactional data and        1.3
                                              the QuickBooks daily FX rate table
03/22/2023          AW                        Review the master mapping table for the reconstructed journals to determine               1.2
                                              whether any source table columns that are not mapped can be mapped
03/22/2023          CAS                       Design data architecture related to the QB's GL information                               1.1
03/22/2023          CAS                       Design the adjustment database mechanisms for the anticipated adjusting JEs               2.8
03/22/2023          CAS                       Review the implementation of the consolidated financial statement system                  1.7
03/22/2023          CC                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.           0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
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03/22/2023          CC                        Develop a data model to visualize bank statements tracker re: financial statement        1.7
                                              reconstruction
03/22/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: analysis of          1.4
                                              cash database functionality for purposes of identifying transactions giving rise to
                                              intercompany payables/receivables
03/22/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: mapping of           0.5
                                              updated balance sheet output to cash reconstruction workpaper, and analysis of
                                              Deltec bank accounts held by FTX Trading Ltd
03/22/2023          CC                        Working session with D. Schwartz, K. Wessel, C. Chen, and E. Mostoff (all                1.6
                                              AlixPartners) re: status and next steps for cash balance reconstruction
03/22/2023          DS                        Attend meeting with M. Cervi, J. LaBella, K. Wessel, D. Schwartz, J. Somerville          0.6
                                              (all AlixPartners) and R. Sequeira, D. Hainline, K. Kearney (all A&M) to discuss
                                              intercompany balance reconstruction within QuickBooks
03/22/2023          DS                        Working session with C. Wong, J. Somerville, J. Labella, K. Wessel, M. Cervi, and        1.0
                                              D. Schwartz (all AlixPartners) re: intercompany balances investigation
03/22/2023          DS                        Working session with D. Schwartz and A. Searles (both AlixPartners) re:                  0.3
                                              workstreams and resources for financial statement construction
03/22/2023          DS                        Working session with D. Schwartz, J. LaBella, M. Jacques (all AlixPartners) to           0.5
                                              discuss intercompany approach and to plan for coordination with other stakeholders
03/22/2023          DS                        Working session with D. Schwartz, K. Wessel, C. Chen, and E. Mostoff (all                1.6
                                              AlixPartners) re: status and next steps for cash balance reconstruction
03/22/2023          DW                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                  0.5
                                              AlixPartners) re: work plan for extraction of QuickBooks backend data and update
                                              on the crypto database workstream
03/22/2023          DW                        QA of the draft FX rates analysis for the core underlying tables                         0.4
03/22/2023          DW                        QA of the draft QuickBooks delta report for the core underlying tables                   0.6
03/22/2023          DL                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.          0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
03/22/2023          DL                        Perform unstructured data searches re: digital assets for Alameda Research entities      1.5
03/22/2023          DL                        Review pointer data for crypto balances held by Alameda Research LLC                     1.2
03/22/2023          DL                        Analyze pointer data for crypto balances held by Alameda Research LLC                    1.9
03/22/2023          DL                        Analyze the walk across files for crypto balances for Cottonwood Grove                   2.8
03/22/2023          EM                        Analyze bank accounts identified as part of cash balance reconstruction for              2.6
                                              indicators of potential customer funds
03/22/2023          EM                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.          0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
03/22/2023          EM                        Update bank account balance listing for LedgerX                                          0.4
03/22/2023          EM                        Update bank account balance listing for Leger Holdings Inc                               0.4
03/22/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: analysis of          1.4
                                              cash database functionality for purposes of identifying transactions giving rise to
                                              intercompany payables/receivables
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03/22/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re: mapping of          0.5
                                              updated balance sheet output to cash reconstruction workpaper, and analysis of
                                              Deltec bank accounts held by FTX Trading Ltd
03/22/2023          EM                        Working session with D. Schwartz, K. Wessel, C. Chen, and E. Mostoff (all               1.6
                                              AlixPartners) re: status and next steps for cash balance reconstruction
03/22/2023          EM                        Working session with K. Wessel and E. Mostoff (both AlixPartners) re: bank              0.2
                                              accounts held by GG Trading Terminal Limited
03/22/2023          JCL                       Attend meeting with J. LaBella and E. Boyle (both AlixPartners) to discuss case         0.6
                                              background and logistics to on-board additional team members to assist with
                                              historical financial statement recreation
03/22/2023          JCL                       Working session with D. Schwartz, J. LaBella, M. Jacques (all AlixPartners) to          0.5
                                              discuss intercompany approach and to plan for coordination with other stakeholders
03/22/2023          JCL                       Attend meeting with M. Cervi, J. LaBella, K. Wessel, D. Schwartz, J. Somerville         0.6
                                              (all AlixPartners) and R. Sequeira, D. Hainline, K. Kearney (all A&M) to discuss
                                              intercompany balance reconstruction within QuickBooks
03/22/2023          JCL                       Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.         0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
03/22/2023          JCL                       Review analysis and supporting documents supporting Intercompany balance sheet          1.0
                                              accounts
03/22/2023          JCL                       Review Debtor's schedules and statement of financial affairs                            0.6
03/22/2023          JCL                       Working session with C. Wong, J. Somerville, J. Labella, K. Wessel, M. Cervi, and       1.0
                                              D. Schwartz (all AlixPartners) re: intercompany balances investigation
03/22/2023          JLS                       Attend meeting with M. Cervi, J. LaBella, K. Wessel, D. Schwartz, J. Somerville         0.6
                                              (all AlixPartners) and R. Sequeira, D. Hainline, K. Kearney (all A&M) to discuss
                                              intercompany balance reconstruction within QuickBooks
03/22/2023          JLS                       Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.         0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
03/22/2023          JLS                       Investigate historical collateral balances for Genesis loans as context for             0.3
                                              'Cottonwood Grove - Investment in Subsidiary' balance
03/22/2023          JLS                       Prepare talking points on Cottonwood Grove intercompany balances for internal           0.7
                                              review meeting
03/22/2023          JLS                       Prepare workplan for how to incorporate China/Hong Kong AlixPartners resources          1.8
                                              into intercompany reconstruction workstream re: division of tasks and reporting
                                              cadence
03/22/2023          JLS                       Prepare workplan re: quantification of financial information not included in            0.7
                                              historical QuickBooks accounting system
03/22/2023          JLS                       Review QuickBooks version tracking file prepared by UK data analysis team               0.4
03/22/2023          JLS                       Update internal intercompany balance tracker                                            0.2
03/22/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re: FTX              0.6
                                              Digital Markets intercompany balance verification
03/22/2023          JLS                       Working session with C. Wong, J. Somerville, J. Labella, K. Wessel, M. Cervi, and       1.0
                                              D. Schwartz (all AlixPartners) re: intercompany balances investigation
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03/22/2023          JKL                       Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                0.5
                                              AlixPartners) re: work plan for extraction of QuickBooks backend data and update
                                              on the crypto database workstream
03/22/2023          JKL                       Summarize the relevant columns from the underlying source tables used for the          2.6
                                              reconstructed journals
03/22/2023          JKL                       Update the Python scripts for automatically extracting and cleaning the balance        2.5
                                              sheet reports to also process profit and loss reports
03/22/2023          JKL                       Update the SQL script for comparing the QuickBooks tables in the master and QB         2.8
                                              active schemas by using hashbytes values to help build validation checks for
                                              reconstructed journals
03/22/2023          KHW                       Attend meeting with M. Cervi, J. LaBella, K. Wessel, D. Schwartz, J. Somerville        0.6
                                              (all AlixPartners) and R. Sequeira, D. Hainline, K. Kearney (all A&M) to discuss
                                              intercompany balance reconstruction within QuickBooks
03/22/2023          KHW                       Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.        0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
03/22/2023          KHW                       Review loan and collateral tracking documents to identify details of Alameda's         0.5
                                              historical loan portfolio
03/22/2023          KHW                       Review bank account statements associated with GG Trading Terminal Limited to          0.5
                                              understand relevant information for cash reconciliation to general ledger
03/22/2023          KHW                       Review updated bank account & statement tracker for updates relevant to cash           0.4
                                              reconciliation workstream
03/22/2023          KHW                       Working session with C. Wong, J. Somerville, J. Labella, K. Wessel, M. Cervi, and      1.0
                                              D. Schwartz (all AlixPartners) re: intercompany balances investigation
03/22/2023          KHW                       Working session with D. Schwartz, K. Wessel, C. Chen, and E. Mostoff (all              1.6
                                              AlixPartners) re: status and next steps for cash balance reconstruction
03/22/2023          KHW                       Working session with K. Wessel and E. Mostoff (both AlixPartners) re: bank             0.2
                                              accounts held by GG Trading Terminal Limited
03/22/2023          KHW                       Working session with L. Goldman, L. Morrison, K. Wessel (all AlixPartners) re:         0.5
                                              available data on Alameda loans
03/22/2023          LIM                       Working session with L. Goldman, L. Morrison, K. Wessel (all AlixPartners) re:         0.5
                                              available data on Alameda loans
03/22/2023          MC                        Analyze delta report from QuickBooks backend                                           2.9
03/22/2023          MC                        Attend meeting with M. Cervi, J. LaBella, K. Wessel, D. Schwartz, J. Somerville        0.6
                                              (all AlixPartners) and R. Sequeira, D. Hainline, K. Kearney (all A&M) to discuss
                                              intercompany balance reconstruction within QuickBooks
03/22/2023          MC                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.        0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
03/22/2023          MC                        Review latest non-QuickBooks balance sheet compilation for 9/30 period                 0.5
03/22/2023          MC                        Working session with C. Wong, J. Somerville, J. Labella, K. Wessel, M. Cervi, and      1.0
                                              D. Schwartz (all AlixPartners) re: intercompany balances investigation
03/22/2023          MC                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: non-               0.2
                                              QuickBooks balance sheet summary
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03/22/2023          MJ                        Working session with D. Schwartz, J. LaBella, M. Jacques (all AlixPartners) to             0.5
                                              discuss intercompany approach and to plan for coordination with other stakeholders
03/22/2023          SYW                       Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.            0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
03/22/2023          SYW                       Update intercompany balance scoping analysis with new information relating real            2.0
                                              asset purchases
03/22/2023          SYW                       Devise approach for verification of intercompany balances using the cash database          2.0
                                              sent by A&M
03/22/2023          SYW                       Review SOFA and SOALs to determine ownership of assets                                     1.2
03/22/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re: FTX                 0.6
                                              Digital Markets intercompany balance verification
03/22/2023          SYW                       Working session with C. Wong, J. Somerville, J. Labella, K. Wessel, M. Cervi, and          1.0
                                              D. Schwartz (all AlixPartners) re: intercompany balances investigation
03/22/2023          SK                        Summarize fills transaction data from .COM exchange for all accounts re:                   2.3
                                              Cottonwood Grove
03/22/2023          TY                        Attend meeting with M. Cervi, T. Yamada, J. LaBella, C. Wong, J. Somerville, K.            0.6
                                              Wessel, E. Mostoff, C. Chen, and F. Liang (all AlixPartners) re: allocation of
                                              resources to further financial statement reconstruction effort
03/22/2023          TY                        Prepare uniform balance sheets from non-QB accounting records of FTX EU Ltd,               2.7
                                              FTX Trading GmbH, FTX Certificates GmbH, FTX Europe AG, FTX Switzerland
                                              GmbH, FTX Japan K.K., FTX TURKEY TEKNOLOJI VE TICARET ANONIM
                                              SIRKET, FTX Australia Pty Ltd
03/22/2023          TY                        Prepare uniform balance sheets from non-QB accounting records of Ledger                    3.0
                                              Holdings Inc, Digital Custody Inc, Embed Financial Technologies Inc, Embed
                                              Crypto LLC, Embed Clearing LLC, FTX Vault Trust Co
03/22/2023          TY                        Working session with M. Cervi and T. Yamada (both AlixPartners) re: non-                   0.2
                                              QuickBooks balance sheet summary
03/22/2023          VA                        Attend meeting with D. Waterfield, A. Walker, J. Liao and V. Asher (all                    0.5
                                              AlixPartners) re: work plan for extraction of QuickBooks backend data and update
                                              on the crypto database workstream
03/22/2023          VA                        Analyze QuickBooks backend database for additional transactional tables to be              2.9
                                              included in reconstruction of journals
03/22/2023          VA                        Write new code to update master QuickBooks tables to exclude special character             2.6
                                              replacements during data migration
03/22/2023          VA                        Document findings re: data quality issues in QuickBooks back end data                      1.2
03/22/2023          VA                        Document findings re: limitations of data migration from QODBC and QuickBooks              1.5
                                              API following discussions with FlexQuarters
03/23/2023          AS                        Attend meeting with J. Labella (partial attendee), A. Vanderkamp, D. Schwartz and          0.5
                                              A. Searles (full attendees) (all AlixPartners) re: budget and workplan for the
                                              financial statement re-construction workstream
03/23/2023          AS                        Attend meeting with J. Labella, J. Somerville, K. Wessel, D. Schwartz, M. Cervi            0.5
                                              and A. Searles (all AlixPartners) re: financial statement reconstruction analysis and
                                              workstream updates
03/23/2023          AS                        Prepare financial statement reconstruction tracking and deliverable template               0.6
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03/23/2023          AS                        Teleconference call with R. Gordon, S. Coverick, K. Kearney, C. Broskay (all               0.5
                                              A&M), D. Schwartz, M. Jacques, J. LaBella, J. Somerville and A. Searles (all
                                              AlixPartners) re: coordination and information sharing on intercompany balance
                                              recreation
03/23/2023          AW                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: response        0.5
                                              to the queries re: the delta reporting, plan for extraction of QuickBooks backend
                                              data, update on the crypto database workstream
03/23/2023          AW                        Document the differences in FX rates between the QuickBooks transactional data             2.1
                                              and the QuickBooks daily FX rate table
03/23/2023          AW                        Re-engineer the journals reconstruction code for Alameda Research LLC to source            3.2
                                              transfer transactions from both the backend transfer table and the frontend
                                              transaction list report
03/23/2023          AW                        Re-engineer the journals reconstruction code for West Realm Shires Financial               2.8
                                              Services to source transfer transactions from both the backend transfer table and the
                                              frontend transaction list report
03/23/2023          AV                        Attend meeting with J. Labella (partial attendee), A. Vanderkamp, D. Schwartz and          0.5
                                              A. Searles (full attendees) (all AlixPartners) re: budget and workplan for the
                                              financial statement re-construction workstream
03/23/2023          BFM                       Review account activity and historical coin balance for Alameda Ventures                   0.7
03/23/2023          BFM                       Review account activity and historical coin balance for Cottonwood                         1.4
03/23/2023          CAS                       Design data architecture related to the QB's GL information                                0.6
03/23/2023          CAS                       Design the adjustment database mechanisms for the anticipated adjusting JEs                2.9
03/23/2023          CC                        Analyze North Dimension's bank statement activities to identify counter party              2.2
                                              information
03/23/2023          CC                        Attend meeting with M. Cervi, T. Yamada, K. Wessel, E. Mostoff, C. Chen, F.                1.1
                                              Liang (full attendees), and C. Wong (partial attendee) (all AlixPartners) to discuss
                                              progress on digital asset balance verification, cash balance reconstruction, and FBO
                                              bank account analysis
03/23/2023          CC                        Develop data models to parse bank statement descriptions for counter party                 2.4
                                              identification purposes
03/23/2023          CC                        Prepare Q3 2021 GL transaction reports related to North Dimension Ltd and                  0.9
                                              Alameda Research LLC for cash transfer analysis
03/23/2023          CC                        Working session with C. Wong, J. Somerville, E. Mostoff, C. Chen, K. Wessel (all           0.5
                                              AlixPartners) re: approach for intercompany balance verification using cash
                                              database
03/23/2023          CC                        Working session with D. Schwartz, K. Wessel, and C. Chen (all AlixPartners) re:            0.9
                                              utilization of cash database for identification and verification of intercompany
                                              transactions
03/23/2023          DS                        Attend meeting with J. Labella (partial attendee), A. Vanderkamp, D. Schwartz and          0.5
                                              A. Searles (full attendees) (all AlixPartners) re: budget and workplan for the
                                              financial statement re-construction workstream
03/23/2023          DS                        Attend meeting with J. Labella, J. Somerville, K. Wessel, D. Schwartz, M. Cervi            0.5
                                              and A. Searles (all AlixPartners) re: financial statement reconstruction analysis and
                                              workstream updates
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/23/2023          DS                        Attend working session with J. LaBella, D. Schwartz, K. Wessel, F. Liang (all             1.2
                                              AlixPartners) re current status and next steps on cryptocurrency/digital assets
                                              balances investigation
03/23/2023          DS                        Review intercompany matrix and balance sheet tracker                                      1.3
03/23/2023          DS                        Teleconference call with R. Gordon, S. Coverick, K. Kearney, C. Broskay (all              0.5
                                              A&M), D. Schwartz, M. Jacques, J. LaBella, J. Somerville and A. Searles (all
                                              AlixPartners) re: coordination and information sharing on intercompany balance
                                              recreation
03/23/2023          DS                        Working session with D. Schwartz and J. Somerville (both AlixPartners) re:                0.5
                                              intercompany verification approach
03/23/2023          DS                        Working session with D. Schwartz, J. LaBella (both AlixPartners) re: deliverable          0.4
                                              associated with reconstruction of intercompany payable and receivable balance
03/23/2023          DS                        Working session with D. Schwartz, K. Wessel, and C. Chen (all AlixPartners) re:           0.9
                                              utilization of cash database for identification and verification of intercompany
                                              transactions
03/23/2023          DS                        Working session with J. LaBella, D. Schwartz, J. Somerville (all AlixPartners) re:        1.0
                                              verification process for intercompany balances
03/23/2023          DL                        Attend meeting with M. Cervi, T. Yamada, K. Wessel, E. Mostoff, C. Chen, F.               1.1
                                              Liang (full attendees), and C. Wong (partial attendee) (all AlixPartners) to discuss
                                              progress on digital asset balance verification, cash balance reconstruction, and FBO
                                              bank account analysis
03/23/2023          DL                        Attend working session with J. LaBella, D. Schwartz, K. Wessel, F. Liang (all             1.2
                                              AlixPartners) re current status and next steps on cryptocurrency/digital assets
                                              balances investigation
03/23/2023          DL                        Investigate crypto token investment by Alameda Ventures Holdings                          2.6
03/23/2023          DL                        Prepare notes for walk-through call on Crypto holdings investigation                      1.5
03/23/2023          DL                        Working session with F. Liang and J. Somerville (both AlixPartners) re:                   0.4
                                              investments in subsidiary balances on Alameda Research Holdings
03/23/2023          DL                        Working session with F. Liang and T. Kang (both AlixPartners) re: exchange data           1.4
                                              pull for Cottonwood Grove
03/23/2023          EB                        Attend meeting with J. LaBella and E. Boyle (both AlixPartners) to discuss case           0.6
                                              background and logistics to on-board additional team members to assist with
                                              historical financial statement recreation
03/23/2023          EM                        Analyze bank accounts identified as part of cash balance reconstruction for               2.8
                                              indicators of potential customer funds
03/23/2023          EM                        Continue to analyze bank accounts identified as part of cash balance reconstruction       1.7
                                              for indicators of potential customer funds
03/23/2023          EM                        Analyze quarterly ending balances in Signet accounts held by FTX Trading Ltd              0.9
03/23/2023          EM                        Attend meeting with M. Cervi, T. Yamada, K. Wessel, E. Mostoff, C. Chen, F.               1.1
                                              Liang (full attendees), and C. Wong (partial attendee) (all AlixPartners) to discuss
                                              progress on digital asset balance verification, cash balance reconstruction, and FBO
                                              bank account analysis
03/23/2023          EM                        Working session with C. Wong, J. Somerville, E. Mostoff, C. Chen, K. Wessel (all          0.5
                                              AlixPartners) re: approach for intercompany balance verification using cash
                                              database
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03/23/2023          EM                        Working session with T. Yamada and E. Mostoff (both AlixPartners) re: analysis of          0.3
                                              North Dimension bank accounts appearing across multiple Alameda entities in
                                              QuickBooks
03/23/2023          JCL                       Attend meeting with J. Labella (partial attendee), A. Vanderkamp, D. Schwartz and          0.4
                                              A. Searles (full attendees) (all AlixPartners) re: budget and workplan for the
                                              financial statement re-construction workstream
03/23/2023          JCL                       Attend meeting with J. Labella, J. Somerville, K. Wessel, D. Schwartz, M. Cervi            0.5
                                              and A. Searles (all AlixPartners) re: financial statement reconstruction analysis and
                                              workstream updates
03/23/2023          JCL                       Attend working session with J. LaBella, D. Schwartz, K. Wessel, F. Liang (all              1.2
                                              AlixPartners) re current status and next steps on cryptocurrency/digital assets
                                              balances investigation
03/23/2023          JCL                       Meeting with Bob Lee (RLA), A. McClellan and others (Murphy Pearson Bradley                2.0
                                              & Feeney), M. Cervi and J. LaBella (both AlixPartners) re: Interview with Bob Lee
                                              to support financial statement reconstruction
03/23/2023          JCL                       Review analysis of Alameda cash transfers between legal entities relative to               1.7
                                              recorded intercompany payables
03/23/2023          JCL                       Review intercompany matrix analysis for Q3 2022                                            0.6
03/23/2023          JCL                       Teleconference call with R. Gordon, S. Coverick, K. Kearney, C. Broskay (all               0.5
                                              A&M), D. Schwartz, M. Jacques, J. LaBella, J. Somerville and A. Searles (all
                                              AlixPartners) re: coordination and information sharing on intercompany balance
                                              recreation
03/23/2023          JCL                       Working session with D. Schwartz, J. LaBella (both AlixPartners) re: deliverable           0.4
                                              associated with reconstruction of intercompany payable and receivable balance
03/23/2023          JCL                       Working session with J. LaBella, D. Schwartz, J. Somerville (all AlixPartners) re:         1.0
                                              verification process for intercompany balances
03/23/2023          JLS                       Attend meeting with J. Labella, J. Somerville, K. Wessel, D. Schwartz, M. Cervi            0.5
                                              and A. Searles (all AlixPartners) re: financial statement reconstruction analysis and
                                              workstream updates
03/23/2023          JLS                       Prepare intercompany matrix and intercompany balance tracker                               0.9
03/23/2023          JLS                       Prepare workplan for intercompany balance verification workstream in advance of            0.8
                                              meeting with D. Schwartz (AlixPartners).
03/23/2023          JLS                       Review prior AlixPartners investigation re: related party transaction as context for       0.8
                                              call with A&M
03/23/2023          JLS                       Teleconference call with R. Gordon, S. Coverick, K. Kearney, C. Broskay (all               0.5
                                              A&M), D. Schwartz, M. Jacques, J. LaBella, J. Somerville and A. Searles (all
                                              AlixPartners) re: coordination and information sharing on intercompany balance
                                              recreation
03/23/2023          JLS                       Update internal intercompany balance sheet tracker with financial information              0.4
                                              related 'Alameda Ventures Ltd - Investments in Sub' account
03/23/2023          JLS                       Update internal intercompany balance tracker                                               0.2
03/23/2023          JLS                       Verified 'Cottonwood Grove - Investment in Sub' account against prior AlixPartners         0.3
                                              investigation materials
03/23/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re: A&M call            0.4
                                              prep and LedgerX
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03/23/2023          JLS                       Working session with C. Wong, J. Somerville, E. Mostoff, C. Chen, K. Wessel (all           0.5
                                              AlixPartners) re: approach for intercompany balance verification using cash
                                              database
03/23/2023          JLS                       Working session with D. Schwartz and J. Somerville (both AlixPartners) re:                 0.5
                                              intercompany verification approach
03/23/2023          JLS                       Working session with F. Liang and J. Somerville (both AlixPartners) re:                    0.4
                                              investments in subsidiary balances on Alameda Research Holdings
03/23/2023          JLS                       Working session with J. LaBella, D. Schwartz, J. Somerville (all AlixPartners) re:         1.0
                                              verification process for intercompany balances
03/23/2023          JKL                       Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: response        0.5
                                              to the queries re: the delta reporting, plan for extraction of QuickBooks backend
                                              data, update on the crypto database workstream
03/23/2023          JKL                       Prepare for the fresh batch for QuickBooks backend data downloads by checking              1.0
                                              the QODBC tools
03/23/2023          JKL                       Prepare written descriptions to explain observations and solutions related to certain      0.7
                                              data quality issues in the delta reporting
03/23/2023          JKL                       Update the Python scripts for automatically extracting and cleaning the balance            1.5
                                              sheet reports to also process profit and loss reports
03/23/2023          JKL                       Update the Python scripts for automatically extracting and cleaning the QuickBooks         1.4
                                              frontend reports to streamline the process and improve download efficiency
03/23/2023          JKL                       Update the SQL scripts for initializing and populating the master tables by adding a       2.7
                                              cleaning step to convert HTML special characters
03/23/2023          KHW                       Analyze data related to Alameda loan detail as of Q4 2021 to identify loan-level           1.2
                                              detail for outstanding loan portfolio
03/23/2023          KHW                       Attend meeting with J. Labella, J. Somerville, K. Wessel, D. Schwartz, M. Cervi            0.5
                                              and A. Searles (all AlixPartners) re: financial statement reconstruction analysis and
                                              workstream updates
03/23/2023          KHW                       Attend meeting with M. Cervi, T. Yamada, K. Wessel, E. Mostoff, C. Chen, F.                1.1
                                              Liang (full attendees), and C. Wong (partial attendee) (all AlixPartners) to discuss
                                              progress on digital asset balance verification, cash balance reconstruction, and FBO
                                              bank account analysis
03/23/2023          KHW                       Attend working session with J. LaBella, D. Schwartz, K. Wessel, F. Liang (all              1.2
                                              AlixPartners) re current status and next steps on cryptocurrency/digital assets
                                              balances investigation
03/23/2023          KHW                       Conduct searches in ESI re: Alameda loan detail as of May 2021                             0.5
03/23/2023          KHW                       Working session with C. Wong, J. Somerville, E. Mostoff, C. Chen, K. Wessel (all           0.5
                                              AlixPartners) re: approach for intercompany balance verification using cash
                                              database
03/23/2023          KHW                       Working session with D. Schwartz, K. Wessel, and C. Chen (all AlixPartners) re:            0.9
                                              utilization of cash database for identification and verification of intercompany
                                              transactions
03/23/2023          MC                        Attend meeting with J. Labella, J. Somerville, K. Wessel, D. Schwartz, M. Cervi            0.5
                                              and A. Searles (all AlixPartners) re: financial statement reconstruction analysis and
                                              workstream updates
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03/23/2023          MC                        Attend meeting with M. Cervi, T. Yamada, K. Wessel, E. Mostoff, C. Chen, F.               1.1
                                              Liang (full attendees), and C. Wong (partial attendee) (all AlixPartners) to discuss
                                              progress on digital asset balance verification, cash balance reconstruction, and FBO
                                              bank account analysis
03/23/2023          MC                        Meeting with Bob Lee (RLA), A. McClellan and others (Murphy Pearson Bradley               2.0
                                              & Feeney), M. Cervi and J. LaBella (both AlixPartners) re: Interview with Bob Lee
                                              to support financial statement reconstruction
03/23/2023          MJ                        Teleconference call with R. Gordon, S. Coverick, K. Kearney, C. Broskay (all              0.5
                                              A&M), D. Schwartz, M. Jacques, J. LaBella, J. Somerville and A. Searles (all
                                              AlixPartners) re: coordination and information sharing on intercompany balance
                                              recreation
03/23/2023          SYW                       Attend meeting with M. Cervi, T. Yamada, K. Wessel, E. Mostoff, C. Chen, F.               0.6
                                              Liang (full attendees), and C. Wong (partial attendee) (all AlixPartners) to discuss
                                              progress on digital asset balance verification, cash balance reconstruction, and FBO
                                              bank account analysis
03/23/2023          SYW                       Update intercompany balance scoping analysis to include Alameda & North                   1.0
                                              Dimension
03/23/2023          SYW                       Update intercompany balance scoping analysis to include assertions for Alameda            2.4
                                              entities
03/23/2023          SYW                       Update intercompany scoping analysis with latest balance sheet version                    1.8
03/23/2023          SYW                       Continue to update intercompany scoping analysis with latest balance sheet version        0.5
03/23/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re: A&M call           0.4
                                              prep and LedgerX
03/23/2023          SYW                       Working session with C. Wong, J. Somerville, E. Mostoff, C. Chen, K. Wessel (all          0.5
                                              AlixPartners) re: approach for intercompany balance verification using cash
                                              database
03/23/2023          SK                        Analyze fills transaction data from .COM exchange for all accounts re: Cottonwood         2.4
                                              Grove to locate potential sub accounts
03/23/2023          SK                        Summarize transfer transaction data from .COM exchange for all accounts re:               2.2
                                              Cottonwood Grove
03/23/2023          SK                        Revise transaction data summary re: Cottonwood Grove                                      0.9
03/23/2023          SK                        Working session with F. Liang and T. Kang (both AlixPartners) re: exchange data           1.4
                                              pull for Cottonwood Grove
03/23/2023          TY                        Attend meeting with M. Cervi, T. Yamada, K. Wessel, E. Mostoff, C. Chen, F.               1.1
                                              Liang (full attendees), and C. Wong (partial attendee) (all AlixPartners) to discuss
                                              progress on digital asset balance verification, cash balance reconstruction, and FBO
                                              bank account analysis
03/23/2023          TY                        Extract cash account data from non-QuickBooks balance sheet data                          2.1
03/23/2023          TY                        Extract digital asset account data from non-QuickBooks balance sheet data                 1.0
03/23/2023          TY                        Extract intercompany transaction data from non-QuickBooks balance sheet data              2.4
03/23/2023          TY                        Extract loan-related account data from non-QuickBooks balance sheet data                  1.4
03/23/2023          TY                        Working session with T. Yamada and E. Mostoff (both AlixPartners) re: analysis of         0.3
                                              North Dimension bank accounts appearing across multiple Alameda entities in
                                              QuickBooks
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03/23/2023          VA                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: response       0.5
                                              to the queries re: the delta reporting, plan for extraction of QuickBooks backend
                                              data, update on the crypto database workstream
03/23/2023          VA                        Investigate QuickBooks backend tables that store metadata on attachments                  1.2
03/23/2023          VA                        Revise methodology to obtain all attachments present in QuickBooks data                   1.6
03/24/2023          AS                        Prepare initial Gantt chart for the financial statement re-construction workstream        0.9
03/24/2023          AW                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:                0.6
                                              migration of latest QuickBooks accounting data to consolidated database
03/24/2023          AW                        Extract QuickBooks data from the backend for FTX Products Singapore Pte Ltd               1.2
03/24/2023          AW                        Extract QuickBooks data from the backend for FTX Property Holdings Ltd                    1.5
03/24/2023          CAS                       Design data architecture related to the QB's GL information                               0.9
03/24/2023          CAS                       Design the adjustment database mechanisms for the anticipated adjusting JEs               2.1
03/24/2023          CX                        Attend meeting with J. Liao and C. Xu (both AlixPartners) re: Steps for new               0.7
                                              QuickBooks download request
03/24/2023          CC                        Analyze potential adjustments to intercompany receivable/payable accounts in              0.9
                                              relation to Q3 2021 cash transfers between North Dimension Ltd and Alameda
                                              Research LLC in Q3 2021
03/24/2023          CC                        Attend meeting with D. Schwartz (partial) , K. Wessel, C. Chen, T. Phelan, S.             0.8
                                              Hanzi, and T. Kang (all AlixPartners) re: implementing updates in cash database for
                                              identification and verification of intercompany cash transfers
03/24/2023          CC                        Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.7
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          CC                        Prepare a listing of cash transfers between North Dimension Ltd and Alameda               1.7
                                              Research LLC in Q3 2021
03/24/2023          CC                        Summarize actual journal entries recorded in Q3 2021 for cash transfers between           1.8
                                              North Dimension Ltd and Alameda Research LLC in Q3 2021
03/24/2023          CC                        Working session with D. Schwartz, C. Chen (full attendees), and K. Wessel (partial        0.8
                                              attendee) (all AlixPartners) re: tying up intercompany receivable and payable
                                              balance using cash database
03/24/2023          DS                        Attend meeting with D. Schwartz (partial) , K. Wessel, C. Chen, T. Phelan, S.             0.4
                                              Hanzi, and T. Kang (all AlixPartners) re: implementing updates in cash database for
                                              identification and verification of intercompany cash transfers
03/24/2023          DS                        Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.5
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          DS                        Review status of financial statement reconstruction efforts to coordinate proposed        1.4
                                              deliverable
03/24/2023          DS                        Working session with D. Schwartz, C. Chen (full attendees), and K. Wessel (partial        0.8
                                              attendee) (all AlixPartners) re: tying up intercompany receivable and payable
                                              balance using cash database
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03/24/2023          DS                        Working session with J. Sutherland, M. Birtwell (full attendees), C. Wong, J.             0.8
                                              Somerville, K. Wessel and D. Schwartz (partial attendee) (all AlixPartners) re:
                                              investigation of founders' loans
03/24/2023          DS                        Working session with M. Cervi, T. Yamada, D. Schwartz (all AlixPartners) to               0.4
                                              discuss adjusting journal entry template and review non-QB financial statements
03/24/2023          DL                        Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.5
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          DL                        Attend meeting with L. Beischer and F. Liang (both AlixPartners) re:                      0.2
                                              cryptocurrency assets balances investigation
03/24/2023          DL                        Conduct unstructured searches in ESI re: 1INCH and Mercury tokens held by                 2.3
                                              Alameda Ventures Holdings and the underlying
03/24/2023          DL                        Conduct unstructured searches in ESI re: FTT tokens held by Alameda Ventures              2.4
                                              Holdings and the underlying account
03/24/2023          DL                        Investigate Solana tokens held by Alameda Ventures Holdings                               2.6
03/24/2023          EB                        Attend call with E. Boyle, T. Shen and S. Yao (all Alix partners) re: workflow for        0.8
                                              financial statement reconstruction
03/24/2023          EB                        Attend meeting with J. LaBella and E. Boyle (both AlixPartners) to discuss                0.5
                                              financial statement recreation workstreams including cash transactions and Inter-
                                              Company transactions
03/24/2023          EB                        Review Declaration of John Ray testimony to determine potential areas of                  0.8
                                              investigation
03/24/2023          EB                        Telephone call with X. Su and E. Boyle (both AlixPartners) re: approach on                0.2
                                              analyzing video recordings of meetings between FTX and their auditors
03/24/2023          EB                        Telephone call with X. Su and E. Boyle (both AlixPartners) re: review progress and        0.3
                                              provide comments on notes of video calls between FTX and their auditors
03/24/2023          EB                        Working session with C. Wong, J. Somerville, E. Boyle, T. Shen (all AlixPartners)         0.5
                                              re: real assets
03/24/2023          ET                        Attend meeting with K. Wessel, L. Teifer (both AlixPartners) re: streamlining             0.8
                                              efforts for weekly bank account tracker process
03/24/2023          EM                        Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.7
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          EM                        Prepare summary of bank account review completion for bank accounts identified            1.4
                                              as part of cash balance reconstruction
03/24/2023          EM                        Continue to prepare summary of bank account review completion for bank accounts           1.3
                                              identified as part of cash balance reconstruction
03/24/2023          EM                        Prepare summary of bank statement availability expectations for all bank accounts         1.8
                                              identified as part of cash balance reconstruction
03/24/2023          JX                        Working session with J. Xu and X. Su (both AlixPartners) re: real assets                  0.8
03/24/2023          JX                        Follow up analysis of funds flow analysis re: real assets                                 0.7
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/24/2023          JCL                       Attend meeting with J. LaBella and E. Boyle (both AlixPartners) to discuss                0.5
                                              financial statement recreation workstreams including cash transactions and Inter-
                                              Company transactions
03/24/2023          JCL                       Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.7
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          JCL                       Review analysis of intercompany transactions supporting balance sheet accounts            1.0
03/24/2023          JCL                       Review updated historical balance sheet matrix for attributes supporting non-QB           0.9
                                              balances
03/24/2023          JLS                       Analyze journal entries on 'Alameda Research Ltd - Loans Receivable' account to           0.4
                                              determine related party relationships
03/24/2023          JLS                       Analyze third party loan documentation as context for 'Cottonwood Grove -                 0.6
                                              Investment in Subsidiary' historical balance
03/24/2023          JLS                       Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.7
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          JLS                       Compile internal AlixPartners resources re: additional resource allocations from          0.6
                                              AlixPartners Asia team
03/24/2023          JLS                       Draft summary of use-case and limitations re: additional resource allocations from        1.0
                                              AlixPartners Asia team
03/24/2023          JLS                       Compile journal entries on 'Cottonwood Grove - Investments in Subsidiary' account         0.7
                                              against third party loan documentation
03/24/2023          JLS                       Prepare for call with AlixPartners Asia team Prepare summary of historical balance        0.5
                                              sheet accounts
03/24/2023          JLS                       Prepare reporting format for summarizing proposed adjustments to historical journal       0.8
                                              entries
03/24/2023          JLS                       Review Cottonwood Grove (CG) 2020 Audit - context for 'CG - Investment in Sub             0.6
                                              (Cryptocurrency)' account
03/24/2023          JLS                       Review proposed adjusted journal entries re: WRSS - Intercompany A/R account              0.2
03/24/2023          JLS                       Working session with C. Wong, J. Somerville, E. Boyle, T. Shen (all AlixPartners)         0.5
                                              re: real assets
03/24/2023          JLS                       Working session with J. Sutherland, M. Birtwell (full attendees), C. Wong, J.             1.0
                                              Somerville, K. Wessel and D. Schwartz (partial attendee) (all AlixPartners) re:
                                              investigation of founders' loans
03/24/2023          JKL                       Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:                0.6
                                              migration of latest QuickBooks accounting data to consolidated database
03/24/2023          JKL                       Attend meeting with J. Liao and C. Xu (both AlixPartners) re: Steps for new               0.7
                                              QuickBooks download request
03/24/2023          JKL                       Develop the Python script for automatically extract the attachments associated with       2.2
                                              transactions on the QuickBooks frontend system
03/24/2023          JKL                       Prepare progress tracker to coordinate the batch 3 QuickBooks data download               1.2
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/24/2023          JKL                       Prepare the batch 3 QuickBooks data download by using the Python report                   2.6
                                              download tool to extract the balance sheet, profit and loss, and transaction reports
                                              for the 26 instances
03/24/2023          JKL                       Prepare the batch 3 QuickBooks data download by using the widget to extract the           2.2
                                              144 backend tables for the 26 instances
03/24/2023          JS                        Working session with J. Sutherland, M. Birtwell (full attendees), C. Wong, J.             1.3
                                              Somerville, K. Wessel and D. Schwartz (partial attendee) (all AlixPartners) re:
                                              investigation of founders' loans
03/24/2023          KHW                       Analyze historical data re: Alameda loan detail to validate loans payable general         1.2
                                              ledger account balances in QuickBooks
03/24/2023          KHW                       Attend meeting with D. Schwartz (partial) , K. Wessel, C. Chen, T. Phelan, S.             0.8
                                              Hanzi, and T. Kang (all AlixPartners) re: implementing updates in cash database for
                                              identification and verification of intercompany cash transfers
03/24/2023          KHW                       Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.7
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          KHW                       Attend meeting with K. Wessel, L. Teifer (both AlixPartners) re: streamlining             0.8
                                              efforts for weekly bank account tracker process
03/24/2023          KHW                       Working session with D. Schwartz, C. Chen (full attendees), and K. Wessel (partial        0.6
                                              attendee) (all AlixPartners) re: tying up intercompany receivable and payable
                                              balance using cash database
03/24/2023          KHW                       Working session with J. Sutherland, M. Birtwell (full attendees), C. Wong, J.             1.0
                                              Somerville, K. Wessel and D. Schwartz (partial attendee) (all AlixPartners) re:
                                              investigation of founders' loans
03/24/2023          LB                        Analyze FTX account transaction data against Solana blockchain transactions to            1.4
                                              rebuild account transaction ledger
03/24/2023          LB                        Attend meeting with L. Beischer and F. Liang (both AlixPartners) re:                      0.2
                                              cryptocurrency assets balances investigation
03/24/2023          LMG                       Research Alameda Bittrex loan related to tokenized stocks                                 0.7
03/24/2023          MC                        Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.7
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          MC                        Create adjustment and reporting template for entity balance sheets                        1.7
03/24/2023          MC                        Working session with M. Cervi, T. Yamada (both AlixPartners) to evaluate                  0.7
                                              LedgerPrime historical balance sheets and investment accounts
03/24/2023          MC                        Working session with M. Cervi, T. Yamada, D. Schwartz (all AlixPartners) to               0.4
                                              discuss adjusting journal entry template and review non-QB financial statements
03/24/2023          MB                        Working session with J. Sutherland, M. Birtwell (full attendees), C. Wong, J.             1.3
                                              Somerville, K. Wessel and D. Schwartz (partial attendee) (all AlixPartners) re:
                                              investigation of founders' loans
03/24/2023          MJ                        Forensic review of intercompany account balance matrix                                    1.2
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03/24/2023          SYW                       Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.7
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          SYW                       Update intercompany balance scoping analysis with transaction recorded as loans to        2.3
                                              FTX insiders
03/24/2023          SYW                       Working session with C. Wong, J. Somerville, E. Boyle, T. Shen (all AlixPartners)         0.5
                                              re: real assets
03/24/2023          SYW                       Working session with J. Sutherland, M. Birtwell (full attendees), C. Wong, J.             1.0
                                              Somerville, K. Wessel and D. Schwartz (partial attendee) (all AlixPartners) re:
                                              investigation of founders' loans
03/24/2023          SK                        Analyze exchange transfer tables to locate missing transfer data re: Cottonwood           2.1
                                              Grove
03/24/2023          SK                        Attend meeting with D. Schwartz (partial) , K. Wessel, C. Chen, T. Phelan, S.             0.8
                                              Hanzi, and T. Kang (all AlixPartners) re: implementing updates in cash database for
                                              identification and verification of intercompany cash transfers
03/24/2023          SK                        Summarize fills transaction data from .COM exchange for all accounts re: Alameda          1.8
                                              Research Holdings
03/24/2023          SK                        Summarize transfers data from .COM exchange for all accounts re: Alameda                  1.7
                                              Research Holdings
03/24/2023          SYY                       Attend call with E. Boyle, T. Shen and S. Yao (all Alix partners) re: workflow for        0.8
                                              financial statement reconstruction
03/24/2023          SRH                       Attend meeting with D. Schwartz (partial) , K. Wessel, C. Chen, T. Phelan, S.             0.8
                                              Hanzi, and T. Kang (all AlixPartners) re: implementing updates in cash database for
                                              identification and verification of intercompany cash transfers
03/24/2023          TY                        Attend meeting with K. Wessel, J. LaBella, T. Yamada, M. Cervi, E. Mostoff, C.            0.7
                                              Chen, J. Somerville, C. Wong (full attendees), D. Schwartz, and F. Liang (partial
                                              attendees) (all AlixPartners) to discuss database structure for adjusting entries to
                                              financial statements
03/24/2023          TY                        Conduct unstructured data search to understand the nature of significant balance          2.6
                                              sheet items for LedgerPrime Digital Asset Opportunities Fund, LLC and Ledger
                                              Holdings Inc
03/24/2023          TY                        Conduct unstructured data search to understand the nature of significant balance          2.0
                                              sheet items for LedgerPrime Digital Asset Opportunities Master Fund LP
03/24/2023          TY                        Working session with M. Cervi, T. Yamada (both AlixPartners) to evaluate                  0.7
                                              LedgerPrime historical balance sheets and investment accounts
03/24/2023          TY                        Working session with M. Cervi, T. Yamada, D. Schwartz (all AlixPartners) to               0.4
                                              discuss adjusting journal entry template and review non-QB financial statements
03/24/2023          TS                        Review list of available bank statement records in support of financial statement         0.7
                                              reconstruction efforts
03/24/2023          TS                        Attend call with E. Boyle, T. Shen and S. Yao (all Alix partners) re: workflow for        0.8
                                              financial statement reconstruction
03/24/2023          TS                        Working session with C. Wong, J. Somerville, E. Boyle, T. Shen (all AlixPartners)         0.5
                                              re: real assets
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03/24/2023          TP                        Attend meeting with D. Schwartz (partial) , K. Wessel, C. Chen, T. Phelan, S.             0.8
                                              Hanzi, and T. Kang (all AlixPartners) re: implementing updates in cash database for
                                              identification and verification of intercompany cash transfers
03/24/2023          VA                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:                0.6
                                              migration of latest QuickBooks accounting data to consolidated database
03/24/2023          XS                        Working session with J. Xu and X. Su (both AlixPartners) re: real assets                  0.8
03/24/2023          XS                        Analyze recorded FTX audit meetings from unstructured data searches to further            0.8
                                              financial statement reconstruction efforts
03/24/2023          XS                        Continue analysis of recorded FTX audit meetings from unstructured data searches          1.5
                                              to further financial statement reconstruction efforts
03/24/2023          XS                        Analyze recorded meeting between FTX and Prager to obtain relevant information            0.9
                                              to assist with financial statement reconstruction
03/24/2023          XS                        Telephone call with X. Su and E. Boyle (both AlixPartners) re: approach on                0.2
                                              analyzing video recordings of meetings between FTX and their auditors
03/24/2023          XS                        Telephone call with X. Su and E. Boyle (both AlixPartners) re: review progress and        0.3
                                              provide comments on notes of video calls between FTX and their auditors
03/25/2023          DS                        Review documents associated with financial statement reconstruction                       0.8
03/25/2023          MC                        Organize historical financial statement recreation working files                          0.6
03/26/2023          MC                        Revise historical recreation matrix                                                       0.3
03/27/2023          AS                        Attend meeting with J. LaBella, D. Schwartz and A. Searles (partial) (all                 1.2
                                              AlixPartners) to develop process to standardize adjusting journal entries to prepare
                                              entity level quarterly adjusted balances
03/27/2023          AS                        Review QuickBooks data to be provided by counsel re: loans to insiders                    0.6
03/27/2023          AW                        Re-engineer the journals reconstruction code to source transactions from a single         2.5
                                              frontend report rather than from multiple backend sources
03/27/2023          CAS                       Design the adjustment database mechanisms for the anticipated adjusting JEs               2.6
03/27/2023          CC                        Analyze FTX Digital Markets' brokerage account's transfer activities                      0.8
03/27/2023          CC                        Attend meeting with J. LaBella, D. Schwartz and C. Chen (all AlixPartners) to             0.7
                                              review analysis of unrecorded intercompany balances generated through cash
                                              transfers between Alameda related entities
03/27/2023          CC                        Attend meeting with J. LaBella, D. Schwartz, K. Wessel, C. Chen (all AlixPartners)        1.4
                                              to review intercompany matrix across all entities to identify unbalanced accounts
03/27/2023          CC                        Prepare a reporting model to account for bank accounts' opening and close dates           0.9
03/27/2023          CC                        Summarize cash transfer activities per bank statements from Q2 2021 and Q3 2022           1.4
                                              for North Dimension Ltd
03/27/2023          CC                        Update the listing of bank statements received and identify new statements since          0.4
                                              3/19/2023
03/27/2023          DS                        Attend meeting with J. LaBella, D. Schwartz and A. Searles (partial) (all                 2.2
                                              AlixPartners) to develop process to standardize adjusting journal entries to prepare
                                              entity level quarterly adjusted balances
03/27/2023          DS                        Attend meeting with J. LaBella, D. Schwartz and C. Chen (all AlixPartners) to             0.7
                                              review analysis of unrecorded intercompany balances generated through cash
                                              transfers between Alameda related entities
03/27/2023          DS                        Attend meeting with J. LaBella, D. Schwartz, K. Wessel (all AlixPartners) to              1.0
                                              discuss historical financial statements deliverable structure and status tracking
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03/27/2023          DS                        Attend meeting with J. LaBella, D. Schwartz, K. Wessel, C. Chen (all AlixPartners)        1.4
                                              to review intercompany matrix across all entities to identify unbalanced accounts
03/27/2023          DS                        Develop structure for adjusted journal entry database                                     0.7
03/27/2023          DS                        Develop tracker and identify workstreams for financial statement reconstruction           0.8
03/27/2023          DS                        Telephone call with D. Schwartz and J. Somerville (both AlixPartners) re:                 0.3
                                              workstream update for intercompany reconstruction
03/27/2023          DL                        Analyze FTX exchange extracted data for Cottonwood Grove                                  1.6
03/27/2023          DL                        Attend meeting with L. Beischer and F. Liang (both AlixPartners) re:                      0.3
                                              cryptocurrency assets balances investigation
03/27/2023          DL                        Conduct unstructured data searches in ESI re: unstructured searches for pointer data      2.8
                                              files
03/27/2023          EB                        Summarize notes on 'custody and change management' zoom meeting between FTX               0.9
                                              executives and Prager dated June 8 2021
03/27/2023          EB                        Summarize notes on revenue process zoom meeting between FTX executives and                2.6
                                              Prager dated March 2022
03/27/2023          EB                        Summarize notes on wallet and payroll expenses zoom meeting between FTX                   0.8
                                              executives and Prager dated July 15 2021
03/27/2023          EM                        Analyze bank account tracker against cash reconstruction workpaper for new                2.5
                                              accounts/statements added
03/27/2023          EM                        Update bank account balance listing for FTX Europe AG                                     0.3
03/27/2023          EM                        Update bank account balance listing for FTX Trading Ltd                                   0.4
03/27/2023          EM                        Update bank account listing for FTX Japan Holdings KK                                     0.2
03/27/2023          EM                        Update bank account listing for FTX Japan KK                                              0.6
03/27/2023          JCL                       Attend meeting with J. LaBella, D. Schwartz and A. Searles (partial) (all                 2.2
                                              AlixPartners) to develop process to standardize adjusting journal entries to prepare
                                              entity level quarterly adjusted balances
03/27/2023          JCL                       Attend meeting with J. LaBella, D. Schwartz and C. Chen (all AlixPartners) to             0.7
                                              review analysis of unrecorded intercompany balances generated through cash
                                              transfers between Alameda related entities
03/27/2023          JCL                       Attend meeting with J. LaBella, D. Schwartz, K. Wessel (all AlixPartners) to              1.0
                                              discuss historical financial statements deliverable structure and status tracking
03/27/2023          JCL                       Attend meeting with J. LaBella, D. Schwartz, K. Wessel, C. Chen (all AlixPartners)        1.4
                                              to review intercompany matrix across all entities to identify unbalanced accounts
03/27/2023          JCL                       Review sources and coverage for non-QB balance sheets                                     0.8
03/27/2023          JCL                       Review sources of data supporting digital asset balance sheet accounts                    0.8
03/27/2023          JCL                       Review status and staffing for historical financial statement recreation workstreams      1.5
03/27/2023          JLS                       Prepare for call with AlixPartners Asia team re: historical property purchases            0.2
03/27/2023          JLS                       Prepare 'leadsheet' template reporting structure to record proposed adjustments to        1.6
                                              historical balances
03/27/2023          JLS                       Prepare verification criteria for historical intercompany balances                        0.5
03/27/2023          JLS                       Provide update to counsel on legal entity intercompany position                           0.2
03/27/2023          JLS                       Telephone call with D. Schwartz and J. Somerville (both AlixPartners) re:                 0.3
                                              workstream update for intercompany reconstruction
03/27/2023          JLS                       Working session with C. Wong, J. Somerville, E. Boyle, T. Shen (all AlixPartners)         0.7
                                              re: real assets
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03/27/2023          JKL                       Prepare the batch 3 QuickBooks backend data by parsing the JSON data                       2.4
                                              downloaded using the widget tool and inserting the parsed data into the master
                                              tables
03/27/2023          JKL                       Prepare the batch 3 QuickBooks frontend data by cleaning the content and format            2.7
                                              using Python and ingesting the cleaned data into the SQL database
03/27/2023          JKL                       Prepare the QuickBooks data required for the reconstructed journals by copying the         1.8
                                              data from the master schema to the QB Active schema, and running checks to
                                              confirm that no errors occurred in the transfer process
03/27/2023          JKL                       Update the QuickBooks backend data for Innovatia Ltd by removing the incorrect             1.5
                                              version and downloading the correct version
03/27/2023          KHW                       Analyze Alameda loan portfolio detail for periods Q1 through Q2 2022 for purposes          1.0
                                              of identifying loans comprising loan payable balance sheet accounts
03/27/2023          KHW                       Analyze third party loan payable counterparties to prioritize validation of quarterly      1.6
                                              balances outstanding through relativity searches for lender invoices
03/27/2023          KHW                       Attend meeting with J. LaBella, D. Schwartz, K. Wessel (all AlixPartners) to               1.0
                                              discuss historical financial statements deliverable structure and status tracking
03/27/2023          KHW                       Attend meeting with J. LaBella, D. Schwartz, K. Wessel, C. Chen (all AlixPartners)         1.4
                                              to review intercompany matrix across all entities to identify unbalanced accounts
03/27/2023          KHW                       Develop intercompany balance matrix analysis to identify relationships with                0.5
                                              inconsistent payable-receivable balances
03/27/2023          KHW                       Conduct searches in ESI re: identify third party lender invoices for Alameda loans         0.5
                                              outstanding
03/27/2023          KHW                       Review Alameda's borrowing activity re: crypto loan repayments                             0.7
03/27/2023          KHW                       Review entity of interest lender invoices re: outstanding loan payable balances by         0.7
                                              token for quarterly loan payable balance validation
03/27/2023          LB                        Analyze Solana missing transaction in created transaction ledger                           1.6
03/27/2023          LB                        Attend meeting with L. Beischer and F. Liang (both AlixPartners) re:                       0.3
                                              cryptocurrency assets balances investigation
03/27/2023          LB                        Finalize approach to re-create Solana transaction ledger from blockchain data of           1.4
                                              Alameda wallets
03/27/2023          LB                        Review options for re-creating Solana transaction ledger from blockchain data of           1.8
                                              Alameda wallets
03/27/2023          LB                        Review valid crypto address list from FTI for purpose of creating Solana transaction       1.0
                                              ledger
03/27/2023          LMG                       Review Cottonwood crypto balance snapshots                                                 1.7
03/27/2023          MC                        Review latest update on added bank accounts                                                0.3
03/27/2023          MC                        Working session with M. Cervi and T. Yamada (all AlixPartners) re: findings of             0.3
                                              significant balance sheet items of non-QuickBooks entities
03/27/2023          SYW                       Update intercompany balance scoping analysis for FTX and Alameda cash                      1.5
                                              management relationship
03/27/2023          SYW                       Update intercompany balance scoping analysis for FTX Trading Series A P/S share            2.7
                                              purchase from Binance
03/27/2023          SYW                       Working session with C. Wong, J. Somerville, E. Boyle, T. Shen (all AlixPartners)          0.7
                                              re: real assets
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03/27/2023          SRH                       Develop enhanced export process for Search database re : QuickBooks Financial                2.1
                                              Data
03/27/2023          TY                        Research/investigation of significant non-QuickBooks balance sheet line items for            1.4
                                              FTX Europe AG
03/27/2023          TY                        Research/investigation of significant non-QuickBooks balance sheet line items for            1.2
                                              Ledger Holdings
03/27/2023          TY                        Research/investigation of significant non-QuickBooks balance sheet line items for            1.4
                                              LedgerPrime Digital Asset Opportunities Fund, LLC
03/27/2023          TY                        Working session with M. Cervi and T. Yamada (all AlixPartners) re: findings of               0.3
                                              significant balance sheet items of non-QuickBooks entities
03/27/2023          TS                        Reconcile accounting journal entries for selected transactions of real estate                2.7
                                              properties re: real assets
03/27/2023          TS                        Reconcile known real estate properties against Chapter 11 filings re: real assets            1.4
03/27/2023          TS                        Review Declaration of John J. Ray III and First Day Hearing document to                      1.7
                                              understand background
03/27/2023          TS                        Review SEC and other compliant documents to understand background                            1.2
03/27/2023          TS                        Review supporting documents of selected real estate transactions re: real assets             1.6
03/27/2023          VA                        Develop methodology to migrate the correct version of Innovatia Ltd from                     0.9
                                              QuickBooks Online
03/27/2023          VA                        Investigate the issue with parsing out the QuickBooks exchange rates                         0.9
03/27/2023          VA                        Develop code to parse out QuickBooks exchange dates during data migration                    0.7
03/27/2023          VA                        Analyze reconciliation issues relating to Innovatia Ltd records                              1.1
03/27/2023          VA                        Parse out the raw QuickBooks JSON data for the latest snapshot                               2.1
03/27/2023          VA                        Review the code to produce the delta reports based on reconstructed journals                 1.3
03/27/2023          VA                        Update code to produce the delta reports based on reconstructed journals                     1.5
03/27/2023          XS                        Continue analysis of recorded FTX audit meeting from May 6, 2021 in support of               1.1
                                              financial statement reconstruction efforts
03/27/2023          XS                        Analyze recorded FTX audit meeting from Apr 28, 2021 in support of financial                 2.5
                                              statement reconstruction efforts
03/27/2023          XS                        Analyze recorded FTX audit meeting from May 6, 2021 in support of financial                  2.8
                                              statement reconstruction efforts
03/27/2023          XS                        Analyze recorded FTX audit meeting from May 3, 2021 in support of financial                  2.9
                                              statement reconstruction efforts
03/28/2023          AS                        Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.                0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          AS                        Review updated financial statement reconstruction workstream tracker for                     0.6
                                              upcoming meeting
03/28/2023          AW                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: latest            0.3
                                              status of QuickBooks data migration
03/28/2023          AW                        Format and cleanse the latest version of the standardized chart of accounts related to       1.7
                                              the QuickBooks data
03/28/2023          AW                        Ingest into SQL the latest version of the standardized chart of accounts related to the      0.6
                                              QuickBooks data
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/28/2023          AW                        Reconstruct journals for all entities from the backend QuickBooks data to support          2.8
                                              the financial statement reconstruction workstream
03/28/2023          AW                        Recreate the balance sheet of all entities from the backend QuickBooks data to             2.8
                                              support the financial statement reconstruction workstream
03/28/2023          AW                        Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
03/28/2023          BFM                       Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.              0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          CAS                       Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
03/28/2023          CC                        Research on FTX Digital Markets' brokerage account's service agreement                     0.7
03/28/2023          CC                        Review cash transfer activities between North Dimension Inc and FTX Digital                1.1
                                              Markets
03/28/2023          CC                        Review North Dimension FBO deposit and withdrawal activities to determine the              0.9
                                              correct accounting treatments
03/28/2023          CC                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                        1.4
                                              reconstruction of historical cash balances
03/28/2023          CC                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          CC                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          DS                        Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.              0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          DS                        Working session with D. Schwartz and J. Labella (both AlixPartners) re: develop            0.8
                                              specific works steps and milestones for financial statement construction workstream
03/28/2023          DS                        Working session with D. Schwartz and J. Labella (both AlixPartners) to develop             1.0
                                              process for creating consolidated AJEs and BS reports
03/28/2023          DS                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          DS                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          DJW                       Coordinate workstream to feed crypto asset values into financial statement                 2.6
                                              reconstruction work
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/28/2023          DJW                       Continue coordination of workstream to feed crypto asset values into financial             1.6
                                              statement reconstruction work
03/28/2023          DL                        Analyze FTX exchange extracted data for Cottonwood Grove                                   1.4
03/28/2023          DL                        Analyze pointer data files related to Alameda Research LLC                                 2.5
03/28/2023          DL                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          DL                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          EB                        Review Alameda loan balances and supporting account statements issued by                   2.7
                                              counter parties
03/28/2023          EB                        Summarize notes on revenue testing zoom meeting between FTX executives and                 1.0
                                              Prager dated April 30 2021
03/28/2023          EB                        Summarize notes on revenue testing zoom meeting between FTX executives and                 1.0
                                              Prager dated July 6, 2021
03/28/2023          EB                        Conduct searches on ESI re: counter party support for Alameda loan balances                1.7
03/28/2023          EB                        Working session with C. Wong, J. Somerville, E. Boyle, T. Shen (all AlixPartners)          0.7
                                              re: real assets
03/28/2023          EM                        Compile list of missing bank statements for FTX Japan Holdings KK, FTX Japan               1.7
                                              KK, FTX Japan Services KK , Analisya Pte Ltd, Liquid Securities Singapore Pte
                                              Ltd, Quoine Pte Ltd, Quoine Vietnam Co Ltd, and Quoine India Pte Ltd
03/28/2023          EM                        Working session with C. Chen and E. Mostoff (both AlixPartners) re:                        1.4
                                              reconstruction of historical cash balances
03/28/2023          EM                        Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
03/28/2023          EM                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          EM                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          JCL                       Review support for intercompany balances supported by JE's reflecting investment           0.8
                                              transactions
03/28/2023          JCL                       Review supporting schedules for digital asset account balances for Alameda entities        0.7
03/28/2023          JCL                       Review supporting schedules for intercompany balances resulting from cash                  0.9
                                              transfers between entities
03/28/2023          JCL                       Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
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03/28/2023          JCL                       Working session with D. Schwartz and J. Labella (both AlixPartners) re: develop            0.8
                                              specific works steps and milestones for financial statement construction workstream
03/28/2023          JCL                       Working session with D. Schwartz and J. Labella (both AlixPartners) to develop             1.0
                                              process for creating consolidated AJEs and BS reports
03/28/2023          JCL                       Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          JCL                       Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          JLS                       Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.              0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          JLS                       Revise intercompany matrix model                                                           0.4
03/28/2023          JLS                       Drafted email to AlixPartners Asia team re: bank transaction and accounting                0.2
                                              resources
03/28/2023          JLS                       Prepare workplan for AlixPartners Asia team to assist in verification of historical        0.8
                                              intercompany transfers
03/28/2023          JLS                       Review work product from AlixPartners Asia team re intercompany property                   0.8
                                              transfers
03/28/2023          JLS                       Update internal balance sheet tracker - Alameda Research Ltd Investment in                 0.3
                                              Subsidiary account
03/28/2023          JLS                       Update internal balance sheet tracker - Alameda Research Ltd Investment in                 0.4
                                              Subsidiary and Treasury Management accounts
03/28/2023          JLS                       Update internal balance sheet tracker to reflect the Alameda Research                      0.6
                                              Ltd/Cottonwood Grove historical intercompany relationship
03/28/2023          JLS                       Update internal balance sheet tracker with Alameda Research Ltd/North Dimension            0.3
                                              historical intercompany balances
03/28/2023          JLS                       Update internal balance sheet tracker Alameda Research Ltd and North Dimension             0.4
                                              entities
03/28/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re: InterCo             0.5
                                              analysis meeting prep
03/28/2023          JLS                       Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          JLS                       Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          JKL                       Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: latest          0.3
                                              status of QuickBooks data migration
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/28/2023          JKL                       Prepare the delta report of the 16 underlying source tables by exporting the data to       1.8
                                              spreadsheet and writing the notes to summaries the findings
03/28/2023          JKL                       Prepare the delta report of the 16 underlying source tables by generating and              2.5
                                              examining the results to understand how the data has changed between the two
                                              downloads
03/28/2023          JKL                       Prepare the delta report of the 16 underlying source tables by investigating data          2.5
                                              quality issues to identify any limitations of QuickBooks data
03/28/2023          JKL                       Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
03/28/2023          JS                        Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.              0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          KV                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          KV                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          KHW                       Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.              0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          KHW                       Update work plan re: approach to validation of third party loan balances for               0.4
                                              Alameda
03/28/2023          KHW                       Update work plan tracker re: third party loans payable balance validation                  0.5
03/28/2023          KHW                       Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          KHW                       Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          LB                        Develop Solana transaction gathering script                                                2.7
03/28/2023          LB                        Develop Solana transaction parsing script                                                  2.7
03/28/2023          LB                        Reconciling Solana address transactions to Chainalysis transactions data                   1.9
03/28/2023          LMG                       Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.              0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          MC                        Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.              0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          MC                        Review FTX revised chart of accounts for new accounting system                             0.5
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John J. Ray III
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FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/28/2023          MC                        Review initial draft of balance sheet data from latest QuickBooks backend                  1.0
03/28/2023          MC                        Telephone call with D. Hainline (A&M) re: FTX new chart of accounts workstream             0.2
03/28/2023          MC                        Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
03/28/2023          MC                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          MC                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          MJ                        Review the work plan and related attachments for financial statement reconstruction        1.4
                                              with specific focus on digital asset balances
03/28/2023          RS                        Prepare summary to reconstruct financial information related to entity of interest         0.5
                                              investigation
03/28/2023          SYW                       Compose email to J. Somerville, T. Shen, E. Boyle re: intercompany balance                 0.6
                                              scoping analysis for investment in real assets
03/28/2023          SYW                       Update intercompany balance scoping analysis for FTX Trading Series A P/S share            2.5
                                              purchase from Binance
03/28/2023          SYW                       Update intercompany balance scoping analysis for investment in cash management             0.7
                                              agreement between FTX and Alameda
03/28/2023          SYW                       Update intercompany balance scoping analysis for investment in K5 holdings                 2.2
03/28/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re: InterCo             0.5
                                              analysis meeting prep
03/28/2023          SYW                       Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          SYW                       Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          SK                        Create a process to analyze exchange database to locate activities related to 4            2.8
                                              Cottonwood Grove sub-accounts
03/28/2023          SK                        Identify and analyze parent entity of 2 specific accounts re: Cottonwood Grove             0.9
03/28/2023          SRH                       Attend call with A. Searles, L. Goldman, D. Schwartz, K. Wessel, M. Cervi, J.              0.5
                                              Sutherland, B. Mackay, S. Hanzi and J. Somerville to coordinate historical f/s
                                              reconstruction and ongoing investigation findings
03/28/2023          SRH                       Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
03/28/2023          TY                        Map newly added QuickBooks accounts in the chart of accounts                               2.1
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/28/2023          TY                        Summarize the availability of balance sheet data for entities managed by the               2.0
                                              personnel in Europe to request missing data
03/28/2023          TY                        Summarize the availability of balance sheet data for entities managed by the               1.4
                                              personnel in Japan to request missing data
03/28/2023          TY                        Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
03/28/2023          TY                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                0.6
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, D. Schwartz (full attendees), and T.
                                              Yamada (partial attendee) (all AlixPartners) re: approach for adjusting journal entry
                                              integration with existing financial statements
03/28/2023          TY                        Working session with J. LaBella, K. Wessel, M. Cervi, F. Liang, C. Wong, C.                1.4
                                              Chen, E. Mostoff, J. Somerville, K. Vasiliou, T. Yamada, and D. Schwartz (all
                                              AlixPartners) re: intercompany transactions between silos, FBO liability
                                              calculations, and digital asset balance verification
03/28/2023          TS                        Design review step procedures for accuracy check re: real assets                           2.7
03/28/2023          TS                        Prepare internal progress update re: real assets                                           0.6
03/28/2023          TS                        Reconcile FTX Digital Markets' cash ledger to bank statements re: real assets              0.8
03/28/2023          TS                        Review real estate purchase documents re: real assets                                      2.4
03/28/2023          TS                        Working session with C. Wong, J. Somerville, E. Boyle, T. Shen (all AlixPartners)          0.7
                                              re: real assets
03/28/2023          TS                        Working session with T. Shen and X. Su (both AlixPartners) walking through                 0.7
                                              review procedures re: real assets
03/28/2023          VA                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: latest          0.3
                                              status of QuickBooks data migration
03/28/2023          VA                        Analyze issue with QuickBooks data relating to decimal precision                           2.2
03/28/2023          VA                        Analyze issue with QuickBooks data for special character replacement during data           2.4
                                              migration
03/28/2023          VA                        Liaise with FlexQuarters to obtain the beta version of QODBC driver with access to         1.9
                                              credit card payments from QuickBooks backend
03/28/2023          VA                        Working session with C. Cipione, J. LaBella, M. Cervi, J. Liao, A. Walker, A.              0.4
                                              Vaibhav, T. Yamada, E. Mostoff, and S. Hanzi (all AlixPartners) re: latest balance
                                              sheet output and approach for integration of restatement data
03/28/2023          XS                        Analyze notes re: USDC and ITGC meeting on May 14, 2021 in support of                      2.8
                                              financial statement reconstruction efforts
03/28/2023          XS                        Continue analysis of notes re: USDC and ITGC meeting on May 14, 2021 in                    1.6
                                              support of financial statement reconstruction efforts
03/28/2023          XS                        Conduct unstructured searches in ESI database for ownership documents re: real             2.3
                                              assets
03/28/2023          XS                        Working session with T. Shen and X. Su (both AlixPartners) walking through                 0.7
                                              review procedures re: real assets
03/29/2023          AS                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) re:          0.8
                                              financial statement reconstruction workplan and key milestones
03/29/2023          AS                        Telephone call with A. Searles and J. Somerville (both AlixPartners) re: workstream        0.3
                                              update – intercompany reconstruction
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03/29/2023          AS                        Working session with M. Jacques, J. Labella, A. Searles and D. Schwartz (all             0.6
                                              AlixPartners) re: review of proposed financial statement reconstruction deliverable
                                              template
03/29/2023          AW                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: journal       0.7
                                              reconstruction status update
03/29/2023          AW                        Investigate AP reconciliation differences between the backend recreated balance          1.3
                                              sheet with frontend QuickBooks balance sheet for FTX Digital Markets Ltd
03/29/2023          AW                        Investigate credit card reconciliation differences between the backend recreated         0.9
                                              balance sheet with frontend QuickBooks balance sheet for FTX Digital Markets Ltd
03/29/2023          AW                        Investigate exchange gains/losses reconciliation differences between the backend         2.4
                                              recreated balance sheet with frontend QuickBooks balance sheet for Alameda
                                              Research LLC
03/29/2023          AW                        Investigate exchange gains/losses reconciliation differences between the backend         1.3
                                              recreated balance sheet with frontend QuickBooks balance sheet for FTX Trading
                                              Ltd
03/29/2023          AW                        Investigate intercompany A/R reconciliation differences between the backend              0.8
                                              recreated balance sheet with frontend QuickBooks balance sheet for West Realm
                                              Shires Services Inc
03/29/2023          AW                        Investigate payroll expenses reconciliation differences between the backend              1.3
                                              recreated balance sheet with frontend QuickBooks balance sheet for Blockfolio Inc
03/29/2023          AW                        Investigate reconciliation differences between the backend recreated balance sheet       2.1
                                              with frontend QuickBooks balance sheet for all entities caused by account ID
                                              inconsistencies in the backend data
03/29/2023          AW                        Investigate reconciliation differences for a deleted account between the backend         0.8
                                              recreated balance sheet with frontend QuickBooks balance sheet for Blockfolio Inc
03/29/2023          AW                        Investigate reconciliation differences for a deleted account between the backend         0.5
                                              recreated balance sheet with frontend QuickBooks balance sheet for specific entity
03/29/2023          AW                        Reconcile backend recreated balance sheet with frontend QuickBooks balance sheet         1.3
                                              for all entities
03/29/2023          CAS                       Working session with L. Goldman, T. Phelan, K. Wessel, F. Liang and C. Cipione           0.9
                                              (all AlixPartners) re: validating summary balance tables from FTX Exchange
03/29/2023          CC                        Analyze Alameda Research LLC's cash database to identify data with missing fields        0.7
                                              Analyze Alameda Research LLC's cash database to identify data with missing fields
03/29/2023          CC                        Prepare a dimension table of cash transfer counter parties for the counter party         2.2
                                              identification data model
03/29/2023          CC                        Research on internal and external Silvergate/SEN bank accounts                           2.1
03/29/2023          CC                        Standardize bank account numbers in cash workbook and bank accounts tracker              1.6
03/29/2023          CC                        Working session with C. Wong, J. Somerville, C. Chen, T. Phelan (all AlixPartners)       1.0
                                              re: reconciling InterCo balances using cash bank statements
03/29/2023          DS                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) re:        0.8
                                              financial statement reconstruction workplan and key milestones
03/29/2023          DS                        Working session with C. Wong, J. Somerville, D. Schwartz, J. LaBella (all                1.0
                                              AlixPartners) re: InterCo analysis updates
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John J. Ray III
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/29/2023          DS                        Working session with D. Schwartz and J. Labella (both AlixPartners) re: follow-up        1.1
                                              from previous day meeting to develop specific works steps and milestones for
                                              financial statement construction workstream
03/29/2023          DS                        Working session with D. Schwartz and J. Labella (both AlixPartners) to discuss           0.9
                                              plan to incorporate non-QB entity financial statements
03/29/2023          DS                        Working session with J. LaBella, D. Schwartz, M. Cervi, and T. Yamada (all               1.6
                                              AlixPartners) to discuss balance sheet reconstruction work plan
03/29/2023          DS                        Working session with J. LaBella, K. Wessel, D. Schwartz, F. Liang (all                   1.6
                                              AlixPartners) re: digital asset balance verification
03/29/2023          DS                        Working session with M. Jacques, J. Labella, A. Searles and D. Schwartz (all             0.6
                                              AlixPartners) re: review of proposed financial statement reconstruction deliverable
                                              template
03/29/2023          DL                        Analyze FTX exchange extracted data for Cottonwood Grove                                 2.1
03/29/2023          DL                        Attend meeting with L. Beischer and F. Liang (both AlixPartners) re:                     0.3
                                              cryptocurrency assets balances investigation
03/29/2023          DL                        Prepare for working session with J. LaBella, D. Schwartz, K. Wessel re: crypto           1.3
                                              investigations
03/29/2023          DL                        Working session with C. Wong, M. Cervi, E. Mostoff, F. Liang, J. Somerville (all         0.7
                                              AlixPartners) and F. Sedmak (SVA CPA) re: AFRM onboarding
03/29/2023          DL                        Working session with J. LaBella, K. Wessel, D. Schwartz, F. Liang (all                   1.6
                                              AlixPartners) re: digital asset balance verification
03/29/2023          DL                        Working session with L. Goldman, K. Wessel, F. Liang (all AlixPartners) re:              0.6
                                              workplan for analyzing balances for Cottonwood Grove from FTX Exchange
03/29/2023          DL                        Working session with L. Goldman, T. Phelan, K. Wessel, F. Liang and C. Cipione           0.9
                                              (all AlixPartners) re: validating summary balance tables from FTX Exchange
03/29/2023          EB                        Summarize notes on revenue testing zoom meeting between FTX executives and               0.8
                                              Prager dated June 10, 2021
03/29/2023          EB                        Summarize notes on revenue testing zoom meeting between FTX executives and               0.3
                                              Prager dated June 24, 2021
03/29/2023          EB                        Summarize notes on revenue testing zoom meeting between FTX executives and               1.3
                                              Prager dated June 29 2021
03/29/2023          EB                        Summarize notes on revenue testing zoom meeting between FTX executives and               0.6
                                              Prager dated May 25, 2021
03/29/2023          EM                        Analyze bank account opening/closing data as part of analysis on completeness of         2.2
                                              cash balances
03/29/2023          EM                        Compile list of missing bank statements for FTX Certificates GmbH, FTX Crypto            2.1
                                              Services Ltd, FTX EU Ltd, FTX Europe AG, FTX Exchange FZE, FTX Structured
                                              Products AG, FTX Switzerland GmbH, and FTX Trading GmbH
03/29/2023          EM                        Continue to compile list of missing bank statements for FTX Japan Holdings KK,           1.6
                                              FTX Japan KK, FTX Japan Services KK , Analisya Pte Ltd, Liquid Securities
                                              Singapore Pte Ltd, Quoine Pte Ltd, Quoine Vietnam Co Ltd, and Quoine India Pte
                                              Ltd
03/29/2023          EM                        Working session with C. Wong, M. Cervi, E. Mostoff, F. Liang, J. Somerville (all         0.7
                                              AlixPartners) and F. Sedmak (SVA CPA) re: AFRM onboarding
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03/29/2023          JCL                       Review balance sheets of non-QB related entities for concentration of assets and         1.0
                                              liabilities
03/29/2023          JCL                       Working session with C. Wong, J. Somerville, D. Schwartz, J. LaBella (all                1.0
                                              AlixPartners) re: InterCo analysis updates
03/29/2023          JCL                       Working session with D. Schwartz and J. Labella (both AlixPartners) re: follow-up        1.1
                                              from previous day meeting to develop specific works steps and milestones for
                                              financial statement construction workstream
03/29/2023          JCL                       Working session with D. Schwartz and J. Labella (both AlixPartners) to discuss           0.9
                                              plan to incorporate non-QB entity financial statements
03/29/2023          JCL                       Working session with J. LaBella, D. Schwartz, M. Cervi, and T. Yamada (all               1.6
                                              AlixPartners) to discuss balance sheet reconstruction work plan
03/29/2023          JCL                       Working session with J. LaBella, K. Wessel, D. Schwartz, F. Liang (all                   1.6
                                              AlixPartners) re: digital asset balance verification
03/29/2023          JCL                       Working session with M. Jacques, J. Labella, A. Searles and D. Schwartz (all             0.6
                                              AlixPartners) re: review of proposed financial statement reconstruction deliverable
                                              template
03/29/2023          JLS                       Draft email to AlixPartners Asia team re: access to accounting and banking datasets      0.3
03/29/2023          JLS                       Prepare reporting template for cash v non-cash intercompany transactions                 0.8
03/29/2023          JLS                       Prepare template reporting structure for cash v non-cash intercompany transactions       0.5
03/29/2023          JLS                       Review SDNY Indictment for context on Alameda Research Ltd                               0.9
03/29/2023          JLS                       Review SDNY indictment for context re: North Dimension relationship to FTX               0.8
                                              Group
03/29/2023          JLS                       Telephone call with A. Searles and J. Somerville (both AlixPartners) re: workstream      0.3
                                              update – intercompany reconstruction
03/29/2023          JLS                       Update internal balance sheet tracker re: Alameda Research Ltd                           0.3
03/29/2023          JLS                       Update internal balance sheet tracker re: Cottonwood Grove                               0.4
03/29/2023          JLS                       Working session C. Wong and J. Somerville (both AlixPartners) re: SQL query on           0.3
                                              Alameda Research Ltd intercompany balance
03/29/2023          JLS                       Working session with C. Wong and J. Somerville (both AlixPartners) re: InterCo           0.4
                                              analysis meeting prep
03/29/2023          JLS                       Working session with C. Wong, J. Somerville, C. Chen, T. Phelan (all AlixPartners)       1.0
                                              re: reconciling InterCo balances using cash bank statements
03/29/2023          JLS                       Working session with C. Wong, J. Somerville, D. Schwartz, J. LaBella (all                1.0
                                              AlixPartners) re: InterCo analysis updates
03/29/2023          JLS                       Working session with C. Wong, M. Cervi, E. Mostoff, F. Liang, J. Somerville (all         0.7
                                              AlixPartners) and F. Sedmak (SVA CPA) re: AFRM onboarding
03/29/2023          JLS                       Working session with J. Somerville and C. Wong (both AlixPartners) division of           0.4
                                              tasks for intercompany workstream
03/29/2023          JKL                       Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: journal       0.7
                                              reconstruction status update
03/29/2023          JKL                       Develop the Python script for automatically extracting attachments from                  3.1
                                              QuickBooks frontend by building the overall framework of obtaining reference lists,
                                              generating transactions URLs, and downloading attachments
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03/29/2023          JKL                       Develop the Python script for automatically extracting attachments from                   0.5
                                              QuickBooks frontend by investigating the issues with download methods for
                                              different file types
03/29/2023          JKL                       Prepare the delta report of the 16 underlying source tables by finalizing the             2.1
                                              spreadsheet
03/29/2023          JKL                       Update the delta report of the 16 underlying source tables by including the               2.3
                                              comparison for transaction list and resolving issues with lack of unique identifier
03/29/2023          KV                        Conducting unstructured data searches for loan agreements and invoices in ESI             0.9
                                              database re: loans workstream analysis
03/29/2023          KV                        Reconcile loan invoices from Blockchain lender against Alameda prepared loan              0.8
                                              schedule
03/29/2023          KV                        Review existing work performed on the loans workstream to streamline                      2.6
                                              understanding for additional analysis
03/29/2023          KV                        Working session with K. Wessel and K. Vasiliou (AlixPartners) re: approach for            0.5
                                              Loans workstream
03/29/2023          KHW                       Analyze historical financial re: Validate Alameda Crypto Loans Payable general            1.1
                                              ledger account against loan balances outstanding as per lender statements
03/29/2023          KHW                       Develop work plan re: progress tracking for financial reconstruction workstream           0.3
03/29/2023          KHW                       Update work plan re: action items per work plan to validate of third party loan           0.6
                                              balances for Alameda
03/29/2023          KHW                       Working session with J. LaBella, K. Wessel, D. Schwartz, F. Liang (all                    1.6
                                              AlixPartners) re: digital asset balance verification
03/29/2023          KHW                       Working session with K. Wessel and K. Vasiliou (Alix Partners) re: approach for           0.5
                                              Loans workstream
03/29/2023          KHW                       Working session with L. Goldman, K. Wessel, F. Liang (all AlixPartners) re:               0.6
                                              workplan for analyzing balances for Cottonwood Grove from FTX Exchange
03/29/2023          KHW                       Working session with L. Goldman, T. Phelan, K. Wessel, F. Liang and C. Cipione            0.9
                                              (all AlixPartners) re: validating summary balance tables from FTX Exchange
03/29/2023          LB                        Analyze metadata from Solana transactions to identify transfers vs account authority      1.9
                                              changes
03/29/2023          LB                        Attend meeting with L. Beischer and F. Liang (both AlixPartners) re:                      0.3
                                              cryptocurrency assets balances investigation
03/29/2023          LB                        Develop script to decode transaction data from Solana blockchain                          2.4
03/29/2023          LB                        Reconcile on-chain Solana transaction data to staked accounts                             2.1
03/29/2023          LMG                       Working session with L. Goldman, K. Wessel, F. Liang (all AlixPartners) re:               0.6
                                              workplan for analyzing balances for Cottonwood Grove from FTX Exchange
03/29/2023          LMG                       Working session with L. Goldman, T. Phelan, K. Wessel, F. Liang and C. Cipione            0.9
                                              (all AlixPartners) re: validating summary balance tables from FTX Exchange
03/29/2023          MC                        Attend meeting with M. Cervi, T. Yamada, and S. Thompson (all AlixPartners) to            0.2
                                              discuss summary tables for the 2020 Q4 – 2022 Q3 balance sheet compilation by
                                              silo
03/29/2023          MC                        Review Liquid Group PPA valuation report for Q1'2022 opening balance sheet data           0.5

03/29/2023          MC                        Working session with C. Wong, M. Cervi, E. Mostoff, F. Liang, J. Somerville (all          0.7
                                              AlixPartners) and F. Sedmak (SVA CPA) re: AFRM onboarding
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03/29/2023          MC                        Working session with J. LaBella, D. Schwartz, M. Cervi, and T. Yamada (all               1.6
                                              AlixPartners) to discuss balance sheet reconstruction work plan
03/29/2023          MC                        Working session with M. Cervi, and T. Yamada (both AlixPartners) to discuss              0.5
                                              balance sheet reconstruction output and work plan
03/29/2023          MJ                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) re:        0.8
                                              financial statement reconstruction workplan and key milestones
03/29/2023          MJ                        Working session with M. Jacques, J. Labella, A. Searles and D. Schwartz (all             0.6
                                              AlixPartners) re: review of proposed financial statement reconstruction deliverable
                                              template
03/29/2023          RS                        Update summary with invoice data to reconstruct financial information related to         2.7
                                              entity of interest investigation
03/29/2023          ST                        Attend meeting with M. Cervi, T. Yamada, and S. Thompson (all AlixPartners) to           0.2
                                              discuss summary tables for the 2020 Q4 – 2022 Q3 balance sheet compilation by
                                              silo
03/29/2023          ST                        Create summary tables for the 2020 Q4 – 2022 Q3 balance sheet compilation by             2.4
                                              silo
03/29/2023          SYW                       Analyze InterCo balances between Alameda Research Ltd and North Dimension                2.5
                                              between Q1'22 and Q2'22
03/29/2023          SYW                       Conduct research on investments in subsidiaries approach for reconstruction of           1.2
                                              historical financial statements
03/29/2023          SYW                       Review Sam Bankman-Fried 5th Superseding Indictment                                      0.6
03/29/2023          SYW                       Working session C. Wong and J. Somerville (both AlixPartners) re: SQL query on           0.3
                                              Alameda Research Ltd intercompany balance
03/29/2023          SYW                       Working session with C. Wong and J. Somerville (both AlixPartners) re: InterCo           0.4
                                              analysis meeting prep
03/29/2023          SYW                       Working session with C. Wong, J. Somerville, C. Chen, T. Phelan (all AlixPartners)       1.0
                                              re: reconciling InterCo balances using cash bank statements
03/29/2023          SYW                       Working session with C. Wong, J. Somerville, D. Schwartz, J. LaBella (all                1.0
                                              AlixPartners) re: InterCo analysis updates
03/29/2023          SYW                       Working session with C. Wong, M. Cervi, E. Mostoff, F. Liang, J. Somerville (all         0.7
                                              AlixPartners) and F. Sedmak (SVA CPA) re: AFRM onboarding
03/29/2023          SYW                       Working session with J. Somerville and C. Wong (both AlixPartners) division of           0.4
                                              tasks for intercompany workstream
03/29/2023          SK                        Create a report for top 3300 transactions in the transfers table                         1.4
03/29/2023          SRH                       Review account balance component reconstruction code                                     2.9
03/29/2023          SRH                       Review account balance component reconstruction example output                           2.8
03/29/2023          TY                        Add quarter fields to the historical recreation matrix for total asset data input        0.5
03/29/2023          TY                        Attend meeting with M. Cervi, T. Yamada, and S. Thompson (all AlixPartners) to           0.2
                                              discuss summary tables for the 2020 Q4 – 2022 Q3 balance sheet compilation by
                                              silo
03/29/2023          TY                        Mapping of newly added QuickBooks accounts in the chart of accounts                      2.7
03/29/2023          TY                        Review the consistency of mapping of newly added QuickBooks accounts with the            2.1
                                              latest chart of accounts
03/29/2023          TY                        Working session with J. LaBella, D. Schwartz, M. Cervi, and T. Yamada (all               1.6
                                              AlixPartners) to discuss balance sheet reconstruction work plan
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03/29/2023          TY                        Working session with M. Cervi, and T. Yamada (both AlixPartners) to discuss                  0.5
                                              balance sheet reconstruction output and work plan
03/29/2023          TS                        Investigate discrepancies identified from transaction review re: real assets                 2.4
03/29/2023          TS                        Analyze real estate purchase transactions (the Honeycomb properties) re: real assets         2.7
03/29/2023          TS                        Analyze real estate purchase transactions (the Veridian, Coral and Ocean Terrace             2.8
                                              properties) re: real assets
03/29/2023          TP                        Working session with C. Wong, J. Somerville, C. Chen, T. Phelan (all AlixPartners)           1.0
                                              re: reconciling InterCo balances using cash bank statements
03/29/2023          TP                        Working session with L. Goldman, T. Phelan, K. Wessel, F. Liang and C. Cipione               0.9
                                              (all AlixPartners) re: validating summary balance tables from FTX Exchange
03/29/2023          VA                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: journal           0.7
                                              reconstruction status update
03/29/2023          VA                        Conduct quality checks on the updates to the dynamic parsing script for populating           1.9
                                              master tables
03/29/2023          VA                        Revise code to produce the delta report from the core QuickBooks tables                      1.7
03/29/2023          VA                        Revise the outputs of the delta report produced from the core QuickBooks tables              2.5
03/29/2023          XS                        Reconcile accounting journal entries for selected transactions of real estate                2.8
                                              properties re: real assets
03/29/2023          XS                        Analyze bank statements of selected real estate transactions re: real assets                 1.4
03/29/2023          XS                        Conduct unstructured data searches in ESI for financial support documents re: real           2.2
                                              asset purchases
03/29/2023          XS                        Conduct unstructured data searches in ESI for communication artifacts re: real asset         2.4
                                              purchases
03/30/2023          AW                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:                   0.5
                                              revisions to QuickBooks data migration to aid bank statement reconstruction
03/30/2023          AW                        Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.                  0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          AW                        Format and cleanse the latest version of the standardized chart of accounts related to       1.2
                                              the QuickBooks data
03/30/2023          AW                        Ingest into SQL the latest version of the standardized chart of accounts related to the      0.6
                                              QuickBooks data
03/30/2023          AW                        Produce the latest version of the reconstructed journals based on the 3rd extraction         0.8
                                              of the backend QuickBooks data
03/30/2023          AW                        Produce the latest version of the recreated balance sheets based on the 3rd extraction       1.3
                                              of the backend QuickBooks data
03/30/2023          AW                        Reconcile backend recreated balance sheet with frontend QuickBooks balance sheet             0.8
                                              for all entities
03/30/2023          AW                        Refresh the reconstructed journals with the latest version of the standardized chart         0.8
                                              of accounts
03/30/2023          AW                        Refresh the recreated balance sheet with the latest version of the standardized chart        1.2
                                              of accounts
03/30/2023          AW                        Update the latest version of the standardized chart of accounts related to the               1.6
                                              QuickBooks data with deleted accounts and unmapped accounts
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03/30/2023          BFM                       Review master summaries re: trading investigations and exchange specific special        0.7
                                              investigations
03/30/2023          CAS                       Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.             0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          CAS                       Design the adjustment database mechanisms for the anticipated adjusting JEs             0.8
03/30/2023          CC                        Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.             0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          CC                        Research material cash transfers between Alameda Research Ltd and Alameda               1.3
                                              Research Ventures LLC in May 2022
03/30/2023          CC                        Review data models to parse bank statement descriptions for counter party               1.6
                                              identification purposes
03/30/2023          CC                        Working session with C. Wong, J. Somerville, C. Chen, (all AlixPartners) re:            0.7
                                              reconciling InterCo balances using cash bank statements
03/30/2023          CC                        Working session with J. Somerville and C. Chen (all AlixPartners) re: truing up         0.5
                                              intercompany receivable and payable balance using cash database data models
03/30/2023          DS                        Attend meeting with J. LaBella, D. Schwartz and E. Boyle (all AlixPartners) re:         0.3
                                              staff and workstream planning
03/30/2023          DS                        Review summary re: venture capital investment for inclusion in master summary           0.5
                                              database
03/30/2023          DS                        Telephone call with D. Schwartz and J. Somerville (both AlixPartners) re:               0.3
                                              workstream update relating to intercompany reconstruction
03/30/2023          DL                        Analyze cryptocurrency Pointer data                                                     0.6
03/30/2023          DL                        Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.             0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          DL                        Review potential third party exchange accounts controlled by Alameda Research in        1.3
                                              exchange database
03/30/2023          DL                        Working session with L. Jia and F. Liang (both AlixPartners) re: analyzing Binance      0.4
                                              Exchange data
03/30/2023          EB                        Analyze Alameda loan counter party invoice and account statements                       2.8
03/30/2023          EB                        Attend meeting with J. LaBella, D. Schwartz and E. Boyle (all AlixPartners) re:         0.3
                                              staff and workstream planning
03/30/2023          EB                        Setup of working paper for analysis of Alameda loans data                               1.7
03/30/2023          EB                        Working session with K. Vasiliou and E. Boyle (both AlixPartners) on workflow           0.4
                                              for analysis of Alameda loan balances
03/30/2023          EB                        Working session with K. Wessel, E. Boyle, K. Vasiliou (all AlixPartners) re:            0.5
                                              workplan for identifying and validating third party loan payable balances for
                                              Alameda entities
03/30/2023          EM                        Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.             0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          EM                        Review bank account tracker for accounts removed since previous upload                  0.7
03/30/2023          EM                        Update bank account balance listing for Quoine Pte Ltd                                  0.6
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03/30/2023          JCL                       Attend meeting with J. LaBella, D. Schwartz and E. Boyle (all AlixPartners) re:          0.3
                                              staff and workstream planning
03/30/2023          JCL                       Review digital assets supporting schedules for balance sheet accounts                    1.0
03/30/2023          JCL                       Review updated workplan and assigned resources for historical financial statement        0.7
                                              reconstruction workstream
03/30/2023          JLS                       Analyze journal entries against bank statement data to verify historical                 0.6
                                              intercompany balance - Alameda Research Ltd
03/30/2023          JLS                       Identify intercompany relationships with missing counterparties in accounting            1.1
                                              information
03/30/2023          JLS                       Update intercompany matrix for identified variances between reporting entity and         0.4
                                              counterparty's historical intercompany balance
03/30/2023          JLS                       Prepare workplan re: intercompany workstream                                             0.4
03/30/2023          JLS                       Analyze GL data relating historical movements in intercompany balance relating to        1.7
                                              Alameda Research Ventures Ltd
03/30/2023          JLS                       Review intercompany property transfer analysis from AlixPartners Asia team               0.3
03/30/2023          JLS                       Telephone call with D. Schwartz and J. Somerville (both AlixPartners) re:                0.3
                                              workstream update relating to intercompany reconstruction
03/30/2023          JLS                       Telephone call with T. Shen and J. Somerville (both AlixPartners) re: FTX Digital        0.3
                                              Markets intercompany statement reconstruction
03/30/2023          JLS                       Working session with C. Wong, J. Somerville, C. Chen, (all AlixPartners) re:             0.7
                                              reconciling InterCo balances using cash bank statements
03/30/2023          JLS                       Working session with J. Somerville and C. Chen (all AlixPartners) re: truing up          0.5
                                              intercompany receivable and payable balance using cash database data models
03/30/2023          JKL                       Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:               0.5
                                              revisions to QuickBooks data migration to aid bank statement reconstruction
03/30/2023          JKL                       Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.              0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          JKL                       Develop the Python script for automatically extracting attachments from                  2.8
                                              QuickBooks frontend by implementing testing the download methods for each file
                                              type
03/30/2023          JKL                       Develop the Python script for automatically extracting attachments from                  1.2
                                              QuickBooks frontend by investigating the issues with download methods for
                                              different file types
03/30/2023          JKL                       Prepare the delta report of the 16 underlying source tables by generating and            3.2
                                              examining the results, as well as exporting the data to spreadsheet and writing the
                                              notes to summaries the findings
03/30/2023          KV                        Analyze quarterly Alameda loan statements                                                2.4
03/30/2023          KV                        Analyze quarterly Alameda loan statements                                                2.6
03/30/2023          KV                        Review correspondence from K. Wessel and E. Boyle (all AlixPartners) re: required        0.4
                                              analysis on loans workstream
03/30/2023          KV                        Working session with K. Vasiliou and E. Boyle (both AlixPartners) on workflow            0.4
                                              for analysis of Alameda loan balances
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                          DESCRIPTION OF SERVICES                                    HOURS
03/30/2023          KV                        Working session with K. Wessel, E. Boyle, K. Vasiliou (all AlixPartners) re:              0.5
                                              workplan for identifying and validating third party loan payable balances for
                                              Alameda entities
03/30/2023          KHW                       Working session with K. Wessel, E. Boyle, K. Vasiliou (all AlixPartners) re:              0.5
                                              workplan for identifying and validating third party loan payable balances for
                                              Alameda entities
03/30/2023          LB                        Analyze decoded Solana transactions into balance changes for entities                     1.7
03/30/2023          LB                        Reconcile produced Solana balance analysis against updated Chainlink data for             1.4
                                              consistency
03/30/2023          LB                        Migrate decoded Solana transaction data into worksheet for further analysis               2.4
03/30/2023          LB                        Prepare overview of Solana staking ownership and balance value                            0.8
03/30/2023          LJ                        Working session with L. Jia and F. Liang (both AlixPartners) re: analyzing Binance        0.4
                                              Exchange data
03/30/2023          MC                        Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.               0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          MC                        Review latest reconciled balance sheet data incorporating the updated chart of            0.8
                                              accounts
03/30/2023          MC                        Revise draft summary silo balance sheet report                                            1.5
03/30/2023          RS                        Continue update of summary with invoice data to reconstruct financial information         0.3
                                              related to entity of interest investigation
03/30/2023          ST                        Update summary tables for the 2020 Q4 – 2022 Q3 balance sheet compilation by              0.9
                                              silo
03/30/2023          SYW                       Analyze InterCo balances between Alameda Research Ltd and Alameda Research                0.6
                                              Ventures between Q1'22 and Q2'22
03/30/2023          SYW                       Conduct research on investments in subsidiaries approach for reconstruction of            1.8
                                              historical financial statements
03/30/2023          SYW                       Working session with C. Wong, J. Somerville, C. Chen, (all AlixPartners) re:              0.7
                                              reconciling InterCo balances using cash bank statements
03/30/2023          SRH                       Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.               0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          TY                        Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.               0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          TY                        Summarize the periods that need financial data, the periods that financial data is        2.4
                                              available, and the periods for which financial data is missing for each entity
03/30/2023          TY                        Develop the financial model to feed non-QuickBooks balance sheet data into the            1.7
                                              uniform presentation across entities and periods
03/30/2023          TY                        Identify missing born on date and inconsistency of born on date from the available        2.2
                                              financial data in the historical recreation matrix
03/30/2023          TS                        Analyze inter-company account receivable and payment based on review                      1.4
                                              observations to date re: real assets
03/30/2023          TS                        Review supporting documents of construction in progress transactions re: real assets      1.7
03/30/2023          TS                        Summarize review progress re: real assets                                                 0.6
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03/30/2023          TS                        Telephone call with T. Shen and J. Somerville (both AlixPartners) re: FTX Digital         0.3
                                              Markets intercompany statement reconstruction
03/30/2023          TS                        Analyze real estate purchase transactions                                                 2.8
03/30/2023          TS                        Working session with X. Su and T. Shen (both AlixPartners) on review procedures           0.8
                                              re: real asset purchases
03/30/2023          TP                        Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.               0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          VA                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re:                0.5
                                              revisions to QuickBooks data migration to aid bank statement reconstruction
03/30/2023          VA                        Attend meeting with C. Cipione, E. Mostoff, M. Cervi, F. Liang, C. Chen, T.               0.7
                                              Phelan, T. Yamada, A. Walker, J. Liao, A. Vaibhav, and S. Hanzi (all AlixPartners)
                                              re: delta report for latest balance sheet output and analysis of exchange data
03/30/2023          XS                        Reconcile accounting journal entries with FTX's summary for selected transactions         2.3
                                              of real estate properties
03/30/2023          XS                        Review accounting of inter-company A/R and A/P entries to propose appropriate             1.7
                                              accounting adjustments
03/30/2023          XS                        Conduct unstructured data searches in ESI for communication artifacts re: real            2.9
                                              assets
03/30/2023          XS                        Analyze bank statements re: real assets                                                   1.8
03/30/2023          XS                        Working session with X. Su and T. Shen (both AlixPartners) on review procedures           0.8
                                              re: real asset purchases
03/31/2023          AS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: financial          0.4
                                              statement reconstruction strategy and workplan
03/31/2023          AS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: updates            0.4
                                              and follow-ups from previous meeting re: financial statement reconstruction strategy
                                              and workplan
03/31/2023          AW                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: plan for       1.2
                                              the reformatting request of reconstructed balance sheets
03/31/2023          AW                        Create list of backend QuickBooks tables used to populate the reconstructed               2.1
                                              journals and provide explanation for those not used
03/31/2023          AW                        Incorporate the updated quarterly format for the recreated balance sheets in support      2.5
                                              of the financial statement reconstruction workstream
03/31/2023          BFM                       Review settlements@alameda-research.com exchange account for characteristics              0.6
                                              and patterns
03/31/2023          BFM                       Working session with B. Mackay and F. Liang (both AlixPartners) re: Alameda               0.4
                                              FTX Exchange accounts identification
03/31/2023          CAS                       Design the adjustment database mechanisms for the anticipated adjusting JEs               1.2
03/31/2023          CC                        Review cash database to identify variances in transfers between Alameda Research          1.7
                                              LLC and Alameda Research Ltd
03/31/2023          CC                        Review cash database to identify variances in transfers between North Dimension           0.9
                                              and Alameda Research LLC
03/31/2023          CC                        Review cash database to identify variances in transfers between North Dimension           1.4
                                              and Alameda Research Ltd
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03/31/2023          CC                        Teleconference call with C. Chen, V. Kotharu (both AlixPartners) re: review of data       0.2
                                              integrity alignment between cash database and consolidated GL database
03/31/2023          CC                        Working session with C. Wong, J. Somerville, C. Chen, (all AlixPartners) re:              0.5
                                              reconciling InterCo balances using cash bank statements
03/31/2023          CC                        Working session with L. Jia and C. Chen (both AlixPartners) re: using regular             0.5
                                              expression tools to identify counter party account number on bank statements
03/31/2023          CC                        Working session with T. Kang and C. Chen (both AlixPartners) re: parsing bank             0.5
                                              transaction descriptions to identify counter parties
03/31/2023          DS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: financial          0.4
                                              statement reconstruction strategy and workplan
03/31/2023          DS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: updates            0.4
                                              and follow-ups from previous meeting re: financial statement reconstruction strategy
                                              and workplan
03/31/2023          DS                        Update workstream tracker based on on-site meetings including update to tasks,            2.4
                                              assignment of individuals, assignment of due dates and milestones
03/31/2023          DL                        Attend meeting with L. Beischer and F. Liang (both AlixPartners) re:                      0.3
                                              cryptocurrency assets balances investigation
03/31/2023          DL                        Prepare for working session with L. Beischer re Solana historical transactions            1.1
03/31/2023          DL                        Review Alameda Research accounts listing in advance of working session with B.            1.2
                                              Mackay
03/31/2023          DL                        Review historical transactions for Alameda Research Holdings wallets from                 1.2
                                              SOLSCAN
03/31/2023          DL                        Summarize and circulate current status on multiple cryptocurrency balance                 1.9
                                              investigations (SOLANA holding, FTX exchange, Binance Exchange, valuation)
03/31/2023          DL                        Working session with B. Mackay and F. Liang (both AlixPartners) re: Alameda               0.4
                                              FTX Exchange accounts identification
03/31/2023          EB                        Update Alameda loans analysis                                                             1.4
03/31/2023          EB                        QC Alameda loans analysis                                                                 1.0
03/31/2023          EB                        Working session with E. Boyle and S. Yao (both AlixPartners) on Alameda loans             1.5
                                              analysis
03/31/2023          EB                        Working session with E. Boyle, S. Yao, T. Shen and X. Su (all AlixPartners) on            0.6
                                              real asset purchases
03/31/2023          ET                        Working session with M. Cervi, L. Teifer and T. Yamada (all AlixPartners) to              0.3
                                              discuss historical reconstruction matrix and work plan
03/31/2023          EM                        Compile follow up questions re: bank statements from brokerage, specific bank,            0.7
                                              Signet, Deltec, and Transfero
03/31/2023          EM                        Update bank account balance listing for FTX Japan KK                                      0.6
03/31/2023          EM                        Update bank account balance listing for FTX Japan Services KK                             0.4
03/31/2023          EM                        Update bank account balance listing for Quoine Pte Ltd                                    1.7
03/31/2023          EM                        Update bank account balance listing for West Realm Shires Inc                             0.6
03/31/2023          EM                        Update bank account balance listing for specific entity                                   0.8
03/31/2023          EM                        Working session with E. Mostoff and J. Somerville (both AlixPartners) re: source          0.4
                                              accounting workpapers supporting Alameda Research Ltd.'s Investment in
                                              Subsidiary account
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/31/2023          JLS                       Analyze historical transactions in Alameda Research Ltd.'s 'Investment in                  0.3
                                              Subsidiary' account
03/31/2023          JLS                       Prepare go-forward workplan for intercompany balance verification                          0.3
03/31/2023          JLS                       Prepare update on AlixPartners Asia team progress re intercompany property                 0.4
                                              transfer analysis
03/31/2023          JLS                       Compare bank states to GL data pertaining to Alameda Research Ltd - Investment             2.7
                                              in Subsidiary account for Q3-22
03/31/2023          JLS                       Update internal balance sheet tracker re: Alameda Research Ltd                             0.2
03/31/2023          JLS                       Working session with C. Wong, J. Somerville, C. Chen, (all AlixPartners) re:               0.5
                                              reconciling InterCo balances using cash bank statements
03/31/2023          JLS                       Working session with C. Wong, J. Somerville, M. Birtwell, (all AlixPartners) re:           0.7
                                              approach for unrecorded cash transfers to related parties
03/31/2023          JLS                       Working session with E. Mostoff and J. Somerville (both AlixPartners) re: source           0.4
                                              accounting workpapers supporting Alameda Research Ltd.'s Investment in
                                              Subsidiary account
03/31/2023          JKL                       Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: plan for        1.2
                                              the reformatting request of reconstructed balance sheets
03/31/2023          JKL                       Develop the Python script for automatically extracting attachments from                    2.2
                                              QuickBooks frontend by finding the correct transaction types for generating URLs
                                              and improving the overall efficiency
03/31/2023          JKL                       Prepare the attachments (~10k files) by conducting and monitoring the automated            2.6
                                              downloads using the Python scripts
03/31/2023          JKL                       Prepare the delta report of the reconstructed journals by finalizing the spreadsheet       1.5
                                              and writing a summary email to share the findings with the FELT team
03/31/2023          JKL                       Prepare the list of attachments to be extracted that includes the essential meta data      2.0
                                              to enable the mapping between transactions and attachments after the download is
                                              complete
03/31/2023          KV                        Analyze quarterly Alameda loan statements for Q1 - Q2 2020                                 2.9
03/31/2023          KV                        Analyze quarterly Alameda loan statements for Q3 - Q4 2020                                 2.7
03/31/2023          KV                        Analyze quarterly Alameda loan statements for Q1 - Q3 2021                                 2.3
03/31/2023          LB                        Attend meeting with L. Beischer and F. Liang (both AlixPartners) re:                       0.3
                                              cryptocurrency assets balances investigation
03/31/2023          LJ                        Working session with L. Jia and C. Chen (both AlixPartners) re: using regular              0.5
                                              expression tools to identify counter party account number on bank statements
03/31/2023          MC                        Integrate FTX new chart of accounts into AlixPartners chart of account mapping             1.7
03/31/2023          MC                        Revise latest draft of balance sheet output                                                2.8
03/31/2023          MC                        Working session with M. Cervi and T. Yamada (both AlixPartners) to discuss                 1.0
                                              balance sheet reconstruction work plan and chart of accounts coordination with
                                              A&M
03/31/2023          MC                        Working session with M. Cervi, L. Teifer and T. Yamada (all AlixPartners) to               0.3
                                              discuss historical reconstruction matrix and work plan
03/31/2023          MB                        Working session with C. Wong, J. Somerville, M. Birtwell, (all AlixPartners) re:           0.7
                                              approach for unrecorded cash transfers to related parties
03/31/2023          SYW                       Email to D. Schwartz (AlixPartners) re: involvement of the Asia team for interco           0.6
                                              analysis involving real estate assets
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                     HOURS
03/31/2023          SYW                       Conduct research on investments in subsidiaries approach for reconstruction of            2.6
                                              historical financial statements
03/31/2023          SYW                       Working session with C. Wong, J. Somerville, C. Chen, (all AlixPartners) re:              0.5
                                              reconciling InterCo balances using cash bank statements
03/31/2023          SYW                       Working session with C. Wong, J. Somerville, M. Birtwell, (all AlixPartners) re:          0.7
                                              approach for unrecorded cash transfers to related parties
03/31/2023          SK                        Working session with T. Kang and C. Chen (both AlixPartners) re: parsing bank             0.5
                                              transaction descriptions to identify counter parties
03/31/2023          SYY                       Analyze Alameda counterparty loan account statements                                      2.9
03/31/2023          SYY                       Continue analysis of Alameda counterparty loan account statements                         2.3
03/31/2023          SYY                       Conduct unstructured data searches in ESI database re: Alameda counterparty loan          2.3
                                              account statements
03/31/2023          SYY                       Working session with E. Boyle and S. Yao (both AlixPartners) on Alameda loans             1.5
                                              analysis
03/31/2023          SYY                       Working session with E. Boyle, S. Yao, T. Shen and X. Su (all AlixPartners) on            0.6
                                              real asset purchases
03/31/2023          TY                        Attend meeting with E. Mostoff, A. Calhoun, V. Kotharu, T. Yamada, J.                     0.4
                                              Somerville, O. Braat, G. Shapiro, B. Robison, K. Vasiliou, A. Searles, L. Morrison,
                                              B. Mackay, L. Goldman, C. Cipione, L. Beischer, M. Birtwell, T. Phelan, S.
                                              Thompson, R. Self, F. Liang, L. Jia, C. Chen, L. Teifer, D. White, K. Wessel, S.
                                              Hanzi, J. Sutherland, T. Kang, D. Schwartz, M. Jacques (full attendees), and C. Xu
                                              (partial attendee) (all AlixPartners) re: status of investigative and Financial
                                              Statement workstreams
03/31/2023          TY                        Compare and map overall AlixPartners' chart of accounts with FTX's new chart of           2.6
                                              accounts
03/31/2023          TY                        Develop the financial model to feed non-QuickBooks balance sheet data into the            1.1
                                              uniform presentation across entities and periods
03/31/2023          TY                        Link FTX's new chart of accounts to AlixPartners' chart of accounts for cash/bank         2.1
                                              accounts
03/31/2023          TY                        Link FTX's new chart of accounts to AlixPartners' chart of accounts for                   2.2
                                              intercompany/related party transaction accounts
03/31/2023          TY                        Update balance sheet presentation by silos and quarters with the currently available      3.0
                                              financial data
03/31/2023          TY                        Working session with M. Cervi and T. Yamada (both AlixPartners) to discuss                1.0
                                              balance sheet reconstruction work plan and chart of accounts coordination with
                                              A&M
03/31/2023          TY                        Working session with M. Cervi, L. Teifer and T. Yamada (all AlixPartners) to              0.3
                                              discuss historical reconstruction matrix and work plan
03/31/2023          TS                        Document results of transaction testing performed to date re: real asset purchases        0.9
03/31/2023          TS                        Review accounting journal entries of FTX entities to validate accuracy of booking         2.7
                                              re: real asset purchases
03/31/2023          TS                        Working session with E. Boyle, S. Yao, T. Shen and X. Su (all AlixPartners) on            0.6
                                              real asset purchases
03/31/2023          VA                        Attend meeting with A. Walker, J. Liao and V. Asher (all AlixPartners) re: plan for       1.2
                                              the reformatting request of reconstructed balance sheets
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03/31/2023          VA                        Conduct cross-validation checks between the two delta reports produced from               0.8
                                              underlying QuickBooks tables and reconstructed journals
03/31/2023          VA                        Analyze the outputs of the delta report produced from the reconstructed journals for       2.5
                                              code updates to reconstruction process
03/31/2023          VK                        Teleconference call with C. Chen, V. Kotharu both (AlixPartners) re: review of data        0.2
                                              integrity alignment between cash database and consolidated GL database
03/31/2023          XS                        Reconcile accounting journal entries for selected transactions of real estate              2.5
                                              properties re: real assets
03/31/2023          XS                        Reconstruct and review the balance of InterCo AR, InterCo AP, properties of                1.7
                                              building, properties of land
03/31/2023          XS                        Conduct unstructured searches for agreements and purchaser's completion record of          1.9
                                              real estate properties against Chapter 11 filings
03/31/2023          XS                        Working session with E. Boyle, S. Yao, T. Shen and X. Su (all AlixPartners) on             0.6
                                              real asset purchases
Total Professional Hours                                                                                                             2,262.5
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Code:                                 20008100P00001.1.15

PROFESSIONAL                                                               RATE     HOURS                 FEES
Matthew Jacques                                                            $1,280       7.5   $        9,600.00
Charles Cipione                                                            $1,220      66.6           81,252.00
Matthew Evans                                                              $1,220       0.2              244.00
David J White                                                              $1,140      12.5           14,250.00
David Waterfield                                                           $1,115      40.6           45,269.00
John C LaBella                                                             $1,115     136.0          151,640.00
Lilly M Goldman                                                            $1,115       9.7           10,815.50
Tao Shen                                                                   $1,070      38.2           40,874.00
Mark Cervi                                                                 $1,020     117.8          120,156.00
Adam Searles                                                                $950       10.8           10,260.00
Anne Vanderkamp                                                             $950        3.1            2,945.00
Edward Boyle                                                                $950       28.3           26,885.00
Justin Sutherland                                                           $950        2.1            1,995.00
Steven Hanzi                                                                $950       24.1           22,895.00
Todd Toaso                                                                  $950        2.9            2,755.00
Travis Phelan                                                               $950       41.7           39,615.00
Dana Schwartz                                                               $880       44.2           38,896.00
Jiayan Xu                                                                   $880        1.5            1,320.00
Kurt H Wessel                                                               $880      104.7           92,136.00
Leslie I Morrison                                                           $880        0.5              440.00
John L Somerville                                                           $825      144.7          119,377.50
Bennett F Mackay                                                            $805        9.5            7,647.50
Matthew Birtwell                                                            $805        3.3            2,656.50
Takahiro Yamada                                                             $805      173.7          139,828.50
Vaibhav Asher                                                               $805       99.0           79,695.00
Lewis Beischer                                                              $805       28.3           22,781.50
Chuanqi Chen                                                                $605      157.4           95,227.00
Di Liang                                                                    $605      161.3           97,586.50
Seen Yung Wong                                                              $605      167.0          101,035.00
Varun Kotharu                                                               $605        3.1            1,875.50
Aidan Walker                                                                $585      185.6          108,576.00
Elizabeth Teifer                                                            $585        1.1              643.50
Jo-Kuang Liao                                                               $585      188.5          110,272.50
Katerina Vasiliou                                                           $585       22.0           12,870.00
Randi Self                                                                  $585        3.8            2,223.00
Rose-Marie Fuchs                                                            $585        1.6              936.00
Linna Jia                                                                   $555        0.9              499.50
Chenxi Xu                                                                   $510        0.7              357.00
Eric Mostoff                                                                $510      132.6           67,626.00
Griffin Shapiro                                                             $510        0.9              459.00
Sean Thompson                                                               $510        4.0            2,040.00
Shengjia Kang                                                               $510       23.9           12,189.00
Si Yu Yao                                                                   $415       10.4            4,316.00
Xiaoyue Su                                                                  $415       46.2           19,173.00
Total Professional Hours and Fees                                                   2,262.5   $    1,724,133.50
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                      HOURS
03/01/2023          AS                        Attend meeting with D. Schwartz and A. Searles (AlixPartners), M. Shanahan and             0.6
                                              P. McGrath (A&M) and S. Rand, J. Pickhardt, J. Arnier, E. Kapur (Quinn
                                              Emanuel) re: Grayscale complaint and associated analysis
03/01/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, and D. Schwartz (all              0.8
                                              AlixPartners) re: coordinating efforts for political donations investigation
03/01/2023          AS                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) to           0.6
                                              discuss next steps re: Grayscale
03/01/2023          AS                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) to           0.1
                                              discuss next steps re: Grayscale
03/01/2023          AS                        Prepare updated political donations workplan based on call with counsel                    0.6
03/01/2023          AS                        Review updated support documents from counsel re: Grayscale                                0.4
03/01/2023          AV                        Analyze debtor lending activity with entity of interest                                    2.8
03/01/2023          AV                        Continue analysis of debtor lending activity with entity of interest                       2.7
03/01/2023          AV                        Attend meeting with A. Vanderkamp and D. Schwartz (all AlixPartners) re: entity            0.4
                                              of interest analysis
03/01/2023          AV                        Attend meeting with A. Vanderkamp, B. Robison, D. Schwartz (all AlixPartners)              0.5
                                              re: entity of interest analysis
03/01/2023          BAR                       Attend meeting with A. Vanderkamp, B. Robison, D. Schwartz (all AlixPartners)              0.5
                                              re: entity of interest analysis
03/01/2023          BAR                       Attend meeting with S. Thompson and B. Robison (both AlixPartners) to coordinate           0.3
                                              the construction of a financial details dataset pertaining to entity of interest loan
                                              term sheets

03/01/2023          BAR                       Attend meeting with S. Thompson and B. Robison (both AlixPartners) to coordinate           0.2
                                              the construction of a financial details dataset pertaining to entity of interest loan
                                              term sheets

03/01/2023          BAR                       Conduct unstructured searches in ESI database to identify additional loan                  0.7
                                              documents / term sheets
03/01/2023          BAR                       Update summary files for entity of interest analysis                                       0.9
03/01/2023          BAR                       Prepare draft file of term sheet data for entity of interest analysis                      1.8
03/01/2023          BAR                       Analyze term sheet data to identify investigative items needed to finalize draft of        1.7
                                              entity of interest analysis
03/01/2023          DS                        Attend meeting with A. Vanderkamp and D. Schwartz (all AlixPartners) re: entity            0.4
                                              of interest analysis
03/01/2023          DS                        Attend meeting with A. Vanderkamp, B. Robison, D. Schwartz (all AlixPartners)              0.5
                                              re: entity of interest analysis
03/01/2023          DS                        Attend meeting with D. Schwartz and A. Searles (AlixPartners), M. Shanahan and             0.6
                                              P. McGrath (A&M) and S. Rand, J. Pickhardt, J. Arnier, E. Kapur (Quinn
                                              Emanuel) re: Grayscale complaint and associated analysis
03/01/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, and D. Schwartz (all              0.8
                                              AlixPartners) re: coordinating efforts for political donations investigation
03/01/2023          DS                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) to           0.6
                                              discuss next steps re: Grayscale
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/01/2023          DS                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) to           0.1
                                              discuss next steps re: Grayscale
03/01/2023          DJW                       Research and document on chain activity re: liquidation event                              2.5
03/01/2023          EM                        Trace flow of funds from journal entries to bank statements for entity of interest         1.7
                                              investigation
03/01/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) to discuss              0.7
                                              workplan for political donations investigation
03/01/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, and D. Schwartz (all              0.8
                                              AlixPartners) re: coordinating efforts for political donations investigation
03/01/2023          JS                        Research commingling of customer deposits and non-exchange activities                      1.1
03/01/2023          JS                        Research GAAP valuation standards related to historical FTT pricing inputs                 1.6
                                              pursuant to special investigation requests
03/01/2023          LMG                       Attend call with M. Jacques and L. Goldman (both AlixPartners) re: updating FTT            0.2
                                              investigation workplan deck
03/01/2023          LMG                       Compose email on pointer data re: SDNY request                                             0.8
03/01/2023          LMG                       Update FTT workplan for valuation discussion                                               1.3
03/01/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) to discuss              0.7
                                              workplan for political donations investigation
03/01/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, A. Searles, and D. Schwartz (all              0.8
                                              AlixPartners) re: coordinating efforts for political donations investigation
03/01/2023          MB                        Prepare list of follow up questions for S&C re: political donations                        0.6
03/01/2023          MB                        Prepare political donations workplan                                                       0.8
03/01/2023          MJ                        Attend call with M. Jacques and L. Goldman (both AlixPartners) re: updating FTT            0.2
                                              investigation workplan deck
03/01/2023          MJ                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) to           0.6
                                              discuss next steps re: Grayscale
03/01/2023          MJ                        Attend meeting with M. Jacques, D. Schwartz and A. Searles (all AlixPartners) to           0.1
                                              discuss next steps re: Grayscale
03/01/2023          ST                        Attend meeting with S. Thompson and B. Robison (both AlixPartners) to coordinate           0.2
                                              the construction of a financial details dataset pertaining to entity of interest loan
                                              term sheets

03/01/2023          ST                        Attend meeting with S. Thompson and B. Robison (both AlixPartners) to coordinate           0.3
                                              the construction of a financial details dataset pertaining to entity of interest loan
                                              term sheets

03/01/2023          ST                        Construct financial details dataset pertaining to entity of interest loan term sheets      2.1
03/01/2023          ST                        Review loan term sheets relating to the entity of interest investigation                   1.6
03/01/2023          SRH                       Analyze Alameda databases for specific accounts re: North Dimensions                       1.9
03/01/2023          SRH                       Analyze FTX Exchange data re: 195M Stablecoin Redemption                                   2.2
03/02/2023          AS                        Attend meeting with A. Searles and D. Schwartz (both AlixPartners) re:                     1.1
                                              workstream updates associated with Grayscale, entity of interest, Modulo and
03/02/2023          AS                        Attend meeting with A. Searles and M. Birtwell (both AlixPartners) re: workpaper           0.1
                                              reconciliation and version control for political donations workstream
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                        HOURS
03/02/2023          AS                        Attend meeting with D. Schwartz, A. Vanderkamp, A. Searles, B. Mackay (all                  0.3
                                              AlixPartners) re: entity of interest workstream planning
03/02/2023          AS                        Attend meeting with D. White, D. Schwartz, and A. Searles (all AlixPartners) re:            0.2
                                              relativity searches for Grayscale
03/02/2023          AS                        Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) re:          0.5
                                              Grayscale workstream analysis
03/02/2023          AS                        Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) to           0.1
                                              discuss priority and next steps re: Grayscale
03/02/2023          AS                        Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) to           0.3
                                              prepare for call with counsel re: Grayscale complaint
03/02/2023          AS                        Prepare agenda for upcoming meeting re: investigative workstreams                           0.3
03/02/2023          AS                        Prepare updates to workstream tracker based on the latest status of various                 0.6
                                              investigations
03/02/2023          AS                        Review areas of potential conflict associated with potential investigation                  0.5
03/02/2023          AS                        Review documents from counsel associated with relevant third party                          0.2
03/02/2023          AV                        Analyze documents related to potential preference claim                                     2.4
03/02/2023          AV                        Analyze Genesis lending and trading activity                                                2.6
03/02/2023          AV                        Attend meeting with A. Vanderkamp, B. Robison, D. Schwartz, B. Mackay (full                 0.5
                                              attendees), L. Goldman (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/02/2023          AV                        Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners)                0.4
                                              re: crypto and fiat loans
03/02/2023          AV                        Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (partial) (all                    1.5
                                              AlixPartners) re: crypto and fiat loans
03/02/2023          AV                        Attend meeting with D. Schwartz, A. Vanderkamp, A. Searles, B. Mackay (all                  0.3
                                              AlixPartners) re: entity of interest workstream planning
03/02/2023          BFM                       Attend meeting with A. Vanderkamp, B. Robison, D. Schwartz, B. Mackay (full                 0.5
                                              attendees), L. Goldman (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/02/2023          BFM                       Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners)                0.4
                                              re: crypto and fiat loans
03/02/2023          BFM                       Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (partial) (all                    1.4
                                              AlixPartners) re: crypto and fiat loans
03/02/2023          BFM                       Attend meeting with D. Schwartz, A. Vanderkamp, A. Searles, B. Mackay (all                  0.3
                                              AlixPartners) re: entity of interest workstream planning
03/02/2023          BFM                       Attend meeting with D. Schwartz, B. Mackay (both AlixPartners) re: loan                     1.7
                                              repayment tracing during potential preference period
03/02/2023          BAR                       Attend meeting with A. Vanderkamp, B. Robison, D. Schwartz, B. Mackay (full                 0.5
                                              attendees), L. Goldman (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/02/2023          BAR                       Prepare summary observations on term sheet data for the entity of interest analysis         1.4
03/02/2023          BAR                       Prepare summary observations on loan agreements for the entity of interest analysis         1.2
03/02/2023          BAR                       Identify additional information on collateral and loan balances for entity of interest      2.7
                                              analysis
03/02/2023          BAR                       Research for additional loan documents for entity of interest analysis                      2.3
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/02/2023          DS                        Attend meeting with A. Searles and D. Schwartz (both AlixPartners) re:                   1.1
                                              workstream updates associated with Grayscale, entity of interest, Modulo and
03/02/2023          DS                        Attend meeting with A. Vanderkamp, B. Robison, D. Schwartz, B. Mackay (full              0.5
                                              attendees), L. Goldman (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/02/2023          DS                        Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners)             0.4
                                              re: crypto and fiat loans
03/02/2023          DS                        Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (partial) (all                 1.5
                                              AlixPartners) re: crypto and fiat loans
03/02/2023          DS                        Attend meeting with D. Schwartz, A. Vanderkamp, A. Searles, B. Mackay (all               0.3
                                              AlixPartners) re: entity of interest workstream planning
03/02/2023          DS                        Attend meeting with D. Schwartz, B. Mackay (both AlixPartners) re: loan                  1.7
                                              repayment tracing during potential preference period
03/02/2023          DS                        Attend meeting with D. White, D. Schwartz, and A. Searles (all AlixPartners) re:         0.2
                                              relativity searches for Grayscale
03/02/2023          DS                        Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) re:       0.5
                                              Grayscale workstream analysis
03/02/2023          DS                        Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) to        0.1
                                              discuss priority and next steps re: Grayscale
03/02/2023          DS                        Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) to        0.3
                                              prepare for call with counsel re: Grayscale complaint
03/02/2023          DS                        Prepare for meeting with A&M re: Genesis                                                 0.5
03/02/2023          DS                        Review portfolio reports and EDF statements related to Grayscale                         0.8
03/02/2023          DJW                       Attend meeting with D. White, D. Schwartz, and A. Searles (all AlixPartners) re:         0.2
                                              relativity searches for Grayscale
03/02/2023          DJW                       Research Genesis trading loan repayment transaction history                              3.0
03/02/2023          DL                        Analyze Alameda's historical holding in Grayscale products to prepare roll-forward       3.1
                                              analysis
03/02/2023          DL                        Conduct unstructured searches in ESI re: Grayscale holdings                              2.6
03/02/2023          ET                        Research public filings for Grayscale Trusts                                             2.4
03/02/2023          EM                        Reconcile transactional data with bank statements for Genesis investigation              1.3
03/02/2023          EM                        Trace flow of funds from journal entries to bank statements for entity of interest       0.6
                                              investigation
03/02/2023          LMG                       Attend meeting with A. Vanderkamp, B. Robison, D. Schwartz, B. Mackay (full              0.4
                                              attendees), L. Goldman (partial attendee) (all AlixPartners) re: entity of interest
                                              analysis
03/02/2023          LMG                       Attend meeting with L. Goldman and T. Phelan (both AlixPartners) re: entity of           0.8
                                              interest potential preference claim
03/02/2023          LMG                       Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) re:       0.5
                                              Grayscale workstream analysis
03/02/2023          LMG                       Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) to        0.1
                                              discuss priority and next steps re: Grayscale
03/02/2023          LMG                       Attend meeting with L. Goldman, D. Schwartz, and A. Searles (all AlixPartners) to        0.3
                                              prepare for call with counsel re: Grayscale complaint
03/02/2023          LMG                       Prep for call with A. Holland (S&C) re: specific liquidation event                       0.2
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Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/02/2023          LMG                       Review information re: Grayscale                                                         0.8
03/02/2023          LMG                       Review information re: Grayscale                                                         1.2
03/02/2023          LMG                       Review information from counsel re: Grayscale                                            1.3
03/02/2023          LMG                       Review third party loan assignment documents                                             0.2
03/02/2023          LMG                       Search Relativity for documents related to entity of interest loans in 2022              0.6
03/02/2023          MB                        Attend meeting with A. Searles and M. Birtwell (both AlixPartners) re: workpaper         0.1
                                              reconciliation and version control for political donations workstream
03/02/2023          MB                        Reconcile workpapers for consistency and version control re: political donations         0.7
03/02/2023          MB                        Review political donations workplan                                                      0.4
03/02/2023          SRH                       Analyze Alameda databases for specific accounts re: North Dimensions                     2.9
03/02/2023          SRH                       Analyze FTX Exchange data re: 195M Stablecoin Redemption                                 2.4
03/02/2023          SRH                       Analyze fund / asset transfers in Alameda and FTX exchange databases re: Genesis         2.3
                                              investigation
03/02/2023          TP                        Attend meeting with L. Goldman and T. Phelan (both AlixPartners) re: entity of           0.8
                                              interest potential preference claim
03/03/2023          AS                        Attend meeting with A. Searles and M. Birtwell (both AlixPartners) re: political         0.2
                                              donations workstream definitions of source of funding confidence
03/03/2023          AS                        Attend meeting with L. Goldman, A. Vanderkamp D. Schwartz, A. Searles, B.                0.9
                                              Mackay (all AlixPartners) re: Genesis analysis
03/03/2023          AS                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,          0.3
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          AS                        Review forensic analysis documentation associated with founder political donations       1.1
03/03/2023          AV                        Analyze Genesis lending activity                                                         2.8
03/03/2023          AV                        Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners)             0.6
                                              re: Genesis loan repayment with collateral
03/03/2023          AV                        Attend meeting with L. Goldman, A. Vanderkamp D. Schwartz, A. Searles, B.                0.9
                                              Mackay (all AlixPartners) re: Genesis analysis
03/03/2023          AV                        Prepare Genesis tear sheet                                                               2.3
03/03/2023          BFM                       Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners)             0.6
                                              re: Genesis loan repayment with collateral
03/03/2023          BFM                       Attend meeting with D. Schwartz, B. Mackay (both AlixPartners) re: collateral on         0.9
                                              Genesis loans
03/03/2023          BFM                       Attend meeting with L. Goldman and B. Mackay (both AlixPartners) re: Entity of           0.6
                                              interest exchange activity
03/03/2023          BFM                       Attend meeting with L. Goldman, A. Vanderkamp D. Schwartz, A. Searles, B.                0.9
                                              Mackay (all AlixPartners) re: Genesis analysis
03/03/2023          BAR                       Prepare inventory of loan agreements for work product related to entity of interest      0.8
03/03/2023          BAR                       Prepare inventory of term sheets for work product related to entity of interest          1.1
                                              analysis
03/03/2023          BAR                       Conduct unstructured searches in ESI database related to Genesis Global analysis         2.4
03/03/2023          BAR                       Update file of term sheet data related to Genesis Global analysis                        2.2
03/03/2023          DS                        Attend meeting with A. Vanderkamp, D. Schwartz, B. Mackay (all AlixPartners)             0.6
                                              re: Genesis loan repayment with collateral
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                    HOURS
03/03/2023          DS                        Attend meeting with D. Schwartz, B. Mackay (both AlixPartners) re: collateral on        0.9
                                              Genesis loans
03/03/2023          DS                        Attend meeting with L. Goldman, A. Vanderkamp D. Schwartz, A. Searles, B.               0.9
                                              Mackay (all AlixPartners) re: Genesis analysis
03/03/2023          DS                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.3
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          DJW                       Research Genesis trading loan repayment transaction history                             2.1
03/03/2023          DL                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.4
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          DL                        Perform targeted searches and documents review in Relativity related to Grayscale       2.2
                                              holdings by Alameda Research
03/03/2023          ET                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.4
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          EM                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.4
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: political        0.2
                                              donations workplan
03/03/2023          GS                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.4
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          JCL                       Review analysis on the comingling of funds examples in response to counsel              0.8
03/03/2023          JLS                       Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.2
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          JS                        Prepare documents that demonstrate commingling of customer funds pursuant to            2.3
                                              request from HFSC
03/03/2023          LMG                       Attend meeting with L. Goldman and B. Mackay (both AlixPartners) re: Entity of          0.6
                                              interest exchange activity
03/03/2023          LMG                       Attend meeting with L. Goldman and S. Hanzi (both AlixPartners) re: market maker        0.6
                                              exchange activity
03/03/2023          LMG                       Attend meeting with L. Goldman, A. Vanderkamp D. Schwartz, A. Searles, B.               0.9
                                              Mackay (all AlixPartners) re: Genesis analysis
03/03/2023          LMG                       Search Alameda AWS data for specific loan data                                          1.2
03/03/2023          LMG                       Search exchange data for market maker accounts and activity                             0.8
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                   HOURS
03/03/2023          MB                        Attend meeting with A. Searles and M. Birtwell (both AlixPartners) re: political        0.2
                                              donations workstream definitions of source of funding confidence
03/03/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: political        0.2
                                              donations workplan
03/03/2023          MB                        Attend meeting with M. Birtwell and S. Thompson (both AlixPartners) to                  0.2
                                              coordinate efforts between the political donations and founders' loans workstreams
03/03/2023          MB                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.4
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          MB                        Review workplan re: political donations workstream                                      0.5
03/03/2023          ST                        Attend meeting with M. Birtwell and S. Thompson (both AlixPartners) to                  0.2
                                              coordinate efforts between the Political Donations and Founders Loans workstreams
03/03/2023          ST                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.4
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/03/2023          ST                        Revise summary with communication artifacts to reconstruct financial information        1.0
                                              related to acquisition of interest
03/03/2023          ST                        Update summary with GL data to reconstruct financial information related to             2.6
                                              acquisition of interest
03/03/2023          SRH                       Analyze FTX Exchange data re: 195M Stablecoin Redemption                                1.9
03/03/2023          SRH                       Attend meeting with L. Goldman and S. Hanzi (both AlixPartners) re: market maker        0.6
                                              exchange activity
03/03/2023          VK                        Attend meeting with S. Thompson, V. Kotharu, L. Teifer, E. Mostoff, G. Shapiro,         0.4
                                              F. Liang, M. Birtwell (full attendees), J. Somerville, D. Schwartz, and A. Searles
                                              (partial attendees) to coordinate efforts around political donations, financial
                                              reconstruction, cash database, Modulo, and 195mm loan
03/04/2023          AS                        Provide email request to investigation team re: specific entity investigations          0.1
03/04/2023          AV                        Update draft entity of interest tear sheet                                              3.1
03/04/2023          BFM                       Update summarization of lending activity between Genesis and Alameda for                2.4
                                              potential preference analysis
03/04/2023          LMG                       Review entity of interest loan documents                                                1.2
03/05/2023          AS                        Prepare meeting agenda for investigation updates                                        0.2
03/05/2023          ST                        Continue update of summary with GL data to reconstruct financial information            1.2
                                              related to acquisition of interest
03/05/2023          ST                        Update summary with financial transactions to reconstruct financial information         2.4
                                              related to acquisition of interest
03/06/2023          AS                        Attend meeting with D. Schwartz, A. Searles, J. Sutherland, M. Birtwell and S.          0.3
                                              Thompson (all AlixPartners) to coordinate efforts between the political donations
                                              and founders’ loans workstreams, discuss repayments on founders loans, and the
                                              identification of personal bank accounts associated with the founders
03/06/2023          BFM                       Attend meeting with R. Self, B. Mackay (both AlixPartners) re: Genesis analysis         0.2
                                              and monthly invoice statements
03/06/2023          BFM                       Calculate new value re: Genesis trading on FTX.com exchange                             2.4
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Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                       HOURS
03/06/2023          BFM                       Review unstructured data for communication between Alameda employees re:                    1.3
                                              Genesis analysis
03/06/2023          BAR                       Conduct unstructured searches in ESI database to identify additional term sheets for        1.7
                                              entity of interest analysis
03/06/2023          BAR                       Updates to work product documentation for entity of interest analysis                       1.4
03/06/2023          DS                        Attend meeting with D. Schwartz, A. Searles, J. Sutherland, M. Birtwell and S.              0.3
                                              Thompson (all AlixPartners) to coordinate efforts between the political donations
                                              and founders’ loans workstreams, discuss repayments on founders loans, and the
                                              identification of personal bank accounts associated with the founders
03/06/2023          JCL                       Attend meeting with J. Labella, J. Sutherland, and S. Thompson (all AlixPartners)           0.7
                                              to review the summary re: specific acquisition of interest
03/06/2023          JS                        Attend meeting with D. Schwartz, A. Searles, J. Sutherland, M. Birtwell and S.              0.3
                                              Thompson (all AlixPartners) to coordinate efforts between the political donations
                                              and founders’ loans workstreams, discuss repayments on founders loans, and the
                                              identification of personal bank accounts associated with the founders
03/06/2023          JS                        Attend meeting with J. Labella, J. Sutherland, and S. Thompson (all AlixPartners)           0.7
                                              to review the summary re: specific acquisition of interest
03/06/2023          JS                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) to review             1.8
                                              and update the summary involving acquisition of interest re: founders’ loans special
                                              investigation request
03/06/2023          JS                        Research specific acquisition of interest and corresponding founders loans                  2.4
03/06/2023          LMG                       Review entity of interest workplan                                                          0.7
03/06/2023          MB                        Attend meeting with D. Schwartz, A. Searles, J. Sutherland, M. Birtwell and S.              0.3
                                              Thompson (all AlixPartners) to coordinate efforts between the political donations
                                              and founders’ loans workstreams, discuss repayments on founders loans, and the
                                              identification of personal bank accounts associated with the founders
03/06/2023          RS                        Attend meeting with R. Self, B. Mackay (both AlixPartners) re: Genesis analysis             0.2
                                              and monthly invoice statements
03/06/2023          RS                        Extract monthly invoice data for potential preference analysis re: entity of interest       1.6
03/06/2023          ST                        Analyze journal entries related to political donations and founders' loans to identify      0.4
                                              overlap
03/06/2023          ST                        Attend meeting with D. Schwartz, A. Searles, J. Sutherland, M. Birtwell and S.              0.3
                                              Thompson (all AlixPartners) to coordinate efforts between the political donations
                                              and founders’ loans workstreams, discuss repayments on founders loans, and the
                                              identification of personal bank accounts associated with the founders
03/06/2023          ST                        Attend meeting with J. Labella, J. Sutherland, and S. Thompson (all AlixPartners)           0.7
                                              to review the summary re: specific acquisition of interest
03/06/2023          ST                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) to review             1.8
                                              and update the summary involving acquisition of interest re: founders’ loans special
                                              investigation request
03/06/2023          ST                        Prepare summary with financial transactions related to a specific acquisition of            2.9
                                              interest
03/06/2023          ST                        Revise summary with corporate documentation artifacts to reconstruct financial              1.2
                                              information related to acquisition of interest
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03/06/2023          ST                        Prepare summary with corporate documentation artifacts to reconstruct financial          2.6
                                              information related FTX insiders purchase of WRS Class B shares
03/06/2023          ST                        Update flow of funds relating to specific acquisition of interest with financial         2.5
                                              transaction information
03/06/2023          SRH                       Analyze deposits / withdrawals in Alameda and FTX Exchange datasets re: North            2.3
                                              Dimensions
03/06/2023          SRH                       Analyze Exchange data re: specific customer inquiries                                    2.4
03/06/2023          SRH                       Analyze fund / asset transfers in Alameda and FTX exchange databases re: Genesis         2.7
                                              investigation
03/07/2023          AV                        Analyze entity of interest loan activity                                                 2.4
03/07/2023          AV                        Analyze results of unstructured data searches re: entity of interest                     0.8
03/07/2023          AV                        Analyze entity of interest invoice summaries                                             0.7
03/07/2023          BFM                       Attend meeting with R. Self, B. Mackay (both AlixPartners) re: Genesis analysis          0.3
03/07/2023          BFM                       Review FTX.com exchange account activity re: FTX employee employment                     1.6
03/07/2023          BFM                       Review loan term sheets re: Genesis analysis                                             0.9
03/07/2023          BAR                       Continue research for information related to term sheets and loan documents              1.7
                                              potential preference analysis for entity of interest
03/07/2023          DS                        Document responses related to UCC requests re: modulo                                    0.6
03/07/2023          DS                        Research responses for UCC questions related to Modulo                                   1.9
03/07/2023          DS                        Review documents and related analysis for political contributions and 501(c) 4           0.2
03/07/2023          DJW                       Research re: FTX employee termination settlement payments                                1.4
03/07/2023          ET                        Investigate intercompany transfers related to political donations                        1.8
03/07/2023          JCL                       Analyze cash movements and summary of entries for acquisition of entities of             2.9
03/07/2023          JS                        Prepare schedule of financial assets related to founders loans                           1.2
03/07/2023          JS                        Revise summary of transactions made by FTX insiders in specific acquisition of           2.1
                                              interest
03/07/2023          JS                        Research entity that received wire transfers from North Dimensions                       1.6
03/07/2023          LMG                       Conduct unstructured data search re entity of interest loans in August 2022              2.2
03/07/2023          ME                        Analyze Sollet Bridge movements and amounts over time                                    1.4
03/07/2023          QB                        Review latest requests for political donations queries                                   0.2
03/07/2023          RS                        Attend meeting with R. Self, B. Mackay (both AlixPartners) re: Genesis analysis          0.3
03/07/2023          RS                        Extract monthly invoice data for potential preference analysis                           0.3
03/07/2023          RS                        Summarize monthly invoice data for potential preference analysis                         2.8
03/07/2023          RMF                       Conduct unstructured data searches in ESI database for communication artifacts re:       2.1
                                              loans in relation to entity of interest
03/07/2023          ST                        Revise summary with financial transaction data to reconstruct financial information      0.8
                                              related to acquisition of interest
03/07/2023          SRH                       Analyze Alameda databases re: market maker inquiries                                     1.3
03/08/2023          AS                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, A. Searles, B.          0.8
                                              Mackay, R. Fuchs, R. Self (full attendees) and L. Goldman (partial attendee) (all
                                              AlixPartners) re: entity of interest workplan
03/08/2023          AS                        Prepare updated list of high priority next steps re: political donations workstream      0.4
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03/08/2023          AS                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          AS                        Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          AV                        Analyze flow of funds to and from FTX Digital Markets                                     1.5
03/08/2023          AV                        Analyze entity of interest trading activity                                               1.6
03/08/2023          AV                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, A. Searles, B.           0.8
                                              Mackay, R. Fuchs, R. Self (full attendees) and L. Goldman (partial attendee) (all
                                              AlixPartners) re: entity of interest workplan
03/08/2023          AV                        Review updated entity of interest tear sheet                                              0.6
03/08/2023          AV                        Revise updated entity of interest tear sheet                                              0.8
03/08/2023          AV                        Review JPL Interim Report                                                                 0.7
03/08/2023          AV                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          AV                        Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          BFM                       Participate in internal meeting with D. Schwartz, A. Vanderkamp, A. Searles, B.           0.8
                                              Mackay, R. Fuchs, R. Self (full attendees) and L. Goldman (partial attendee) (all
                                              AlixPartners) re: entity of interest workplan
03/08/2023          BFM                       Update Genesis analysis tear sheet re: alternative scenarios                              1.9
03/08/2023          BFM                       Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          BAR                       Research unstructured data for information on terms of service and migration of           2.1
                                              customers for Digital Markets investigation
03/08/2023          BAR                       Search of unstructured data related to consultants and independent director               2.3
                                              relationships for Digital Markets investigation
03/08/2023          BAR                       Unstructured data searches for information on corporate formation and relationships       1.3
                                              for Digital Markets investigation
03/08/2023          BAR                       Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          BAR                       Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          DS                        Analyze flow of funds related to Deltec loan                                              0.6
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/08/2023          DS                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, A. Searles, B.           0.8
                                              Mackay, R. Fuchs, R. Self (full attendees) and L. Goldman (partial attendee) (all
                                              AlixPartners) re: entity of interest workplan
03/08/2023          DS                        Develop process for creating master database containing master summaries related          1.8
                                              to special investigations
03/08/2023          DS                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          DS                        Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          DL                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          ET                        Compile available bank statements for known FTX Digital Markets accounts                  2.7
03/08/2023          ET                        Search for additional bank statements for known bank accounts of FTX Digital              2.3
                                              Markets
03/08/2023          ET                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          ET                        Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          GS                        Attend meeting with O. Braat and G. Shapiro (both AlixPartners) re: discussion of         0.2
                                              workplan for political donations investigation
03/08/2023          JCL                       Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          JS                        Update North Dimensions customer funds analysis                                           1.2
03/08/2023          LMG                       Participate in internal meeting with D. Schwartz, A. Vanderkamp, A. Searles, B.           0.6
                                              Mackay, R. Fuchs, R. Self (full attendees) and L. Goldman (partial attendee) (all
                                              AlixPartners) re: entity of interest workplan
03/08/2023          LMG                       Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          LMG                       Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          MC                        Analyze cash data related to FTX Digital Markets cash activity to support special         1.5
                                              investigation related work
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                      HOURS
03/08/2023          MC                        Review excel status update on Historical Reconstruction activities ahead of call          0.8
                                              with S&C
03/08/2023          MC                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          MC                        Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          MB                        Attend meeting with RM Fuchs and M. Birtwell (both AlixPartners) re: political            0.3
                                              donations funded by loans
03/08/2023          ME                        Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          MJ                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          MJ                        Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          QB                        Attend meeting with O. Braat and G. Shapiro (both AlixPartners) re: discussion of         0.2
                                              workplan for political donations investigation
03/08/2023          RS                        Extract monthly invoice data for Alameda Research and entity of interest for Q4           2.3
                                              2019
03/08/2023          RS                        Extract monthly invoice data for entity of interest for Q2 2020                           2.8
03/08/2023          RS                        Participate in internal meeting with D. Schwartz, A. Vanderkamp, A. Searles, B.           0.8
                                              Mackay, R. Fuchs, R. Self (full attendees) and L. Goldman (partial attendee) (all
                                              AlixPartners) re: entity of interest workplan
03/08/2023          RS                        Review monthly invoice data for entity of interest for Q1 2020                            2.6
03/08/2023          RS                        Summarize monthly invoice data for entity of interest for Q3 2019                         0.9
03/08/2023          RMF                       Attend meeting with RM Fuchs and M. Birtwell (both AlixPartners) re: political            0.3
                                              donations funded by loans
03/08/2023          RMF                       Participate in internal meeting with D. Schwartz, A. Vanderkamp, A. Searles, B.           0.8
                                              Mackay, R. Fuchs, R. Self (full attendees) and L. Goldman (partial attendee) (all
                                              AlixPartners) re: entity of interest workplan
03/08/2023          RMF                       Conduct unstructured data searches in ESI database re: Digital Markets and their          2.5
                                              terms of service updates
03/08/2023          RMF                       Review documents from unstructured data searches in ESI database re: Digital              1.0
                                              Markets and their terms of service updates
03/08/2023          RMF                       Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          RHK                       Analyze Genesis docket filings to support recovery analysis                               2.2
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03/08/2023          SRH                       Analyze FTX Exchange data to reconcile to FDM court filing                                1.7
03/08/2023          SRH                       Review FDM documents / court filings                                                      1.3
03/08/2023          SRH                       Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          SRH                       Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/08/2023          TP                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          VK                        Analyze summary of funds flow to FTX Digital Markets from Alameda and FTX                 0.8
                                              Trading in real asset purchase investigation to assist with broader funds flow to
                                              FTX Digital Markets
03/08/2023          VK                        Revise funds flow presentation re summary for Modulo investigation                        0.7
03/08/2023          VK                        Working session with M. Jacques, A. Searles, B. Mackay, L. Goldman, A.                    1.4
                                              Vanderkamp, D. Schwartz, M. Cervi, S. Hanzi, RM Fuchs, B. Robison, L. Teifer,
                                              T. Phelan, J. LaBella, F. Liang, V. Kotharu re: tracing of funds flow to FTX Digital
                                              Markets
03/08/2023          VK                        Working session with M. Jacques, M. Evans, B. Robison, S. Hanzi, D. Schwartz,             0.3
                                              M. Cervi, A. Searles, A. Vanderkamp, L. Goldman, L. Teifer, V. Kotharu re:
                                              analysis of funds flow to FTX Digital Markets
03/09/2023          AV                        Analyze flow of funds to and from FTX Digital Markets                                     2.1
03/09/2023          AV                        Review updated entity of interest analyses                                                2.3
03/09/2023          AV                        Revise entity of interest analyses                                                        0.8
03/09/2023          BFM                       Review Alameda's account balance in USDT over time re: Deltec loan                        0.7
03/09/2023          BAR                       Continue review of documents to identify information related to Digital Markets           2.3
                                              investigation
03/09/2023          BAR                       Prepare work product for documents identified as of interest for Digital Markets          0.9
                                              investigation
03/09/2023          DS                        Analyze cash flows between FTX entities and entity of interest Trading for potential      0.9
                                              avoidance action
03/09/2023          DS                        Review analysis related to FTX employee and Salameda                                      0.8
03/09/2023          DJW                       Analyze Digital Assets asset flows at the request of counsel                              2.1
03/09/2023          ET                        Attend meeting with G. Shapiro, L. Teifer, and M. Birtwell (all AlixPartners) re:         0.2
                                              workplan for preparation of support packages for political donations
03/09/2023          ET                        Compile source documents for donation-related loans to founders                           2.8
03/09/2023          ET                        Compile bank statements for donations-related loans to founders                           2.4
03/09/2023          ET                        Compile GLs for donation-related loans to founders                                        1.7
03/09/2023          ET                        Summarize findings from source documents, bank statements, and GLs for donation-          1.5
                                              related loans to founders
03/09/2023          ET                        Summarize balance and date information from available bank statements for FTX             2.4
                                              Digital Markets
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/09/2023          ET                        Continue to extract balance and date information from available bank statements for      1.8
                                              FTX Digital Markets
03/09/2023          GS                        Attend meeting with G. Shapiro, L. Teifer, and M. Birtwell (all AlixPartners) re:        0.2
                                              workplan for preparation of support packages for political donations
03/09/2023          JS                        Attend meeting with J. Sutherland and S. Hanzi (both AlixPartners) to review             0.4
                                              schedule of North Dimensions transactions relevant to HFSC requests
03/09/2023          JS                        Research customer deposits at North Dimensions                                           1.2
03/09/2023          LMG                       Conduct unstructured data searches re: FDM customer migration process                    0.8
03/09/2023          LMG                       Conduct unstructured data searches re: FDM term and conditions                           0.8
03/09/2023          LMG                       Conduct unstructured data searches re: entity of interest loans in August 2022           1.2
03/09/2023          LMG                       Conduct unstructured data searches re: FDM go live                                       1.7
03/09/2023          MB                        Attend meeting with G. Shapiro, L. Teifer, and M. Birtwell (all AlixPartners) re:        0.2
                                              workplan for preparation of support packages for political donations
03/09/2023          MB                        Review workplan related to political donations                                           0.3
03/09/2023          ME                        Develop test screeners for large liquidation/seizure events                              0.8
03/09/2023          ME                        Analyze outputs and results for sample liquidation/seizure events                        1.2
03/09/2023          RS                        Extract monthly invoice data for entity of interest for Q2 2021                          2.2
03/09/2023          RS                        Input monthly invoice data for entity of interest for Q4 2020                            2.0
03/09/2023          RS                        Summarize monthly invoice data for entity of interest for Q1 2021                        1.5
03/09/2023          RS                        Summarize monthly invoice data for entity of interest for Q3 2020                        2.7
03/09/2023          RMF                       Conduct unstructured data searches in ESI database for communication artifacts re:       0.5
                                              entity of interest loans
03/09/2023          RHK                       Analyze Cash Cloud docket filings to support recovery analysis                           2.2
03/09/2023          ST                        Update summary with .us exchange data to reconstruct financial information related       2.1
                                              FTX insiders purchase of WRS Class B shares
03/09/2023          SRH                       Analyze cash database to reconcile to FDM court filing                                   2.8
03/09/2023          SRH                       Analyze deposits / withdrawals in Alameda and FTX Exchange databases re: FDM             3.1
03/09/2023          SRH                       Attend meeting with J. Sutherland and S. Hanzi (both AlixPartners) to review             0.4
                                              schedule of North Dimensions transactions relevant to HFSC requests
03/10/2023          AS                        Attend call with A. Searles and M. Birtwell (both AlixPartners) re: confidence           0.2
                                              levels of political donations funded by loans
03/10/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), D. Schwartz, and A.        0.7
                                              Searles (partial attendees) (all AlixPartners) re: workplan for political donations
03/10/2023          AS                        Attend meeting with M. Jacques, M. Evans, M. Brown, A. Vanderkamp and A.                 0.2
                                              Searles (all AlixPartners) re: Genesis workstream and associated analysis
03/10/2023          AS                        Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                    0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          AV                        Analyze flow of funds to and from FTX Digital Markets                                    2.6
03/10/2023          AV                        Attend call with A. Vanderkamp, B. Mackay (both AlixPartners) re: updating               0.3
                                              Genesis tear sheet
03/10/2023          AV                        Attend meeting with M. Jacques, M. Evans, M. Brown, A. Vanderkamp and A.                 0.2
                                              Searles (all AlixPartners) re: Genesis workstream and associated analysis
03/10/2023          AV                        Prepare updated entity of interest tear sheet and route to S&C                           0.8
03/10/2023          AV                        Analyze updated entity of interest work product                                          2.1
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/10/2023          AV                        Working session with D. Schwartz, T. Phelan, B. Mackay, A. Vanderkamp, and E.              0.5
                                              Mostoff (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          AV                        Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          BFM                       Attend call with A. Vanderkamp, B. Mackay (both AlixPartners) re: updating                 0.3
                                              Genesis tear sheet
03/10/2023          BFM                       Attend meeting with D. White, B. Mackay (both AlixPartners) re: historical review          0.2
                                              of wallet addresses used by FTX.com exchange re: FTX Digital Markets
03/10/2023          BFM                       Attend meeting with M. Birtwell, L. Goldman, B. Mackay, V. Kotharu, S. Hanzi,              0.5
                                              O. Braat (full attendees) and T. Phelan (partial attendee) (all AlixPartners) re: AWS
                                              queries for political donations
03/10/2023          BFM                       Update summary of crypto flows from Alameda to FTX Digital Markets by coin                 1.7
                                              type and month
03/10/2023          BFM                       Working session with D. Schwartz, B. Mackay, S. Hanzi, and E. Mostoff (all                 1.1
                                              AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          BFM                       Working session with D. Schwartz, T. Phelan, B. Mackay, A. Vanderkamp, and E.              0.5
                                              Mostoff (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          BFM                       Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          BAR                       Additional document research related to customer migration for Digital Markets             2.3
                                              investigation
03/10/2023          BAR                       Update work product for additional term sheet data for entity of interest                  1.1
                                              investigation
03/10/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), D. Schwartz, and A.          0.5
                                              Searles (partial attendees) (all AlixPartners) re: workplan for political donations
03/10/2023          DS                        Respond to UCC requests related to Modulo                                                  1.6
03/10/2023          DS                        Working session with D. Schwartz, B. Mackay, S. Hanzi, and E. Mostoff (all                 1.1
                                              AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          DS                        Working session with D. Schwartz, T. Phelan, B. Mackay, A. Vanderkamp, and E.              0.5
                                              Mostoff (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          DS                        Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          DJW                       Attend meeting with D. White, B. Mackay (both AlixPartners) re: historical review          0.2
                                              of wallet addresses used by FTX.com exchange re: FTX Digital Markets
03/10/2023          ET                        Attend meeting with G. Shapiro and L. Teifer (both AlixPartners) re: workplan for          0.1
                                              preparation of support document packages for political donations
03/10/2023          ET                        Compile source documents for donation-related loans to founders                            2.2
03/10/2023          ET                        Compile bank statements for donations-related loans to founders                            2.0
03/10/2023          ET                        Compile GLs for donation-related loans to founders                                         1.7
03/10/2023          ET                        Summarize findings from source documents, bank statements, and GLs for donation-           1.7
                                              related loans to founders
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03/10/2023          ET                        Compile source documents, GLs, bank statements and findings for donation-related           1.1
                                              loans to founders
03/10/2023          EM                        Comparison of funds flow to FTX Digital Markets between G/L data and cash                  1.3
                                              database
03/10/2023          EM                        Identify suspected customer accounts for investigation re: funds flow to FTX Digital       1.2
                                              Markets
03/10/2023          EM                        Working session with D. Schwartz, B. Mackay, S. Hanzi, and E. Mostoff (all                 1.1
                                              AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          EM                        Working session with D. Schwartz, T. Phelan, B. Mackay, A. Vanderkamp, and E.              0.5
                                              Mostoff (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          EM                        Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          GS                        Attend meeting with G. Shapiro and L. Teifer (both AlixPartners) re: workplan for          0.1
                                              preparation of support document packages for political donations
03/10/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), D. Schwartz, and A.          1.0
                                              Searles (partial attendees) (all AlixPartners) re: workplan for political donations
03/10/2023          JS                        Reconcile summary schedule of North Dimensions transactions with non customers             2.2
                                              to be produced to Congress
03/10/2023          JS                        Update status of founders loans workstreams in advance of requested meeting with           0.6
                                              counsel
03/10/2023          LMG                       Attend meeting with M. Birtwell, L. Goldman, B. Mackay, V. Kotharu, S. Hanzi,              0.5
                                              O. Braat (full attendees) and T. Phelan (partial attendee) (all AlixPartners) re: AWS
                                              queries for political donations
03/10/2023          LMG                       Conduct unstructured data searches re: Alameda loans from entity of interest               2.7
03/10/2023          LMG                       Conduct unstructured data searches re: FDM regulatory filings                              2.2
03/10/2023          LMG                       Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          MJB                       Attend meeting with M. Jacques, M. Evans, M. Brown, A. Vanderkamp and A.                   0.2
                                              Searles (all AlixPartners) re: Genesis workstream and associated analysis
03/10/2023          MJB                       Conducted research related Genesis workstream                                              0.9
03/10/2023          MB                        Attend call with A. Searles and M. Birtwell (both AlixPartners) re: confidence             0.2
                                              levels of political donations funded by loans
03/10/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell (full attendees), D. Schwartz, and A.          1.0
                                              Searles (partial attendees) (all AlixPartners) re: workplan for political donations
03/10/2023          MB                        Attend meeting with M. Birtwell, L. Goldman, B. Mackay, V. Kotharu, S. Hanzi,              0.5
                                              O. Braat (full attendees) and T. Phelan (partial attendee) (all AlixPartners) re: AWS
                                              queries for political donations
03/10/2023          ME                        Attend meeting with M. Jacques, M. Evans, M. Brown, A. Vanderkamp and A.                   0.2
                                              Searles (all AlixPartners) re: Genesis workstream and associated analysis
03/10/2023          ME                        Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
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John J. Ray III
Chief Executive Officer
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New York, New York 10004
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                       HOURS
03/10/2023          MJ                        Attend meeting with M. Jacques, M. Evans, M. Brown, A. Vanderkamp and A.                   0.2
                                              Searles (all AlixPartners) re: Genesis workstream and associated analysis
03/10/2023          MJ                        Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          QB                        Attend meeting with M. Birtwell, L. Goldman, B. Mackay, V. Kotharu, S. Hanzi,              0.5
                                              O. Braat (full attendees) and T. Phelan (partial attendee) (all AlixPartners) re: AWS
                                              queries for political donations
03/10/2023          RS                        Extract monthly invoice data for Alameda Research and entity of interest for Q1            2.6
                                              2022
03/10/2023          RS                        Summarize monthly invoice data for entity of interest for Q4 2021                          2.3
03/10/2023          RS                        Summarize monthly invoice data for entity of interest for Q3 2021                          2.1
03/10/2023          RMF                       Revise summary for Digital Markets with relevant communication artifacts                   0.7
03/10/2023          RMF                       Review documents from unstructured data searches in ESI database re: Digital               0.9
                                              Markets' terms of service circa 2021
03/10/2023          RMF                       Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          RHK                       Conduct unstructured data searches for Genesis to support recovery analysis efforts        1.1
03/10/2023          RHK                       Analyze Genesis docket filings to support recovery analysis                                2.6
03/10/2023          ST                        Analyze GL data related to founders' purchase of WRS Class A shares from                   0.7
                                              Binance
03/10/2023          ST                        Review communication artifacts related to founders' purchase of WRS Class A                1.7
                                              shares from Binance
03/10/2023          SRH                       Analyze deposits / withdrawals in Alameda and FTX Exchange databases re: FDM               2.4
03/10/2023          SRH                       Attend meeting with M. Birtwell, L. Goldman, B. Mackay, V. Kotharu, S. Hanzi,              0.5
                                              O. Braat (full attendees) and T. Phelan (partial attendee) (all AlixPartners) re: AWS
                                              queries for political donations
03/10/2023          SRH                       Reconcile bank statement records with Cash database re : HFSC requests                     2.3
03/10/2023          SRH                       Working session with D. Schwartz, B. Mackay, S. Hanzi, and E. Mostoff (all                 1.1
                                              AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          SRH                       Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          TP                        Attend meeting with M. Birtwell, L. Goldman, B. Mackay, V. Kotharu, S. Hanzi,              0.2
                                              O. Braat (full attendees) and T. Phelan (partial attendee) (all AlixPartners) re: AWS
                                              queries for political donations
03/10/2023          TP                        Working session with D. Schwartz, T. Phelan, B. Mackay, A. Vanderkamp, and E.              0.5
                                              Mostoff (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
03/10/2023          VK                        Attend meeting with M. Birtwell, L. Goldman, B. Mackay, V. Kotharu, S. Hanzi,              0.5
                                              O. Braat (full attendees) and T. Phelan (partial attendee) (all AlixPartners) re: AWS
                                              queries for political donations
03/10/2023          VK                        Working session with M. Jacques, M. Evans, L. Goldman, A. Searles, A.                      0.8
                                              Vanderkamp, D. Schwartz, S. Hanzi, B. Mackay, RM Fuchs, E. Mostoff, V.
                                              Kotharu (all AlixPartners) re: analysis of funds flow to FTX Digital Markets
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DATE                PROFESSIONAL                                          DESCRIPTION OF SERVICES                                     HOURS
03/11/2023          AV                        Analyze charts re: flow of funds to and from FTX Digital Markets                           1.6
03/13/2023          AS                        Attend call with A. Searles and M. Birtwell (both AlixPartners) re: merging political      0.2
                                              donations, charitable contributions and founders' loans workstreams
03/13/2023          AS                        Attend meeting with D. White, A. Searles (partial attendees), L. Goldman, A.               0.5
                                              Vanderkamp, D. Schwartz, R. Self, B. Mackay (full attendees) (all AlixPartners) re:
                                              Genesis analysis and collateral balances
03/13/2023          AS                        Attend meeting with J. Sutherland and A. Searles (both AlixPartners) re: special           0.2
                                              investigation workstream updates for Founders Loans and North Dimension
03/13/2023          AS                        Attend meeting with M. Jacques, A. Searles (partial attendees) A. Vanderkamp, T.           0.5
                                              Toaso, T. Phelan, D. Schwartz, B. Mackay (full attendees) (all AlixPartners) re:
                                              FTX Digital Markets flow of funds
03/13/2023          AV                        Analyze FTX lending activity with entity of interest for the purpose of assessing          1.3
                                              potential preference claims
03/13/2023          AV                        Attend meeting with D. Schwartz, L. Goldman, S. Hanzi, M. Jacques and A.                   0.5
                                              Vanderkamp (all AlixPartners) to discuss next steps re: analysis of FDM flow of
                                              funds
03/13/2023          AV                        Attend meeting with D. White, A. Searles (partial attendees), L. Goldman, A.               0.7
                                              Vanderkamp, D. Schwartz, R. Self, B. Mackay (full attendees) (all AlixPartners) re:
                                              Genesis analysis and collateral balances
03/13/2023          AV                        Attend meeting with M. Jacques, A. Searles (partial attendees) A. Vanderkamp, T.           0.8
                                              Toaso, T. Phelan, D. Schwartz, B. Mackay (full attendees) (all AlixPartners) re:
                                              FTX Digital Markets flow of funds
03/13/2023          AV                        Attend meeting with M. Brown, F. Komendowski, Q. Zeng and A. Vanderkamp (all               0.2
                                              AlixPartners) re: entity of interest claims
03/13/2023          AV                        Review analyses re: flow of funds through FDM Digital Markets                              1.5
03/13/2023          AV                        Update entity of interest analysis tear sheet                                              1.7
03/13/2023          AV                        Working session with L. Goldman, D. Schwartz, A. Vanderkamp (all AlixPartners)             0.5
                                              re: return of collateral from Genesis loans
03/13/2023          BFM                       Attend call with M. Evans, L. Goldman, T. Phelan, S. Hanzi, B. Mackay, and V.              0.5
                                              Kotharu (all AlixPartners) re: liquidation event analysis
03/13/2023          BFM                       Attend meeting with D. White, A. Searles (partial attendees), L. Goldman, A.               0.7
                                              Vanderkamp, D. Schwartz, R. Self, B. Mackay (full attendees) (all AlixPartners) re:
                                              Genesis analysis and collateral balances
03/13/2023          BFM                       Attend meeting with M. Jacques, A. Searles (partial attendees) A. Vanderkamp, T.           0.8
                                              Toaso, T. Phelan, D. Schwartz, B. Mackay (full attendees) (all AlixPartners) re:
                                              FTX Digital Markets flow of funds
03/13/2023          BFM                       Attend working session with R. Self, B. Mackay (both AlixPartners) re: Genesis             0.3
                                              invoice data tables and summarization
03/13/2023          BFM                       Create summary tables re: FTX Digital Markets                                              0.8
03/13/2023          BFM                       Update monthly summary of crypto flows to and from Alameda re: FTX Digital                 1.3
                                              Markets
03/13/2023          DS                        Attend meeting with D. White, A. Searles (partial attendees), L. Goldman, A.               0.7
                                              Vanderkamp, D. Schwartz, R. Self, B. Mackay (full attendees) (all AlixPartners) re:
                                              Genesis analysis and collateral balances
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03/13/2023          DS                        Attend meeting with M. Jacques, A. Searles (partial attendees) A. Vanderkamp, T.           0.8
                                              Toaso, T. Phelan, D. Schwartz, B. Mackay (full attendees) (all AlixPartners) re:
                                              FTX Digital Markets flow of funds
03/13/2023          DS                        Attend meeting with D. Schwartz, L. Goldman, S. Hanzi, M. Jacques and A.                   0.5
                                              Vanderkamp (all AlixPartners) to discuss next steps re: analysis of FDM flow of
                                              funds
03/13/2023          DS                        Working session with L. Goldman, D. Schwartz, A. Vanderkamp (all AlixPartners)             0.5
                                              re: return of collateral from Genesis loans
03/13/2023          DJW                       Attend meeting with D. White, A. Searles (partial attendees), L. Goldman, A.               0.5
                                              Vanderkamp, D. Schwartz, R. Self, B. Mackay (full attendees) (all AlixPartners) re:
                                              Genesis analysis and collateral balances
03/13/2023          DJW                       Research Genesis Trading loan repayments and related collateral token transfers            2.1
03/13/2023          JS                        Attend meeting with J. Sutherland and A. Searles (both AlixPartners) re: special           0.2
                                              investigation workstream updates for Founders Loans and North Dimension
03/13/2023          JS                        Prepare summary schedule of non-customer transaction in North Dimension's                  2.4
                                              specific account
03/13/2023          LMG                       Attend call with M. Evans, L. Goldman, T. Phelan, S. Hanzi, B. Mackay, and V.              0.5
                                              Kotharu (all AlixPartners) re: liquidation event analysis
03/13/2023          LMG                       Attend meeting with D. White, A. Searles (partial attendees), L. Goldman, A.               0.7
                                              Vanderkamp, D. Schwartz, R. Self, B. Mackay (full attendees) (all AlixPartners) re:
                                              Genesis analysis and collateral balances
03/13/2023          LMG                       Review calculations of Alameda activity on .com exchange around period of FDM              0.7
                                              creation
03/13/2023          LMG                       Attend meeting with D. Schwartz, L. Goldman, S. Hanzi, M. Jacques and A.                   0.5
                                              Vanderkamp (all AlixPartners) to discuss next steps re: analysis of FDM flow of
                                              funds
03/13/2023          LMG                       Conduct unstructured data searches re: Alameda loans from entity of interest               1.1
03/13/2023          LMG                       Continue unstructured data searches re: Alameda loans from entity of interest              1.3
03/13/2023          LMG                       Conduct unstructured data searches re: FDM customer onboarding                             1.2
03/13/2023          LMG                       Working session with L. Goldman, D. Schwartz, A. Vanderkamp (all AlixPartners)             0.5
                                              re: return of collateral from Genesis loans
03/13/2023          MJB                       Attend meeting with M. Brown, F. Komendowski, Q. Zeng and A. Vanderkamp (all               0.2
                                              AlixPartners) re: entity of interest claims
03/13/2023          MJB                       Conducted market research related to Genesis workstream                                    0.7
03/13/2023          MB                        Attend call with A. Searles and M. Birtwell (both AlixPartners) re: merging political      0.2
                                              donations, charitable contributions and founders' loans workstreams
03/13/2023          ME                        Attend call with M. Evans, L. Goldman, T. Phelan, S. Hanzi, B. Mackay, and V.              0.5
                                              Kotharu (all AlixPartners) re: liquidation event analysis
03/13/2023          MJ                        Attend meeting with D. Schwartz, L. Goldman, S. Hanzi, M. Jacques and A.                   0.5
                                              Vanderkamp (all AlixPartners) to discuss next steps re: analysis of FDM flow of
                                              funds
03/13/2023          MJ                        Attend meeting with M. Jacques, A. Searles (partial attendees) A. Vanderkamp, T.           0.5
                                              Toaso, T. Phelan, D. Schwartz, B. Mackay (full attendees) (all AlixPartners) re:
                                              FTX Digital Markets flow of funds
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/13/2023          QZ                        Attend meeting with M. Brown, F. Komendowski, Q. Zeng and A. Vanderkamp (all             0.2
                                              AlixPartners) re: entity of interest claims
03/13/2023          RS                        Attend meeting with D. White, A. Searles (partial attendees), L. Goldman, A.             0.7
                                              Vanderkamp, D. Schwartz, R. Self, B. Mackay (full attendees) (all AlixPartners) re:
                                              Genesis analysis and collateral balances
03/13/2023          RS                        Attend working session with R. Self, B. Mackay (both AlixPartners) re: Genesis           0.3
                                              invoice data tables and summarization
03/13/2023          RS                        Extract monthly invoice data for Alameda Research and entity of interest for Q2          2.8
                                              2022
03/13/2023          RS                        Summarize monthly invoice data for Alameda Research and entity of interest for           2.3
                                              Q3 2022
03/13/2023          RS                        Summarize monthly invoice data for Alameda Research and entity of interest for           1.0
                                              Q4 2022
03/13/2023          ST                        Prepare a summary table on the status of founders' loans workstreams ahead of call       0.9
                                              with S&C re: insider actions
03/13/2023          ST                        Prepare summary with corporate documentation artifacts to reconstruct financial          2.2
                                              information related to FTX insiders' purchase of WRS Class A shares from Binance
03/13/2023          ST                        Prepare summary with communication artifacts to reconstruct financial information        2.4
                                              related to founders' purchase of WRS Class A shares from Binance
03/13/2023          SRH                       Attend call with M. Evans, L. Goldman, T. Phelan, S. Hanzi, B. Mackay, and V.            0.5
                                              Kotharu (all AlixPartners) re: liquidation event analysis
03/13/2023          SRH                       Attend meeting with D. Schwartz, L. Goldman, S. Hanzi, M. Jacques and A.                 0.5
                                              Vanderkamp (all AlixPartners) to discuss next steps re: analysis of FDM flow of
                                              funds
03/13/2023          SRH                       Reconcile bank statement records with Cash database re : HFSC requests                   1.3
03/13/2023          TT                        Attend meeting with M. Jacques, A. Searles (partial attendees) A. Vanderkamp, T.         0.8
                                              Toaso, T. Phelan, D. Schwartz, B. Mackay (full attendees) (all AlixPartners) re:
                                              FTX Digital Markets flow of funds
03/13/2023          TP                        Attend call with M. Evans, L. Goldman, T. Phelan, S. Hanzi, B. Mackay, and V.            0.5
                                              Kotharu (all AlixPartners) re: liquidation event analysis
03/13/2023          TP                        Attend meeting with M. Jacques, A. Searles (partial attendees) A. Vanderkamp, T.         0.8
                                              Toaso, T. Phelan, D. Schwartz, B. Mackay (full attendees) (all AlixPartners) re:
                                              FTX Digital Markets flow of funds
03/13/2023          VK                        Attend call with M. Evans, L. Goldman, T. Phelan, S. Hanzi, B. Mackay, and V.            0.5
                                              Kotharu (all AlixPartners) re: liquidation event analysis
03/14/2023          AS                        Attend meeting with A. Vanderkamp, D. Schwartz, C. Cipione and A. Searles (all           0.1
                                              AlixPartners) re: workstream tracker and resource allocation
03/14/2023          AS                        Attend meeting with C. Cipione, A. Vanderkamp, D. Schwartz and A. Searles (all           0.4
                                              AlixPartners) re: process for developing a master summary for all special
                                              investigations
03/14/2023          AS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: status            0.4
                                              update on Genesis and FTX Digital Markets workstreams
03/14/2023          AV                        Analyze entity of interest loan activity                                                 2.3
03/14/2023          AV                        Update analysis of entity of interest loan activity                                      1.0
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/14/2023          AV                        Attend meeting with A. Vanderkamp, B. Mackay (both AlixPartners) re: updating            0.5
                                              Genesis analysis lending slide
03/14/2023          AV                        Attend meeting with A. Vanderkamp, D. Schwartz, C. Cipione and A. Searles (all           0.1
                                              AlixPartners) re: workstream tracker and resource allocation
03/14/2023          AV                        Attend meeting with C. Cipione, A. Vanderkamp, D. Schwartz and A. Searles (all           0.4
                                              AlixPartners) re: process for developing a master summary for all special
                                              investigations
03/14/2023          AV                        Attend meeting with L. Goldman, D. Schwartz, A. Vanderkamp, B. Mackay (all               0.4
                                              AlixPartners) re: updates from call with S&C relating to the Genesis analysis
03/14/2023          AV                        Update entity of interest potential preference analyses                                  2.3
03/14/2023          BFM                       Attend meeting with A. Vanderkamp, B. Mackay (both AlixPartners) re: updating            0.5
                                              Genesis analysis lending slide
03/14/2023          BFM                       Attend meeting with D. White, B. Mackay (both AlixPartners) re: on-chain                 0.3
                                              movement of collateral relating to the Genesis analysis
03/14/2023          BFM                       Attend meeting with L. Goldman, D. Schwartz, A. Vanderkamp, B. Mackay (all               0.4
                                              AlixPartners) re: updates from call with S&C relating to the Genesis analysis
03/14/2023          BFM                       Attend meeting with R. Self, B. Mackay (both AlixPartners) re: update Genesis            0.2
                                              analysis collateral summaries
03/14/2023          BFM                       Review on-chain activity to identify flows of collateral between Alameda and entity      2.2
                                              of interest
03/14/2023          BFM                       Working session with L. Goldman and B. Mackay re: Alameda loans to Genesis               0.3
                                              repaid in Aug 2022
03/14/2023          CAS                       Attend meeting with A. Vanderkamp, D. Schwartz, C. Cipione and A. Searles (all           0.1
                                              AlixPartners) re: workstream tracker and resource allocation
03/14/2023          CAS                       Attend meeting with C. Cipione, A. Vanderkamp, D. Schwartz and A. Searles (all           0.4
                                              AlixPartners) re: process for developing a master summary for all special
                                              investigations
03/14/2023          DS                        Attend meeting with A. Vanderkamp, D. Schwartz, C. Cipione and A. Searles (all           0.1
                                              AlixPartners) re: workstream tracker and resource allocation
03/14/2023          DS                        Attend meeting with C. Cipione, A. Vanderkamp, D. Schwartz and A. Searles (all           0.4
                                              AlixPartners) re: process for developing a master summary for all special
                                              investigations
03/14/2023          DS                        Attend meeting with D. Schwartz and A. Searles (both AlixPartners) re: status            0.4
                                              update on Genesis and FTX Digital Markets workstreams
03/14/2023          DS                        Attend meeting with L. Goldman, D. Schwartz, A. Vanderkamp, B. Mackay (all               0.4
                                              AlixPartners) re: updates from call with S&C relating to the Genesis analysis
03/14/2023          DS                        Attend working session with L. Goldman, S. Hanzi, and D. Schwartz (partial               0.5
                                              attendee) (all AlixPartners) re: FDM bank accounts
03/14/2023          DS                        Working session with L. Goldman and D. Schwartz to analyze whether customers             0.4
                                              withdrawals were associated with FDM or FTX Trading
03/14/2023          DJW                       Attend meeting with D. White, B. Mackay (both AlixPartners) re: on-chain                 0.3
                                              movement of collateral relating to the Genesis analysis
03/14/2023          GS                        Attend meeting with G. Shapiro and O. Braat (both AlixPartners) re: creating             0.6
                                              support packages for political donations
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                        HOURS
03/14/2023          GS                        Attend meeting with G. Shapiro and R. Self (both AlixPartners) re: workplan for             0.3
                                              political donations support packages
03/14/2023          JS                        Prepare summary schedule of non-customer transactions in North Dimension's                  1.9
                                              specific account
03/14/2023          JS                        Research specific acquisition of interest and corresponding founders loans                  1.7
03/14/2023          LMG                       Attend meeting with L. Goldman, D. Schwartz, A. Vanderkamp, B. Mackay (all                  0.4
                                              AlixPartners) re: updates from call with S&C relating to the Genesis analysis
03/14/2023          LMG                       Attend working session with L. Goldman, S. Hanzi, and D. Schwartz (partial                  0.9
                                              attendee) (all AlixPartners) re: FDM bank accounts
03/14/2023          LMG                       Review updated entity of interest tearsheet                                                 0.7
03/14/2023          LMG                       Conduct unstructured data searches for communication artifacts re: FDM bank                 0.6
                                              accounts
03/14/2023          LMG                       Conduct unstructured data searches for corporate artifacts re: FDM KYC                      2.7
                                              onboarding process
03/14/2023          LMG                       Summarize key unstructured data re: Genesis loan payoffs in August 2022                     0.4
03/14/2023          LMG                       Working session with L. Goldman and B. Mackay re: Alameda loans to Genesis                  0.3
                                              repaid in Aug 2022
03/14/2023          LMG                       Working session with L. Goldman and D. Schwartz to analyze whether customers                0.4
                                              withdrawals were associated with FDM or FTX Trading
03/14/2023          LMG                       Working session with L. Goldman and S. Hanzi (both AlixPartners) to review                  0.6
                                              possible methods to identify onboarded FDM customers
03/14/2023          QB                        Attend meeting with G. Shapiro and O. Braat (both AlixPartners) re: creating                0.6
                                              support packages for political donations
03/14/2023          QB                        Create support packages for political donations                                             1.2
03/14/2023          RS                        Attend meeting with G. Shapiro and R. Self (both AlixPartners) re: workplan for             0.3
                                              political donations support packages
03/14/2023          RS                        Attend meeting with R. Self, B. Mackay (both AlixPartners) re: update Genesis               0.2
                                              analysis collateral summaries
03/14/2023          RS                        Perform analysis on entity of interest potential preference collateral and outstanding      2.2
                                              loan summaries
03/14/2023          ST                        Prepare flow of funds relating to FTX insiders' purchase of WRS Class A shares              2.3
                                              from Binance with financial transaction information
03/14/2023          ST                        Prepare summary with financial transactions to reconstruct financial information            2.8
                                              relating to FTX insiders' purchase of WRS Class A shares from Binance
03/14/2023          ST                        Conduct unstructured searches in ESI for documentation on FTX insiders' purchase            1.0
                                              of WRS Class B shares
03/14/2023          ST                        Update summary with corporate documentation artifacts to reconstruct financial              1.9
                                              information related FTX insiders purchase of WRS Class B shares
03/14/2023          SRH                       Analyze cash movements for customers across bank accounts re : FDM                          2.4
03/14/2023          SRH                       Analyze KYC tables / data in FTX Exchange databases re : FDM                                2.1
03/14/2023          SRH                       Attend working session with L. Goldman, S. Hanzi, and D. Schwartz (partial                  0.9
                                              attendee) (all AlixPartners) re: FDM bank accounts
03/14/2023          SRH                       Working session with L. Goldman and S. Hanzi (both AlixPartners) to review                  0.6
                                              possible methods to identify onboarded FDM customers
03/14/2023          SRH                       Develop search process to support Exchange data searching re : political donations          0.8
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03/15/2023          AS                        Attend meeting with G. Shapiro, S. Thompson, D. Schwartz, J. Sutherland, M.              0.4
                                              Birtwell (full attendees), and A. Searles (partial attendee) (all AlixPartners) re:
                                              coordination of founders' loans, political donations, and charitable contributions
                                              workstreams
03/15/2023          AS                        Gather information and prepare response re: counsel request on person of interest        0.3
03/15/2023          AV                        Analyze entity of interest lending activity                                              2.6
03/15/2023          AV                        Teleconference call with R. Self and A. Vanderkamp (both AlixPartners) to discuss        0.2
                                              entity of interest loan and collateral charts
03/15/2023          AV                        Analyze framework for entity of interest analysis                                        1.6
03/15/2023          AV                        Update framework for entity of interest analysis                                         1.0
03/15/2023          BFM                       Review FTX.us exchange data for transactions re: acquisition of interest                 0.9
03/15/2023          DS                        Attend meeting with G. Shapiro, S. Thompson, D. Schwartz, J. Sutherland, M.              0.7
                                              Birtwell (full attendees), and A. Searles (partial attendee) (all AlixPartners) re:
                                              coordination of founders' loans, political donations, and charitable contributions
                                              workstreams
03/15/2023          ET                        Answer questions related to Signature account 6989                                       0.7
03/15/2023          GS                        Attend meeting with G. Shapiro, S. Thompson, D. Schwartz, J. Sutherland, M.              0.7
                                              Birtwell (full attendees), and A. Searles (partial attendee) (all AlixPartners) re:
                                              coordination of founders' loans, political donations, and charitable contributions
                                              workstreams
03/15/2023          GS                        Attend meeting with M. Birtwell, G. Shapiro, R. Self, and O. Braat (all                  0.3
                                              AlixPartners) re: creating support packages for political donations
03/15/2023          JS                        Attend meeting with G. Shapiro, S. Thompson, D. Schwartz, J. Sutherland, M.              0.7
                                              Birtwell (full attendees), and A. Searles (partial attendee) (all AlixPartners) re:
                                              coordination of founders' loans, political donations, and charitable contributions
                                              workstreams
03/15/2023          JS                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) re: FTX            2.0
                                              insiders' purchase of WRS shares and the founders' loans summary schedule
03/15/2023          JS                        Compile schedule of founders loans                                                       2.3
03/15/2023          JS                        Research acquisition of interest                                                         1.6
03/15/2023          LMG                       Research FDM Signet account transfers in June 2022                                       0.6
03/15/2023          LMG                       Conduct searches in ESI for discussions of large BLP liquidation events                  0.4
03/15/2023          MJB                       Review public materials re: Genesis workstream                                           0.6
03/15/2023          MB                        Attend meeting with G. Shapiro, S. Thompson, D. Schwartz, J. Sutherland, M.              0.7
                                              Birtwell (full attendees), and A. Searles (partial attendee) (all AlixPartners) re:
                                              coordination of founders' loans, political donations, and charitable contributions
                                              workstreams
03/15/2023          MB                        Attend meeting with M. Birtwell, G. Shapiro, R. Self, and O. Braat (all                  0.3
                                              AlixPartners) re: creating support packages for political donations
03/15/2023          ME                        Prepare borrow/lend Alameda data for presentation                                        1.6
03/15/2023          QB                        Attend meeting with M. Birtwell, G. Shapiro, R. Self, and O. Braat (all                  0.3
                                              AlixPartners) re: creating support packages for political donations
03/15/2023          QB                        Scrape historical crypto price from Yahoo Finance                                        0.5
03/15/2023          QB                        Create support packages for political donations                                          2.2
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/15/2023          RS                        Attend meeting with M. Birtwell, G. Shapiro, R. Self, and O. Braat (all                  0.3
                                              AlixPartners) re: creating support packages for political donations
03/15/2023          RS                        Teleconference call with R. Self and A. Vanderkamp (both AlixPartners) to discuss        0.2
                                              entity of interest loan and collateral charts
03/15/2023          RMF                       Review records related to the Digital Markets special investigation                      0.2
03/15/2023          RMF                       Update summary re: Digital Markets investigation                                         0.6
03/15/2023          ST                        Attend meeting with G. Shapiro, S. Thompson, D. Schwartz, J. Sutherland, M.              0.7
                                              Birtwell (full attendees), and A. Searles (partial attendee) (all AlixPartners) re:
                                              coordination of founders' loans, political donations, and charitable contributions
                                              workstreams
03/15/2023          ST                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) re: FTX            2.0
                                              insiders' purchase of WRS shares and the founders' loans summary schedule
03/15/2023          ST                        Update summary with communication artifacts to reconstruct financial information         1.2
                                              related to FTX insiders' purchase of WRS Class B shares
03/15/2023          SRH                       Analyze Exchange data in support of Control Failures report                              1.1
03/15/2023          SRH                       Parse FDM bank statements                                                                3.1
03/15/2023          SRH                       Validate FDM bank statement parsing results                                              2.7
03/16/2023          AS                        Meeting with A. Vanderkamp, D. Schwartz, and A. Searles (all AlixPartners) to            0.5
                                              discuss integration and coordination between various workstreams including
                                              financial statement construction, special investigations, and exchange analysis
03/16/2023          AS                        Prepare follow-up email to investigation team re: token purchase agreements              0.1
03/16/2023          AV                        Analyze documents re: entity of interest loans                                           1.3
03/16/2023          AV                        Meeting with A. Vanderkamp, D. Schwartz, and A. Searles (all AlixPartners) to            0.5
                                              discuss integration and coordination between various workstreams including
                                              financial statement construction, special investigations, and exchange analysis
03/16/2023          AV                        Participate in call with D. Schwartz, B. MacKay and A. Vanderkamp (all                   0.5
                                              AlixPartners) to discuss updates to entity of interest analysis
03/16/2023          BFM                       Attend meeting with M. Birtwell, B. Mackay, J. Sutherland, and S. Thompson (all          0.8
                                              AlixPartners) to coordinate efforts on tracing founder loan repayments across data
                                              sources
03/16/2023          BFM                       Attend meeting with R. Self, B. Mackay (both AlixPartners) re: entity of interest        0.4
                                              loan and collateral charts
03/16/2023          BFM                       Participate in call with D. Schwartz, B. MacKay and A. Vanderkamp (all                   0.5
                                              AlixPartners) to discuss updates to entity of interest analysis
03/16/2023          BFM                       Summarize previous findings re: entity of interest token purchase agreement              1.1
03/16/2023          BFM                       Track collateral flows between Alameda and entity of interest in FTX.com exchange        1.0
                                              data and on-chain
03/16/2023          DS                        Attend call with D. Schwartz and M. Birtwell (both AlixPartners) re: A&M cash            0.5
                                              database and political donations presentation of findings
03/16/2023          DS                        Meeting with A. Vanderkamp, D. Schwartz, and A. Searles (all AlixPartners) to            0.5
                                              discuss integration and coordination between various workstreams including
                                              financial statement construction, special investigations, and exchange analysis
03/16/2023          DS                        Participate in call with D. Schwartz, B. MacKay and A. Vanderkamp (all                   0.5
                                              AlixPartners) to discuss updates to entity of interest analysis
03/16/2023          DJW                       Research specific customer transactions in response to counsel's request                 2.6
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03/16/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: political        0.4
                                              donations workplan
03/16/2023          JS                        Attend follow-up meeting with S. Thompson and J. Sutherland (both AlixPartners)         0.9
                                              to discuss founders’ loans summary schedule
03/16/2023          JS                        Attend meeting with M. Birtwell, B. Mackay, J. Sutherland, and S. Thompson (all         0.8
                                              AlixPartners) to coordinate efforts on tracing founder loan repayments across data
                                              sources
03/16/2023          JS                        Attend meeting with S. Thompson and J. Sutherland (both AlixPartners) to discuss        0.5
                                              founders’ loans summary schedule
03/16/2023          JS                        Revise summary of transactions made by FTX insiders in specific acquisition of          1.7
                                              interest
03/16/2023          JS                        Revise summary schedule of founders loans and their respective purposes                 2.8
03/16/2023          JS                        Analyze corporate documentation artifacts relating to FTX Trading Ltd.'s                2.3
                                              acquisition of interest
03/16/2023          LMG                       Review loan-chatter docs for discussion of loan balances in summer 2022                 1.1
03/16/2023          LMG                       Review Slack communications around date of Korean Friend transfer                       1.2
03/16/2023          LMG                       Review Slack communications around FTT minting in late 2022                             1.3
03/16/2023          LMG                       Conduct searches in ESI for communications around FTT minting in September              0.4
                                              2022
03/16/2023          MJB                       Review public materials re: Genesis workstream                                          0.7
03/16/2023          MB                        Attend call with D. Schwartz and M. Birtwell (both AlixPartners) re: A&M cash           0.5
                                              database and political donations presentation of findings
03/16/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: political        0.4
                                              donations workplan
03/16/2023          MB                        Attend meeting with M. Birtwell, B. Mackay, J. Sutherland, and S. Thompson (all         0.8
                                              AlixPartners) to coordinate efforts on tracing founder loan repayments across data
                                              sources
03/16/2023          MB                        Review political donations work plan                                                    0.8
03/16/2023          QB                        Attend meeting with R. Self and O. Braat (both AlixPartners) re: creating support       0.4
                                              packages for political donations
03/16/2023          QB                        Create support packages for political donations                                         2.8
03/16/2023          RS                        Attend meeting with R. Self and O. Braat (both AlixPartners) re: creating support       0.4
                                              packages for political donations
03/16/2023          RS                        Attend meeting with R. Self, B. Mackay (both AlixPartners) re: entity of interest       0.4
                                              loan and collateral charts
03/16/2023          RS                        Create entity of interest loan and collateral charts and tables                         1.8
03/16/2023          RS                        Create support packages for political donations                                         2.9
03/16/2023          ST                        Attend follow-up meeting with S. Thompson and J. Sutherland (both AlixPartners)         0.9
                                              to discuss founders’ loans summary schedule
03/16/2023          ST                        Attend meeting with M. Birtwell, B. Mackay, J. Sutherland, and S. Thompson (all         0.8
                                              AlixPartners) to coordinate efforts on tracing founder loan repayments across data
                                              sources
03/16/2023          ST                        Attend meeting with S. Thompson and J. Sutherland (both AlixPartners) to discuss        0.5
                                              founders’ loans summary schedule
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DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                     HOURS
03/16/2023          SRH                       Compare bank records with Alameda and FTX to bank statements / cash database              2.4
                                              records re: FDM
03/17/2023          AS                        Review correspondence re: master chron template                                           0.1
03/17/2023          AV                        Attend working session with A. Vanderkamp, B. Mackay (both AlixPartners) re:              0.4
                                              Genesis analysis and collateral
03/17/2023          AV                        Review analyses re: entity of interest loans and collateral                               3.1
03/17/2023          AV                        Revise entity of interest potential preference analyses                                   2.2
03/17/2023          AV                        Review entity of interest potential preference analyses                                   0.6
03/17/2023          BFM                       Attend working session with A. Vanderkamp, B. Mackay (both AlixPartners) re:              0.4
                                              Genesis analysis and collateral
03/17/2023          BFM                       Review FTX.com exchange data: re entity of interest transaction                           0.8
03/17/2023          BFM                       Review on-chain data: re entity of interest transaction                                   0.7
03/17/2023          BFM                       Review FTX.com exchange data for Alameda investment re: FTX Europe                        1.7
03/17/2023          BFM                       Search unstructured data for information re: entity of interest transaction               0.9
03/17/2023          BFM                       Update review of the connection between exchange activity and collateral on entity        1.0
                                              of interest loans
03/17/2023          BFM                       Update underlying pricing data for entity of interest loan summary charts                 0.8
03/17/2023          BFM                       Working session with L. Goldman and B. Mackay to review Slack communications              0.5
                                              re: Alameda loans in summer 2022
03/17/2023          JS                        Attend meeting with S. Thompson and J. Sutherland (both AlixPartners) to discuss          0.7
                                              funds tracing analysis involving entity of interest re: founders’ loans special
                                              investigation request
03/17/2023          JS                        Revise summary schedule of founders loans and their respective purposes                   1.7
03/17/2023          JS                        Research founders loan related to acquisition of interest                                 2.4
03/17/2023          LMG                       Review Alameda communications re: loan activity in summer 2022                            1.3
03/17/2023          LMG                       Working session with L. Goldman and B. Mackay to review Slack communications              0.5
                                              re: Alameda loans in summer 2022
03/17/2023          LMG                       Working session with L. Goldman and S. Hanzi to review bank account balance               0.9
                                              changes in June 2022
03/17/2023          RS                        Revise entity of interest loan and collateral charts and tables                           2.5
03/17/2023          RS                        Create support packages for political donations                                           2.2
03/17/2023          RS                        Analyze Genesis potential preference collateral and outstanding loan summaries            1.1
03/17/2023          RS                        Revise entity of interest loan and collateral charts and tables                           1.5
03/17/2023          RMF                       Conduct unstructured searches in ESI database for corporate artifacts re: equity          0.2
                                              naming convention
03/17/2023          RMF                       Conduct unstructured data searches in ESI database for records re: resignation of C-      0.7
                                              suite members prior to FTX and Alameda collapse
03/17/2023          ST                        Attend meeting with S. Thompson and J. Sutherland (both AlixPartners) to discuss          0.7
                                              funds tracing analysis involving entity of interest re: founders’ loans special
                                              investigation request
03/17/2023          ST                        Update summary of acquisition of interest re: address questions on transactions           1.3
                                              effected through the .us exchange
03/17/2023          SRH                       Reconcile transfer activity between bank account statements re : FDM                      2.3
03/17/2023          SRH                       Search for specific bank statements in Relativity re: FDM                                 1.1
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                       HOURS
03/17/2023          SRH                       Working session with L. Goldman and S. Hanzi to review bank account balance                 0.9
                                              changes in June 2022
03/17/2023          SRH                       Working session with T. Phelan and S. Hanzi (both AlixPartners) re: US Exchange             1.3
                                              data migration into secure environment
03/17/2023          TP                        Working session with T. Phelan and S. Hanzi (both AlixPartners) re: US Exchange             1.3
                                              data migration into secure environment
03/18/2023          AV                        Review analyses re: entity of interest                                                      1.3
03/18/2023          JS                        Research cash payments made to entity of interest in relation to acquisition                2.7
03/18/2023          JS                        Research acquisition of entity of interest pursuant to request from counsel                 0.5
03/18/2023          JS                        Research exchange transfers made to entity of interest                                      1.5
03/19/2023          LMG                       Review Caroline note docs for discussion of crypto winter                                   1.6
03/19/2023          LMG                       Review unstructured data flagged by S&C team                                                1.7
03/19/2023          LMG                       Conduct unstructured data search in ESI re: Alameda loans in crypto winter                  1.8
03/20/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.                 0.4
                                              Searles, and S. Thompson (all AlixPartners) to coordinate efforts between the
                                              political donations and founders’ loans workstreams
03/20/2023          AS                        Working session with A. Searles, D. Schwartz (full attendees), and M. Birtwell              0.5
                                              (partial attendee) (all AlixPartners) re: charitable contributions workplan
03/20/2023          AV                        Analyze potential preference claims against entity of interest                              1.8
03/20/2023          AV                        Review Relativity documents re: entity of interest loan activity                            1.9
03/20/2023          BFM                       Conduct unstructured data search re: acquisition of interest                                1.8
03/20/2023          BFM                       Review exchange account activity and on-chain activity re: Nov 2020 Alameda                 0.7
                                              investment in entity of interest
03/20/2023          BFM                       Review on-chain activity to find off exchange transactions re: acquisition of interest      1.3
03/20/2023          BFM                       Summarize account activity and lending activity on .com exchange re: entity of              1.3
                                              interest
03/20/2023          BFM                       Summarize primary account activity on .com exchange re: entity of interest                  0.7
03/20/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, and D. Schwartz (all AlixPartners) re:         0.1
                                              workplan for charitable contributions investigation
03/20/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.                 0.4
                                              Searles, and S. Thompson (all AlixPartners) to coordinate efforts between the
                                              political donations and founders’ loans workstreams
03/20/2023          DS                        Working session with A. Searles, D. Schwartz (full attendees), and M. Birtwell              0.5
                                              (partial attendee) (all AlixPartners) re: charitable contributions workplan
03/20/2023          ET                        Attend meeting with G. Shapiro and L. Teifer (both AlixPartners) re: preparation of         0.1
                                              support packages for political donations
03/20/2023          GS                        Attend meeting with G. Shapiro and L. Teifer (both AlixPartners) re: preparation of         0.1
                                              support packages for political donations
03/20/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and D. Schwartz (all AlixPartners) re:         0.1
                                              workplan for charitable contributions investigation
03/20/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.                 0.4
                                              Searles, and S. Thompson (all AlixPartners) to coordinate efforts between the
                                              political donations and founders’ loans workstreams
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03/20/2023          JS                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.                   0.4
                                              Searles, and S. Thompson (all AlixPartners) to coordinate efforts between the
                                              political donations and founders’ loans workstreams
03/20/2023          JS                        Research founders loans                                                                       1.9
03/20/2023          JS                        Research payments to entity of interest                                                       2.6
03/20/2023          JS                        Research the Ledger Prime acquisition                                                         0.7
03/20/2023          JS                        Working session with J. Sutherland and S. Thompson (both AlixPartners) to                     0.1
                                              analyze bank transaction listings related to entity of interest
03/20/2023          LMG                       Prepare Alameda borrowing and investment examples for team discussion                         0.8
03/20/2023          MJB                       Conducted financial analysis for Genesis workstream                                           0.8
03/20/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and D. Schwartz (all AlixPartners) re:           0.1
                                              workplan for charitable contributions investigation
03/20/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.                   0.4
                                              Searles, and S. Thompson (all AlixPartners) to coordinate efforts between the
                                              political donations and founders’ loans workstreams
03/20/2023          MB                        Revise workplan for charitable contributions in preparation for discussion with               0.6
03/20/2023          MB                        Revise workplan for political donations to ensure additional support packages and             0.5
                                              analysis is completed for week ending 3/24/23
03/20/2023          MB                        Working session with A. Searles, D. Schwartz (full attendees), and M. Birtwell                0.4
                                              (partial attendee) (all AlixPartners) re: charitable contributions workplan
03/20/2023          ME                        Analyze liquidation account, position and coin movements                                      1.2
03/20/2023          ME                        Review Alameda Borrow/Loan data tables and changes over time                                  0.4
03/20/2023          ME                        Review Modulo settlement agreement                                                            0.2
03/20/2023          QB                        Create support packages for political donations                                               1.8
03/20/2023          QB                        Continue to create support packages for political donations                                   2.8
03/20/2023          RS                        Create support packages for political donations                                               1.8
03/20/2023          RHK                       Analyze Genesis docket filings to establish assets and liabilities position                   2.4
03/20/2023          ST                        Attend meeting with G. Shapiro, M. Birtwell, D. Schwartz, J. Sutherland, A.                   0.4
                                              Searles, and S. Thompson (all AlixPartners) to coordinate efforts between the
                                              political donations and founders’ loans workstreams
03/20/2023          ST                        Update founders' loans summary schedule with cash transfers made to founders                  0.5
                                              identified in the cash database
03/20/2023          ST                        Working session with J. Sutherland and S. Thompson (both AlixPartners) to                     0.1
                                              analyze bank transaction listings related to entity of interest
03/21/2023          AS                        Attend meeting with D. White, L. Goldman, M. Cervi, K. Wessel, B. Mackay, F.                  0.2
                                              Liang (full attendees), J. LaBella and A. Searles (partial attendees) (all AlixPartners)
                                              re: identifying token purchase agreements
03/21/2023          AS                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:            0.1
                                              workplan for political donations investigation
03/21/2023          AV                        Analyze entity of interest potential preference payments                                      1.2
03/21/2023          BFM                       Attend meeting with D. White, L. Goldman, M. Cervi, K. Wessel, B. Mackay, F.                  0.3
                                              Liang (full attendees), J. LaBella and A. Searles (partial attendees) (all AlixPartners)
                                              re: identifying token purchase agreements
03/21/2023          BFM                       Conduct unstructured data search re: entity of interest                                       0.8
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03/21/2023          BFM                       Review on-chain BTC activity to find off exchange transactions re: acquisition of             0.3
                                              interest
03/21/2023          BFM                       Search .com and .us exchange data for particular user re: entity of interest                  0.5
03/21/2023          DJW                       Attend meeting with D. White, L. Goldman, M. Cervi, K. Wessel, B. Mackay, F.                  0.3
                                              Liang (full attendees), J. LaBella and A. Searles (partial attendees) (all AlixPartners)
                                              re: identifying token purchase agreements
03/21/2023          DL                        Attend meeting with D. White, L. Goldman, M. Cervi, K. Wessel, B. Mackay, F.                  0.3
                                              Liang (full attendees), J. LaBella and A. Searles (partial attendees) (all AlixPartners)
                                              re: identifying token purchase agreements
03/21/2023          GS                        Attend meeting with G. Shapiro and O. Braat (both AlixPartners) re: reviewing                 0.1
                                              support packages for political donations
03/21/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:            0.1
                                              workplan for political donations investigation
03/21/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, R. Self, and O. Braat (all                       0.3
                                              AlixPartners) re: creating support packages for political donations
03/21/2023          GS                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re: political             1.0
                                              donation work product, including review of date and amount query results,
                                              disbursement verification emails and S&C update deck
03/21/2023          JCL                       Attend meeting with D. White, L. Goldman, M. Cervi, K. Wessel, B. Mackay, F.                  0.2
                                              Liang (full attendees), J. LaBella and A. Searles (partial attendees) (all AlixPartners)
                                              re: identifying token purchase agreements
03/21/2023          JS                        Analyze GL data for accounts associated with loans receivable due from FTX                    1.9
                                              insiders
03/21/2023          JS                        Review corporate documentation on payments made in connection with acquisition                2.4
                                              of particular entity
03/21/2023          JS                        Research transactions associated with the acquisition of interest                             2.4
03/21/2023          KHW                       Attend meeting with D. White, L. Goldman, M. Cervi, K. Wessel, B. Mackay, F.                  0.3
                                              Liang (full attendees), J. LaBella and A. Searles (partial attendees) (all AlixPartners)
                                              re: identifying token purchase agreements
03/21/2023          LMG                       Attend meeting with D. White, L. Goldman, M. Cervi, K. Wessel, B. Mackay, F.                  0.3
                                              Liang (full attendees), J. LaBella and A. Searles (partial attendees) (all AlixPartners)
                                              re: identifying token purchase agreements
03/21/2023          LMG                       Finalize additional notes from call with Gary Wang                                            0.3
03/21/2023          LMG                       Prepare draft slides on Alameda activity on FTX.com to send to A&M                            0.7
03/21/2023          LMG                       Review crypto winter task list                                                                0.2
03/21/2023          MJB                       Conducted claims analysis                                                                     0.3
03/21/2023          MC                        Attend meeting with D. White, L. Goldman, M. Cervi, K. Wessel, B. Mackay, F.                  0.3
                                              Liang (full attendees), J. LaBella and A. Searles (partial attendees) (all AlixPartners)
                                              re: identifying token purchase agreements
03/21/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and A. Searles (all AlixPartners) re:            0.1
                                              workplan for political donations investigation
03/21/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, R. Self, and O. Braat (all                       0.3
                                              AlixPartners) re: creating support packages for political donations
03/21/2023          MB                        Create and share daily workplan with political donations team                                 0.4
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03/21/2023          MB                        Summarize recent political donation related requests by S&C and build workplan to            0.6
                                              address by EoD 3/21/23 and 3/22/23
03/21/2023          MB                        Working session with G. Shapiro and M. Birtwell (both AlixPartners) re: political            1.0
                                              donation work product, including review of date and amount query results,
                                              disbursement verification emails and S&C update deck
03/21/2023          QB                        Attend meeting with G. Shapiro and O. Braat (both AlixPartners) re: reviewing                0.1
                                              support packages for political donations
03/21/2023          QB                        Attend meeting with G. Shapiro, M. Birtwell, R. Self, and O. Braat (all                      0.3
                                              AlixPartners) re: creating support packages for political donations
03/21/2023          QB                        Create support packages for political donations                                              1.4
03/21/2023          QB                        Analyze .US exchange to identify funds for political donations                               2.0
03/21/2023          QZ                        Attend meeting with Q. Zeng and R. Komendowski (all AlixPartners) re: entity of              1.0
                                              interest estate financials
03/21/2023          RS                        Attend meeting with G. Shapiro, M. Birtwell, R. Self, and O. Braat (all                      0.3
                                              AlixPartners) re: creating support packages for political donations
03/21/2023          RS                        Create support packages for political donations                                              1.5
03/21/2023          RS                        Prepare loan funded political donations support packages                                     1.9
03/21/2023          RHK                       Attend meeting with Q. Zeng and R. Komendowski (all AlixPartners) re: entity of              1.0
                                              interest estate financials
03/21/2023          RHK                       Analyze particular entity's current claim value                                              0.8
03/21/2023          RHK                       Analyze Genesis' Schedules to determine assets and liabilities                               3.0
03/21/2023          RHK                       Analyze Genesis' SOFA's to develop understanding of claims and financial position            2.8
                                              of Genesis
03/22/2023          AV                        Prepare updates to entity of interest analysis                                               0.7
03/22/2023          AV                        Review analysis of entity of interest estate financials                                      1.2
03/22/2023          BFM                       Attend meeting with D. Schwartz, B. Mackay, and O. Braat (full attendees) (all               0.5
                                              AlixPartners) re: creating the trading analytics master summary
03/22/2023          BFM                       Review .com exchange data for subsequent transfers after transaction of interest re:         0.9
                                              acquisition of interest
03/22/2023          BFM                       Review .com exchange data for subsequent transfers of digital assets after                   0.9
                                              transaction of interest re: acquisition of interest
03/22/2023          BFM                       Update summary of account activity and lending activity on .com exchange re:                 0.8
                                              entity of interest
03/22/2023          DS                        Attend meeting with D. Schwartz, B. Mackay, and O. Braat (full attendees) (all               0.5
                                              AlixPartners) re: creating the trading analytics master summary
03/22/2023          DS                        Working session with D. Schwartz and M. Birtwell (both AlixPartners) re:                     0.2
                                              synchronizing investigative and financial reconstruction workstreams
03/22/2023          ET                        Attend meeting with L. Goldman, L. Morrison, and L. Teifer (all AlixPartners) re:            0.3
                                              the effect of Alameda yield farming on loan repayment/liquidity
03/22/2023          JS                        Research payments to entity of interest in relation to specific acquisition of interest      0.7
03/22/2023          JS                        Research specific acquisition of interest                                                    1.4
03/22/2023          JS                        Research transactions with FTX founders                                                      2.1
03/22/2023          JS                        Working session with J. Sutherland and S. Thompson (both AlixPartners) re: funds             1.0
                                              tracing analyses involving entities of interest
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03/22/2023          LIM                       Attend meeting with L. Goldman, L. Morrison, and L. Teifer (all AlixPartners) re:      0.3
                                              the effect of Alameda yield farming on loan repayment/liquidity
03/22/2023          LIM                       Working session with L. Goldman and L. Morrison (both AlixPartners) re: review         0.8
                                              Caroline docs describing Alameda activities
03/22/2023          LMG                       Attend meeting with L. Goldman, L. Morrison, and L. Teifer (all AlixPartners) re:      0.3
                                              the effect of Alameda yield farming on loan repayment/liquidity
03/22/2023          LMG                       Review Caroline diary docs for discussion of Alameda investment strategies             0.5
03/22/2023          LMG                       Working session with L. Goldman and L. Morrison (both AlixPartners) re: review         0.8
                                              Caroline docs describing Alameda activities
03/22/2023          MJB                       Conducted financial analysis for Genesis workstream                                    1.9
03/22/2023          MB                        Working session with D. Schwartz and M. Birtwell (both AlixPartners) re:               0.2
                                              synchronizing investigative and financial reconstruction workstreams
03/22/2023          QB                        Teleconference call with R. Self and O. Braat (both AlixPartners) re: creating         0.2
                                              support packages for political donations
03/22/2023          QB                        Attend meeting with D. Schwartz, B. Mackay, and O. Braat (full attendees) (all         0.5
                                              AlixPartners) re: creating the trading analytics master summary
03/22/2023          QB                        Create support packages for political donations                                        1.6
03/22/2023          RS                        Teleconference call with R. Self and O. Braat (both AlixPartners) re: creating         0.2
                                              support packages for political donations
03/22/2023          RS                        Prepare loan funded political donations support packages                               1.1
03/22/2023          ST                        Analyze FTX Trading Ltd bank statements re: funds tracing analysis in the              1.5
                                              acquisition of interest
03/22/2023          ST                        Analyze FTX.com exchange data re: funds tracing analysis in the acquisition of         1.3
                                              interest
03/22/2023          ST                        Review FTX Trading Ltd journal entries pertaining to acquisition of interest           0.8
03/22/2023          ST                        Working session with J. Sutherland and S. Thompson (both AlixPartners) re: funds       1.0
                                              tracing analyses involving entities of interest
03/22/2023          SRH                       Parse FDM bank statements                                                              2.3
03/23/2023          AS                        Revise support packages re: political donations made by insiders                       1.4
03/23/2023          AV                        Analyze loan repayment activity with entity of interest                                1.6
03/23/2023          BFM                       Attend meeting with B. Mackay and O. Braat (both AlixPartners) re: Korean Friend       0.3
                                              master summary
03/23/2023          BFM                       Working session with J. Sutherland, B. Mackay, and S. Thompson (all                    0.3
                                              AlixPartners) re: funds tracing analysis involving entity of interest
03/23/2023          BFM                       Working session with L. Goldman and B. Mackay (both AlixPartners) re: updates to       0.3
                                              Korean Friend summary
03/23/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and T. Phelan (all AlixPartners) to       0.3
                                              discuss process for creating support packages for political donations
03/23/2023          JS                        Prepare summary of transactions in FTX Trading Ltd.'s acquisition of interest.         1.1
03/23/2023          JS                        Working session with J. Sutherland, B. Mackay, and S. Thompson (all                    0.3
                                              AlixPartners) re: funds tracing analysis involving entity of interest
03/23/2023          LMG                       Review Genesis loan analysis updated to display by coin quantity                       1.1
03/23/2023          LMG                       Working session with L. Goldman and B. Mackay (both AlixPartners) re: updates to       0.3
                                              Korean Friend summary
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03/23/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and T. Phelan (all AlixPartners) to           0.3
                                              discuss process for creating support packages for political donations
03/23/2023          ME                        Summarize Alameda borrow and lend activity by coin and value                               1.5
03/23/2023          ME                        Examine liquidation funds trace-outs for counsel                                           1.3
03/23/2023          ME                        Review materials and prepare demonstratives for upcoming Genesis call                      1.4
03/23/2023          QB                        Attend meeting with B. Mackay and O. Braat (both AlixPartners) re: Korean Friend           0.3
                                              master summary
03/23/2023          QB                        Create support package for political donations                                             1.0
03/23/2023          ST                        Analyze bank transaction from September 2022 pertaining to the acquisition of              0.6
                                              interest
03/23/2023          ST                        Analyze bank transactions from July, 2022 pertaining to the acquisition of interest        1.3
03/23/2023          ST                        Analyze FTX Trading Ltd bank statements re: funds tracing analysis in the                  1.4
                                              acquisition of interest
03/23/2023          ST                        Analyze FTX.com exchange data re: funds tracing analysis in the acquisition of             1.1
                                              interest
03/23/2023          ST                        Develop flow of funds visualization pertaining to acquisition of interest                  2.8
03/23/2023          ST                        Review Alameda Research Ltd Journal entries during the September 2022 time                 0.4
                                              period
03/23/2023          ST                        Conduct unstructured data searches for documentation relating to FTX Trading               1.3
                                              Ltd.'s acquisition of interest
03/23/2023          ST                        Summarize cash and stock transfers pertaining to acquisition of interest                   1.2
03/23/2023          ST                        Working session with J. Sutherland, B. Mackay, and S. Thompson (all                        0.3
                                              AlixPartners) re: funds tracing analysis involving entity of interest
03/23/2023          TP                        Attend meeting with G. Shapiro, M. Birtwell, and T. Phelan (all AlixPartners) to           0.3
                                              discuss process for creating support packages for political donations
03/24/2023          AV                        Address follow up items from call with M. Diodato (FTI)                                    0.4
03/24/2023          AV                        Participate in call with M. Diodato (FTI) re: entity of interest potential preference      0.1
                                              analyses
03/24/2023          AV                        Provide comments on draft motion to lift stay                                              0.7
03/24/2023          BFM                       Review lending relationship between Alameda and entity of interest                         1.1
03/24/2023          DS                        Attend meeting with G. Shapiro, M. Birtwell, and D. Schwartz (all AlixPartners) re:        0.6
                                              creation of political donation support packages for production
03/24/2023          GS                        Attend call with G. Shapiro and O. Braat (both AlixPartners) re: tying political           0.6
                                              donations to general ledger
03/24/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) to discuss              0.4
                                              review of political donation support packages
03/24/2023          GS                        Attend meeting with G. Shapiro, M. Birtwell, and D. Schwartz (all AlixPartners) re:        0.6
                                              creation of political donation support packages for production
03/24/2023          JS                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) to discuss           0.6
                                              the flow of funds analysis relating to acquisition of interest
03/24/2023          JS                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) to discuss           0.5
                                              the flow of funds analysis relating to acquisition of interest
03/24/2023          JS                        Revise summary of transactions in the acquisition of interest                              1.9
03/24/2023          JS                        Revise summary of transactions in the acquisition of interest                              2.6
03/24/2023          MC                        Review compilation of Signature Bank records as requested by counsel                       0.3
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Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                    HOURS
03/24/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) to discuss            0.4
                                              review of political donation support packages
03/24/2023          MB                        Attend meeting with G. Shapiro, M. Birtwell, and D. Schwartz (all AlixPartners) re:      0.6
                                              creation of political donation support packages for production
03/24/2023          MB                        Review workplan for political donations workstream including quality checks on           0.3
                                              support packages and completing disbursement verification email analysis
03/24/2023          ME                        Review BLP autoliquidation flagging and top value closeout events                        1.7
03/24/2023          QB                        Attend call with G. Shapiro and O. Braat (both AlixPartners) re: tying political         0.6
                                              donations to general ledger
03/24/2023          QB                        Analyze GL data to identify funds for political donations                                1.4
03/24/2023          ST                        Analyze Alameda Research Ltd bank transactions from July, 2021 pertaining to             1.0
                                              acquisition of interest
03/24/2023          ST                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) to discuss         0.6
                                              the flow of funds analysis relating to acquisition of interest
03/24/2023          ST                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) to discuss         0.5
                                              the flow of funds analysis relating to acquisition of interest
03/24/2023          ST                        Review Alameda Research Ltd journal entries from July 2021 pertaining to                 0.5
                                              acquisition of interest
03/24/2023          ST                        Update flow of funds visualization pertaining to acquisition of interest                 1.8
03/24/2023          ST                        Update flow of funds visualization pertaining to acquisition of interest                 1.7
03/24/2023          ST                        Update the summary of FTX Trading Ltd.'s acquisition of interest                         1.6
03/24/2023          ST                        Update the summary of acquisition of interest                                            1.6
03/26/2023          JCL                       Review entity of interest analysis                                                       0.4
03/26/2023          JCL                       Review Signature bank account analysis of coverage and statements                        0.4
03/27/2023          AC                        Create template for analysis of political contributions investigation                    0.2
03/27/2023          AC                        Update reporting template for loan funded support packages                               1.9
03/27/2023          AC                        Update presentation of GL data in loan funded support packages according to              1.1
                                              format requests
03/27/2023          AC                        Revise reporting template for political contributions for inclusion of loan funded       1.3
                                              support packages
03/27/2023          AC                        Working session with G. Shapiro, A. Calhoun and M. Birtwell (all AlixPartners) re:       1.2
                                              updating loan funded support packages according to S&C format request
03/27/2023          AC                        Working session with G. Shapiro, A. Calhoun, and M. Birtwell (partial attendee)          0.4
                                              (all AlixPartners) re: review of documents for charitable contributions
03/27/2023          BFM                       Attend meeting with B. Mackay, S. Thompson, and J. Sutherland (partial attendee)         0.3
                                              (all Alix Partners) to discuss exchange transactions pertaining to acquisition of
                                              interest
03/27/2023          BFM                       Prepare materials for FTI re: Genesis analysis                                           1.9
03/27/2023          BFM                       Review lending documents re: Genesis analysis                                            1.1
03/27/2023          BFM                       Review lending repayments and exchange deposits to identify potential overlap re:        1.1
                                              Genesis analysis
03/27/2023          BFM                       Summarize daily balance for sub/lending account to review flow of funds re: FTX          0.9
                                              Europe
03/27/2023          DJW                       Research specific customer transactions in response to counsel's request                 2.1
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                         DESCRIPTION OF SERVICES                                   HOURS
03/27/2023          GS                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: planning         0.6
                                              for political donations workstream
03/27/2023          GS                        Working session with G. Shapiro, A. Calhoun and M. Birtwell (all AlixPartners) re:      1.2
                                              updating loan funded support packages according to S&C format request
03/27/2023          GS                        Working session with G. Shapiro, A. Calhoun, and M. Birtwell (partial attendee)         0.4
                                              (all AlixPartners) re: review of documents for charitable contributions
03/27/2023          JS                        Attend meeting with B. Mackay, S. Thompson, and J. Sutherland (partial attendee)        0.2
                                              (all Alix Partners) to discuss exchange transactions pertaining to acquisition of
                                              interest
03/27/2023          JS                        Meet with Adam Titus (A&M) to discuss special investigation results related to          0.4
                                              Lexus Prime transaction
03/27/2023          JS                        Research transactions related to the Ledger Live special investigation                  1.6
03/27/2023          MC                        Pull front-end QuickBooks report to support donations workstream                        0.7
03/27/2023          MB                        Attend meeting with G. Shapiro and M. Birtwell (both AlixPartners) re: planning         0.6
                                              for political donations workstream
03/27/2023          MB                        Respond to S&C 3/26/23 request re: loan funded donation support packages                0.5
03/27/2023          MB                        Working session with G. Shapiro, A. Calhoun and M. Birtwell (all AlixPartners) re:      1.2
                                              updating loan funded support packages according to S&C format request
03/27/2023          MB                        Working session with G. Shapiro, A. Calhoun, and M. Birtwell (partial attendee)         0.2
                                              (all AlixPartners) re: review of documents for charitable contributions
03/27/2023          ME                        Construct manual P&L methodology on test data                                           0.9
03/27/2023          ME                        Review manual P&L methodology on test data                                              0.4
03/27/2023          ST                        Attend meeting with B. Mackay, S. Thompson, and J. Sutherland (partial attendee)        0.3
                                              (all AlixPartners) to discuss exchange transactions pertaining to acquisition of
                                              interest
03/27/2023          ST                        Analyze .com exchange data pertaining to acquisition of interest                        1.1
03/27/2023          SRH                       Design statement parsing process re : FDM / FTX bank statements                         2.6
03/28/2023          AS                        Attend meeting with G. Shapiro, A. Calhoun, M. Birtwell, and A. Searles (partial        0.8
                                              attendee) (all AlixPartners) re: progress on political donations investigation
03/28/2023          AC                        Analyze credit card payments associated with political donations                        0.5
03/28/2023          AC                        Analyze bank statements associated with political donations                             0.6
03/28/2023          AC                        Attend meeting with A. Calhoun and M. Birtwell (both AlixPartners) re: credit card      0.5
                                              payments associated with political donations
03/28/2023          AC                        Attend meeting with A. Calhoun and M. Birtwell (both AlixPartners) re: loan             0.4
                                              funded support packages QuickBooks original formatting according to S&C request
03/28/2023          AC                        Attend meeting with G. Shapiro, A. Calhoun, M. Birtwell, and A. Searles (partial        1.0
                                              attendee) (all AlixPartners) re: progress on political donations investigation
03/28/2023          AC                        Update loan funded support packages with supporting documents                           0.7
03/28/2023          AC                        Generate template for inclusion of QuickBooks entries in loan funded support            0.8
                                              packages
03/28/2023          AC                        Review bank account information in GL tab of loan funded support packages               1.8
03/28/2023          AC                        Conduct unstructured searches for relevant artifacts in ESI database related to         0.9
                                              political donations
03/28/2023          AC                        Update presentation of GL data in loan funded support packages according to             2.1
                                              format requests
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/28/2023          AC                        Working session with G. Shapiro, A. Calhoun, and M. Birtwell (all AlixPartners) re:      0.2
                                              updates to support packages for production related to loan-funded political
                                              donations
03/28/2023          BFM                       Summarize daily balance for main account to review flow of funds re: FTX Europe          0.9
03/28/2023          GS                        Attend meeting with G. Shapiro, A. Calhoun, M. Birtwell, and A. Searles (partial         1.0
                                              attendee) (all AlixPartners) re: progress on political donations investigation
03/28/2023          GS                        Working session with G. Shapiro, A. Calhoun, and M. Birtwell (all AlixPartners) re:      0.2
                                              updates to support packages for production related to loan-funded political
                                              donations
03/28/2023          JS                        Research transactions related to the North Dimensions special investigation              1.2
03/28/2023          JS                        Research transactions related to the political contributions special investigation       0.4
03/28/2023          MC                        Draft data request email related to financial records from FTX Europe                    1.0
03/28/2023          MC                        Draft data request email related to financial records from Liquid Group                  1.7
03/28/2023          MB                        Attend meeting with A. Calhoun and M. Birtwell (both AlixPartners) re: credit card       0.5
                                              payments associated with political donations
03/28/2023          MB                        Attend meeting with A. Calhoun and M. Birtwell (both AlixPartners) re: loan              0.4
                                              funded support packages QuickBooks original formatting according to S&C request
03/28/2023          MB                        Attend meeting with G. Shapiro, A. Calhoun, M. Birtwell, and A. Searles (partial         1.0
                                              attendee) (all AlixPartners) re: progress on political donations investigation
03/28/2023          MB                        Working session with G. Shapiro, A. Calhoun, and M. Birtwell (all AlixPartners) re:      0.2
                                              updates to support packages for production related to loan-funded political
                                              donations
03/28/2023          SRH                       Design statement parsing process re : FDM / FTX bank statements                          2.4
03/28/2023          SRH                       Parse FDM bank statements                                                                2.6
03/29/2023          AC                        Summarize political gifts made to candidate                                              1.6
03/29/2023          AC                        Conduct unstructured data searches in ESI re: potential political gifts made to          1.0
                                              candidate
03/29/2023          AC                        Update charitable contributions workpaper incorporating structured data identifying      2.4
                                              potential charitable contributions
03/29/2023          AC                        Summarize / document sources on potential political donations and gifts related to       1.2
                                              candidate
03/29/2023          AC                        Working session with G. Shapiro, A. Calhoun, M. Birtwell, and S. Thompson (all           0.5
                                              AlixPartners) re: workplan for charitable contributions investigation
03/29/2023          AC                        Working session with G. Shapiro, A. Calhoun, M. Birtwell, and T. Phelan (all             1.5
                                              AlixPartners) re: automation of support packages for political donations
03/29/2023          DJW                       Research company business records and exchange trading data re: crypto hacks             2.6
03/29/2023          GS                        Working session with G. Shapiro, A. Calhoun, M. Birtwell, and S. Thompson (all           0.5
                                              AlixPartners) re: workplan for charitable contributions investigation
03/29/2023          GS                        Working session with G. Shapiro, A. Calhoun, M. Birtwell, and T. Phelan (all             1.5
                                              AlixPartners) re: automation of support packages for political donations
03/29/2023          LMG                       Working session with L. Goldman and R. Self (all AlixPartners) re: review of             0.3
                                              communications relating to Alameda loans in summer 2022
03/29/2023          MJB                       Conducted research for Genesis workstream                                                0.4
03/29/2023          MC                        Finalize data request email to FTX Europe                                                1.2
03/29/2023          MC                        Finalize data request email to Liquid Group                                              2.0
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/29/2023          MC                        Modify Liquid Group bank account status listing to add to data request list              1.2
03/29/2023          MB                        Working session with G. Shapiro, A. Calhoun, M. Birtwell, and S. Thompson (all           0.5
                                              AlixPartners) re: workplan for charitable contributions investigation
03/29/2023          MB                        Working session with G. Shapiro, A. Calhoun, M. Birtwell, and T. Phelan (all             1.5
                                              AlixPartners) re: automation of support packages for political donations
03/29/2023          ME                        Review calculations on manual BLP events on large coin balances                          0.7
03/29/2023          ME                        Review trace-out flows of specific coin for investigation                                1.2
03/29/2023          ME                        Review work on BLP actions and manual BLP activity                                       0.8
03/29/2023          RS                        Review communications relating to Alameda loans in summer 2022                           2.8
03/29/2023          RS                        Working session with L. Goldman and R. Self (all AlixPartners) re: review of             0.3
                                              communications relating to Alameda loans in summer 2022
03/29/2023          RHK                       Analyze Genesis docket filings to support recovery analysis                              0.5
03/29/2023          ST                        Review excel files relating to charitable contributions made by FTX                      2.1
03/29/2023          ST                        Working session with G. Shapiro, A. Calhoun, M. Birtwell, and S. Thompson (all           0.5
                                              AlixPartners) re: workplan for charitable contributions investigation
03/29/2023          TP                        Working session with G. Shapiro, A. Calhoun, M. Birtwell, and T. Phelan (all             1.5
                                              AlixPartners) re: automation of support packages for political donations
03/30/2023          AC                        Attend meeting with S. Thompson and A. Calhoun (both AlixPartners) re: DoI               0.4
                                              review for construction of charitable contributions workpaper
03/30/2023          AC                        Analyze structured data pertaining to charitable contributions from Alameda              2.1
                                              Research
03/30/2023          AC                        Update charitable contributions workpaper with relevant transactions                     0.8
03/30/2023          AC                        Review S&C provided Excel files with withdrawals from various FTX accounts               1.1
03/30/2023          AC                        Conduct unstructured data searches in ESI re: potential political gifts                  1.0
03/30/2023          AC                        Review S&C provided files for potential political gifts                                  0.7
03/30/2023          AC                        Review S&C provided spreadsheet of Nishad Singh's financial transactions relating        0.9
                                              to charitable contributions, political donations, and individual gifts
03/30/2023          AC                        Update charitable donations workpaper structure to capture information on various        0.3
                                              transaction types
03/30/2023          AC                        Summarize information gathered on potential political gifts to three individuals         1.2
03/30/2023          DJW                       Research crypto hack and related losses                                                  2.8
03/30/2023          DJW                       Continue research of crypto hack and related losses                                      1.4
03/30/2023          EM                        Working session with R. Self, V. Kotharu, E. Mostoff (AlixPartners) re: creation of      1.3
                                              summary of real asset purchases
03/30/2023          JS                        Research transactions related to the political donations special investigation           2.1
03/30/2023          LMG                       Review R. Donnelly FTX.com transaction records                                           0.7
03/30/2023          MC                        Review draft of donations summary                                                        0.2
03/30/2023          ME                        Calculate borrow/lend statistics, by coin and rates                                      1.9
03/30/2023          RS                        Review communications relating to Alameda loans in summer 2022                           1.6
03/30/2023          RS                        Working session with R. Self, V. Kotharu, E. Mostoff (AlixPartners) re: creation of      1.3
                                              summary of real asset purchases
03/30/2023          ST                        Attend meeting with S. Thompson and A. Calhoun (both AlixPartners) re: DoI               0.4
                                              review for construction of charitable contributions workpaper
03/30/2023          ST                        Review communications relating to charitable contributions made by FTX                   2.6
03/30/2023          ST                        Review excel files relating to charitable contributions made by FTX                      1.8
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Re:                 Special Investigations
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DATE                PROFESSIONAL                                        DESCRIPTION OF SERVICES                                     HOURS
03/30/2023          SRH                       Parse FDM bank statements                                                                1.6
03/30/2023          VK                        Working session with R. Self, V. Kotharu, E. Mostoff (AlixPartners) re: creation of      1.3
                                              summary of real asset purchases
03/31/2023          AC                        Attend meeting with A. Calhoun and M. Birtwell (both AlixPartners) re: charitable        0.7
                                              contributions workpaper
03/31/2023          AC                        Attend meeting with A. Calhoun and M. Birtwell (both AlixPartners) re: loan              0.9
                                              funded political gifts
03/31/2023          AC                        Attend meeting with M. Birtwell, A. Calhoun, G. Shapiro, and S. Thompson (all            0.5
                                              AlixPartners) to provide updates on political and charitable donations workstreams
03/31/2023          AC                        Update charitable contributions workpaper with relevant transactions from                2.4
                                              documents provided by counsel
03/31/2023          AC                        Update charitable contributions workpaper format with account data                       1.3
03/31/2023          BFM                       Attend follow-up meeting with B. Mackay, S. Thompson, and J. Sutherland (partial         0.4
                                              attendee) (all AlixPartners) re: tracing transfers connection with acquisition of
                                              interest
03/31/2023          DJW                       Research business records re: cyrpto hack and related losses                             3.2
03/31/2023          GS                        Attend meeting with M. Birtwell, A. Calhoun, G. Shapiro, and S. Thompson (all            0.5
                                              AlixPartners) to provide updates on political and charitable donations workstreams
03/31/2023          JS                        Attend follow-up meeting with B. Mackay, S. Thompson, and J. Sutherland (partial         0.4
                                              attendee) (all AlixPartners) re: tracing transfers connection with acquisition of
                                              interest
03/31/2023          JS                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) re: tracing        0.4
                                              transfers in connection with acquisition of interest
03/31/2023          JS                        Review transactions related to specific entity of interest                               1.4
03/31/2023          MB                        Attend meeting with A. Calhoun and M. Birtwell (both AlixPartners) re: charitable        0.7
                                              contributions workpaper
03/31/2023          MB                        Attend meeting with A. Calhoun and M. Birtwell (both AlixPartners) re: loan              0.9
                                              funded political gifts
03/31/2023          MB                        Attend meeting with M. Birtwell, A. Calhoun, G. Shapiro, and S. Thompson (all            0.5
                                              AlixPartners) to provide updates on political and charitable donations workstreams
03/31/2023          MB                        Review work plan for donations workstreams                                               0.6
03/31/2023          RS                        Create summary of real asset purchase investigation                                      2.4
03/31/2023          RS                        Review communications relating to Alameda loan repayments                                2.0
03/31/2023          RS                        Review communications relating to Alameda loans in summer 2022                           2.1
03/31/2023          RHK                       Analyze Genesis docket filings to support recovery analysis                              0.4
03/31/2023          ST                        Attend follow-up meeting with B. Mackay, S. Thompson, and J. Sutherland (partial         0.4
                                              attendee) (all AlixPartners) re: tracing transfers connection with acquisition of
                                              interest
03/31/2023          ST                        Attend meeting with J. Sutherland and S. Thompson (both AlixPartners) re: tracing        0.4
                                              transfers in connection with acquisition of interest
03/31/2023          ST                        Attend meeting with M. Birtwell, A. Calhoun, G. Shapiro, and S. Thompson (all            0.5
                                              AlixPartners) to provide updates on political and charitable donations workstreams
03/31/2023          ST                        Review communications relating to charitable contributions made by FTX                   2.3
03/31/2023          ST                        Review excel files relating to charitable contributions made by FTX                      2.4
03/31/2023          SRH                       Design statement parsing process re : FDM / FTX bank statements                          3.2
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Code:               20008100P00001.1.16

DATE               PROFESSIONAL                                     DESCRIPTION OF SERVICES                HOURS
03/31/2023         SRH                        Parse FDM bank statements                                       1.7
Total Professional Hours                                                                                    934.1
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Re:                                   Special Investigations
Code:                                 20008100P00001.1.16

PROFESSIONAL                                                         RATE     HOURS               FEES
Matthew Jacques                                                      $1,280      4.6     $     5,888.00
Charles Cipione                                                      $1,220      0.5             610.00
Marc J Brown                                                         $1,220      6.7           8,174.00
Matthew Evans                                                        $1,220     20.4          24,888.00
David J White                                                        $1,140     29.4          33,516.00
John C LaBella                                                       $1,115      6.8           7,582.00
Lilly M Goldman                                                      $1,115     62.5          69,687.50
Mark Cervi                                                           $1,020     12.6          12,852.00
Adam Searles                                                          $950      22.3          21,185.00
Anne Vanderkamp                                                       $950      88.6          84,170.00
Brent Robison                                                         $950      39.5          37,525.00
Justin Sutherland                                                     $950      84.7          80,465.00
Steven Hanzi                                                          $950      81.4          77,330.00
Todd Toaso                                                            $950       0.8             760.00
Travis Phelan                                                         $950       7.3           6,935.00
Dana Schwartz                                                         $880      36.9          32,472.00
Kurt H Wessel                                                         $880       0.3             264.00
Leslie I Morrison                                                     $880       1.1             968.00
Ryan H Komendowski                                                    $880      19.0          16,720.00
John L Somerville                                                     $825       0.2             165.00
Bennett F Mackay                                                      $805      65.5          52,727.50
Matthew Birtwell                                                      $805      27.6          22,218.00
Di Liang                                                              $605      10.0           6,050.00
Varun Kotharu                                                         $605       6.7           4,053.50
Elizabeth Teifer                                                      $585      34.0          19,890.00
Qiulu Zeng                                                            $585       1.2             702.00
Randi Self                                                            $585      72.4          42,354.00
Rose-Marie Fuchs                                                      $585      12.7           7,429.50
Olivia Braat                                                          $510      22.9          11,679.00
Eric Mostoff                                                          $510      10.2           5,202.00
Griffin Shapiro                                                       $510      15.8           8,058.00
Sean Thompson                                                         $510      91.4          46,614.00
Allyson Calhoun                                                       $510      38.1          19,431.00
Total Professional Hours and Fees                                              934.1     $   768,565.00
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Re:                 Travel
Code:               20008100P00001.1.31

DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                   HOURS
03/05/2023          JCL                       Travel from San Francisco, CA to Washington DC (meetings with engagement             4.0
                                              team)
03/05/2023          VK                        Travel from Houston, TX to Washington DC (meetings with engagement team)             5.4
03/06/2023          AS                        Travel from New York, NY to Washington DC (meetings with engagement team)            3.2
03/06/2023          DS                        Travel from New York, NY to Washington DC (meetings with engagement team)            3.0
03/06/2023          JLS                       Travel from New York, NY to Washington DC (meetings with engagement team)            3.0
03/06/2023          MC                        Travel from Los Angeles, CA to Washington DC (meetings with engagement team)         6.5
03/07/2023          DL                        Travel from New York, NY to Washington, DC (meetings with engagement team)           3.7
03/07/2023          MJ                        Travel from Boston, MA to Washington, DC (meetings with engagement team)             5.0
03/08/2023          DL                        Travel from Washington, DC to New York, NY (return from meetings with                3.8
                                              engagement team)
03/09/2023          AS                        Travel from Washington, DC to New York, NY (return from meetings with                3.2
                                              engagement team)
03/09/2023          AV                        Travel from Washington, D.C. to Chicago, IL (return from meetings with               3.5
                                              engagement team)
03/09/2023          DS                        Travel from Washington, DC to New York, NY (return from meetings with                3.0
                                              engagement team)
03/09/2023          JCL                       Travel from Washington, DC to Medford, OR (return from meetings with                 4.5
                                              engagement team)
03/09/2023          JLS                       Travel from Washington, DC to New York, NY (return from meetings with                3.0
                                              engagement team)
03/09/2023          MC                        Travel from Washington, DC to Los Angeles, CA (return from meetings with             6.0
                                              engagement team)
03/09/2023          MJ                        Travel from Washington, DC to Boston, MA (return from meetings with                  4.5
                                              engagement team)
03/09/2023          VK                        Travel from Washington, DC to Houston, TX (return from meetings with                 4.8
                                              engagement team)
03/22/2023          MC                        Travel from Los Angeles, CA to San Francisco, CA (meetings with RLA)                 3.0
03/23/2023          MC                        Travel from San Francisco, CA to Los Angeles, CA (meetings with RLA)                 4.0
03/26/2023          ET                        Travel from Las Vegas, NV to Chicago, IL (meetings with engagement team)             5.4
03/26/2023          JCL                       Travel from San Francisco, CA to Chicago, IL (meetings with engagement team)         4.0
03/26/2023          JS                        Travel from Salt Lake City, UT to Chicago, IL (meetings with engagement team)        4.6
03/26/2023          VK                        Travel from Houston, TX to Chicago, IL (meetings with engagement team)               5.4
03/27/2023          AS                        Travel from New York to Chicago, IL (meetings with engagement team)                  4.0
03/27/2023          CAS                       Travel from Dallas, TX to Chicago, IL (travel to meetings with engagement team)      3.0
03/27/2023          CX                        Travel from New York, NY to Chicago, IL (meetings with engagement team)              5.0
03/27/2023          CC                        Travel from Houston, TX to Chicago, IL (meetings with engagement team)               3.9
03/27/2023          DS                        Travel from New York, NY to Chicago, IL (meetings with engagement team)              4.0
03/27/2023          DJW                       Travel from Los Angeles, CA to Chicago, IL (meetings with engagement team)           2.2
03/27/2023          DL                        Travel from New York, NY to Chicago, IL (meetings with engagement team)              5.0
03/27/2023          EM                        Travel from New York, NY to Chicago, IL (meetings with engagement team)              4.1
03/27/2023          GS                        Travel from Boston, MA to Chicago, IL (meetings with engagement team)                5.0
03/27/2023          KHW                       Travel from Washington, D.C. to Chicago, IL ( meetings with engagement team)         2.3
03/27/2023          LMG                       Travel from Washington, D.C. to Chicago, IL ( meetings with engagement team)         1.8
03/27/2023          LJ                        Travel from Dallas, TX to Chicago, IL (meetings with engagement team)                5.8
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Travel
Code:               20008100P00001.1.31

DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                  HOURS
03/27/2023          MC                        Travel from Los Angeles, CA to Chicago, IL (meetings with engagement team)          5.0
03/27/2023          MB                        Travel from Washington, DC to Chicago, IL (meetings with engagement team)           5.2
03/27/2023          ME                        Travel Newark, NJ to Chicago, IL (meetings with engagement team)                    3.6
03/27/2023          RS                        Travel from Dallas, TX to Chicago, IL (meetings with engagement team)               6.0
03/27/2023          SYW                       Travel time from New York, NY to Chicago, IL (meetings with engagement team)        5.0
03/27/2023          SK                        Travel from Dallas, TX to Chicago, IL (meetings with engagement team)               5.9
03/27/2023          TY                        Travel from Brooklyn, New York to Chicago, IL (meetings with engagement team)       7.0
03/27/2023          TP                        Travel from Dallas, TX to Chicago, IL (meetings with engagement team)               3.0
03/27/2023          YT                        Travel from New York, NY to Chicago, IL (meetings with engagement team)             5.0
03/28/2023          MJ                        Travel from Boston, MA to Chicago, IL (meetings with engagement team)               5.5
03/29/2023          JCL                       Travel from Chicago, IL to San Francisco, CA (return from meetings with             4.0
                                              engagement team)
03/30/2023          AS                        Travel from Chicago, IL to New York, NY (return from meetings with engagement       3.8
                                              team)
03/30/2023          CAS                       Travel from Chicago, IL to Dallas, TX (return from meetings with engagement         3.0
03/30/2023          CX                        Travel from Chicago, IL to New York, NY (return from meetings with engagement       5.0
                                              team)
03/30/2023          CC                        Travel from Chicago, IL to Houston, TX (return from meetings with engagement        3.5
                                              team)
03/30/2023          DS                        Travel from Chicago, IL to New York, NY (return from meetings with engagement       4.0
                                              team)
03/30/2023          DJW                       Travel from Chicago, IL to Los Angeles, CA (return from meetings with               2.4
                                              engagement team)
03/30/2023          DL                        Travel from Chicago, IL to New York, NY (return from meetings with engagement       5.1
                                              team)
03/30/2023          ET                        Travel from Chicago, IL to New York, NY (return from meetings with engagement       6.9
                                              team)
03/30/2023          EM                        Travel from Chicago, IL to New York, NY (return from meetings with engagement       4.8
                                              team)
03/30/2023          GS                        Travel from Chicago, IL to Boston, MA (return from meetings with engagement         3.5
                                              team)
03/30/2023          JS                        Travel from Chicago, IL to Salt Lake City, UT (return from meetings with            5.2
                                              engagement team)
03/30/2023          KHW                       Travel from Chicago, IL to Washington DC (return from meetings with engagement      2.3
                                              team)
03/30/2023          LMG                       Travel from Chicago, IL to Washington, DC (return from meetings with                2.7
                                              engagement team)
03/30/2023          LJ                        Travel from Chicago, IL to Dallas, TX (return from meetings with engagement         6.0
03/30/2023          MC                        Travel from Chicago, IL to Los Angeles, CA (return from meetings with               6.0
                                              engagement team)
03/30/2023          MB                        Travel from Chicago, IL to Washington, DC (return from meetings with                2.2
                                              engagement team)
03/30/2023          ME                        Travel from Chicago, IL to Newark, NJ (return from meetings with engagement         3.8
                                              team)
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                  HOURS
03/30/2023          MJ                        Travel from Chicago, IL to Boston, MA (return from meetings with engagement        5.0
                                              team)
03/30/2023          RS                        Travel from Chicago for team on-site to Dallas (return from meetings with          6.0
                                              engagement team)
03/30/2023          SYW                       Travel from Chicago, IL to New York, NY (return from meetings with engagement      5.0
                                              team)
03/30/2023          SK                        Travel from Chicago, IL to Dallas, TX (return from meetings with engagement        5.3
03/30/2023          TY                        Travel from Chicago, IL to Brooklyn, NY (return from team meetings)                5.0
03/30/2023          TP                        Travel from Chicago, IL to Dallas, TX (return from meetings with engagement        3.0
03/30/2023          VK                        Travel from Chicago, IL to Houston, TX (return from meetings with engagement       6.1
                                              team)
03/30/2023          YT                        Travel from Chicago, IL to New York, NY (return from meetings with engagement      5.0
                                              team)
Total Professional Hours                                                                                                       308.4
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Re:                                   Travel
Code:                                 20008100P00001.1.31

PROFESSIONAL                                                        RATE      HOURS                 FEES
Matthew Jacques                                                     $1,280      20.0     $      25,600.00
Charles Cipione                                                     $1,220       6.0             7,320.00
Matthew Evans                                                       $1,220       7.4             9,028.00
David J White                                                       $1,140       4.6             5,244.00
John C LaBella                                                      $1,115      16.5            18,397.50
Lilly M Goldman                                                     $1,115       4.5             5,017.50
Mark Cervi                                                          $1,020      30.5            31,110.00
Adam Searles                                                         $950       14.2            13,490.00
Anne Vanderkamp                                                      $950        3.5             3,325.00
Justin Sutherland                                                    $950        9.8             9,310.00
Travis Phelan                                                        $950        6.0             5,700.00
Dana Schwartz                                                        $880       14.0            12,320.00
Kurt H Wessel                                                        $880        4.6             4,048.00
John L Somerville                                                    $825        6.0             4,950.00
Matthew Birtwell                                                     $805        7.4             5,957.00
Takahiro Yamada                                                      $805       12.0             9,660.00
Chuanqi Chen                                                         $605        7.4             4,477.00
Di Liang                                                             $605       17.6            10,648.00
Seen Yung Wong                                                       $605       10.0             6,050.00
Varun Kotharu                                                        $605       21.7            13,128.50
Elizabeth Teifer                                                     $585       12.3             7,195.50
Randi Self                                                           $585       12.0             7,020.00
Linna Jia                                                            $555       11.8             6,549.00
Chenxi Xu                                                            $510       10.0             5,100.00
Eric Mostoff                                                         $510        8.9             4,539.00
Griffin Shapiro                                                      $510        8.5             4,335.00
Shengjia Kang                                                        $510       11.2             5,712.00
Yuqing Tong                                                          $510       10.0             5,100.00
Total Professional Hours and Fees                                              308.4     $     250,331.00
Less 50% Travel Time                                                                         (125,165.50)
Total Professional Fees                                                                  $     125,165.50
